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                                      Exhibit A

                                     Time Entries




{1368.002-W0070622.}                      7
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                           Trans              Hours
             Client         Date      Tkpr    to Bill     Amount
Phase ID B110 Asset Analysis and Recovery
         1368.002    03/13/2023    AGL         2.30      2,645.00 review and analyze and revise (1.4) draft dec action w/r/t DM interest in debtors'
                                                                  property and assets; communications with LRC and S&C teams re: same (.9)
         1368.002     03/23/2023     MRP       0.20        125.00 email w/ KAB re: draft summary of potential solution for IP winddown/assets (.1);
                                                                  email with S&C and LRC teams re: same (.1)
         1368.002     03/24/2023      KAB      3.90      3,198.00 email with LRC team re: Ad Hoc MSJ, brief and dec iso same (.1); review and analyze
                                                                  motion (.6); review and analyze brief (1.9); review and analyze dec in support (1.3)
         1368.002     03/28/2023      KAB      0.10         82.00 emails with S&C and LRC teams re: Deltec turnover motion
         1368.002     03/28/2023      KAB      1.00        820.00 review and revise DIG turnover pleadings (.9); emails with LRC and S&C teams re:
                                                                  comments to same (.1)
         1368.002     03/28/2023     MRP       0.10         62.50 emails w/ S&C and KAB re: Deltec turnover motion
         1368.002     03/28/2023     MRP       0.10         62.50 emails w/ KAB and S&C teams re: DIG turnover pleadings
         1368.002     03/29/2023     MRP       0.10         62.50 Email w/ S&C re: Deltec motion
         1368.002     03/29/2023     MRP       0.10         62.50 Email w/ S&C re: service parties for OKX turnover motion
         1368.002     03/29/2023     MRP       0.10         62.50 Email w/ LRC team re: notice for OKX motion
         1368.002     03/29/2023      MR       0.40        124.00 email with KAB re: turnover motion for DIG (.1); draft notice re: same (.2); email with
                                                                  HWR re: review of same (.1); finalize same for filing (.2); file same (.1)
         1368.002     03/29/2023       MR      0.70        217.00 email with KAB re: turnover motion for OKX (.1); draft notice re: same (.2); email with
                                                                  HWR re: review of same (.1); finalize and file same (.3)
         1368.002     03/29/2023      KAB      2.20      1,804.00 review and revise final version of Deltec Turnover pleadings (.9); review and revise dec
                                                                  iso same (.2); numerous emails with S&C and LRC teams re: issues related to same,
                                                                  finalization and filing same (.7); emails with LRC team re: same (.4)
         1368.002     03/29/2023      AGL      0.50        575.00 review and revise DIG turnover motion
         1368.002     03/29/2023      KAB      1.50      1,230.00 emails with S&C and LRC team re: OKX turnover pleadings and dec iso same (.3);
                                                                  review and revise same (.9); emails with LRC team re: finalization and filing of same
                                                                  (.3)
         1368.002     03/29/2023     HWR       0.20         95.00 Emails w/ S&C re: DelTec Turnover
         1368.002     03/29/2023     HWR       0.30        142.50 Emails w/ LRC Team re: DelTec Turnover
         1368.002     03/29/2023     HWR       0.20         95.00 Emails w/ MR re: draft notice for DelTec Turnover
         1368.002     03/29/2023     HWR       0.60        285.00 Review/revise notice for DelTec Turnover
         1368.002     03/29/2023     HWR       0.20         95.00 Emails w/ LRC team re: finalizing and filing DelTec Turnover
         1368.002     03/29/2023     HWR       0.50        237.50 Review DelTec Turnover for filing
         1368.002     03/29/2023     HWR       0.30        142.50 Emails w/ S&C and KAB re: draft DelTec Turnover
         1368.002     03/29/2023     HWR       0.30        142.50 Emails w/ LRC Team re: OKX Turnover
         1368.002     03/29/2023     HWR       0.10         47.50 Emails w/ MR re: notice for OKX Turnover
         1368.002     03/29/2023     HWR       0.30        142.50 Review/revise notice for OKX Turnover
         1368.002     03/29/2023     HWR       0.40        190.00 Emails w/ LRC Team re: finalizing and filing OKX Turnover
         1368.002     03/29/2023     HWR       0.10         47.50 Email w/ Kroll re: service of OKX Turnover and DelTec Turnover
         1368.002     03/29/2023     HWR       0.20         95.00 Confer w/ MRP re: service of OKX Turnover and DelTec Turnover
         1368.002     03/29/2023      KAB      1.20        984.00 emails with S&C and A. Landis re: final version of OKX turnover motion (.3); review
                                                                  and revise proposed final version of same (.7); emails with LRC team re: finalization
                                                                  and filing of same (.2)
         1368.002     03/29/2023     KAB       0.20        164.00 emails with S&C and LRC teams re: DIG turnover motion status
         1368.002     03/29/2023     MRP       1.10        687.50 numerous emails w/ S&C and KAB re: issues related to final version of Deltec
                                                                  Turnover pleadings, dec iso, and finalization and filing same (7); emails w/ KAB re:
                                                                  same (.4)
         1368.002     03/29/2023     MRP       0.60        375.00 emails with S&C and KAB re: OKX turnover pleadings and dec iso same (.3); emails
                                                                  with KAB re: finalization and filing of same (.3)
         1368.002     03/29/2023      MR       0.20         62.00 Emails w/ LRC team re: finalizing and filing DelTec Turnover
         1368.002     03/29/2023      MR       0.10         31.00 Emails w/ HWR re: revising DelTec Turnover
         1368.002     03/29/2023      MR       0.40        124.00 Emails w/ LRC Team re: finalizing and filing OKX Turnover
         1368.002     03/29/2023     MRP       0.20        125.00 Confer w/ HWR re: service of OKX Turnover and DelTec Turnover
         1368.002     03/29/2023     AGL       0.30        345.00 emails w/ S&C team and LRC team re: OKX turnover motion
         1368.002     03/29/2023     MRP       0.60        375.00 Review OKX turnover motion
         1368.002     03/29/2023     MRP       0.40        250.00 Review update versions of OKX turnover motion and proposed order

Total for Phase ID B110            Billable   22.30     16,412.50 Asset Analysis and Recovery

Phase ID B112 Asset Disposition
         1368.002    03/01/2023       KAB      0.30        246.00   confer with LRC team re: asset dispositions, upcoming settlements and sales
         1368.002    03/01/2023       AGL      0.30        345.00   communications with LRC team re: upcoming sales and settlements
         1368.002    03/01/2023       AGL      0.30        345.00   communications with BRG re: status of asset dispositions and related matters
         1368.002    03/01/2023       KAB      0.20        164.00   emails with S&C and LRC teams re: UST comments to sealing order and related issues
                                                                    of sale schedules (.1); email LRC team re: preparation of Certification of Counsel for
                                                                    same and related issues (.1)
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                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B112 Asset Disposition
         1368.002    03/01/2023   AGL     1.70      1,955.00   review bid package and redlined documents received from potential purchaser
         1368.002    03/01/2023   AGL     0.20        230.00   communications with potential LedgerX bidder re: extension of bid deadline
         1368.002    03/01/2023   AGL     1.30      1,495.00   review and analyze final bid letter and package from Bidder
         1368.002    03/01/2023   KAB     0.40        328.00   emails with PWP, S&C, LRC and bidders re: bids for LedgerX, extension of bid
                                                               deadlines and related issues
         1368.002    03/01/2023   HWR     0.10         47.50   Email w/ LRC team re: Certification of Counsel for LedgerX and Embed sealing orders
         1368.002    03/01/2023   HWR     0.20         95.00   Draft Certification of Counsel for LedgerX and Embed sealing orders
         1368.002    03/01/2023   MRP     0.30        187.50   confer w/ LRC team re: asset dispositions, upcoming settlements and sales
         1368.002    03/01/2023   MRP     0.20        125.00   emails w/ S&C and LRC teams re: UST comments to sealing order and related issues
                                                               of sale schedules (.1); email LRC team re: preparation of Certification of Counsel for
                                                               same and related issues (.1)
         1368.002    03/01/2023   MR      0.10         31.00   email LRC team re: Certification of Counsel for sealing orders
         1368.002    03/01/2023   AGL     0.40        460.00   emails with PWP, S&C, LRC teams and bidders re: bids for LedgerX, extension of bid
                                                               deadlines and related issues
         1368.002    03/01/2023   MRP     0.40        250.00   emails w/ PWP, S&C, LRC teams and bidders re: bids for LedgerX, extension of bid
                                                               deadlines and related issues
         1368.002    03/02/2023   MR      0.80        248.00   emails with HWR re: revising motion to seal orders re: Disclosure Schedules (.2); revise
                                                               order relating to LedgerX (.3); revise order relating to Embed Business (.3)
         1368.002    03/02/2023   MR      0.10         31.00   confer with MRP re: revised orders relating to motions to seal sale disclosure
                                                               schedules
         1368.002    03/02/2023   HWR     0.20         95.00   Email w/ MR re: revising LedgerX and Embed sealing orders
         1368.002    03/02/2023   HWR     0.70        332.50   Review/revise sealing orders for Embed and LedgerX
         1368.002    03/02/2023   HWR     0.40        190.00   Confer w/ MRP re: revisions to Embed and LedgerX sealing orders
         1368.002    03/02/2023   HWR     0.50        237.50   Review/revise LedgerX and Embed seal order Certifications of Counsel
         1368.002    03/02/2023   HWR     0.10         47.50   Email w/ S&C re: Certifications of Counsel for LedgerX and Embed sealing orders
         1368.002    03/02/2023   MRP     0.10         62.50   Confer with MR re: revised orders relating to motions to seal sale disclosure
                                                               schedules
         1368.002    03/02/2023   MRP     0.40        250.00   Confer w/ HWR re: revisions to Embed and LedgerX sealing orders
         1368.002    03/03/2023   HWR     0.20         95.00   Review Certifications of Counsel for motions to seal LedgerX and Embed disclosures
         1368.002    03/03/2023   HWR     0.40        190.00   Email w/ MR re: finalizing and filing Certifications of Counsel for LedgerX and Embed
                                                               sealing orders(.2); email w/ MRP and MR re: same (.2)
         1368.002    03/03/2023   MR      0.70        217.00   email with HWR re: finalizing Certification of Counsel re: motion to seal embed
                                                               disclosure schedules (.1); finalize and file (.3); email with HWR and MRP re: same (.1);
                                                               update order for entry and upload (.2)
         1368.002    03/03/2023   MR      0.70        217.00   email with HWR re: finalizing Certification of Counsel re: motion to seal Ledgerx
                                                               disclosure schedules (.1); finalize and file (.3); email with HWR and MRP re: same (.1);
                                                               update order for entry and upload (.2)
         1368.002    03/03/2023   KAB     0.30        246.00   emails with LRC and S&C teams re: sale motion and hearing dates needed (.2); call
                                                               with M. Pierce re same (.1)
         1368.002    03/03/2023   KAB     0.10         82.00   emails with Chambers and LRC team re: March sale hearing date
         1368.002    03/03/2023   AGL     1.20      1,380.00   communications with S&C team re: private sale issues, sealing issues
         1368.002    03/03/2023   KAB     0.20        164.00   emails with S&C and LRC teams re: private sale and sealing issues
         1368.002    03/03/2023   ACD     0.70        217.00   Emails with N. Jenner re: notice of auction (0.1); finalize and e-file same (0.6)
         1368.002    03/03/2023   MRP     0.10         62.50   Email w/ HWR and MR re: finalizing Certification of Counsel re: motion to seal embed
                                                               disclosure schedules
         1368.002    03/03/2023   MRP     0.10         62.50   Email w/ HWR and MR re: finalizing Certification of Counsel re: motion to seal Ledgerx
                                                               disclosure schedules
         1368.002    03/03/2023   MRP     0.30        187.50   emails w/ LRC and S&C teams re: sale motion and hearing dates needed (.2); call with
                                                               KAB re same (.1)
         1368.002    03/03/2023   MRP     0.10         62.50   emails w/ Chambers and LRC team re: March sale hearing date
         1368.002    03/03/2023   MRP     0.20        125.00   emails w/S&C and LRC teams re: private sale and sealing issues
         1368.002    03/03/2023   NEJ     0.10         52.50   Emails w. ACD re: notice of auction
         1368.002    03/05/2023   KAB     0.20        164.00   email with S&C and LRC teams re: private sale pleadings and timing issues
         1368.002    03/05/2023   MRP     0.20        125.00   email w/ S&C and LRC teams re: private sale pleadings and timing issues
         1368.002    03/06/2023   KAB     0.50        410.00   email with LRC team re: Oracle sale objection (.1); review and analyze same (.4)
         1368.002    03/06/2023   KAB     0.10         82.00   email with S&C and M. Pierce re: further extension of certain sale deadlines
         1368.002    03/06/2023    MR     0.20         62.00   review docket oracle's objection to sale motion and cure (.1); email with LRC team re:
                                                               same (.1)
         1368.002    03/06/2023   AGL     0.40        460.00   communications with PWP team (.2) and LRC team (.2) re: asset sales, auction issues
         1368.002    03/06/2023   KAB     0.20        164.00   communications with A. Landis and M. Pierce re: asset sales and auction issues
         1368.002    03/06/2023   KAB     0.10         82.00   email with R. Poppiti re: auction status
         1368.002    03/06/2023   KAB     0.20        164.00   emails with S&C, UST, and UCC re: comments to LedgerX sale order (.1); email A.
                                                               Landis and M. Pierce re: same (.1)
         1368.002    03/06/2023   KAB     0.20        164.00   review and analyze UST comments to LedgerX APA and sale order
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            Client         Date   Tkpr   to Bill     Amount
Phase ID B112 Asset Disposition
         1368.002    03/06/2023   MRP     0.30        187.50 Review and comment on notice of revised sale deadlines w/r/t LedgerX and Embed
                                                             sales
         1368.002    03/06/2023   MRP     0.10         62.50 Email w/ LRC team and S&C re: notice of extended sale deadlines
         1368.002    03/06/2023   KAB     1.60      1,312.00 review and revise Sequoia sale motion
         1368.002    03/06/2023    MR     0.40        124.00 emails with MRP re: Notice of Revised Dates for Ledgerx, Embed, FTX Japan and FTX
                                                             Europe Sales (.2); finalize and file same (.2)
         1368.002    03/06/2023    KAB    0.10         82.00 emails with S&C and LRC teams re: final notice of extended bid deadlines
         1368.002    03/06/2023   HWR     0.30        142.50 Emails w/ KAB re: sale motion and research issues
         1368.002    03/06/2023   HWR     0.50        237.50 Research re: sale motion
         1368.002    03/06/2023   HWR     0.20         95.00 Emails w/ LRC team re: sale motions and orders
         1368.002    03/06/2023   HWR     0.20         95.00 Review sale/bid deadline extension notice
         1368.002    03/06/2023   HWR     0.10         47.50 Emails w/ MRP and MR re: finalizing and filing bid/sale deadline extension notice
         1368.002    03/06/2023   MRP     0.10         62.50 email w/ LRC team re: Oracle sale objection
         1368.002    03/06/2023   MRP     0.20        125.00 communications w/ AGL and KAB re: asset sales and auction issues
         1368.002    03/06/2023   MRP     0.10         62.50 email w/ AGL and KAB re: comments to LedgerX sale order
         1368.002    03/06/2023    AGL    0.10        115.00 email with LRC team re: comments to LedgerX sale order
         1368.002    03/06/2023   MRP     0.10         62.50 emails w/ S&C and LRC teams re: final notice of extended bid deadlines
         1368.002    03/06/2023    KAB    0.30        246.00 Emails with H. Robertson re: sale motion and research issues
         1368.002    03/06/2023    KAB    0.20        164.00 Emails with LRC team re: sale motions and orders
         1368.002    03/06/2023   MRP     0.20        125.00 Emails w/ LRC team re: sale motions and orders
         1368.002    03/06/2023   MRP     0.10         62.50 Emails w/ HWR and MR re: finalizing and filing bid/sale deadline extension notice
         1368.002    03/07/2023    KAB    2.80      2,296.00 review private sale precedent (1.2); review and revise Sequoia sale order (1.6)
         1368.002    03/07/2023    KAB    0.10         82.00 email with UST and S&C team re: extension of sale deadlines for Europe and Japan
         1368.002    03/07/2023    KAB    0.40        328.00 emails with UST and S&C team re: comments to LedgerX sale order (.1); review and
                                                             analyze same (.3)
         1368.002    03/07/2023   MRP     0.10         62.50 Email w/ KAB re: LedgerX APA
         1368.002    03/07/2023   KAB     0.10         82.00 Email with M. Pierce re: LedgerX APA
         1368.002    03/08/2023   MRP     0.20        125.00 Emails w/ S&C and LRC team re: service of Sale and KERP motions
         1368.002    03/08/2023   KAB     0.20        164.00 emails with S&C and LRC teams re: service issues related to sale and KERP motions
         1368.002    03/08/2023   MRP     0.10         62.50 Email w/ Kroll re: serving sale motion
         1368.002    03/08/2023   AGL     1.80      2,070.00 review and revise sequoia sale motion and related papers (1.6); communications with
                                                             LRC team re: same (.2)
         1368.002    03/08/2023   ACD     2.10        651.00 Emails with H. Robertson re: sequoia sale motion (0.3); revise notice re: same (0.1);
                                                             review and update sale motion and related exhibits (0.6); finalize and e-file same (1.1)
         1368.002    03/08/2023   KAB     1.00        820.00 emails with S&C and LRC team re: final version of Private Sale Pleadings for filing (.2);
                                                             review and analyze same (.6); emails with LRC team re: finalization and filing of same
                                                             (.2)
         1368.002    03/08/2023   KAB     0.20        164.00 emails with LRC team re: status of private sale motion and KERP
         1368.002    03/08/2023   MRP     0.20        125.00 Emails w/ S&C and LRC teams re: Sequia sale motion
         1368.002    03/08/2023   MRP     0.60        375.00 Review filing version of Sequoia sale motion
         1368.002    03/08/2023   MRP     0.20        125.00 Emails w/ LRC team re: filing sale motion
         1368.002    03/08/2023    MR     0.30         93.00 email with MRP re: drafting notices for Sequoia sale motion (.1); draft same (.2)
         1368.002    03/08/2023    MR     0.30         93.00 emails with HWR re: revisions to notice for Sequoia sale motion (.2); revise same (.1)
         1368.002    03/08/2023    MR     0.20         62.00 email with HWR re: sequoia sale motion (.1); confer with ACD re: finalizing and filing
                                                             same (.1)
         1368.002    03/08/2023   HWR     0.10         47.50 Email w/ MRP, AD and MR re: drafting notice for private sale motion
         1368.002    03/08/2023   HWR     0.20         95.00 Review and revise draft notice of private sale motion
         1368.002    03/08/2023   HWR     0.10         47.50 Email w/ MRP and MR re: comments to notice of private sale motion
         1368.002    03/08/2023   HWR     0.30        142.50 Review private sale motion for filing
         1368.002    03/08/2023   HWR     0.20         95.00 Emails w/ LRC team re: finalizing and filing private sale motion
         1368.002    03/08/2023   HWR     0.30        142.50 Emails w/ AD re: sequoia sale motion
         1368.002    03/08/2023   MRP     0.10         62.50 email w/ MR re: drafting notices for Sequoia sale motion
         1368.002    03/08/2023   ACD     0.10         31.00 confer with MR re: finalizing and filing sequoia sale motion
         1368.002    03/08/2023   MRP     0.10         62.50 Email w/ HWR, AD and MR re: drafting notice for private sale motion
         1368.002    03/08/2023   MRP     0.10         62.50 Email w/ HWR and MR re: comments to notice of private sale motion
         1368.002    03/09/2023   MRP     0.10         62.50 Email w/ UST re: mailing courtesy copy of sale motion
         1368.002    03/09/2023    KAB    0.10         82.00 emails with S&C, A&M, LRC and Kroll re: creditor matrix and Affidavit of Service issues
                                                             related to private sale motion
         1368.002    03/09/2023   KAB     0.20        164.00 emails with interested bidder, PWP, S&C, and LRC re: due diligence and related bid
                                                             prep issues
         1368.002    03/09/2023   HWR     0.10         47.50 Email w/ S&C team re: Private Sale Motion notice parties
         1368.002    03/09/2023   MRP     0.10         62.50 emails w/ S&C, A&M, LRC and Kroll re: creditor matrix and Affidavit of Service issues
                                                             related to private sale motion
         1368.002    03/09/2023   MRP     0.20        125.00 emails w/ interested bidder, PWP, S&C, and LRC re: due diligence and related bid
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            Client          Date   Tkpr   to Bill     Amount
Phase ID B112 Asset Disposition
                                                              prep issues
         1368.002    03/13/2023    KAB     0.20        164.00 emails with potential bidder, PWP and S&C re: bidder diligence
         1368.002    03/13/2023    KAB     0.50        410.00 emails with UST, UCC and A. Kranzley re: comments to embed APA and proposed
                                                              order (.1); review and analyze comments to same (.4)
         1368.002    03/15/2023    MRP     0.10         62.50 Email w/ Snohomish County re: receipt of notice of sale motion
         1368.002    03/15/2023    KAB     0.10         82.00 email with S&C and UST re: Embed comments
         1368.002    03/16/2023    AGL     0.20        230.00 communications with party interested in certain debtor assets
         1368.002    03/16/2023    NEJ     0.50        262.50 Emails w. LRC team re: finalizing and filing Notice of Auction for LedgerX Business;
                                                              (.2); Email w. HWR re: service of same (.1); Emails w. Kroll, LRC and S&C teams re:
                                                              service of auction notice (.2)
         1368.002    03/18/2023     MR     0.50        155.00 confer and email with HWR and MRP re: filing notice of revised deadlines for LedgerX
                                                              Sale (.3) finalize and file same (.2)
         1368.002    03/18/2023    KAB     0.30        246.00 emails with S&C and M. Pierce re: private sale issues (.2); email with M. Pierce re: same
                                                              (.1)
         1368.002    03/18/2023    KAB     0.10         82.00 email with UST, UCC and S&C teams re: ledgerX sale update
         1368.002    03/18/2023    KAB     0.20        164.00 emails with S&C and LRC team re: LedgerX extended sale notice (.1); review and
                                                              analyze revised dates (.1)
         1368.002    03/18/2023     KAB    0.10         82.00 emails with A. Kranzley and M. Pierce re: private sale motions and KERP
         1368.002    03/18/2023    HWR     0.10         47.50 Confer w/ MRP re: filing of notice of LedgerX sale deadline extension
         1368.002    03/18/2023    HWR     0.20         95.00 Confer w/ MR and AD re: finalizing and filing of notice of LedgerX sale deadline
                                                              extension
         1368.002    03/18/2023    HWR     0.10         47.50 Review finalized notice of LedgerX sale deadline extension for filing
         1368.002    03/18/2023    MRP     0.30        187.50 confer and email w/ HWR and MR re: filing notice of revised deadlines for LedgerX
                                                              Sale
         1368.002    03/18/2023    HWR     0.30        142.50 confer and email w/ MRP and MR re: filing notice of revised deadlines for LedgerX
                                                              Sale
         1368.002    03/18/2023    MRP     0.10         62.50 email w/ KAB re: private sale issues
         1368.002    03/18/2023    MRP     0.10         62.50 emails w/ S&C and LRC teams re: LedgerX extended sale notice
         1368.002    03/18/2023    HWR     0.10         47.50 emails w/ S&C and LRC team re: LedgerX extended sale notice
         1368.002    03/18/2023    MRP     0.10         62.50 emails w/ A. Kranzley and KAB re: private sale motions and KERP
         1368.002    03/18/2023    MRP     0.10         62.50 Confer w/ HWR re: filing of notice of LedgerX sale deadline extension
         1368.002    03/18/2023     MR     0.20         62.00 Confer with HWR and ACD re: finalizing and filing of notice of LedgerX sale deadline
                                                              extension
         1368.002    03/18/2023    ACD     0.20         62.00 Confer with MR and HWR re: finalizing and filing of notice of LedgerX sale deadline
                                                              extension
         1368.002    03/18/2023    MRP     0.40        250.00 Review notice of revised sale dates
         1368.002    03/18/2023    MRP     0.30        187.50 Analyze questions w/r/t private sales
         1368.002    03/20/2023    KAB     0.10         82.00 emails with Kroll, LRC and S&C re: service of revised sale notice
         1368.002    03/20/2023    KAB     0.10         82.00 emails with potential bidder, PWP and S&C re: bidder diligence
         1368.002    03/20/2023    MRP     0.10         62.50 emails w/ Kroll, LRC and S&C re: service of revised sale notice
         1368.002    03/21/2023    MRP     0.10         62.50 Email w/ interested party re: LedgerX bid
         1368.002    03/21/2023    MRP     0.40        250.00 Review LedgerX bid sheet
         1368.002    03/21/2023    MRP     0.10         62.50 Email w/ interested party, PWP, LRC and S&C teams re: LedgerX sale
         1368.002    03/21/2023    KAB     0.10         82.00 Emails with potential bidder, PWP, LRC and S&C teams re: LedgerX sale
         1368.002    03/21/2023    MRP     0.20        125.00 Email w/ S&C and LRC re: Mysten Labs sale motion
         1368.002    03/21/2023    KAB     0.20        164.00 emails with S&C and LRC teams re: Mysten private sale motion (.1); email with M.
                                                              Pierce re: same (.1)
         1368.002    03/21/2023    MRP     2.60      1,625.00 Review and comment on draft Mysten sale motion
         1368.002    03/21/2023    MRP     0.50        312.50 Emails w/ AGL and KAB re: Mysten sale motion
         1368.002    03/21/2023    AGL     1.60      1,840.00 review and revise asset sale motion (Mysten) (1.1); communications with LRC team re:
                                                              same (.5)
         1368.002    03/21/2023    KAB     1.90      1,558.00 review and revise Mysten private sale motion (1.3); communications with LRC team re:
                                                              same (.5); emails with S&C and LRC teams re: same (.1)
         1368.002    03/21/2023    MRP     0.10         62.50 email w/ KAB re: Mysten private sale motion
         1368.002    03/22/2023     MR     0.30         93.00 draft notice re: sale motion (.2); email with HWR re: review of same (.1)
         1368.002    03/22/2023    MRP     0.50        312.50 Email w/ S&C and HWR re: service of Mysten sale motion
         1368.002    03/22/2023    MRP     0.10         62.50 Email w/ UST re: comments to Sequoia sale
         1368.002    03/22/2023    KAB     0.20        164.00 emails with S&C, UST and M. Pierce re: Sequoia sale
         1368.002    03/22/2023    KAB     0.50        410.00 emails with UST, UCC, and S&C re: LedgerX sale order (.1); review and analyze revised
                                                              order and comments related to same (.4)
         1368.002    03/22/2023    KAB     0.40        328.00 email with S&C and LRC teams re: IP sale issues (.1); review and analyze LOI related to
                                                              same (.2); emails with LRC team re: same (.1)
         1368.002    03/22/2023    KAB     0.20        164.00 emails with S&C and LRC teams re: Mysten private sale motion and service issues
                                                              related thereto
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                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B112 Asset Disposition
         1368.002    03/22/2023   MRP     0.10         62.50   Email w/ S&C and LRC re: IP sale issue
         1368.002    03/22/2023   MRP     0.10         62.50   Emails w/ AGL and KAB re: IP sale issue
         1368.002    03/22/2023   MRP     0.10         62.50   Email w/ S&C team re: status update on Mysten sale motion
         1368.002    03/22/2023   MRP     0.10         62.50   Email w/ HWR re: service of sale motion and coordinating with Kroll
         1368.002    03/22/2023   MRP     0.10         62.50   Email w/ S&C and LRC team re: service of Mysten sale motion
         1368.002    03/22/2023    MR     0.70        217.00   finalize (.3) sale motion; email with MRP and HWR re: same (.2); and file sale motion
                                                               (.2)
         1368.002    03/22/2023   AGL     1.00      1,150.00   review and analyze S&C request re: potential modes of disposition of certain assets
                                                               (.7); communications with LRC team re: same (.3)
         1368.002    03/22/2023   AGL     0.80        920.00   communications with S&C and LRC teams re: Mysten sale motion issues, filing and
                                                               service requirements
         1368.002    03/22/2023   KAB     0.70        574.00   emails with S&C and LRC teams re: final version of Mysten private sale pleadings,
                                                               status of filing and related issues (.4); confer with A. Landis and M. Pierce re: same (.1);
                                                               emails with S&C, Kroll and LRC teams re: service of same (.2)
         1368.002    03/22/2023   KAB     0.20        164.00   emails with UST, S&C, UCC and M. Pierce re: UST comments/questions on Sequoia
                                                               sale
         1368.002    03/22/2023   HWR     0.20         95.00   Emails w/ KAB, MRP and MR re: drafting notice of Mysten Labs Sale Motion (.1);
                                                               review same (.1)
         1368.002    03/22/2023   HWR     0.20         95.00   Review issues/request from S&C re: notice parties for Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.50        237.50   Emails w/ MRP and S&C re: service of Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.20         95.00   Confer w/ MRP and MR re: status of Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.80        380.00   Draft and revise service instructions to Kroll re: Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.10         47.50   Emails w/ MRP re: service instructions for Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.10         47.50   email w/ Kroll re: service of Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.20         95.00   Emails w/ MRP and MR re: finalizing and filing Mysten Sale Motion
         1368.002    03/22/2023   HWR     0.30        142.50   Review finalized Mysten Sale Motion for filing
         1368.002    03/22/2023   HWR     0.10         47.50   email w/ MR re: review of draft notice re: sale motion
         1368.002    03/22/2023   MRP     0.20        125.00   emails w/ S&C, UST and KAB re: Sequoia sale
         1368.002    03/22/2023   MRP     0.10         62.50   confer w/ AGL and KAB re: final version of Mysten private sale pleadings, status of
                                                               filing and related issues
         1368.002    03/22/2023   MRP     0.20        125.00   emails w/ UST, S&C, UCC and KAB re: UST comments/questions on Sequoia sale
         1368.002    03/22/2023   MRP     0.20        125.00   Confer w/ HWR and MR re: status of Mysten Sale Motion
         1368.002    03/22/2023    MR     0.20         62.00   Confer w/ MRP and HWR re: status of Mysten Sale Motion
         1368.002    03/22/2023   MRP     0.20        125.00   Emails w/ HWR and MR re: finalizing and filing Mysten Sale Motion
         1368.002    03/22/2023   MRP     1.70      1,062.50   Review filing versions of Mysten sale motion and related documents
         1368.002    03/23/2023   KAB     0.30        246.00   call with A. Landis and M. Pierce re: consultant/sale issue and objection to motion to
                                                               shorten direct certification question
         1368.002    03/23/2023   KAB     0.50        410.00   emails with bidder, PWP, LRC and S&C teams re: bid for Embed (.1); review and
                                                               analyze proposal (.4)
         1368.002    03/23/2023   AGL     0.30        345.00   call with LRC team re: consultant/sale issue and objection to motion to shorten direct
                                                               certification question
         1368.002    03/23/2023   MRP     0.30        187.50   call w/ AGL and KAB re: consultant/sale issue and objection to motion to shorten
                                                               direct certification question
         1368.002    03/23/2023   MRP     0.10         62.50   emails w/ bidder, PWP, LRC and S&C teams re: bid for Embed
         1368.002    03/24/2023   MRP     0.10         62.50   Email w/ S&C and UST re: revised Sequia sale order
         1368.002    03/24/2023   MRP     0.30        187.50   Review revisions to Sequoia sale order
         1368.002    03/24/2023   MRP     0.30        187.50   Emails w/ S&C and LRC teams re: disposition of certain IP assets
         1368.002    03/24/2023   MRP     0.30        187.50   Confer w/ AGL and KAB re: disposition of certain IP assets
         1368.002    03/24/2023   HWR     0.20         95.00   Confer and email w/ MRP re: Certification of Counsel for Sequoia sale motion
         1368.002    03/24/2023   HWR     0.20         95.00   draft Certification of Counsel for Sequoia sale motion
         1368.002    03/24/2023   HWR     0.10         47.50   Revise Certification of Counsel for Sequoia sale motion
         1368.002    03/24/2023    KAB    0.30        246.00   Emails with S&C and LRC teams re: IP sale and related issues
         1368.002    03/24/2023    KAB    0.20        164.00   Emails with A&M, M. Cilia and Well Fargo re: wire information (.1); emails with J. Lee
                                                               re: same (.1)
         1368.002    03/24/2023   KAB     0.30        246.00   Emails with UST, UCC, S&C and M. Pierce re: Sequoia sale and evidentiary support
                                                               therefore (.2); review and analyze proposed revised order (.1)
         1368.002    03/24/2023   MRP     0.20        125.00   Confer and email w/ HWR re: Certification of Counsel for Sequoia sale motion
         1368.002    03/24/2023   AGL     0.30        345.00   confer with LRC team re: IP sale and related issues
         1368.002    03/24/2023   MRP     0.30        187.50   Emails w/ UST, UCC, S&C and KAB re: Sequoia sale and evidentiary support therefore
                                                               (.2); review and analyze proposed revised order (.1)
         1368.002    03/24/2023   KAB     0.70        574.00   confer with A. Landis and M. Pierce re: disposition of certain IP assets (.3); consider
                                                               and analyze issues related thereto (.4)
         1368.002    03/27/2023   MRP     0.10         62.50   Email w/ S&C and UST re: supplemental declaration in support of Sequoia sale
         1368.002    03/27/2023   MRP     0.10         62.50   Review Ray declarations in support of Sequoia sale
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                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B112 Asset Disposition
         1368.002    03/28/2023   MRP     0.10         62.50 Email w/ S&C re: revised Sequoia sale order and supplemental declarations
         1368.002    03/28/2023   MRP     0.30        187.50 Review and revise Certification of Counsel for Sequoia sale order (.1); emails w/ HWR
                                                             re: the same (.2)
         1368.002    03/28/2023   MRP     0.10         62.50 Email w/ UST re: signoff on revised Sequoia sale order
         1368.002    03/28/2023   KAB     0.20        164.00 emails with LRC and S&C teams re: Sequoia sale status, COCs and supplemental decs
         1368.002    03/28/2023   KAB     0.40        328.00 emails with UST, A. Kranzley and M. Pierce re: Sequoia sale pleadings and revised
                                                             order (.1); emails with S&C and LRC teams re: finalization and filing of same and
                                                             related issues (.2); emails with LRC team re: same (.1)
         1368.002    03/28/2023   KAB     0.40        328.00 emails with S&C ad LRC teams re: revised Embed sale dates and notice related
                                                             thereto (.2); review and revise sale notice (.1); emails with LRC team re: finalization and
                                                             filing of same (.1)
         1368.002    03/28/2023   MRP     0.10         62.50 Email w/ S&C re: Certification of Counsel for Sequoia sale
         1368.002    03/28/2023   MRP     0.20        125.00 Review filing version of Sequoia Certification of Counsel and revised form of order
         1368.002    03/28/2023   MRP     0.10         62.50 Emails w/ LRC team re: filing Sequoia Certification of Counsel and uploading form of
                                                             revised order
         1368.002    03/28/2023   MRP     0.10         62.50 Emails w/ HWR re: service of sale order and amended agenda
         1368.002    03/28/2023    MR     0.20         62.00 emails with HWR, MRP and ACD re: declaration in support of Sequoia sale motion and
                                                             Certification of Counsel re: same
         1368.002    03/28/2023   MR      0.50        155.00 emails with KAB re: notice of revised dates for Embed sale (.2); finalize and file same
                                                             (.2); email with KAB and LRC team re: as-filed of same (.1)
         1368.002    03/28/2023   ACD     1.30        403.00 Emails with M. Pierce re: declarations in support of Sequoia Capital Fund sale motion
                                                             (0.2); finalize and e-file same (0.5); emails with M. Pierce re: Certification of Counsel re:
                                                             same (0.1); finalize and e-file same (0.4); upload order per chambers procedures (0.1);
         1368.002    03/28/2023   HWR     0.30        142.50 Emails w/ S&C re: Sequoia Sale COC
         1368.002    03/28/2023   HWR     0.40        190.00 Revise Sequoia Sale COC
         1368.002    03/28/2023   HWR     0.20         95.00 Emails w/ MRP re: Sequoia Sale COC
         1368.002    03/28/2023   HWR     0.20         95.00 Review Supplemental Declarations iso Sequoia Sale COC
         1368.002    03/28/2023   HWR     0.10         47.50 Emails w/ MR and AD re: filing Supplemental Declarations iso Sequoia Sale COC
         1368.002    03/28/2023   HWR     0.20         95.00 Review notice of revised dates for sale of Embed Business
         1368.002    03/28/2023   HWR     0.20         95.00 Emails w/ S&C re: notice of revised dates for sale of Embed Business
         1368.002    03/28/2023   HWR     0.10         47.50 Emails w/ MR and AD re: finalizing and filing Sequoia Sale COC
         1368.002    03/28/2023   HWR     0.20         95.00 Review revised Sequoia Sale COC for filing
         1368.002    03/28/2023   HWR     0.10         47.50 Emails w/ LRC team re: finalizing and filing notice of revised dates for sale of Embed
                                                             Business
         1368.002    03/28/2023   HWR     0.20         95.00 Emails w/ MR and AD re: Sequoia sale order
         1368.002    03/28/2023   HWR     0.10         47.50 Emails w/ MRP re: service of sale order and amended agenda
         1368.002    03/28/2023   MRP     0.30        187.50 Emails w/ ACD re: declarations in support of Sequoia Capital Fund sale motion (0.2);
                                                             emails w/ ACD re: Certification of Counsel for same (0.1)
         1368.002    03/28/2023   MRP     0.20        125.00 Emails w/ HWR re: Sequoia Sale COC
         1368.002    03/28/2023    MR     0.10         31.00 Emails with HWR and AD re: filing Supplemental Declarations iso Sequoia Sale COC
         1368.002    03/28/2023   ACD     0.10         31.00 Emails with MR and HWR re: filing Supplemental Declarations iso Sequoia Sale COC
         1368.002    03/28/2023   ACD     0.20         62.00 Emails with MR and HWR re: Sequoia sale order
         1368.002    03/28/2023    MR     0.20         62.00 Emails with HWR and AD re: Sequoia sale order
         1368.002    03/29/2023   KAB     0.10         82.00 emails with UST, UCC, and S&C re: proposed sale order for Mysten Labs and SUI
                                                             token warrants
         1368.002    03/30/2023   KAB     0.20        164.00 emails with UST, UCC, S&C and LRC teams re: Mysten labs and SUI token warrants
         1368.002    03/30/2023   MRP     0.20        125.00 emails w/ UST, UCC, S&C and LRC teams re: Mysten labs and SUI token warrants
         1368.002    03/31/2023   AGL     0.30        345.00 communications with S&C and LRC teams re: ledgerx auction
         1368.002    03/31/2023   NEJ     0.50        262.50 Emails w. LRC team re: notice of auction (LedgerX) (.1); Review and revise draft notice
                                                             of same (.3); Call and email J. Ljustina re: same (.1)
         1368.002    03/31/2023   KAB     0.10         82.00 emails with Kroll, LRC and S&C teams re: service of auction notice
         1368.002    03/31/2023   KAB     0.90        738.00 emails with S&C and LRC teams re: LedgerX auction and notice issues (.3); review and
                                                             revise notice (.2); emails with LRC team re: finalization and filing of same (.2); emails
                                                             with A. Landis and M. Pierce re: status of LedgerX auction and related issues (.2)
         1368.002    03/31/2023   HWR     0.20         95.00 Emails w/ LRC Team re: LedgerX business auction notice
         1368.002    03/31/2023   HWR     0.10         47.50 Emails w/ NEJ re: LedgerX business auction notice
         1368.002    03/31/2023   HWR     0.20         95.00 Emails w/ S&C re: LedgerX business auction notice
         1368.002    03/31/2023   MRP     0.70        437.50 emails w/ S&C and LRC teams re: LedgerX auction and notice issues (.3); emails w/
                                                             LRC team re: finalization and filing of same (.2); emails w/ LRC team re: status of
                                                             LedgerX auction and related issues (.2)
         1368.002    03/31/2023   AGL     0.20        230.00 emails with LRC team re: status of LedgerX auction and related issues
         1368.002    03/31/2023   ACD     0.20         62.00 Emails with LRC Team re: LedgerX business auction notice
         1368.002    03/31/2023    MR     0.20         62.00 Emails with LRC Team re: LedgerX business auction notice
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                           Trans              Hours
             Client         Date      Tkpr    to Bill          Amount
Phase ID B112 Asset Disposition

Total for Phase ID B112            Billable   78.00          53,698.00 Asset Disposition

Phase ID B114 Assumption/Rejection of Leases and Contracts
         1368.002  03/01/2023     KAB          0.20             164.00   emails with S&C and LRC re: revised rejection order; review and revise same
         1368.002  03/01/2023     KAB          0.10              82.00   email with LRC team re: Certification of Counsel for revised rejection order
         1368.002  03/01/2023 HWR              0.10              47.50   Email w/ KAB re: Certification of Counsel for 365(d)(4) motion
         1368.002  03/01/2023 HWR              0.20              95.00   Draft Certification of Counsel for 365(d)(4) motion
         1368.002  03/01/2023    MRP           0.20             125.00   emails w/ S&C and LRC re: revised rejection order (.1); review and revise same (.1)
         1368.002  03/01/2023    MRP           0.10              62.50   email w/ LRC team re: Certification of Counsel for revised rejection order
         1368.002  03/01/2023 HWR              0.10              47.50   email w/ LRC team re: Certification of Counsel for revised rejection order
         1368.002  03/01/2023     KAB          0.10              82.00   Email with H. Robertson re: Certification of Counsel for 365(d)(4) motion
         1368.002  03/02/2023 HWR              0.30             142.50   Additional review/revisions to 365(d)(4) motion Certification of Counsel
         1368.002  03/02/2023 HWR              0.10              47.50   Email w/ S&C re: draft 365(d)(4) extension Certification of Counsel
         1368.002  03/02/2023 HWR              0.10              47.50   Review/revise Certificate of No Objection re: second omnibus contract rejection
                                                                         motion
         1368.002     03/02/2023     HWR       0.10              47.50   Confer w/ MRP re: Certificate of No Objection for second omnibus contract rejection
         1368.002     03/02/2023     MRP       0.10              62.50   Confer w/ HWR re: Certificate of No Objection for second omnibus contract rejection
         1368.002     03/03/2023     HWR       0.20              95.00   Review Certification of Counsel and revised order for 365(d)(4) motion
         1368.002     03/03/2023     HWR       0.10              47.50   Email w/ LRC team re: finalizing and filing 365(d)(4) Certification of Counsel
         1368.002     03/03/2023      MR       0.70             217.00   email with HWR re: finalizing Certification of Counsel re: motion to reject contracts
                                                                         (.1); finalize and file same (.3); email with HWR and MRP re: same (.1); update order
                                                                         and upload same (.2)
         1368.002     03/03/2023     HWR       0.10              47.50   Emails w/ LRC team re: docket issue related to 365(d)(4) motion and filing
                                                                         Certification of Counsel
         1368.002     03/03/2023      KAB      0.20             164.00   call with M. Pierce re: sealing issue related to contract order
         1368.002     03/03/2023      KAB      0.10              82.00   emails with UCC, S&C and LRC teams re: sealing orders and revised 365(d)(4) order
         1368.002     03/03/2023     HWR       0.30             142.50   Revise order and Certificate of No Objection for 2nd omnibus contract rejection
                                                                         motion
         1368.002     03/03/2023      KAB      0.10              82.00   emails with UST, UCC, LRC and A. Kranzley re: revised sealing orders and 365(d)(4)
                                                                         motion
         1368.002     03/03/2023       MR      0.40             124.00   email with HWR and MRP re: finalizing and filing Certificate of No Objection re: sealed
                                                                         motion to reject (.1); finalize and file same (.2); upload order re: same (.1)
         1368.002     03/03/2023      KAB      0.10              82.00   Emails with LRC team re: docket issue related to 365(d)(4) motion and filing
                                                                         Certification of Counsel
         1368.002     03/03/2023     MRP       0.10              62.50   Emails w/ LRC team re: docket issue related to 365(d)(4) motion and filing
                                                                         Certification of Counsel
         1368.002     03/03/2023     MRP       0.20             125.00   call w/ KAB re: sealing issue related to contract order
         1368.002     03/03/2023     MRP       0.10              62.50   emails w/ UCC, S&C and LRC teams re: sealing orders and revised 365(d)(4) order
         1368.002     03/03/2023     MRP       0.10              62.50   emails w/ UST, UCC, LRC and A. Kranzley re: revised sealing orders and 365(d)(4)
                                                                         motion
         1368.002     03/03/2023     HWR       0.10              47.50   email w/ MRP and MR re: finalizing and filing Certificate of No Objection re: sealed
                                                                         motion to reject
         1368.002     03/03/2023     MRP       0.10              62.50   email with HWR and MR re: finalizing and filing Certificate of No Objection re: sealed
                                                                         motion to reject
         1368.002     03/03/2023     MRP       0.30             187.50   Review compiled omnibus rejection order for submission to chambers
         1368.002     03/08/2023     MRP       0.10              62.50   Email w/ J. Price re: assumption of Iron Mountain contract
         1368.002     03/08/2023     KAB       0.10              82.00   review email from J. Price re: Iron Mountain contracts
         1368.002     03/08/2023     KAB       0.10              82.00   emails with S&C, LRC and counsel to Iron Mountain re: response on contract status
         1368.002     03/08/2023     MRP       0.10              62.50   Email w/ S&C and J. Price re: status of Iron Mountain contracts
         1368.002     03/08/2023     MRP       0.10              62.50   emails w/ S&C, LRC and counsel to Iron Mountain re: response on contract status
         1368.002     03/14/2023     MRP       0.20             125.00   Call w/ S. Christiansian re: Oracle contract renewal
         1368.002     03/14/2023     KAB       0.10              82.00   discussion with M. Pierce re: Oracle contract renewal issue
         1368.002     03/14/2023     MRP       0.70             437.50   Email w/ KAB and S&C re: Oracle/Net Suite contract renewal issue
         1368.002     03/14/2023     KAB       0.10              82.00   email with S&C and M. Pierce re: Oracle contract renewal issue
         1368.002     03/14/2023     MRP       0.10              62.50   discussion w/ KAB re: Oracle contract renewal issue
         1368.002     03/21/2023     KAB       0.60             492.00   review and analyze additional information from counsel to Swift Media re:
                                                                         sponsorship agreement issues (.3); emails with S&C and M. Pierce re: same (.3)
         1368.002     03/21/2023     MRP       0.30             187.50   Email w/ LRC and S&C re: Swift Media stip
         1368.002     03/22/2023     KAB       0.30             246.00   emails with counsel to Swift Media and M. Pierce re: stipulation request related to
                                                                         rejected contract
         1368.002     03/22/2023     MRP       0.30             187.50   emails w/ counsel to Swift Media and KAB re: stipulation request related to rejected
                                                                         contract
         1368.002     03/28/2023      KAB      0.20             164.00   emails with S&C and M. Pierce re: Swift Media termination request (.1); emails with
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             Client         Date      Tkpr    to Bill          Amount
Phase ID B114 Assumption/Rejection of Leases and Contracts
                                                                       counsel to Swift Media, J. Petiford and M. Pierce re: same (.1)
         1368.002     03/28/2023     MRP       0.20             125.00 emails w. S&C and KAB re: Swift Media termination request (.1); emails w/ counsel to
                                                                       Swift Media, J. Petiford and KAB re: same (.1)
         1368.002     03/30/2023      KAB      0.10              82.00 email with B. Rosenblum, J. Ryan, J. Petiford and M. Pierce re: call on Swift Media
                                                                       contract issue/termination request
         1368.002     03/30/2023     MRP       0.10              62.50 email w/ B. Rosenblum, J. Ryan, J. Petiford and KAB re: call on Swift Media contract
                                                                       issue/termination request
         1368.002     03/31/2023     MRP       0.40             250.00 Call w/ KAB and counsel to Swift re: rejection of contract (.3); emails w/ KAB and J.
                                                                       Petiford re: same (.1)
         1368.002     03/31/2023      KAB      0.40             328.00 call with counsel to Swift, M. Pierce and J. Petiford re: sponsorship agreement (.3);
                                                                       emails with J. Petiford and M. Pierce re: same (.1)

Total for Phase ID B114            Billable    9.70           6,011.50 Assumption/Rejection of Leases and Contracts

Phase ID B120 Business Operations
         1368.002    03/01/2023   KAB          0.40             328.00 call with R. Rogers re: BOA re: account records (.3); email A&M, M. Silia and M. Pierce
                                                                       re: update on same (.1)
         1368.002     03/01/2023     HWR       1.00             475.00 review redacted equity holder list for filing (.3); review unredacted sealed equity list
                                                                       for filing (.4); confer and emails w/ MRP, MR and AD re: finalizing and filing
                                                                       unredacted/sealed equity list (.3)
         1368.002     03/01/2023     KAB       0.10              82.00 email with M. Sukach and M. Pierce re: equity holder questions
         1368.002     03/01/2023     MRP       0.10              62.50 email A&M, M. Silia and KAB re: update on BOA re: account records
         1368.002     03/01/2023     MRP       0.30             187.50 confer and emails w/ HWR, MR and AD re: finalizing and filing unredacted/sealed
                                                                       equity list
         1368.002     03/01/2023      ACD      0.30              93.00 confer and emails w/ HWR, MR and MRP re: finalizing and filing unredacted/sealed
                                                                       equity list
         1368.002     03/01/2023       MR      0.30              93.00 confer and emails with HWR, ACD and MRP re: finalizing and filing unredacted/sealed
                                                                       equity list
         1368.002     03/01/2023     MRP       0.10              62.50 email w/ M. Sukach and KAB re: equity holder questions
         1368.002     03/02/2023     KAB       0.20             164.00 email with S&C and LRC teams re: 3/2 filings (.1); emails with LRC team re: same (.1)
         1368.002     03/02/2023     KAB       0.10              82.00 email with S&C and M. Pierce re: follow-up on certain 90 day transfer info requested
                                                                       by UST
         1368.002     03/02/2023      KAB      0.20             164.00 email with K. Hirsch re: BofA statements (.1); email A&M, S&C, M. Cilia, and M. Pierce
                                                                       re: same (.1)
         1368.002     03/02/2023       MR      1.30             403.00 prepare to file COC/CNO related to motions scheduled for 3.8 hearing by reviewing
                                                                       docket re: responses of same (.2) and OCP statement; draft Certificate of No
                                                                       Objection re: motion to extend dischargeability (.2); draft Certificate of No Objection
                                                                       re: second motion to reject (.2); emails with HWR re: same (.2); confer with HWR re:
                                                                       pfo for same (.1); email with ACD re: finalize order for motion to extend
                                                                       dischargeability (.1); finalize same (.1); file Certificate of No Objection re: same (.1)
                                                                       upload order re: same (.1)
         1368.002     03/02/2023     MRP       0.20             125.00 email w/ S&C and KAB re: 3/2 filings (.1); emails w/ LRC team re: same (.1)
         1368.002     03/02/2023     HWR       0.10              47.50 emails w/ LRC team re: 3/2 filings
         1368.002     03/02/2023       MR      0.10              31.00 emails with LRC team re: 3/2 filings
         1368.002     03/02/2023     MRP       0.10              62.50 email w/ S&C and KAB re: follow-up on certain 90 day transfer info requested by UST
         1368.002     03/02/2023     MRP       0.10              62.50 email A&M, S&C, M. Cilia, and KAB re: BofA statements
         1368.002     03/03/2023     MRP       0.60             375.00 Call w/ HWR re: open issues and 3/3 filings
         1368.002     03/03/2023     HWR       0.60             285.00 Call w/ MRP re: open issues and 3/3 filings
         1368.002     03/03/2023      KAB      0.10              82.00 emails with S&C and LRC teams re: 3/3 filings
         1368.002     03/03/2023     MRP       0.10              62.50 emails w/ S&C and LRC teams re: 3/3 filings
         1368.002     03/03/2023     HWR       0.10              47.50 emails w/ S&C and LRC teams re: 3/3 filings
         1368.002     03/04/2023      KAB      0.30             246.00 emails with S&C and LRC teams re: t-bills/cash investments (.1); email with M. Pierce
                                                                       and A. Landis re: research on same (.2)
         1368.002     03/04/2023     MRP       0.30             187.50 email w/ KAB and AGL re: research on t-bills/cash investments (.2); emails w/ LRC and
                                                                       S&C re: same (.1)
         1368.002     03/04/2023      AGL      0.30             345.00 email with LRC team re: research on t-bills/cash investments (.2); email with LRC and
                                                                       S&C re: same (.1)
         1368.002     03/06/2023      KAB      0.10              82.00 emails with S&C and LRC teams re: filings for week of 3/6
         1368.002     03/06/2023     HWR       0.10              47.50 Call w/ J. Petiford re: filing plan
         1368.002     03/06/2023     HWR       0.10              47.50 Confer w/ MRP re: filing plan
         1368.002     03/06/2023     HWR       0.10              47.50 Emails w/ S&C and LRC team re: filing plan for week of 3/6
         1368.002     03/06/2023     MRP       0.10              62.50 emails w/ S&C and LRC teams re: filings for week of 3/6
         1368.002     03/06/2023     MRP       0.10              62.50 Confer w/ HWR re: filing plan
         1368.002     03/07/2023     MRP       0.20             125.00 Discussion and email w/ AD re: research on hearing transcript re: motion to clarify
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Phase ID B120 Business Operations
                                                               cash order
         1368.002    03/07/2023     MRP     1.90      1,187.50 Continue research Bankruptcy Code section 345(b) issues (.8); draft summary of the
                                                               same (1.1)
         1368.002    03/07/2023     KAB     0.60        492.00 email with A. Landis and M. Pierce re: t-bills research and summary (.2); review and
                                                               revise summary (.4)
         1368.002    03/07/2023     MRP     0.20        125.00 Confer w/ HWR re: open issues
         1368.002    03/07/2023      KAB    0.10         82.00 email with J. Lee re: well fargo accounts
         1368.002    03/07/2023     HWR     0.20         95.00 Call w/ MRP re: open issues
         1368.002    03/07/2023     MRP     0.20        125.00 Emails w/ AGL and KAB re: 345(b) and investment research
         1368.002    03/07/2023     MRP     0.30        187.50 Email w/ S&C and LRC re: investment account research
         1368.002    03/07/2023      KAB    0.20        164.00 email with S&C and LRC teams re: t-bills and related issues
         1368.002    03/07/2023      KAB    0.10         82.00 emails with J. Lee re: follow-ups on Wells Fargo account production
         1368.002    03/07/2023     ACD     0.20         62.00 Discussion and email w/ MRP re: research on hearing transcript on motion to clarify
                                                               cash order
         1368.002    03/07/2023     AGL     0.20        230.00 communications with LRC team re: t-bills research and summary
         1368.002    03/08/2023     MRP     0.10         62.50 Email w/ A&M and KAB re: follow-up inquires for Bank of America
         1368.002    03/08/2023     KAB     0.10         82.00 emails with M. Sukach, M. Pierce and S&C team re: equity holder issue
         1368.002    03/08/2023     KAB     0.10         82.00 emails with LRC and S&C teams re: updated 3/8 filings
         1368.002    03/08/2023     KAB     0.20        164.00 email with counsel to BofA and M. Pierce re: follow-ups on account info (.1); email
                                                               with A&M and M. Pierce re: same (.1)
         1368.002    03/08/2023     KAB     0.20        164.00 email with counsel to Wells Fargo and M. Pierce re: additional account follow-ups (.1);
                                                               email with A&M re: same (.1)
         1368.002    03/08/2023     MRP     0.10         62.50 Email w/ KAB and X. Zhao re: follow up info request for BofA
         1368.002    03/08/2023     MRP     0.20        125.00 Email w/ LRC, S&C, and G. Bedell re: Florida money transmitter license
         1368.002    03/08/2023     KAB     0.10         82.00 email with UST and LRC teams re: purported Dropbox fax docs
         1368.002    03/08/2023     KAB     0.20        164.00 emails with S&C, LRC and counsel to Florida Office of Financial Regulation re: license
                                                               issues
         1368.002    03/08/2023     HWR     0.10         47.50 Email with LRC and review S&C updated filing plan
         1368.002    03/08/2023     MRP     0.10         62.50 emails w/ M. Sukach, KAB, and S&C team re: equity holder issue
         1368.002    03/08/2023     MRP     0.10         62.50 emails w/ LRC and S&C teams re: updated 3/8 filings
         1368.002    03/08/2023     MRP     0.10         62.50 email w/ counsel to Wells Fargo and KAB re: additional account follow-ups
         1368.002    03/09/2023     MRP     0.10         62.50 Email w/ LRC, S&C and RLKS re: registered agent for certain entities
         1368.002    03/09/2023      KAB    0.10         82.00 emails with S&C, LRC and M. Cilia re: registered agent issues
         1368.002    03/09/2023      KAB    0.20        164.00 emails with M. Pierce re: open issues
         1368.002    03/09/2023     MRP     0.20        125.00 emails w/ KAB re: open issues
         1368.002    03/10/2023      KAB    0.20        164.00 email with S&C team re: update on certain bank account records
         1368.002    03/10/2023      ALS    0.30         60.00 Email with KAB re: response letter to J. Graves re: TRO related to certain crypto assets
                                                               (.1); email response letter to J. Graves, LRC, and S&C teams (.1); prepare FedEx label
                                                               re: same (.1)
         1368.002    03/10/2023     KAB     0.20        164.00 Email with A. Strauss re: response letter to J. Graves re: TRO related to certain crypto
                                                               assets (.1); email re: same with J. Graves, LRC, and S&C teams (.1)
         1368.002    03/10/2023     MRP     0.10         62.50 email with J. Graves, LRC, and S&C teams re: response letter to J. Graves re: TRO
                                                               related to certain crypto assets
         1368.002    03/12/2023     MRP     0.10         62.50 Email w/ UST re: Debtor accounts at certain distressed banks
         1368.002    03/12/2023     MRP     0.20        125.00 Emails w/ S&C, A&M and RLKS teams re: UST request w/r/t/ certain Debtor bank
                                                               accounts
         1368.002    03/12/2023     KAB     0.50        410.00 emails with UST and LRC teams re: bank account updates and related issues (.2);
                                                               emails with M. Cilia, S&C, A&M and M. Pierce re: same (.3)
         1368.002    03/12/2023     KAB     0.90        738.00 review media coverage of banking issues (.4); review and analyze FDIC/Fed release re:
                                                               same (.3); emails with M. Pierce re: Debtor accounts (.2)
         1368.002    03/12/2023     MRP     0.20        125.00 emails w/ KAB re: Debtor accounts
         1368.002    03/13/2023     MRP     0.10         62.50 Email w/ UST re: certain distressed banks and related accounts
         1368.002    03/13/2023     KAB     0.90        738.00 email with UST and LRC team re: additional requests for bank info (.3); email with M.
                                                               Cilia, A&M, M. Pierce and S&C re: same (.3); review and analyze information and
                                                               transmit to UST (.3)
         1368.002    03/13/2023     MRP     0.10         62.50 Email w/ KAB and RLKS re: UST inquiry w/r/t certain distressed banks
         1368.002    03/13/2023     MRP     0.10         62.50 Email w/ UST re: additional info requests w/r/t certain distressed banks
         1368.002    03/13/2023     KAB     0.40        328.00 emails with A. Kranzley, J. Petiford and M. Pierce re: potential cash management
                                                               amendment and related issues (.2); confer with M. Pierce re: same (.1); email with M.
                                                               Pierce and A. Landis re: same (.1)
         1368.002    03/13/2023     MRP     0.30        187.50 Emails w/ S&C and KAB re: cash management and bank account questions (.2); confer
                                                               w/ KAB re: same (.1)
         1368.002    03/13/2023     MRP     0.10         62.50 Confer w/ HWR re: research re: motion to modify cash management orders
         1368.002    03/13/2023     AGL     0.40        460.00 communications with ust's office re: certain distressed bank issues
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Phase ID B120 Business Operations
         1368.002    03/13/2023 HWR       2.30      1,092.50 Research re: amending cash management order
         1368.002    03/13/2023   KAB     0.20        164.00 call with M. Pierce re: open issues, including cash management amendment research
                                                             and schedules/statements
        1368.002     03/13/2023    KAB    0.20        164.00 email with A&M, RLKS and M. Pierce re: bank account record requests
        1368.002     03/13/2023   MRP     0.10         62.50 Email w/ A&M re: follow up requests for certain bank records
        1368.002     03/13/2023   MRP     0.20        125.00 Email w/ M. Russell re: follow up info requests for certain bank records
        1368.002     03/13/2023   HWR     0.10         47.50 Confer w/ MRP re: amending cash management order research
        1368.002     03/13/2023    KAB    0.10         82.00 emails with M. Pierce and counsel to bank re: bank records
        1368.002     03/13/2023   MRP     0.10         62.50 emails w/ KAB and AGL re: potential cash management amendment and related
                                                             issues
        1368.002     03/13/2023   AGL     0.10        115.00 emails with brown and pierce re: potential cash management amendment and related
                                                             issues
        1368.002     03/13/2023   MRP     0.20        125.00 email w/ A&M, RLKS and KAB re: bank account record requests
        1368.002     03/13/2023   MRP     0.10         62.50 emails w/ KAB and counsel to bank re: bank records
        1368.002     03/13/2023   MRP     0.20        125.00 call w/ KAB re: open issues, including cash management amendment research and
                                                             schedules/statements
        1368.002     03/14/2023   MRP     0.10         62.50 Emails w/ KAB and S&C re: bank account issues
        1368.002     03/14/2023   KAB     0.10         82.00 email with S. Ross re: case status question
        1368.002     03/14/2023   KAB     0.20        164.00 confer with M. Pierce re: open issues, including research on cash management and
                                                             schedules/statements
        1368.002     03/14/2023   KAB     0.10         82.00 email with M. Pierce and S&C re: bank account issues
        1368.002     03/14/2023   MRP     0.20        125.00 confer w/ KAB re: open issues, including research on cash management and
                                                             schedules/statements
        1368.002     03/15/2023   AGL     0.50        575.00 review and analyze florida suspension order (.3); communications with lrc team re:
                                                             same (.2)
        1368.002     03/15/2023   KAB     0.50        410.00 review and analyze letter from Florida Office of Financial Regulation re: suspension
                                                             notice (.3); emails with A. Landis and M. Pierce re: same (.2)
        1368.002     03/15/2023   MRP     0.20        125.00 Emails w/ AGL and KAB re: letter from Florida Office of Financial Regulation re:
                                                             suspension notice
        1368.002     03/16/2023   KAB     0.20        164.00 emails with A&M, S&C, M. Cilia and M. Pierce re: First Republic follow-up requests on
                                                             account info (.1); emails with Arnold & Porter and M. Pierce re: same (.1)
        1368.002     03/16/2023   KAB     0.60        492.00 research 345(b) issues (.4); discussions with M. Pierce re: findings on same (.2)
        1368.002     03/16/2023   KAB     0.10         82.00 email with M. Cilia and A. Kranzley re: Lexis vendor
        1368.002     03/16/2023   KAB     0.20        164.00 emails with S&C, A&M and LRC teams re: t-bills and related issues
        1368.002     03/16/2023   MRP     0.10         62.50 emails with Arnold & Porter and KAB re: First Republic follow-up requests on account
                                                             info
        1368.002     03/16/2023   MRP     0.20        125.00 Discussions w/ KAB re: findings on 345(b) research
        1368.002     03/16/2023   MRP     0.20        125.00 emails w/ S&C, A&M and LRC teams re: t-bills and related issues
        1368.002     03/17/2023   KAB     0.10         82.00 emails with A&M, S&C and M. Pierce re: outstanding bank account info requests
        1368.002     03/17/2023   KAB     0.10         82.00 email Wells Fargo and M. Pierce re: follow-up on bank requests
        1368.002     03/17/2023   KAB     0.10         82.00 email counsel to BofA re: follow-up requests for bank info
        1368.002     03/17/2023   KAB     0.10         82.00 email with M. Russel and M. Pierce re: follow up on bank account requests
        1368.002     03/17/2023   MRP     0.10         62.50 emails w/ A&M, S&C and KAB re: outstanding bank account info requests
        1368.002     03/17/2023   MRP     0.10         62.50 email w/ Wells Fargo and KAB re: follow-up on bank requests
        1368.002     03/17/2023   MRP     0.10         62.50 email w/ M. Russel and KAB re: follow up on bank account requests
        1368.002     03/17/2023   MRP     0.20        125.00 Revise notice of presentation to Committee
        1368.002     03/20/2023   KAB     0.20        164.00 email with S&C and M. Pierce re: auditors (.1); email M. Pierce re: same (.1)
        1368.002     03/20/2023   KAB     0.20        164.00 emails with S&C and M. Pierce re: upcoming filings and related issues (.1); email with
                                                             LRC team re: same (.1)
        1368.002     03/20/2023    KAB    0.10         82.00 emails with M. Russel and M. Pierce re: follow-ups on bank account info
        1368.002     03/20/2023    KAB    0.10         82.00 review email from K. Hirsch re: update on BofA follow-up
        1368.002     03/20/2023   HWR     0.10         47.50 Email w/ LRC team re: S&C filing plan
        1368.002     03/20/2023   MRP     0.20        125.00 email w/ S&C and KAB re: auditors (.1); email w/ KAB re: same (.1)
        1368.002     03/20/2023   MRP     0.20        125.00 emails w/ S&C and KAB re: upcoming filings and related issues (.1); email w/ LRC
                                                             team re: same (.1)
        1368.002     03/20/2023    MR     0.10         31.00 email with LRC team re: upcoming filings and related issues
        1368.002     03/20/2023   MRP     0.10         62.50 emails w/ M. Russel and KAB re: follow-ups on bank account info
        1368.002     03/21/2023   KAB     0.20        164.00 emails with A&M, S&C and LRC teams re: HSBC bank account info and related issues
                                                             (.1); confer with M. Pierce re: same (.1)
        1368.002     03/21/2023   KAB     0.10         82.00 email with M. Pierce re: auditor research
        1368.002     03/21/2023   KAB     0.20        164.00 email with A&M, S&C and M. Pierce re: Wells Fargo bank account follow-ups (.1);
                                                             emails with Wells Fargo re: same (.1)
        1368.002     03/21/2023   HWR     0.30        142.50 Call w/ MRP re: status update and open issues
        1368.002     03/21/2023   MRP     0.20        125.00 emails w/ A&M, S&C and LRC teams re: HSBC bank account info and related issues
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Phase ID B120 Business Operations
                                                                    (.1); confer w/ KAB re: same (.1)
         1368.002     03/21/2023     MRP       0.10         62.50   email w/ KAB re: auditor research
         1368.002     03/21/2023     MRP       0.10         62.50   email w/ A&M, S&C and KAB re: Wells Fargo bank account follow-ups
         1368.002     03/21/2023     MRP       0.30        187.50   Call w/ HWR re: status update and open issues
         1368.002     03/22/2023     KAB       0.40        328.00   emails with S&C and M. Pierce re: auditor issues
         1368.002     03/22/2023     KAB       0.20        164.00   email with S&C and M. Pierce re: Fidelity info request on transfers
         1368.002     03/22/2023     KAB       0.10         82.00   emails with M. Cilia, Wells Fargo, S&C, A&M and M. Pierce re: bank account record
                                                                    access
         1368.002     03/22/2023      KAB      0.10         82.00   emails with M. Cilia and S&C re: auditor issue
         1368.002     03/22/2023      KAB      0.10         82.00   email H. Robertson and M. Pierce re: Wells Fargo account info
         1368.002     03/22/2023     MRP       0.10         62.50   Email w/ RLKS and Wells Fargo re: account information
         1368.002     03/22/2023     MRP       0.10         62.50   Email w/ LRC team re: access to additonal files from Wells Fargo
         1368.002     03/22/2023      KAB      0.10         82.00   emails with M. Cilia and J. Lee re: Wells Fargo bank statements
         1368.002     03/22/2023     MRP       0.40        250.00   emails w/ S&C and KAB re: auditor issues
         1368.002     03/22/2023     MRP       0.20        125.00   email w/ S&C and KAB re: Fidelity info request on transfers
         1368.002     03/22/2023     MRP       0.10         62.50   emails w/ M. Cilia, Wells Fargo, S&C, A&M and KAB re: bank account record access
         1368.002     03/22/2023     HWR       0.10         47.50   Email w/ LRC team re: access to additonal files from Wells Fargo
         1368.002     03/22/2023     MRP       0.50        312.50   Analyze Ad Hoc Committee motion to seal
         1368.002     03/23/2023      KAB      0.10         82.00   emails with Wells Fargo, M. Cilia and J. Lee re: Wells Fargo wire transfer info
         1368.002     03/23/2023      KAB      0.30        246.00   emails with Wells Fargo and LRC teams re: bank account records (.1); emails with H.
                                                                    Robertson re: same (.1); emails with A&M, S&C and LRC teams re: same (.1)
         1368.002     03/23/2023     HWR       0.20         95.00   Review additional Wells Fargo docs
         1368.002     03/23/2023     HWR       0.20         95.00   Emails w/ KAB re: additional Wells Fargo docs
         1368.002     03/23/2023     MRP       0.20        125.00   emails w/ Wells Fargo and LRC teams re: bank account records (.1); emails w/ A&M,
                                                                    S&C and LRC teams re: same (.1)
         1368.002     03/27/2023      KAB      0.20        164.00   discussion with M. Pierce re: open issues, including agenda, KERP and Sale
                                                                    declarations and OCP issues
         1368.002     03/27/2023      KAB      0.10         82.00   email with H. Robertson re: additional bank documents produced by Wells Fargo
         1368.002     03/27/2023     HWR       0.10         47.50   Emails w/ KAB re: Additional Wells Fargo Documents
         1368.002     03/27/2023     HWR       0.20         95.00   Review additional Wells Fargo documents
         1368.002     03/27/2023     MRP       0.20        125.00   discussion w/ KAB re: open issues, including agenda, KERP and Sale declarations and
                                                                    OCP issues
         1368.002     03/28/2023       MR      0.10         31.00   email with LRC team re: upcoming filings
         1368.002     03/28/2023     HWR       0.10         47.50   Email w/ LRC team re: 3/28 filing plan
         1368.002     03/28/2023      KAB      0.10         82.00   email with LRC team re: upcoming filings
         1368.002     03/28/2023     MRP       0.10         62.50   email w/ LRC team re: upcoming filings
         1368.002     03/28/2023      NEJ      0.10         52.50   email w. LRC team re: upcoming filings
         1368.002     03/30/2023      KAB      0.10         82.00   email with counsel to SVB re: bank account info requests
         1368.002     03/30/2023      KAB      0.40        328.00   review and analyze additional bank info provided by BofA (.3); email A&M and M.
                                                                    Pierce re: same (.1)
         1368.002     03/30/2023     MRP       0.10         62.50   Email w/ A&M and KAB re: additional bank info provided by BofA

Total for Phase ID B120            Billable   36.30     24,221.00 Business Operations

Phase ID B122 Case Administration
         1368.002   03/01/2023       ACD       0.60        186.00   Review and update critical dates memo;
         1368.002   03/01/2023       HWR       0.10         47.50   Confer w/ MR re: filing procedure for Kroll's Affidavit of Service under seal
         1368.002   03/01/2023         MR      0.10         31.00   Confer with HWR re: filing procedure for Kroll's Affidavit of Service under seal
         1368.002   03/02/2023       MRP       0.10         62.50   Call w/ Kroll re: Affidavit of Service
         1368.002   03/02/2023       ACD       0.30         93.00   Update critical dates memo
         1368.002   03/03/2023        KAB      0.10         82.00   emails with LRC team re: docket error and correction
         1368.002   03/03/2023       ACD       0.80        248.00   Revise critical dates memo (0.7); email same with H. Robertson (0.1)
         1368.002   03/03/2023       HWR       0.20         95.00   Draft/send service instructions to Kroll re: service of orders entered on 3/3/2023
         1368.002   03/03/2023        KAB      0.20        164.00   emails with Kroll, LRC and S&C teams re: 3/3 service needs
         1368.002   03/03/2023       ACD       0.50        155.00   Update critical dates memo
         1368.002   03/03/2023       MRP       0.10         62.50   emails w/ LRC team re: docket error and correction
         1368.002   03/03/2023       HWR       0.10         47.50   emails w/ LRC team re: docket error and correction
         1368.002   03/03/2023       HWR       0.10         47.50   Email w/ AD re: critical dates memo
         1368.002   03/03/2023         MR      0.20         62.00   emails with Kroll, LRC and S&C teams re: 3/3 service needs
         1368.002   03/03/2023       MRP       0.20        125.00   emails w/ Kroll, LRC and S&C teams re: 3/3 service needs
         1368.002   03/03/2023       HWR       0.20         95.00   emails w/ Kroll, LRC and S&C teams re: 3/3 service needs
         1368.002   03/03/2023       ACD       0.20         62.00   emails with Kroll, LRC and S&C teams re: 3/3 service needs
         1368.002   03/06/2023       ACD       0.70        217.00   Update critical dates memo
         1368.002   03/06/2023       HWR       0.10         47.50   Email w/ MR re: creditor case updates for chapter 15 proceeding research
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            Client         Date     Tkpr   to Bill     Amount
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         1368.002   03/06/2023       KAB    0.10         82.00   emails with LRC, Kroll and S&C teams re: service of 3/6 filings
         1368.002   03/06/2023      HWR     0.30        142.50   Emails w/ AD re: recently filed documents
         1368.002   03/06/2023      HWR     0.30        142.50   Confer w/ MRP re: service of 3/6 filings
         1368.002   03/06/2023      HWR     0.90        427.50   Calls (.4) and emails (.5) with Kroll team re: service of 3/6 filings
         1368.002   03/06/2023        MR    0.10         31.00   Email with HWR re: creditor case updates for chapter 15 proceeding research
         1368.002   03/06/2023      MRP     0.10         62.50   emails w/ LRC, Kroll and S&C teams re: service of 3/6 filings
         1368.002   03/06/2023      MRP     0.30        187.50   Confer w/ HWR re: service of 3/6 filings
         1368.002   03/07/2023      ACD     0.60        186.00   Update critical dates memo
         1368.002   03/07/2023      HWR     0.10         47.50   Email w/ Kroll re: 3/8 amended agenda service
         1368.002   03/07/2023      HWR     0.10         47.50   Email w/ Kroll re: service of examination notice
         1368.002   03/07/2023       KAB    0.20        164.00   emails with S&C, LRC and Kroll teams re: service of 3/8 pleadings
         1368.002   03/08/2023      MRP     0.10         62.50   Email w/ Kroll re: service of recently entered orders
         1368.002   03/08/2023      ACD     1.60        496.00   Emails with K. Brown re: Certification of Counsel re: omnibus hearing dates (0.1); draft
                                                                 Certification of Counsel re: same (0.3); update critical dates memo (1.2);
         1368.002    03/08/2023      AGL    0.20        230.00   communications with Hackman and KAB re: potentially hacked emails
         1368.002    03/08/2023      KAB    0.20        164.00   emails with LRC, S&C and Kroll teams re: service of 3/8 pleadings
         1368.002    03/08/2023     HWR     0.10         47.50   Email w/ Kroll re: service of second amended 3/8 hearing agenda
         1368.002    03/08/2023     HWR     0.10         47.50   Email w/ Kroll re: service of filed Maynard supplemental declaration, Link Partners
                                                                 declaration, and various court orders
         1368.002    03/08/2023     HWR     0.10         47.50   Confer w/ MRP re: service issues re: private sale motion
         1368.002    03/08/2023     HWR     0.30        142.50   Draft service plan for Kroll re: KERP motion and Private Sale Motion
         1368.002    03/08/2023     HWR     0.20         95.00   Emails w/ Kroll, S&C team and LRC team re: service of KERP motion and private sale
                                                                 motion
         1368.002    03/08/2023     HWR     0.10         47.50   Confer w/ MRP and Kroll re: service deadline of Sale Motion and KERP Motion
         1368.002    03/08/2023     HWR     0.10         47.50   Emails w/ S&C teams and LRC teams re: service deadline of Sale Motion and KERP
                                                                 Motion
         1368.002    03/08/2023      KAB    0.10         82.00   Emails with A. Dellose re: Certification of Counsel re: omnibus hearing dates
         1368.002    03/08/2023      KAB    0.20        164.00   Emails with Hackman and A. Landis re: potentially hacked emails
         1368.002    03/08/2023     MRP     0.20        125.00   emails w/ LRC, S&C and Kroll teams re: service of 3/8 pleadings
         1368.002    03/08/2023     HWR     0.20         95.00   emails w/ LRC, S&C and Kroll teams re: service of 3/8 pleadings
         1368.002    03/08/2023     MRP     0.10         62.50   Confer w/ HWR re: service issues re: private sale motion
         1368.002    03/08/2023     MRP     0.20        125.00   Emails w/ Kroll, S&C team and LRC team re: service of KERP motion and private sale
                                                                 motion
         1368.002    03/08/2023     KAB     0.20        164.00   Emails with Kroll, S&C team and LRC team re: service of KERP motion and private sale
                                                                 motion
         1368.002    03/08/2023     MRP     0.10         62.50   Confer w/ HWR and Kroll re: service deadline of Sale Motion and KERP Motion
         1368.002    03/08/2023     MRP     0.10         62.50   Emails w/ S&C teams and LRC teams re: service deadline of Sale Motion and KERP
                                                                 Motion
         1368.002    03/08/2023     KAB     0.10         82.00   Emails with S&C teams and LRC teams re: service deadline of Sale Motion and KERP
                                                                 Motion
         1368.002    03/09/2023     KAB     0.10         82.00   emails with Kroll, LRC and S&C team re: confirmation of 3/8 service
         1368.002    03/09/2023     ACD     1.20        372.00   Update critical dates memo
         1368.002    03/09/2023      MR     0.10         31.00   Email with KAB and ACD re: updating critical dates re: order appointing fee examiner
                                                                 and omnibus hearing dates
         1368.002    03/09/2023     HWR     0.10         47.50   Email w/ Kroll re: service of private sale motion and KERP motion on UST
         1368.002    03/09/2023     MRP     0.10         62.50   emails w/ Kroll, LRC and S&C team re: confirmation of 3/8 service
         1368.002    03/09/2023     HWR     0.10         47.50   emails w/ Kroll, LRC and S&C team re: confirmation of 3/8 service
         1368.002    03/09/2023      KAB    0.10         82.00   Email with M. Ramirez and A. Dellose re: updating critical dates re: order appointing
                                                                 fee examiner and omnibus hearing dates
         1368.002    03/09/2023     ACD     0.10         31.00   Email with KAB and MR re: updating critical dates re: order appointing fee examiner
                                                                 and omnibus hearing dates
         1368.002    03/10/2023     ACD     0.80        248.00   Update critical dates memo
         1368.002    03/10/2023     HWR     0.30        142.50   Email to Kroll re: service of Motion to Seal and Covington Supplemental declaration,
                                                                 EY fee statement, and RLKS staffing report
         1368.002    03/10/2023     HWR     0.10         47.50   Email Kroll re: sealed covington supplemental declaration
         1368.002    03/10/2023     HWR     0.10         47.50   Confer w/ MRP re: service of sealed supplemental covington declaration
         1368.002    03/10/2023     HWR     0.20         95.00   Emails w/ Kroll re: service of motion to extend exclusivity deadline
         1368.002    03/10/2023     HWR     0.10         47.50   Email w/ Kroll re: service of objection to Blockfi motion to shorten (Emergent case)
         1368.002    03/10/2023      KAB    0.20        164.00   emails with Kroll, S&C and LRC teams re: service of 3/10 filings
         1368.002    03/10/2023     MRP     0.10         62.50   Confer w/ HWR re: service of sealed supplemental covington declaration
         1368.002    03/10/2023     MRP     0.20        125.00   emails w/ Kroll, S&C and LRC teams re: service of 3/10 filings
         1368.002    03/10/2023     HWR     0.20         95.00   emails w/ Kroll, S&C and LRC teams re: service of 3/10 filings
         1368.002    03/13/2023     ACD     0.70        217.00   Revise critical dates memo
         1368.002    03/14/2023     ACD     0.50        155.00   Update critical dates memo
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         1368.002   03/15/2023      ACD     0.50        155.00   Update critical dates memo
         1368.002   03/16/2023      ACD     0.40        124.00   Update critical dates memo
         1368.002   03/17/2023       KAB    0.10         82.00   email with Fee Examiner team and M. Pierce re: service issues
         1368.002   03/17/2023       KAB    0.10         82.00   emails with LRC, S&C and Kroll teams re: service of 3/17 pleadings
         1368.002   03/17/2023      HWR     0.20         95.00   Email w/ Kroll re: service of interim fee apps
         1368.002   03/17/2023      MRP     0.10         62.50   email w/ Fee Examiner team and KAB re: service issues
         1368.002   03/17/2023      MRP     0.10         62.50   emails w/ LRC, S&C and Kroll teams re: service of 3/17 pleadings
         1368.002   03/17/2023      HWR     0.10         47.50   emails w/ LRC, S&C and Kroll teams re: service of 3/17 pleadings
         1368.002   03/20/2023        MR    0.30         93.00   confer with ACD re: critical dates (.1); update same relating to interim fee apps and
                                                                 revised LedgerX sale (.2)
         1368.002    03/20/2023     ACD     0.90        279.00   Update critical dates memo (.8); confer with M. Ramirez re: same (.1)
         1368.002    03/20/2023      KAB    0.20        164.00   email with M. Pierce re: Hancock PHV drafts (.1); review and revise same (.1)
         1368.002    03/20/2023     HWR     0.10         47.50   Draft service email to Kroll re: LedgerX notice of sale deadline extension
         1368.002    03/20/2023     HWR     0.10         47.50   Email w/ MRP re: Kroll service email for Notice of LedgerX Sale Deadline Extension
         1368.002    03/20/2023     HWR     0.10         47.50   Email service instructions to Kroll re: Notice of LedgerX Sale Deadline Extension
         1368.002    03/20/2023     HWR     0.20         95.00   Emails w/ MRP and MR re: PHV for M. Hancock
         1368.002    03/20/2023     HWR     0.20         95.00   Review PHV for M. Hancock
         1368.002    03/20/2023     MRP     0.10         62.50   email w/ KAB re: Hancock PHV drafts
         1368.002    03/20/2023     MRP     0.10         62.50   Email w/ HWR re: Kroll service email for Notice of LedgerX Sale Deadline Extension
         1368.002    03/20/2023     MRP     0.20        125.00   Emails w/ HWR and MR re: PHV for M. Hancock
         1368.002    03/20/2023       MR    0.20         62.00   Emails with M. Pierce and H. Robertson re: PHV for M. Hancock
         1368.002    03/21/2023      KAB    0.10         82.00   emails with M. Pierce and fee examiner team re: pro hac for Hancock
         1368.002    03/21/2023     MRP     0.10         62.50   Email w/ M. Hancock re: draft PHV
         1368.002    03/21/2023     MRP     0.10         62.50   Email w/ HWR and MR re: finalizing Hancock PHV for filing
         1368.002    03/21/2023      KAB    0.10         82.00   email with LRC team re: finalization and filing of Hancock pro hac
         1368.002    03/21/2023     ACD     0.50        155.00   Update critical dates memo
         1368.002    03/21/2023       MR    0.70        217.00   email with MRP and HWR re: M. Hancock PHV (.1); email with KAB re: same (.1);
                                                                 finalize, file and pay fee for same (.4); upload order same (.1)
         1368.002    03/21/2023      MR     0.20         62.00   review docket re: PHV order for M. Hancock (.1); email with KAB, MRP and HWR re:
                                                                 same (.1)
         1368.002    03/21/2023     HWR     0.10         47.50   Emails w/ MRP and MR re: M. Hancock PHV
         1368.002    03/21/2023     MRP     0.10         62.50   emails w/ KAB and fee examiner team re: pro hac for Hancock
         1368.002    03/21/2023       MR    0.10         31.00   Email with HWR and MRP re: finalizing Hancock PHV for filing
         1368.002    03/21/2023     MRP     0.10         62.50   email w/ LRC team re: finalization and filing of Hancock pro hac
         1368.002    03/21/2023     HWR     0.10         47.50   email w/ LRC team re: finalization and filing of Hancock pro hac
         1368.002    03/21/2023       MR    0.10         31.00   email with LRC team re: finalization and filing of Hancock pro hac
         1368.002    03/21/2023     HWR     0.10         47.50   email w/ MRP and MR re: M. Hancock PHV
         1368.002    03/21/2023     MRP     0.10         62.50   email w/ HWR and MR re: M. Hancock PHV
         1368.002    03/21/2023      KAB    0.10         82.00   Email with M. Ramirez re: Hancock pro hac
         1368.002    03/22/2023     ACD     0.50        155.00   Update critical dates memo
         1368.002    03/23/2023     ACD     0.30         93.00   Update critical dates memo
         1368.002    03/24/2023     ACD     0.30         93.00   Update critical dates memo
         1368.002    03/24/2023     HWR     0.20         95.00   Emails w/ Kroll re: service of RLKS feb staffing/comp report and objection to motion
                                                                 to shorten certification of direct appeal
         1368.002    03/28/2023      KAB    0.20        164.00   emails with Kroll, S&C, LRC teams re: service of 3/28 pleadings
         1368.002    03/28/2023     ACD     0.50        155.00   Update critical dates memo
         1368.002    03/28/2023     HWR     0.20         95.00   Draft service instructions for Sequoia Sale Declarations and Order, Order re: Motion
                                                                 to Seal Supplemental Covington Declaration, and Embed notice of revised dates
         1368.002    03/28/2023     HWR     0.20         95.00   Emails w/ MRP re: Draft service instructions for Sequoia Sale Declarations and Order,
                                                                 Order re: Motion to Seal Supplemental Covington Declaration, and Embed notice of
                                                                 revised dates
         1368.002    03/28/2023     HWR     0.10         47.50   Email w/ Kroll re: service of Sequoia Sale Declarations and Order, Order re: Motion to
                                                                 Seal Supplemental Covington Declaration, and Embed notice of revised dates
         1368.002    03/28/2023     MRP     0.20        125.00   emails w/ Kroll, S&C, LRC teams re: service of 3/28 pleadings
         1368.002    03/28/2023     HWR     0.20         95.00   emails w/ Kroll, S&C, LRC teams re: service of 3/28 pleadings
         1368.002    03/28/2023     MRP     0.20        125.00   Emails w/ HWR re: Draft service instructions for Sequoia Sale Declarations and Order,
                                                                 Order re: Motion to Seal Supplemental Covington Declaration, and Embed notice of
                                                                 revised dates
         1368.002    03/29/2023      KAB    0.30        246.00   emails with Kroll, S&C and LRC teams re: service of additional 3/29 pleadings
         1368.002    03/29/2023     MRP     0.30        187.50   emails w/ Kroll, S&C and LRC teams re: service of additional 3/29 pleadings
         1368.002    03/29/2023     HWR     0.30        142.50   emails w/ Kroll, S&C and LRC teams re: service of additional 3/29 pleadings
         1368.002    03/30/2023     MRP     0.10         62.50   Email w/ UST re: courtesy copies of recently filed documents
         1368.002    03/30/2023     MRP     0.10         62.50   Email w/ Kroll re: mailing courtesy copies of recently filed documents to UST
         1368.002    03/30/2023     HWR     0.10         47.50   Follow up email with Kroll re: overnight service to UST of 3/29 filings
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         1368.002   03/30/2023    KAB          0.20        164.00 emails with Kroll, S&C and LRC teams re: service of 3/30 filings
         1368.002   03/30/2023    MRP          0.20        125.00 emails w/ Kroll, S&C and LRC teams re: service of 3/30 filings
         1368.002   03/30/2023 HWR             0.20         95.00 emails w/ Kroll, S&C and LRC teams re: service of 3/30 filings

Total for Phase ID B122            Billable   29.90     13,662.50 Case Administration

Phase ID B124 Claims Administration & Objections
         1368.002    03/01/2023    KAB         0.20        164.00 emails with Kroll, S&C, and A&M re: bar date issues
         1368.002    03/01/2023    KAB         0.90        738.00 participate in call with Kroll, A&M, S&C and M. Pierce re: unique id's, schedules info
                                                                  for customers and claim issues
         1368.002     03/01/2023     KAB       0.20        164.00 additional emails with S&C, A&M and Kroll teams re: bar date issues
         1368.002     03/01/2023     MRP       0.90        562.50 participate in call with Kroll, A&M, S&C and KAB re: unique id's, schedules info for
                                                                  customers and claim issues
         1368.002     03/02/2023     KAB       0.30        246.00 emails with Kroll, A&M, and S&C re: quarterly claims register
         1368.002     03/08/2023     KAB       0.10         82.00 review email from counsel to Silver Point re: claims purchases
         1368.002     03/08/2023     MRP       0.10         62.50 Email w/ R. Beacher re: Silver Point Capital purchase of claims
         1368.002     03/09/2023     KAB       0.20        164.00 emails with Kroll, S&C and A&M re: claims register
         1368.002     03/10/2023     KAB       0.20        164.00 review email from C. Long re: claim transfers and related issues
         1368.002     03/16/2023     KAB       0.10         82.00 emails with Kroll, customer and LRC team re: claims
         1368.002     03/16/2023     MRP       0.10         62.50 emails w/ Kroll, customer and LRC team re: claims
         1368.002     03/17/2023     KAB       0.10         82.00 review email from R. Beacher re: claim purchase issues
         1368.002     03/19/2023     KAB       0.10         82.00 emails with Kroll, S&C and A&M re: quarterly claims register
         1368.002     03/20/2023     KAB       0.10         82.00 emails with S&C, R. Esposito and Kroll teams re: quarterly claims register
         1368.002     03/20/2023     KAB       0.20        164.00 email with A. Hiller and M. Pierce re: claim issues
         1368.002     03/20/2023     KAB       0.20        164.00 additional emails with Kroll, S&C and A&M teams re: claims registers
         1368.002     03/20/2023     MRP       0.20        125.00 email w/ A. Hiller and KAB re: claim issues
         1368.002     03/21/2023     MRP       0.10         62.50 Call w/ K. Gianis re: Kroll customer ID email status
         1368.002     03/22/2023     MRP       0.10         62.50 Email w/ S&C and R. Beacher re: inquiry w/r/t claims
         1368.002     03/22/2023     MRP       0.10         62.50 Email w/ S&C and C. Long re: claim inquiry w/r/t claims trading
         1368.002     03/22/2023     KAB       0.10         82.00 emails with S&C, LRC and Blockchain teams re: claim and consent issues
         1368.002     03/22/2023     KAB       0.10         82.00 emails with S&C, LRC and Pyror Cashman re: claims and consent issues
         1368.002     03/22/2023     MRP       0.10         62.50 Email w/ A&M and S&C re: claim register formatting
         1368.002     03/22/2023     MRP       0.10         62.50 emails w/ S&C, LRC and Blockchain teams re: claim and consent issues
         1368.002     03/22/2023     MRP       0.10         62.50 emails w/ S&C, LRC and Pyror Cashman re: claims and consent issues
         1368.002     03/23/2023     KAB       0.10         82.00 emails with M. Cilia and A. Kranzley re: claims trading
         1368.002     03/23/2023     MRP       0.10         62.50 Email w/ S&C and A&M re: claims register call
         1368.002     03/23/2023     MRP       0.30        187.50 Call w/ S&C and A&M re: claim register formatting

Total for Phase ID B124            Billable    5.50      4,061.50 Claims Administration & Objections

Phase ID B126 Employee Benefits/Pensions
         1368.002   03/06/2023    KAB          0.20        164.00   emails with LRC and S&C teams re: KERP
         1368.002   03/06/2023    MRP          0.20        125.00   Email w/ S&C and LRC teams re: draft KERP motion
         1368.002   03/07/2023 HWR             0.60        285.00   Research re: KERP motion
         1368.002   03/07/2023 HWR             0.20         95.00   Communications w/ MRP re: KERP motion
         1368.002   03/07/2023    MRP          0.20        125.00   Communications w/ HWR re: KERP motion
         1368.002   03/07/2023    MRP          3.20      2,000.00   Review and comment on draft KERP motion and declarations thereto
         1368.002   03/08/2023    MRP          0.10         62.50   Emails w/ S&C re: revised draft KERP motion
         1368.002   03/08/2023    AGL          2.70      3,105.00   review and analyze and revise KERP motion and declarations (1.9); communications
                                                                    with LRC and S&C teams re: same (.8)
         1368.002     03/08/2023      KAB      0.90        738.00   email with LRC team re: KERP and proposed comments thereto (.2); emails with S&C
                                                                    and LRC teams re: same (.7)
         1368.002     03/08/2023     MRP       0.10         62.50   Emails w/ S&C re: comments to draft KERP motion
         1368.002     03/08/2023     KAB       0.90        738.00   emails with S&C and LRC team re: final version of KERP pleadings (.1); review and
                                                                    analyze same (.7); emails with LRC team re: finalization and filing of same (.1)
         1368.002     03/08/2023     MRP       0.10         62.50   Emails w/ S&C re: KERP motion
         1368.002     03/08/2023     MRP       0.90        562.50   Review filing version of KERP and declarations thereto
         1368.002     03/08/2023     MRP       0.10         62.50   Emails w/ LRC re: filing KERP motion
         1368.002     03/08/2023     MRP       0.10         62.50   Emails w/ LRC and Kroll teams re: service of KERP and sale motions
         1368.002     03/08/2023      MR       0.30         93.00   email with MRP re: drafting notices for KERP motion (.1); draft same (.2)
         1368.002     03/08/2023      MR       0.70        217.00   email with MRP re: finalizing KERP motion, pfo and declarations re: same (.2); finalize
                                                                    and file same (.4); email with LRC team re: as-filed for service of same (.1)
         1368.002     03/08/2023     HWR       0.10         47.50   Email w/ MRP, MR and AD re: drafting notice of KERP motion
         1368.002     03/08/2023     HWR       0.10         47.50   Review draft notice of KERP motion
                           Case 22-11068-JTD          Doc 1389-2             Filed 04/28/23
                                                     Detail Fee Task Code Billing Report
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                          Trans            Hours
            Client         Date   Tkpr     to Bill     Amount
Phase ID B126 Employee Benefits/Pensions
         1368.002   03/08/2023 HWR          0.20         95.00   Review finalized KERP motion for filing
         1368.002   03/08/2023 HWR          0.20         95.00   Emails w/ LRC team re: KERP Motion
         1368.002   03/08/2023    MRP       0.10         62.50   email w/ MR re: drafting notices for KERP motion
         1368.002   03/08/2023    MRP       0.20        125.00   email w/ MR re: finalizing KERP motion, pfo and declarations re: same
         1368.002   03/08/2023    MRP       0.80        500.00   Emails w/ LRC and S&C teams re: KERP motion and declarations
         1368.002   03/08/2023     MR       0.10         31.00   Emails with LRC re: filing KERP motion
         1368.002   03/08/2023    KAB       0.10         82.00   Emails with LRC and Kroll teams re: service of KERP and sale motions
         1368.002   03/08/2023 HWR          0.10         47.50   Emails w/ LRC and Kroll teams re: service of KERP and sale motions
         1368.002   03/08/2023     MR       0.10         31.00   Email with MRP, HWR and AD re: drafting notice of KERP motion
         1368.002   03/08/2023    ACD       0.10         31.00   Email with MRP, HWR, and MR re: drafting notice of KERP motion
         1368.002   03/08/2023    MRP       0.30        187.50   Revise draft Mosley dec iso KERP motion based on AGL comments
         1368.002   03/09/2023    KAB       0.30        246.00   emails with A&M, S&C and LRC teams re: UST request for KERP info
         1368.002   03/09/2023    AGL       0.20        230.00   communications with ust (.1) and lrc team (.1) re: kerp motion
         1368.002   03/09/2023    MRP       0.30        187.50   emails w/ A&M, S&C and LRC teams re: UST request for KERP info
         1368.002   03/10/2023    KAB       0.30        246.00   emails with A&M, S&C and M. Pierce re: KERP participant info (.1); review and analyze
                                                                 same (.2)
         1368.002    03/10/2023   MRP       0.10         62.50   emails w/ A&M, S&C and KAB re: KERP participant info
         1368.002    03/13/2023   KAB       0.20        164.00   emails with S&C, A&M and M. Pierce re: comments on KERP summary (.1); review and
                                                                 analyze same (.1)
         1368.002    03/13/2023   MRP       0.10         62.50   emails w/ S&C, A&M and KAB re: comments on KERP summary
         1368.002    03/14/2023   MRP       0.10         62.50   Email w/ A&M re: KERP summary
         1368.002    03/14/2023   MRP       0.20        125.00   Review KERP summary
         1368.002    03/14/2023   KAB       0.30        246.00   emails with S&C, A&M and M. Pierce re: KERP Summary (.1); review and analyze
                                                                 summary re: same (.2)
         1368.002    03/14/2023   KAB       0.10         82.00   emails with UST, S&C and LRC teams re: KERP info
         1368.002    03/14/2023   MRP       0.10         62.50   emails w/ S&C, A&M and KAB re: KERP Summary
         1368.002    03/14/2023   MRP       0.10         62.50   emails w/ UST, S&C and LRC teams re: KERP info
         1368.002    03/21/2023   MRP       0.10         62.50   Email w/ LRC team, UST and S&C re: request to extend objection deadline for KERP
                                                                 motion
         1368.002    03/21/2023   KAB       0.10         82.00   emails with UST, LRC and S&C teams re: KERP
         1368.002    03/21/2023   AGL       0.10        115.00   communications with UST and S&C team re: KERP motion, extension of time to
                                                                 respond
         1368.002    03/22/2023   AGL       0.60        690.00   review and analyze ust information request re: kerp motion
         1368.002    03/22/2023   KAB       0.30        246.00   emails with UST, S&C and LRC teams re: KERP and UST comments thereto (.1); review
                                                                 and analyze UST comments to order (.2)
         1368.002    03/22/2023   MRP       0.10         62.50   Email w/ S&C and UST re: extension of KERP objection deadline for UST
         1368.002    03/22/2023   MRP       0.20        125.00   Review UST comments to KERP and proposed form of order
         1368.002    03/22/2023    AGL      0.80        920.00   review and analyze ust inquiry, comments re: kerp issues
         1368.002    03/22/2023   HWR       0.10         47.50   Email w/ KAB re: objection d/l extension for UST to KERP motion
         1368.002    03/22/2023    KAB      0.10         82.00   Email with H. Robertson re: objection d/l extension for UST to KERP motion
         1368.002    03/24/2023   MRP       0.10         62.50   Email w/ S&C and UST re: revised proposed KERP order
         1368.002    03/24/2023   MRP       0.10         62.50   Review revised KERP proposed order
         1368.002    03/24/2023   HWR       0.10         47.50   Confer w/ MRP re: drafting Certification of Counsel for KERP
         1368.002    03/24/2023   HWR       0.20         95.00   Draft Certification of Counsel for KERP
         1368.002    03/24/2023    KAB      0.40        328.00   Emails with UST, S&C and LRC teams re: revised KERP order and supplemental dec in
                                                                 support (.1); review and analyze proposed revisions (.1); review and analyze proposed
                                                                 supplemental dec (.2)
         1368.002    03/24/2023   MRP       0.10         62.50   Confer w/ HWR re: drafting Certification of Counsel for KERP
         1368.002    03/27/2023   MRP       0.10         62.50   Email w/ S&C re: supplemental declaration iso KERP
         1368.002    03/27/2023   MRP       0.10         62.50   Review supplemental Mosley declaration iso of KERP motion
         1368.002    03/27/2023   MRP       0.20        125.00   Email w/ LRC team re: filing supplemental Mosley declaration
         1368.002    03/27/2023   MRP       0.10         62.50   Review and revise Certification of Counsel for KERP motion
         1368.002    03/27/2023   MRP       0.10         62.50   Email w/ HWR re: KERP Certification of Counsel
         1368.002    03/27/2023   MRP       0.10         62.50   Email w/ S&C re: revised KERP order and Certification of Counsel
         1368.002    03/27/2023   KAB       0.20        164.00   emails with S&C and LRC teams re: Certification of Counsel and revised order for
                                                                 KERP
         1368.002    03/27/2023   KAB       0.60        492.00   review and revise supplemental Mosley dec iso KERP (.5); emails with S&C and LRC
                                                                 teams re: same (.1)
         1368.002    03/27/2023    MR       0.30         93.00   email with LRC team re: filing Mosley declaration iso of Kerp motion (.2); file same (.1)
         1368.002    03/27/2023    MR       0.40        124.00   email with HWR re: finalizing Certification of Counsel re: Kerp motion (.1); finalize
                                                                 same for filing (.2); email with HWR and MRP re: same (.1);
         1368.002    03/27/2023    MR       0.20         62.00   file Certification of Counsel re: KERP Motion (.1); update PFO and upload same (.1)
         1368.002    03/27/2023   HWR       0.30        142.50   Revise COC re: KERP
         1368.002    03/27/2023   HWR       0.30        142.50   Emails w/ MRP re: COC re: KERP
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             Client         Date      Tkpr    to Bill     Amount
Phase ID B126 Employee Benefits/Pensions
         1368.002   03/27/2023 HWR             0.30        142.50 Emails w/ S&C re: COC re: KERP
         1368.002   03/27/2023 HWR             0.10         47.50 Review supplemental Mosley Declaration iso KERP
         1368.002   03/27/2023 HWR             0.10         47.50 Emails w/ S&C re: Supplemental Mosley Declaration iso KERP
         1368.002   03/27/2023 HWR             0.10         47.50 Emails w/ LRC team re: finalizing and filing Supplemental Mosley Declaration iso KERP
         1368.002   03/27/2023 HWR             0.10         47.50 Emails w/ MR re: finalizing and filing KERP COC
         1368.002   03/27/2023 HWR             0.20         95.00 Review finalized KERP COC for filing
         1368.002   03/27/2023 HWR             0.10         47.50 Draft/send service instructions to Kroll re: service of Mosley Declaration and KERP
                                                                  COC
         1368.002     03/27/2023     HWR       0.20         95.00 Email w/ LRC team re: filing supplemental Mosley declaration
         1368.002     03/27/2023      KAB      0.20        164.00 emails with LRC and S&C teams re: Certification of Counsel for KERP and related
                                                                  issues

Total for Phase ID B126            Billable   24.30     17,263.50 Employee Benefits/Pensions

Phase ID B134 Hearings
         1368.002   03/01/2023         MR      0.30         93.00 confer and email with MRP re: matters on 3.8 agenda and list to UST re: same (.2);
                                                                  revise agenda (.1)
         1368.002     03/01/2023      KAB      0.60        492.00 emails with UST and M. Pierce re: matters going forward at 3/8 hearing, comments on
                                                                  pending motions and related issues (.3); confer with M. Pierce re: same (.1); emails
                                                                  with S&C and LRC teams re: same (.2)
         1368.002     03/01/2023     MRP       0.20        125.00 Confer and email w/ MR re: March 8 hearing matters
         1368.002     03/01/2023     MRP       0.10         62.50 Additional emails w/ UST re: March 8 matters and UST responses
         1368.002     03/01/2023     KAB       0.20        164.00 emails with S&C and LRC teams re: pending motions for 3/8 hearing, revised order
                                                                  and related issues
         1368.002     03/01/2023     MRP       0.60        375.00 emails w/ UST and KAB re: matters going forward at 3/8 hearing, comments on
                                                                  pending motions and related issues (.3); confer w/ KAB re: same (.1); emails w/ S&C
                                                                  and LRC teams re: same (.2)
         1368.002     03/01/2023     MRP       0.20        125.00 emails w/ S&C and LRC teams re: pending motions for 3/8 hearing, revised order and
                                                                  related issues
         1368.002     03/02/2023      KAB      0.10         82.00 emails with S&C and LRC teams re: COCs/CNOs for pending motions for 3/8 hearing
         1368.002     03/02/2023     MRP       0.10         62.50 Emails w/ S&C and LRC teams re: COCs/CNOs for pending motions for 3/8 hearing
         1368.002     03/02/2023     HWR       0.30        142.50 Emails w/ ACD re: service of Bahamas complaint
         1368.002     03/03/2023       MR      0.50        155.00 update agenda re: 3.8 hearing
         1368.002     03/03/2023       MR      0.10         31.00 confer with ACD re: entered orders re: 3.8 hearing
         1368.002     03/03/2023     ACD       0.50        155.00 Assist with preparation for 3/8/23 hearing
         1368.002     03/03/2023     HWR       0.40        190.00 Review agenda for 3/8 hearing
         1368.002     03/03/2023     HWR       0.10         47.50 Email w/ MRP and MR re: 3/8 agenda
         1368.002     03/03/2023     MRP       0.10         62.50 Email w/ HWR and MR re: 3/8 agenda
         1368.002     03/03/2023       MR      0.10         31.00 Email with MRP and HWR re: 3/8 agenda
         1368.002     03/03/2023     ACD       0.10         31.00 confer with MR re: entered orders re: 3.8 hearing
         1368.002     03/03/2023     HWR       0.10         47.50 email w/ MR re: docket correction for order relating to removal deadline extension
         1368.002     03/03/2023     MRP       0.70        437.50 Revise 3/8 hearing agenda
         1368.002     03/05/2023      KAB      0.30        246.00 email with M. Pierce re: status of agenda (.1); emails with S&C and LRC teams re: 3/8
                                                                  hearing agenda (.2)
         1368.002     03/05/2023     HWR       0.10         47.50 Email w/ MRP re: 3/8 agenda
         1368.002     03/05/2023     HWR       0.10         47.50 Review 3/8 agenda
         1368.002     03/05/2023     MRP       0.30        187.50 email w/ KAB re: status of agenda (.1); emails w/ S&C and LRC teams re: 3/8 hearing
                                                                  agenda (.2)
         1368.002     03/05/2023     MRP       0.10         62.50 Email w/ HWR re: 3/8 agenda
         1368.002     03/06/2023     KAB       0.30        246.00 discussion with M. Pierce re: 3/8 hearing (.1); emails with LRC and S&C teams re: same
                                                                  (.2)
         1368.002     03/06/2023      KAB      0.10         82.00 emails with S&C and LRC teams re: hearing dates
         1368.002     03/06/2023      KAB      0.30        246.00 emails with Chambers and LRC team re: 3/8 hearing and related issues
         1368.002     03/06/2023       MR      0.30         93.00 email with MRP and HWR re: agenda for 3.8 hearing (.1); update same (.2)
         1368.002     03/06/2023       MR      0.40        124.00 email with HWR re: finalizing agenda for filing (.1); finalize same (.1); file same (.1);
                                                                  email as-filed to LRC team (.1)
         1368.002     03/06/2023      KAB      0.10         82.00 emails with Chambers and LRC team re: hearing dates
         1368.002     03/06/2023     MRP       0.60        375.00 Multiple emails w/ S&C re: March 8 hearing and related matters
         1368.002     03/06/2023     MRP       0.10         62.50 Email w/ HWR and MR re: March 8 agenda
         1368.002     03/06/2023     HWR       0.30        142.50 Confer w/ MRP re: 3/8 hearing and agenda
         1368.002     03/06/2023     HWR       0.30        142.50 Emails w/ LRC and S&C teams re: 3/8 hearing
         1368.002     03/06/2023     HWR       0.20         95.00 Review 3/8 hearing agenda for filing
         1368.002     03/06/2023     HWR       0.10         47.50 Email w/ MR re: filling 3/8 agenda
         1368.002     03/06/2023     HWR       0.20         95.00 Emails w/ LRC team and chambers re: 3/8 hearing
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                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B134 Hearings
         1368.002   03/06/2023    HWR     0.10         47.50   Emails w/ MRP and MR re: revising 3/8 agenda
         1368.002   03/06/2023    HWR     0.20         95.00   Emails w/ LRC team and chambers re: hearing for sale and KERP motions
         1368.002   03/06/2023    MRP     0.30        187.50   discussion w/ KAB re: 3/8 hearing (.1); emails w/ LRC and S&C teams re: same (.2)
         1368.002   03/06/2023    MRP     0.10         62.50   emails w/ S&C and LRC teams re: hearing dates
         1368.002   03/06/2023    MRP     0.30        187.50   emails w/ Chambers and LRC team re: 3/8 hearing and related issues
         1368.002   03/06/2023    HWR     0.30        142.50   emails w/ Chambers and LRC team re: 3/8 hearing and related issues
         1368.002   03/06/2023    MRP     0.30        187.50   Confer w/ HWR re: 3/8 hearing and agenda
         1368.002   03/06/2023    MRP     0.30        187.50   Emails w/ LRC and S&C teams re: 3/8 hearing
         1368.002   03/06/2023     KAB    0.30        246.00   Emails with LRC and S&C teams re: 3/8 hearing
         1368.002   03/06/2023    MRP     0.20        125.00   Emails w/ LRC team and chambers re: hearing for sale and KERP motions
         1368.002   03/07/2023     KAB    0.10         82.00   email with LRC team re: amended 3/8 agenda
         1368.002   03/07/2023    MRP     0.10         62.50   Email w/ S&C re: March 8 hearing
         1368.002   03/07/2023    MRP     0.10         62.50   Email w/ MR re: Zoom registrations for March 8 hearing
         1368.002   03/07/2023    MRP     0.10         62.50   Call w/ B. Beller re: March 8 hearing
         1368.002   03/07/2023    MRP     0.10         62.50   Confer w/ MR re: Zoom registration for B. Beller
         1368.002   03/07/2023    HWR     0.10         47.50   Review amended 3/8 agenda
         1368.002   03/07/2023      MR    0.10         31.00   Email with MRP and HWR re: amended 3/8 agenda
         1368.002   03/07/2023    HWR     0.10         47.50   Email w/ MRP and MR re: amended 3/8 agenda
         1368.002   03/07/2023    HWR     0.10         47.50   call w/ MRP re: 3/8 amended agenda
         1368.002   03/07/2023    MRP     0.10         62.50   Email w/ HWR and MR re: amended March 8 hearing agenda
         1368.002   03/07/2023     KAB    0.20        164.00   discussion with A. Landis and M. Pierce re: 3/8 hearing and open issues related
                                                               thereto
         1368.002    03/07/2023   MRP     0.10         62.50   Email w/ B. Beller and KAB re: registration for March 8 hearing
         1368.002    03/07/2023   HWR     0.10         47.50   Confer w/ MRP, MR and AD re: amended agenda
         1368.002    03/07/2023    NEJ    0.30        157.50   Emails w. LRC team re: amended agenda for 3/8 hearing (.1); Revise same (.2)
         1368.002    03/07/2023   ACD     0.20         62.00   Emails with M. Pierce re: amended agenda re: 3/8 hearing (0.1); emails with H.
                                                               Robertson re: status of same (0.1)
         1368.002    03/07/2023    MR     0.50        155.00   confer and email with MRP re: filing amended agenda (.2); finalize and file same (.2);
                                                               email with LRC team re: as-filed copy (.1)
         1368.002    03/07/2023    MR     0.80        248.00   confer and emails with MRP re: setting up appearances for 3.8 hearing (.3); schedule
                                                               same for A. Dietderich (.1), J. Bromley (.1), B. Glueckstein (.1) and A. Kranzley (.1); email
                                                               with A. Kranzley re: same (.1)
         1368.002    03/07/2023    MR     0.60        186.00   email with KAB re: scheduling appearances for LRC team re: 3.8 hearing (.1); schedule
                                                               same for AGL (.1); KAB (.1); MRP (.1); email with AGL re: same (.1); email with KAB re:
                                                               same (.1); email with MRP re: same (.1)
         1368.002    03/07/2023   KAB     0.20        164.00   emails with S&C and LRC teams re: 3/8 hearing issues
         1368.002    03/07/2023   KAB     0.80        656.00   emails with LRC team re: amended agenda (.2); emails with LRC and S&C teams re:
                                                               same (.2); email Chambers re: update on 3/8 hearing and fee examiner (.4)
         1368.002    03/07/2023   MRP     0.10         62.50   Email w/ LRC team re: amended 3/8 agenda
         1368.002    03/07/2023   HWR     0.10         47.50   Email w/ LRC team re: amended 3/8 agenda
         1368.002    03/07/2023     MR    0.10         31.00   email with LRC team re: amended 3/8 agenda
         1368.002    03/07/2023   MRP     0.10         62.50   call w/ HWR re: 3/8 amended agenda
         1368.002    03/07/2023   MRP     0.20        125.00   Discussion w/ AGL and KAB re: 3/8 hearing and open issues related thereto
         1368.002    03/07/2023    AGL    0.20        230.00   discussion with brown and pierce re: 3/8 hearing and open issues related thereto
         1368.002    03/07/2023    KAB    0.10         82.00   Email with B. Beller and M. Pierce re: registration for March 8 hearing
         1368.002    03/07/2023     MR    0.10         31.00   Confer with MRP, HWR, and AD re: amended agenda
         1368.002    03/07/2023   MRP     0.10         62.50   Emails w/ ACD re: amended agenda re: 3/8 hearing
         1368.002    03/07/2023   HWR     0.10         47.50   Emails w/ ACD re: status of 3/8 hearing
         1368.002    03/07/2023   MRP     0.20        125.00   Confer and email w/ MR re: filing amended agenda
         1368.002    03/07/2023   MRP     0.20        125.00   emails w/ S&C and LRC teams re: 3/8 hearing issues
         1368.002    03/07/2023   MRP     0.40        250.00   emails w/ LRC team re: amended agenda (.2); emails w/ LRC and S&C teams re: same
                                                               (.2)
         1368.002    03/07/2023   HWR     0.20         95.00   emails w/ LRC team re: amended agenda
         1368.002    03/07/2023     MR    0.20         62.00   emails with LRC team re: amended agenda
         1368.002    03/07/2023    NEJ    0.20        105.00   emails w. LRC team re: amended agenda
         1368.002    03/07/2023    KAB    0.10         82.00   Confer with MRP, HWR, and MR re: amended agenda
         1368.002    03/08/2023   MRP     0.10         62.50   Email w/ Chambers re: March 8 hearing
         1368.002    03/08/2023   MRP     0.10         62.50   Email w/ LRC team re: amending March 8 hearing agenda
         1368.002    03/08/2023   MRP     0.20        125.00   Revise second amended hearing agenda
         1368.002    03/08/2023     MR    0.70        217.00   email with KAB re: drafting second amended agenda cancelling the hearing (.1); draft
                                                               same (.2); email with HWR and MRP re: review of same (.1); email with MRP re: same
                                                               (.2); update same (.1)
         1368.002    03/08/2023    MR     0.10         31.00   email with G. Matthew from Reliable transcriber re: cancellation of 3.8 hearing
         1368.002    03/08/2023   KAB     0.20        164.00   emails with Chambers and LRC team re: 3/8 hearing and omni and fee hearing dates
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         1368.002   03/08/2023    KAB     0.10         82.00   email with YCST and LRC teams re: interim fee hearings
         1368.002   03/08/2023    MRP     0.20        125.00   email w/ S&C and LRC teams re: 3/8 hearing update and amended agenda
         1368.002   03/08/2023    KAB     0.10         82.00   email UST and M. Pierce re: 3/8 hearing status
         1368.002   03/08/2023    KAB     0.10         82.00   email with R. Poppiti re: 3/8 hearing
         1368.002   03/08/2023     MR     0.50        155.00   further emails with MRP re: updates to agenda (.2); update and file same (.2); email
                                                               with HWR re: as-filed for service (.1)
         1368.002    03/08/2023   NEJ     0.10         52.50   Emails w. LRC team re: agenda canceling 3/8 hearing
         1368.002    03/08/2023   MRP     0.20        125.00   Email w/ LRC team re: Certification of Counsel for additional omni hearing dates
         1368.002    03/08/2023   MRP     0.10         62.50   Email w/ Kroll re: service of second amended agenda
         1368.002    03/08/2023   KAB     0.20        164.00   emails with LRC team re: omni and interim fee hearings, Certification of Counsel
                                                               needed and critical date updates
         1368.002    03/08/2023   MRP     0.10         62.50   Email w/ UST re: cancellation of hearing
         1368.002    03/08/2023   KAB     0.40        328.00   emails with LRC team re: amended agenda (.2); discussion with M. Pierce re: same (.1);
                                                               emails with S&C, LRC and Kroll team re: service of same (.1)
         1368.002    03/08/2023   MRP     0.10         62.50   Revise Certification of Counsel scheduling omnibus and fee hearings
         1368.002    03/08/2023   MRP     0.10         62.50   Email w/ LRC team re: filing Certification of Counsel for omnibus and fee hearing
                                                               dates
         1368.002    03/08/2023   AGL     0.80        920.00   communications with LRC Team (.4); S&C team (.2) and Court (.2) re: hearing
                                                               cancellation and related issues
         1368.002    03/08/2023    MR     0.20         62.00   email with LRC team re: drafting Certification of Counsel re: omnibus hearing dates
                                                               (.1); confer with ACD re: same (.1)
         1368.002    03/08/2023    MR     0.10         31.00   emails with LRC team re: critical dates relating to omnibus hearings and interim fee
                                                               hearing
         1368.002    03/08/2023    MR     0.50        155.00   review emails from HWR and MRP re: Certification of Counsel re: omnibus hearing
                                                               dates (.2); finalize same for filing (.1); file same (.1); update order and upload re: same
                                                               (.1)
         1368.002    03/08/2023    MR     0.20         62.00   review docket re: omnibus and interim fee hearing dates (.1); email with LRC team re:
                                                               same (.1)
         1368.002    03/08/2023   HWR     0.10         47.50   Review second amended 3/8 agenda
         1368.002    03/08/2023   HWR     0.10         47.50   Emails w/ MRP and MR re: draft second amended 3/8 agenda
         1368.002    03/08/2023   HWR     0.10         47.50   Review emails w/ Court re: omnibus hearing dates
         1368.002    03/08/2023   HWR     0.20         95.00   Review Certification of Counsel re: omnibus hearing dates
         1368.002    03/08/2023   HWR     0.10         47.50   Emails w/ LRC team re: Certification of Counsel for omnibus hearing dates
         1368.002    03/08/2023   HWR     0.20         95.00   Emails w/ LRC team re: second amended 3/8 agenda
         1368.002    03/08/2023   MRP     0.20        125.00   emails w/ Chambers and LRC team re: 3/8 hearing and omni and fee hearing dates
         1368.002    03/08/2023   MRP     0.10         62.50   email w/ YCST and LRC teams re: interim fee hearings
         1368.002    03/08/2023    KAB    0.20        164.00   email with S&C and LRC teams re: 3/8 hearing update and amended agenda
         1368.002    03/08/2023   MRP     0.10         62.50   email w/ UST and KAB re: 3/8 hearing status
         1368.002    03/08/2023   MRP     0.20        125.00   emails w/ MR re: updates to agenda and filing
         1368.002    03/08/2023   HWR     0.10         47.50   email w/ MR re: as-filed agenda for service
         1368.002    03/08/2023     MR    0.10         31.00   Emails with LRC team re: agenda canceling 3/8 hearing
         1368.002    03/08/2023   MRP     0.10         62.50   Emails w/ LRC team re: agenda canceling 3/8 hearing
         1368.002    03/08/2023    KAB    0.10         82.00   Emails with LRC team re: agenda canceling 3/8 hearing
         1368.002    03/08/2023   HWR     0.10         47.50   Emails w/ LRC team re: agenda canceling 3/8 hearing
         1368.002    03/08/2023   HWR     0.20         95.00   emails w/ LRC team re: omni and interim fee hearings, Certification of Counsel
                                                               needed and critical date updates
         1368.002    03/08/2023   MRP     0.40        250.00   emails w/ LRC team re: amended agenda (.2); discussion w/ KAB re: same (.1); emails
                                                               w/ S&C, LRC and Kroll team re: service of same (.1)
         1368.002    03/08/2023   HWR     0.30        142.50   emails w/ LRC team re: amended agenda (.2); emails w/ S&C, LRC and Kroll team re:
                                                               service of same (.1)
         1368.002    03/08/2023   ACD     0.10         31.00   Emails with LRC team re: agenda canceling 3/8 hearing
         1368.002    03/08/2023   ACD     0.20         62.00   emails with LRC team re: omni and interim fee hearings, Certification of Counsel
                                                               needed and critical date updates
         1368.002    03/08/2023   ACD     0.10         31.00   confer with MRP re: Certification of Counsel re: omnibus hearing dates
         1368.002    03/10/2023   MRP     0.10         62.50   Review March 14 hearing agenda filed by Emergent Debtor
         1368.002    03/10/2023    MR     0.20         62.00   email with ACD re: agenda for 3.14 Emergent hearing (.1); review agenda re: same (.1)
         1368.002    03/10/2023    MR     0.10         31.00   email with MRP re: Emergent hearing
         1368.002    03/10/2023   KAB     0.20        164.00   review email from A. Purdon re: 3/14 Emergent agenda (.1); review and analyze same
                                                               (.1)
         1368.002    03/10/2023   NEJ     0.10         52.50   Email w. LRC team re: 3/14 Emergent hearing on motion to strike
         1368.002    03/10/2023   KAB     0.30        246.00   emails with Chambers, Emergent, BlockFi, and FTX professionals re: 3/14 hearing and
                                                               witness issues
         1368.002    03/10/2023   MRP     0.10         62.50   email w/ MR re: Emergent hearing
         1368.002    03/10/2023   MRP     0.10         62.50   Email w/ LRC team re: 3/14 Emergent hearing on motion to strike
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         1368.002   03/10/2023    HWR     0.10         47.50 Email w/ LRC team re: 3/14 Emergent hearing on motion to strike
         1368.002   03/10/2023    MRP     0.30        187.50 emails w/ Chambers, Emergent, BlockFi, and FTX professionals re: 3/14 hearing and
                                                             witness issues
         1368.002    03/10/2023   ACD     0.10         31.00 email with MR re: agenda for 3.14 Emergent hearing
         1368.002    03/11/2023   KAB     0.60        492.00 emails with chambers, Emergent, BlockFi and FTX professionals re: 3/14 hearing and
                                                             related witness issues (.3); communications with A. Landis and M. Pierce re: same and
                                                             related issues (.3)
         1368.002    03/11/2023   MRP     0.60        375.00 emails w/ chambers, Emergent, BlockFi and FTX professionals re: 3/14 hearing and
                                                             related witness issues (.3); communications w/ AGL and KAB re: same and related
                                                             issues (.3)
         1368.002    03/11/2023    AGL    0.30        345.00 communications with brown and pierce re: 3/14 hearing and related witness issues
         1368.002    03/13/2023     MR    0.50        155.00 confer with HWR re: preparing for Emergent 3.14 hearing
         1368.002    03/13/2023     MR    1.20        372.00 prepare documents for Emergent 3.14 hearing
         1368.002    03/13/2023    KAB    0.10         82.00 email with LRC team re: witnesses for 3/14 hearing
         1368.002    03/13/2023    KAB    0.10         82.00 review email from J. Goodchild re: 3/14 hearing in Emergent on motion to dismiss
         1368.002    03/13/2023   HWR     0.50        237.50 Confer w/ MR re: 3/14 Emergent hearing prep
         1368.002    03/13/2023   HWR     0.20         95.00 Confer w/ LRC team re: 3/14 Emergent hearing prep
         1368.002    03/13/2023   HWR     0.30        142.50 Confer w/ MRP re: 3/14 Emergent hearing prep
         1368.002    03/13/2023    KAB    0.10         82.00 emails with LRC and S&C teams re: Emergent hearing on motion to dismiss and
                                                             related issues
         1368.002    03/13/2023   MRP     0.10         62.50 Email w/ LRC and S&C re: March 14 Emergent hearing
         1368.002    03/13/2023   MRP     0.10         62.50 Email w/ LRC team re: prep for March 14 Emergent hearing
         1368.002    03/13/2023    MR     0.70        217.00 confer with HWR re: 3.14 hearing needs (.2); prepare same (.5)
         1368.002    03/13/2023   AGL     1.80      2,070.00 prepare for emergent hearing re: motion to shorten/motion to strike, mtd, including
                                                             review and analysis of related pleadings
         1368.002    03/13/2023   ACD     0.30         93.00 Emails with M. Ramirez re: emergent hearing
         1368.002    03/13/2023    KAB    0.10         82.00 review emails from D. Shim re: recent Emergent filings related to 3/14 hearing
         1368.002    03/13/2023    KAB    0.10         82.00 review emails from T. Remington re: BlockFi's 3/14 hearing exhibits
         1368.002    03/13/2023   MRP     0.10         62.50 Review amended agenda for Emergent hearing
         1368.002    03/13/2023   MRP     0.10         62.50 email w/ LRC team re: witnesses for 3/14 hearing
         1368.002    03/13/2023   HWR     0.10         47.50 email w/ LRC team re: witnesses for 3/14 hearing
         1368.002    03/13/2023   MRP     0.20        125.00 Confer w/ LRC team re: 3/14 Emergent hearing prep
         1368.002    03/13/2023     MR    0.20         62.00 Confer with LRC team re: 3/14 Emergent hearing prep
         1368.002    03/13/2023    KAB    0.20        164.00 Confer with LRC team re: 3/14 Emergent hearing prep
         1368.002    03/13/2023   MRP     0.30        187.50 Confer w/ HWR re: 3/14 Emergent hearing prep
         1368.002    03/13/2023    KAB    0.10         82.00 Email with LRC team re: prep for March 14 Emergent hearing
         1368.002    03/13/2023     MR    0.10         31.00 Email with LRC team re: prep for March 14 Emergent hearing
         1368.002    03/13/2023   HWR     0.10         47.50 Email w/ LRC team re: prep for March 14 Emergent hearing
         1368.002    03/13/2023     MR    0.30         93.00 Emails with ACD re: emergent hearing
         1368.002    03/14/2023    KAB    0.10         82.00 emails with LRC team re: Emergent amended hearing agenda and docs in support of
                                                             joint admin order
         1368.002    03/14/2023    NEJ    1.10        577.50 Emails w. MRP and HWR re: hearing exhibits for 3/14 Emergent hearing (.1); Review
                                                             declarations and exhibits in preparation for hearing (1.0)
         1368.002    03/14/2023   NEJ     0.20        105.00 Confer w. MRP, HWR and M. Ramirez re: materials and preparation for 3/14 hearing
         1368.002    03/14/2023   MRP     0.10         62.50 Email w/ S&C re: exhibits for Emergent hearing
         1368.002    03/14/2023   MRP     0.20        125.00 Emails w/ NEJ and HWR re: binder of BlockFi exhibits
         1368.002    03/14/2023   MRP     0.10         62.50 Call w/ NEJ re: hearing exhibits
         1368.002    03/14/2023   KAB     0.40        328.00 discussion with B. Glueckstein and A. Landis re: hearing, including BlockFi MTD and
                                                             Emergent issues
         1368.002    03/14/2023   KAB     0.10         82.00 emails with LRC team and B. Glueckstein re: materials for hearing
         1368.002    03/14/2023    MR     0.80        248.00 monitor hearing for critical dates and status of motions
         1368.002    03/14/2023    MR     1.00        310.00 prepare for Emergent hearing by created copies of pleadings as it related to the
                                                             matters going forward (.8); confer with HWR, NEJ and ACD re: same (.2)
         1368.002    03/14/2023   AGL     4.00      4,600.00 review pleadings and arguments in preparation for hearing (1.2); meeting with BDG
                                                             re: hearing issues (.6); attend hearing and related negotiation sessions (1.6);
                                                             post-hearing meeting with BDG re: go forward issues (.6)
         1368.002    03/14/2023    MR     1.70        527.00 Draft sale hearing agenda
         1368.002    03/14/2023   ACD     0.60        186.00 Assist with preparation for Emergent motion to dismiss hearing
         1368.002    03/14/2023   HWR     0.80        380.00 Prepare for 3/14 Emergent Hearing
         1368.002    03/14/2023   HWR     1.00        475.00 Attend 3/14 Emergent hearing
         1368.002    03/14/2023   MRP     0.10         62.50 emails w/ LRC team re: Emergent amended hearing agenda and docs in support of
                                                             joint admin order
         1368.002    03/14/2023    MR     0.10         31.00 emails with LRC team re: Emergent amended hearing agenda and docs in support of
                                                             joint admin order
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         1368.002   03/14/2023    HWR     0.10         47.50 emails w/ LRC team re: Emergent amended hearing agenda and docs in support of
                                                             joint admin order
         1368.002    03/14/2023   MRP     0.10         62.50 Emails w/ NEJ and HWR re: hearing exhibits for 3/14 Emergent hearing
         1368.002    03/14/2023   HWR     0.10         47.50 Emails w/ NEJ and MRP re: hearing exhibits for 3/14 Emergent hearing
         1368.002    03/14/2023   MRP     0.20        125.00 Confer w/ NEJ, HWR, and MR re: materials and preparation for 3/14 hearing
         1368.002    03/14/2023   HWR     0.20         95.00 Confer w/ NEJ, MRP, and MR re: materials and preparation for 3/14 hearing
         1368.002    03/14/2023    MR     0.20         62.00 Confer with NEJ, MRP, and HWR re: materials and preparation for 3/14 hearing
         1368.002    03/14/2023   HWR     0.20         95.00 Emails w/ MRP and NEJ re: binder of BlockFi exhibits
         1368.002    03/14/2023    NEJ    0.20        105.00 Emails w. MRP and HWR re: binder of BlockFi exhibits
         1368.002    03/14/2023    NEJ    0.10         52.50 Call w. MRP re: hearing exhibits
         1368.002    03/14/2023    AGL    0.40        460.00 discussion with B. Glueckstein and brown re: hearing, including BlockFi MTD and
                                                             Emergent issues
         1368.002    03/14/2023   MRP     0.10         62.50 emails w/ LRC team and B. Glueckstein re: materials for hearing
         1368.002    03/14/2023    NEJ    0.10         52.50 emails w. LRC team and B. Glueckstein re: materials for hearing
         1368.002    03/14/2023   HWR     0.10         47.50 emails w/ LRC team and B. Glueckstein re: materials for hearing
         1368.002    03/14/2023    NEJ    0.20        105.00 confer w. HWR, M. Ramirez, and ACD re: Emergent hearing prep
         1368.002    03/14/2023   HWR     0.20         95.00 confer w/ NEJ, MR, and ACD re: Emergent hearing prep
         1368.002    03/14/2023   ACD     0.10         31.00 emails with LRC team re: Emergent amended hearing agenda and docs in support of
                                                             joint admin order
         1368.002    03/14/2023   ACD     0.20         62.00 Confer with HWR, NEJ and MR re: Emergent hearing prep
         1368.002    03/22/2023   KAB     0.10         82.00 email LRC team re: updates to 4/12 agenda
         1368.002    03/22/2023    MR     0.20         62.00 email with KAB re: extension for UST to KERP objection deadline (.1); update sale
                                                             hearing agenda re: 3.29 hearing (.1)
         1368.002    03/22/2023   MRP     0.10         62.50 Email w/ LRC team re: updates to 4/12 agenda
         1368.002    03/22/2023   HWR     0.10         47.50 Email w/ LRC team re: updates to 4/12 agenda
         1368.002    03/24/2023   MRP     0.10         62.50 Confer w/ MR re: 3/29 hearing agenda and responses to agenda items
         1368.002    03/24/2023    MR     0.30         93.00 confer with MRP re: informal responses for motions listed on 3.29 agenda (.1); update
                                                             same (.1); email with MRP and HWR re: same (.1)
         1368.002    03/24/2023   HWR     0.10         47.50 Emails w/ MRP and MR re: agenda for 3/29 hearing
         1368.002    03/24/2023   HWR     0.20         95.00 Review/revise agenda for sale hearing
         1368.002    03/24/2023   HWR     0.10         47.50 Revise agenda for 3/29 hearing
         1368.002    03/24/2023   HWR     0.10         47.50 Email w/ MRP re: revised 3/29 agenda
         1368.002    03/24/2023    KAB    0.20        164.00 Confer with M. Pierce re: 3/29 agenda, COCs and evidentiary support for hearing
         1368.002    03/24/2023   MRP     0.10         62.50 Emails w/ HWR and MR re: agenda for 3/29 hearing
         1368.002    03/24/2023   MRP     0.10         62.50 Email w/ HWR re: revised 3/29 agenda
         1368.002    03/24/2023   MRP     0.20        125.00 Confer w/ KAB re: 3/29 agenda, COCs and evidentiary support for hearing
         1368.002    03/27/2023    KAB    0.30        246.00 email with S&C and LRC teams re: 3/29 agenda and related issues
         1368.002    03/27/2023   MRP     0.20        125.00 Revise March 29 hearing agenda
         1368.002    03/27/2023   MRP     0.30        187.50 Emails w/ LRC and S&C teams re: March 29 hearing agenda
         1368.002    03/27/2023   MRP     0.10         62.50 Confer w/ HWR and MR re: Zoom information for March 29 hearing
         1368.002    03/27/2023   MRP     0.10         62.50 Email w/ Chambers re: March 29 Zoom link
         1368.002    03/27/2023   MRP     0.10         62.50 Email w/ Kroll re: service of March 29 hearing agenda
         1368.002    03/27/2023     MR    0.30         93.00 confer with HWR and MRP re: agenda for 3.29 hearing and zoom link for same (.1);
                                                             update agenda re: same (.2)
         1368.002    03/27/2023    MR     0.50        155.00 multiple emails with HWR and MRP re: updates to agenda re: 3.29 hearing (.2); finalize
                                                             and file same (.2); email as filed for service with MRP and HWR (.1)
         1368.002    03/27/2023   HWR     0.30        142.50 Emails w/ S&C and MRP re: draft 3/29 hearing agenda
         1368.002    03/27/2023   HWR     0.20         95.00 Emails w/ MRP and MR re: 3/29 hearing agenda
         1368.002    03/27/2023   HWR     0.10         47.50 Email w/ Court re: 3/29 hearing agenda
         1368.002    03/27/2023   HWR     0.20         95.00 Review revised 3/29 hearing agenda for filing
         1368.002    03/27/2023   HWR     0.20         95.00 Draft/send service instructions to Kroll re: 3/29 hearing agenda
         1368.002    03/27/2023   HWR     0.10         47.50 Confer w/ MRP and MR re: Zoom information for March 29 hearing
         1368.002    03/27/2023   MRP     0.30        187.50 Emails w/ S&C and HWR re: draft 3/29 hearing agenda
         1368.002    03/27/2023   MRP     0.30        187.50 emails with S&C and LRC teams re: cancellation of 3/29 hearing
         1368.002    03/28/2023   MRP     0.20        125.00 Email w/ KAB and Chambers re: March 29 hearing
         1368.002    03/28/2023    KAB    0.20        164.00 emails with M. Pierce and Chambers re: updates on pending matters for 3/29 hearing
                                                             and related issues
         1368.002    03/28/2023   MRP     0.10         62.50 Email w/ LRC team re: amending hearing agenda
         1368.002    03/28/2023   KAB     0.10         82.00 emails with S&C and LRC teams re: cancellation of 3/29 hearing
         1368.002    03/28/2023   MRP     0.20        125.00 Email w/ LRC team re: draft of amended agenda (.1); review the same (.1)
         1368.002    03/28/2023    MR     0.60        186.00 confer and email with HWR and MRP re: drafting amended agenda cancelling 3.29
                                                             hearing (.3); draft same (.2); file same (.1)
         1368.002    03/28/2023   HWR     0.10         47.50 Emails w/ MRP and MR re: amended 3/29 agenda
         1368.002    03/28/2023   HWR     0.20         95.00 Emails w/ S&C re: canceling 3/29 hearing
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         1368.002   03/28/2023       MRP       0.10         62.50   Emails w/ HWR and MR re: agenda canceling 3/29 hearing
         1368.002   03/28/2023       HWR       0.10         47.50   Review amended agenda for 3/29 hearing
         1368.002   03/28/2023       HWR       0.10         47.50   Draft/send service instructions to Kroll re: amended 3/29 agenda
         1368.002   03/28/2023        KAB      0.10         82.00   Email with M. Ramirez re: UST objection extension for KERP motion
         1368.002   03/28/2023        KAB      0.10         82.00   email with LRC team re: amending hearing agenda
         1368.002   03/28/2023         MR      0.10         31.00   Email with LRC team re: amending hearing agenda
         1368.002   03/28/2023       MRP       0.10         62.50   emails w/ S&C and LRC teams re: cancellation of 3/29 hearing
         1368.002   03/28/2023       MRP       0.10         62.50   confer w/ HWR and MR re: drafting amended agenda cancelling 3.29 hearing
         1368.002   03/28/2023       HWR       0.10         47.50   confer w/ MRP and MR re: drafting amended agenda cancelling 3.29 hearing
         1368.002   03/31/2023         MR      2.10        651.00   draft hearing agenda for 4.12 omnibus hearing

Total for Phase ID B134            Billable   65.10     38,008.00 Hearings

Phase ID B135 Litigation
         1368.002     03/01/2023       MR      0.20         62.00 review docket re: order granting motion to extend time to file answer to complaint
                                                                  (.1); email with LRC team re: same (.1)
         1368.002     03/01/2023      KAB      0.10         82.00 email LRC team re: UST sign off on Removal Motion and filing of Certificate of No
                                                                  Objection for same
         1368.002     03/01/2023      KAB      1.70      1,394.00 email with LRC and S&C teams re: protective order (.1); review rules in connection
                                                                  with same (.3); discussions with LRC team re: same (.5); review and analyze protective
                                                                  order (.8)
         1368.002     03/01/2023     MRP       0.50        312.50 Conferences w/ AGL and KAB re: confidentiality order
         1368.002     03/01/2023     MRP       0.10         62.50 Email w/ LRC team re: Certificate of No Objection for removal deadline
         1368.002     03/01/2023     AGL       2.50      2,875.00 review proposed rule 2004 confidentiality order (.8); research process for approval (.6);
                                                                  communications with LRC team re: same (.5); communications with S&C team re:
                                                                  same (.6)
         1368.002     03/01/2023      AGL      0.30        345.00 communications with LRC, counsel to Voyager and S&C team re: extension of time to
                                                                  respond to complaint
         1368.002     03/01/2023      KAB      0.30        246.00 communications with counsel to Voyager, LRC and S&C teams re: extension of time
                                                                  to respond to complaint
         1368.002     03/01/2023      KAB      0.20        164.00 emails with S&C lit team and M. McGuire re: return of funds settlements
         1368.002     03/01/2023      ACD      0.50        155.00 Review open adversary cases re: pre-trial conferences
         1368.002     03/01/2023      KAB      0.20        164.00 emails with M. McGuire and H. Robertson re: stip extending response deadline for
                                                                  Voyager and related issues
         1368.002     03/01/2023      KAB      0.30        246.00 emails with S&C lit team and M. McGuire re: Met Settlement
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ MR re: finalizing Certificate of No Objection for removal deadline order
         1368.002     03/01/2023     HWR       0.20         95.00 Emails w/ MBM and KAB re: draft stip and order extending response deadline for
                                                                  Alameda/Voyager Adversary
         1368.002     03/01/2023     HWR       1.30        617.50 Draft stip (1.0), Certification of Counsel (.2) and order (.1) extending response
                                                                  deadline for Alameda/Voyager Adversary
         1368.002     03/01/2023     MBM       0.30        270.00 emails with LRC, Potter and Sull Crom re: Voyager complaint and extension
                                                                  stipulation
         1368.002     03/01/2023     MBM       1.40      1,260.00 review of Met settlement (.3); email with Brown and Sull Crom re: same (.3); review of
                                                                  9019 procedures precedents (.8)
         1368.002     03/01/2023     MBM       0.50        450.00 review of discovery target production (.4); email with Sull Crom re: same (.1)
         1368.002     03/01/2023     MRP       0.10         62.50 Email w/ LRC and S&C re: protective order
         1368.002     03/01/2023     MBM       0.20        180.00 emails with Sull Crom lit team and Brown re: return of funds settlements
         1368.002     03/01/2023     MBM       0.20        180.00 Emails w/ Brown and Robertson re: draft stip and order extending response deadline
                                                                  for Alameda/Voyager Adversary
         1368.002     03/01/2023     MBM       0.30        270.00 communicate with Landis, S&C and Voyager re: extension of time to answer
                                                                  complaint
         1368.002     03/02/2023      KAB      0.10         82.00 emails with LRC and S&C lit teams re: Voyager stip extending response deadline
         1368.002     03/02/2023      KAB      0.20        164.00 emails with S&C and LRC lit teams re: follow-up on discovery from cyber party
         1368.002     03/02/2023      KAB      0.40        328.00 review and analyze 9019 re: settlements of one and multiply controversies by class
                                                                  (.3); email with M. McGuire re: same (.1)
         1368.002     03/02/2023      KAB      0.10         82.00 emails with LRC team re: updates to discovery tracking chart
         1368.002     03/02/2023      AGL      0.20        230.00 communications with KAB, MRP re: settlement process motion and one off
                                                                  settlements
         1368.002     03/02/2023      KAB      0.30        246.00 discussion with A. Landis and M. Pierce re: Met settlement, future settlements and
                                                                  potential procedures motion (.2); email S&C and LRC teams re: same (.1)
         1368.002     03/02/2023      KAB      0.30        246.00 review and analyze MET settlement stip
         1368.002     03/02/2023      AGL      1.20      1,380.00 review and revise objection to BlockFi MTD Emergent bankruptcy case (.9);
                                                                  communications with KAB, S&C team re: same (.3)
         1368.002     03/02/2023       MR      0.10         31.00 email with MRP re: objection in Emergent matter
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         1368.002     03/02/2023   KAB     1.20        984.00 review and revise opposition to BlockFi motion to dismiss (.9); email with S&C and
                                                              LRC teams re: proposed revisions to same (.3)
         1368.002     03/02/2023   HWR     0.10         47.50 Confer w/ MBM re: cyber party supplemental production
         1368.002     03/02/2023   HWR     0.30        142.50 Email w/ MBM and S&C team re: cyber party supplemental production
         1368.002     03/02/2023    KAB    0.40        328.00 emails with S&C and LRC teams re: final objection to Blockfi Emergent MTD (.1); email
                                                              LRC team re: finalization and filing of same (.2); discussion with A. Dellose re: service
                                                              of same (.1)
         1368.002     03/02/2023   MR      0.10         31.00 confer with ACD re: filing objection to Blockfi motion in Emergent matter
         1368.002     03/02/2023   AGL     0.70        805.00 communications with S&C team re: discovery and insurance issues w/r/t SBF (.5);
                                                              communications with counsel to SBF re: same (.2)
         1368.002     03/02/2023   KAB     0.20        164.00 email with YCST and M. Pierce re: opposition to MTD in Emergent and related joinder
         1368.002     03/02/2023   KAB     0.10         82.00 emails with LRC team re: amended Voyager complaint
         1368.002     03/02/2023   AGL     1.30      1,495.00 review and analyze Emergent objection to BlockFi mtd
         1368.002     03/02/2023   KAB     0.20        164.00 emails with S&C and LRC teams re: amended Voyager complaint and stip to extend
                                                              response deadline
         1368.002     03/02/2023   AGL     1.10      1,265.00 review and analyze first amended voyager complaint (.8); communications with s&c
                                                              team re: same and filing/service issues (.3)
         1368.002     03/02/2023   HWR     0.20         95.00 Email w/ Kroll re: service of Debtors' objection to MTD Emergent case
         1368.002     03/02/2023    MR     0.20         62.00 emails with MBM and MRP re: amended complaint and service of same
         1368.002     03/02/2023    MR     0.10         31.00 confer with ACD re: amended complaint and service of same
         1368.002     03/02/2023   HWR     0.10         47.50 Email w/ Kroll re: service of ocp statement and order extending removal deadline
         1368.002     03/02/2023   HWR     0.60        285.00 Revise/update subpoena tracker
         1368.002     03/02/2023   HWR     0.90        427.50 Research re: service of amended complaint
         1368.002     03/02/2023   HWR     0.20         95.00 Emails w/ MBM re: service of amended complaint
         1368.002     03/02/2023   ACD     1.10        341.00 Emails with M. Pierce re: objection to Blockfi Emergent MTD (0.1); confer with K.
                                                              Brown re: same and service of same (0.1); review docket and create service list for
                                                              same (0.5); finalize and e-file same (0.3); emails with H. Robertson re: service of same
                                                              (0.1)
         1368.002     03/02/2023   ACD     4.00      1,240.00 Emails with M. McGuire re: amended voyager complaint (0.2); assist with preparation
                                                              of same (2.8); finalize and e-file same (0.7); emails with Parcels re: service of same and
                                                              confirmation of hand delivery (0.3)
         1368.002     03/02/2023    KAB    0.10         82.00 emails with Quinn and LRC teams re: examination notice
         1368.002     03/02/2023    KAB    0.10         82.00 emails with Potter and LRC teams re: amended voyager complaint
         1368.002     03/02/2023   MBM     0.60        540.00 Call with Glueckstein and Dunne re: SBF meet and confer (.4); call with SBF counsel re:
                                                              same (.2)
         1368.002     03/02/2023   ACD     0.80        248.00 Emails with H. Robertson re: service of Bahamas complaint (0.3); emails with Parcels
                                                              re: same (0.5)
         1368.002     03/02/2023   MBM     1.50      1,350.00 review of discovery target supplemental production (1.2); emails with Sull Crom and
                                                              Robertson re: same (.3)
         1368.002     03/02/2023   MBM     0.40        360.00 numerous emails with Brown and Sull Crom re: Met 9019
         1368.002     03/02/2023   MBM     2.90      2,610.00 review and comments to Amended Voyager complaint (1.4); numerous emails with
                                                              Beller re: same (.4); finalize same (1.1)
         1368.002     03/02/2023   MBM     0.50        450.00 review of 2004 notice (.3); emails with Palmerson re: same (.2)
         1368.002     03/02/2023   MBM     0.10         90.00 emails with LRC and Sull Crom lit teams re: Voyager stip extending response deadline
         1368.002     03/02/2023   MRP     0.20        125.00 Emails w/ S&C and LRC lit teams re: follow-up on discovery from cyber party
         1368.002     03/02/2023   MRP     0.10         62.50 email w/ MR re: objection in Emergent matter
         1368.002     03/02/2023   MBM     0.10         90.00 Confer with Robertson re: cyber party supplemental production
         1368.002     03/02/2023   MRP     0.10         62.50 emails w/ S&C and LRC teams re: final objection to Blockfi Emergent MTD
         1368.002     03/02/2023   MRP     0.20        125.00 email with YCST and KAB re: opposition to MTD in Emergent and related joinder
         1368.002     03/02/2023   MRP     0.10         62.50 emails w/ LRC team re: amended Voyager complaint
         1368.002     03/02/2023   MBM     0.10         90.00 emails with LRC team re: amended Voyager complaint
         1368.002     03/02/2023   MRP     0.10         62.50 emails w/ S&C and LRC teams re: amended Voyager complaint and stip to extend
                                                              response deadline
         1368.002     03/02/2023   MBM     0.10         90.00 emails with Sull Crom and LRC teams re: amended Voyager complaint and stip to
                                                              extend response deadline
         1368.002     03/02/2023   MBM     0.20        180.00 Emails with Robertson re: service of amended complaint
         1368.002     03/02/2023   MBM     0.20        180.00 Emails with Dellose re: amended voyager complaint
         1368.002     03/02/2023   MRP     0.10         62.50 emails with Quinn and LRC teams re: examination notice
         1368.002     03/02/2023   MRP     0.10         62.50 emails w/ Potter and LRC teams re: amended voyager complaint
         1368.002     03/02/2023   MBM     0.10         90.00 Email with Robertson re: additional research for amended complaint
         1368.002     03/02/2023   MRP     0.10         62.50 Emails w/ LRC and S&C lit teams re: Voyager stip extending response deadline
         1368.002     03/02/2023   MBM     0.20        180.00 emails with Sull Crom and LRC lit teams re: follow-up on discovery from cyber party
         1368.002     03/02/2023   MRP     0.20        125.00 Confer w/ AGL and KAB re: settlement process motion and one off settlements
         1368.002     03/02/2023   MBM     0.20        180.00 Emails with Robertson re: service of amended complaint
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         1368.002     03/03/2023    MR     0.10         31.00 email with HWR re: docket correction for order relating to removal deadline extension
         1368.002     03/03/2023    MR     0.30         93.00 email with bankruptcy court re: correcting docket related numbers to order re: motion
                                                              to extend removal deadline (.2); email with LRC team re: same (,1)
         1368.002     03/03/2023    KAB    0.10         82.00 email with N. Jenner re: 9019 motion for Met settlement and related issues
         1368.002     03/03/2023   HWR     1.70        807.50 Research re: service of amended complaint (1.4); emails w/ MBM re: same (.3)
         1368.002     03/03/2023   HWR     1.00        475.00 Additional research re: service of amended complaint
         1368.002     03/03/2023   HWR     0.10         47.50 Confer w/ JLC re: service of amended complaint
         1368.002     03/03/2023   HWR     0.30        142.50 Additional research re: service of amended complaint (.1); email w/ MBM re: follow up
                                                              question re: service (.1); email w/ KAB and MRP re: amended complaint service
                                                              research (.1)
         1368.002     03/03/2023   ACD     0.50        155.00 Emails with M. McGuire re: service of first amended Voyager complaint (0.1); prepare
                                                              same for service (0.3); emails with Parcels re: service of same (0.1)
         1368.002     03/03/2023    NEJ    0.50        262.50 Emails w. KAB re: 9019 motion for Met stip (.1); draft same (.4)
         1368.002     03/03/2023   MBM     0.70        630.00 review of service requirements for amended complaint (.4); emails with Robertson re:
                                                              same (.3)
         1368.002     03/03/2023   KAB     0.10         82.00 Email with H. Robertson re: amended complaint research
         1368.002     03/03/2023   MRP     0.10         62.50 Email w/ LRC team re: amended complaint research
         1368.002     03/05/2023   NEJ     1.10        577.50 Draft/revise 9019 Motion and PFO re: stip with the Met
         1368.002     03/06/2023   KAB     0.30        246.00 emails with B. Glueckstein and A. Landis re: confidentiality agreement and protective
                                                              order status and next steps (.2); email with UST, S&C, UCC and LRC teams re: same (.1)
         1368.002     03/06/2023   KAB     0.20        164.00 email H. Robertson and M. Pierce re: Certification of Counsel for confidentiality
                                                              agreement
         1368.002     03/06/2023   KAB     0.20        164.00 discussions (.1) and emails (.1) with N. Jenner re: Met 9019
         1368.002     03/06/2023   KAB     0.30        246.00 email with S&C and LRC lit teams re: Voyager stip extending response deadline and
                                                              service issues (.1); emails with LRC team re: same (.2)
         1368.002     03/06/2023   AGL     0.60        690.00 review and analyze revisions to voyager stipulation extending time to respond to
                                                              complaint (.3); communications with S&C team, MBM re: same (.3)
         1368.002     03/06/2023   MRP     0.30        187.50 Email w/ LRC and S&C teams re: Voyager stipulation w/r/t deadline to respond (.1);
                                                              emails w/ LRC team re: same (.2)
         1368.002     03/06/2023   NEJ     0.50        262.50 Research re: 9019 motion
         1368.002     03/06/2023   KAB     0.10         82.00 emails with LRC team re: motion to compel discovery
         1368.002     03/06/2023   AGL     1.20      1,380.00 review and analyze alameda v. grayscale et al (.9); communications with QE and S&C
                                                              re same (.3)
         1368.002     03/06/2023   KAB     0.10         82.00 emails with S&C and LRC lit teams re: supplemental production from Cyber discovery
                                                              target
         1368.002     03/06/2023   KAB     2.60      2,132.00 review and revise Met 9019 pleadings (2.1); review and revise Met stip (.4), email with
                                                              S&C and LRC lit teams re: draft 9019 and comments to the stip (.1)
         1368.002     03/06/2023   AGL     0.90      1,035.00 review and analyze draft 9019 motion and comments to stip re: met settlement (.8);
                                                              communications with KAB, S&C team re: same (.3)
         1368.002     03/06/2023   MRP     0.20        125.00 Emails w/ LRC team re: example motions to compel
         1368.002     03/06/2023   MRP     0.10         62.50 Email w/ S&C and LRC teams re: Met 9019 motion
         1368.002     03/06/2023   MRP     0.10         62.50 Email w/ KAB and HWR re: Certification of Counsel for confidentiality and protective
                                                              order
         1368.002     03/06/2023   MRP     0.10         62.50 Email w/ KAB and UST re: confidentiality stipulation and order
         1368.002     03/06/2023    NEJ    0.30        157.50 Emails w. LRC team re: motions to compel (.1); Research re: same (.2)
         1368.002     03/06/2023   HWR     0.90        427.50 Draft Certification of Counsel for protective order
         1368.002     03/06/2023   HWR     0.20         95.00 Emails w/ KAB and MRP re Certification of Counsel for protective order
         1368.002     03/06/2023   HWR     0.40        190.00 Emails and confer w/ MBM re: service of amended complaint
         1368.002     03/06/2023   HWR     0.40        190.00 Research re: Rule 5 service on foreign entities
         1368.002     03/06/2023   HWR     0.10         47.50 Email w/ MBM and S&C team re: cyber party production
         1368.002     03/06/2023   HWR     0.10         47.50 Emails w/ LRC team re: motions to compel
         1368.002     03/06/2023    KAB    0.10         82.00 email with LRC and Potter teams re: Voyager stip extending response deadline
         1368.002     03/06/2023    RLB    0.70        630.00 Review and analyze Court of Chancery complaint filed by Alameda
         1368.002     03/06/2023    RLB    0.30        270.00 Communicate with A. Landis and K. Brown re: Alameda Chancery complaint
         1368.002     03/06/2023   MBM     0.30        270.00 communications with Sull Crom and Landis re: revisions to voyager stipulation
                                                              extending time to respond to complaint
         1368.002     03/06/2023   NEJ     0.20        105.00 Confer and emails w. KAB re: Met 9019 motion
         1368.002     03/06/2023   MRP     0.10         62.50 emails w/ S&C and LRC lit teams re: supplemental production from Cyber discovery
                                                              target
         1368.002     03/06/2023   MBM     0.10         90.00 emails with Sull Crom and LRC teams re: supplemental production from Cyber
                                                              discovery target
         1368.002     03/06/2023    NEJ    0.20        105.00 Emails w. LRC team re: example motions to compel
         1368.002     03/06/2023   HWR     0.20         95.00 Emails w/ LRC team re: example motions to compel
         1368.002     03/06/2023    KAB    0.10         82.00 Email with M. Pierce and UST re: confidentiality stipulation and order
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         1368.002     03/06/2023   MRP     0.10         62.50 Emails w/ KAB and HWR re Certification of Counsel for protective order
         1368.002     03/06/2023   MBM     0.40        360.00 emails with HWR re: service of amended complaint
         1368.002     03/06/2023    KAB    0.30        246.00 Communicate with A. Landis and R. Butcher re: Alameda's Court of Chancery
                                                              complaint
         1368.002     03/07/2023   AGL     1.10      1,265.00 review and analyze ust comments to form confidentiality stip (.2); communications
                                                              with UST, BDG re: same (.4); communications with LRC team re: same and submission,
                                                              Certification of Counsel issues (.5)
         1368.002     03/07/2023   KAB     0.10         82.00 email with QE and LRC lit teams re: Prager Metis examination notice
         1368.002     03/07/2023   KAB     0.70        574.00 review and analyze UST comments to confidentiality agreement (.2); emails with UST,
                                                              S&C, UCC and LRC teams re: same (.1); review and revise Certification of Counsel for
                                                              same (.2); review and revise confidentiality agreement and proposed order to
                                                              incorporate UST comments (.2)
         1368.002     03/07/2023    KAB    0.10         82.00 emails with S&C and LRC lit teams re: stip extending Voyager response deadlines
         1368.002     03/07/2023    KAB    0.20        164.00 review and analyze JPL ROR on Voyager 9019
         1368.002     03/07/2023   MRP     0.10         62.50 Email w/ UST re: comments to proposed confi stipulation and protective order
         1368.002     03/07/2023   MRP     0.20        125.00 Review UST comments to proposed confi stipulation and protective order
         1368.002     03/07/2023   MRP     0.10         62.50 Email w/ J. Palmerson re: notice of examination of Prager Metis
         1368.002     03/07/2023   MRP     0.10         62.50 Emails w/ LRC team re: Prager Metis examination notice
         1368.002     03/07/2023   HWR     0.20         95.00 Review Prager Metis examination notice
         1368.002     03/07/2023   HWR     0.20         95.00 Emails w/ LRC team re: Prager Metis examination notice
         1368.002     03/07/2023   HWR     0.20         95.00 Emails w/ MR re: finalizing and filing Prager Metis examination notice
         1368.002     03/07/2023   HWR     0.10         47.50 Review finalized Prager Metis examination notice for filing
         1368.002     03/07/2023   HWR     0.10         47.50 Email w/ J. Palmerson re: as-filed examination notice
         1368.002     03/07/2023   MRP     0.10         62.50 Email w/ AD re: JPLs reservation of rights w/r/t Voyager 9019
         1368.002     03/07/2023   MRP     0.20        125.00 Review JPLs' reservation of rights w/r/t Voyager 9019
         1368.002     03/07/2023    AGL    1.50      1,725.00 review and analyze JPL limited objection/ror to Voyager stipulation (.5);
                                                              communications with S&C and LRC teams re: resolution (.3); review and analyze
                                                              revisions to stip (.3); communications with LRC team re: submission and hearing
                                                              issues for same (.4)
         1368.002     03/07/2023   AGL     1.20      1,380.00 communications with UST, Committee and S&C team re: revisions to
                                                              confidentiality/protective order (.9); communications with LRC team re: Certification of
                                                              Counsel process and hearing issues for order (.3)
         1368.002     03/07/2023   AGL     0.10        115.00 review and analyze BlockFi objection to Emergent joint admin motion
         1368.002     03/07/2023   KAB     0.40        328.00 additional emails with UST, S&C, UCC and LRC teams re: Confidentiality Agreement
                                                              (.1); further revise order in light of UST comment (.2); email S&C team re: same (.1)
         1368.002     03/07/2023   KAB     0.20        164.00 review email from B. Cornely re: BlockFi objection to joint admin motion in Emergent
                                                              (.1); review and analyze objection (.1)
         1368.002     03/07/2023   HWR     0.50        237.50 Draft Certification of Counsel for Voyager 9019 Motion
         1368.002     03/07/2023   HWR     0.20         95.00 Emails w/ KAB and MRP re: Certification of Counsel for Voyager 9019 motion and
                                                              revised order
         1368.002     03/07/2023   HWR     0.10         47.50 Revise Certification of Counsel re: voyager 9019 motion
         1368.002     03/07/2023    MR     0.70        217.00 review email from HWR re: examination notice (.1); finalize same for filing (.2); emails
                                                              with HWR and MRP re: review of same (.2); file same (.1); email with HWR re: as-filed
                                                              of same for service (.1)
         1368.002     03/07/2023    MR     0.60        186.00 emails with LRC team re: ROR of the Joint Provisional Liquidators of FTX Digital
                                                              Markets Ltd. for 9019 motion and additional responses for amended agenda for 3.8
                                                              hearing (.2); draft amended agenda (.2); email with HWR re: amended agenda (.1);
                                                              confer with MRP re: filing same (.1)
         1368.002     03/07/2023   HWR     0.20         95.00 Emails w/ J. Palmerson re: service of examination notice
         1368.002     03/07/2023    KAB    0.80        656.00 additional revisions to confidentiality agreement (.4); emails with S&C and LRC teams
                                                              re: same (.2); emails with UST, YCST, S&C and LRC teams re: same (.2)
         1368.002     03/07/2023   KAB     0.50        410.00 emails with S&C and LRC teams re: revised Voyager 9019 order (.2); review same (.1);
                                                              emails with UST, YCST, S&C and LRC teams re: same (.2)
         1368.002     03/07/2023   KAB     0.30        246.00 review and revise Certification of Counsel for Voyager 9019 motion (.2); emails with
                                                              LRC team re: same (.1)
         1368.002     03/07/2023   KAB     0.20        164.00 emails with LRC and S&C teams re: Voyager stip related to amended complaint (.1);
                                                              emails with LRC and Potter re: same (.1)
         1368.002     03/07/2023   MBM     0.30        270.00 emails with Sull Crom re: discovery target subpoena (.2); emails with discovery target
                                                              re: same (.1)
         1368.002     03/07/2023   MBM     1.00        900.00 draft and revise Voyager stipulation, Certification of Counsel and Order (.7); emails
                                                              with Beller re: same (.2); email with Potter re: same (.1)
         1368.002     03/07/2023   MBM     0.80        720.00 review of 2004 Notice re: Prager (.4); emails with Quinn re: same (.4)
         1368.002     03/07/2023   MBM     0.40        360.00 numerous emails with Brown and Sull Crom re: Voyager 9019
         1368.002     03/07/2023   HWR     0.30        142.50 Email w/ MR re: examination notice (.1); emails w/ MRP and MR re: review of same (.2)
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         1368.002     03/07/2023   MRP     0.10         62.50   emails w/ HWR and MR re: review of examination notice
         1368.002     03/07/2023   MRP     0.10         62.50   Emails w/ S&C and LRC lit teams re: stip extending Voyager response deadlines
         1368.002     03/07/2023    MR     0.20         62.00   Emails with HWR re: finalizing and filing Prager Metis examination notice
         1368.002     03/07/2023   MRP     0.40        250.00   Emails w/ LRC team re: Voyager stipulation submission and hearing issues
         1368.002     03/07/2023   MRP     0.10         62.50   Emails with UST, S&C, UCC and LRC teams re: Confidentiality Agreement
         1368.002     03/07/2023   MRP     0.20        125.00   Emails w/ KAB and HWR re: Certification of Counsel for Voyager 9019 motion and
                                                                revised order
         1368.002     03/07/2023   MRP     0.40        250.00   emails with S&C and LRC teams re: additional revisions to confidentiality agreement
                                                                (.2); emails with UST, YCST, S&C and LRC teams re: same (.2)
         1368.002     03/07/2023   KAB     0.40        328.00   Emails with LRC team re: Voyager stipulation submission and hearing issues
         1368.002     03/08/2023   MRP     0.10         62.50   Email w/ S&C and LRC re Certification of Counsel for Voyager 9019 motion
         1368.002     03/08/2023   KAB     0.40        328.00   finalize confidentiality agreement pleadings (.2); emails with LRC team re: filing of
                                                                same (.1); discussion with A. Dellose re: same (.1)
         1368.002     03/08/2023   KAB     0.20        164.00   finalize Voyager 9019 Certification of Counsel (.1); emails with LRC team re:
                                                                finalization and filing of same and related order (.1)
         1368.002     03/08/2023   KAB     0.20        164.00   emails with S&C and LRC teams re: Certification of Counsel for voyager 9019
         1368.002     03/08/2023   MRP     0.10         62.50   Review order approving Voyager stipulation
         1368.002     03/08/2023   AGL     1.30      1,495.00   review and analyze correspondence re: TRO issued in Fidelity v. APM (1.1);
                                                                communications with S&C team re: same (.2
         1368.002     03/08/2023   KAB     0.20        164.00   emails with LRC and S&C lit teams re: follow-ups form cyber discovery target
         1368.002     03/08/2023    MR     0.30         93.00   review docket re: order for confidentiality protective order and order re: 9019 motion
                                                                (.2); email with LRC team re: same (.1)
         1368.002     03/08/2023   HWR     0.20         95.00   Emails w/ LRC team re: Certification of Counsel for confidentiality agreement
         1368.002     03/08/2023   HWR     0.10         47.50   Review Certification of Counsel for confidentiality agreement for filing
         1368.002     03/08/2023   HWR     0.10         47.50   Emails w/ LRC team re: COC for Voyager 9019 motion
         1368.002     03/08/2023   HWR     0.10         47.50   Review Certification of Counsel for Voyager 9019 for filing
         1368.002     03/08/2023   MBM     0.20        180.00   emails with discovery target and Sull Crom re: document production
         1368.002     03/08/2023   MRP     0.20        125.00   emails w/ LRC and S&C lit teams re: follow-ups form cyber discovery target
         1368.002     03/08/2023   MBM     0.20        180.00   emails with LRC and Sull Crom teams re: follow-ups form cyber discovery target
         1368.002     03/09/2023    KAB    0.20        164.00   review and analyze letter from J. Graves re: TRO related to certain crypto assets
         1368.002     03/09/2023   MRP     1.60      1,000.00   Draft letter re: TRO entered in ED Mo. action regarding crypto accounts
         1368.002     03/09/2023   MRP     0.10         62.50   Email w/ T. Remington re: BlockFi motion to strike Debtors and UCC responses filed in
                                                                Emergent case
         1368.002     03/09/2023   KAB     0.30        246.00   emails with counsel to Blockfi, SC and LRC teams re: motion to shorten motion to
                                                                strike response to MTD
         1368.002     03/09/2023   AGL     0.50        575.00   communications with counsel to blockfi and S&C team re: motion to strike objections
                                                                to MTD
         1368.002     03/09/2023   AGL     2.00      2,300.00   review and analyze correspondence and order from ED MO re: TRO freezing certain
                                                                assets (.8); communications with S&C team re: same (.3); communications with LRC
                                                                team re: draft response (.2); review and revise draft response (.7)
         1368.002     03/09/2023   MRP     0.10         62.50   Email w/ AGL and KAB re: BlockFi motion to shorten
         1368.002     03/09/2023   MRP     0.10         62.50   Email w/ LRC, S&C and T. Remington re: BlockFi shortening notice in Emergent case
         1368.002     03/09/2023   MRP     0.10         62.50   Review Emergent amended list of creditors
         1368.002     03/09/2023   KAB     0.70        574.00   review and analyze Blockfi's reply in support of MTD
         1368.002     03/09/2023   NEJ     1.20        630.00   Email w. LRC team re: response/objection to motion to shorten (.2); Research re: same
                                                                (1.0)
         1368.002     03/09/2023   ACD     0.40        124.00   Review newly filed pleadings in the Emergent case (0.3); email LRC team re: same (0.1)
         1368.002     03/09/2023    MR     0.10         31.00   review email from ACD re: filings in the Emergent Fidelity Technologies Ltd. related to
                                                                BlockFi's Omnibus Reply in Support of its Motion to Dismiss
         1368.002     03/09/2023    MR     0.20         62.00   review docket re: BlockFi's Motion to strike oppositions to its Motion to Dismiss (.1);
                                                                email with LRC group re: same (.1)
         1368.002     03/09/2023    MR     0.10         31.00   review email from ACD re: BlockFi's Motion to Shorten Notice with Respect to Motion
                                                                to Strike
         1368.002     03/09/2023   HWR     0.60        285.00   Research re: objection to Blockfi motion to shorten
         1368.002     03/09/2023   HWR     0.20         95.00   Email w/ MRP and NEJ re: motion to shorten research
         1368.002     03/09/2023   HWR     0.10         47.50   Email w/ MBM and S&C team re: cyber party production
         1368.002     03/09/2023    KAB    0.60        492.00   review and analyze BlockFi motion to shorten (.3); emails with A. Landis and M. Pierce
                                                                re: response to same and related issues (.3)
         1368.002     03/09/2023    KAB    0.50        410.00   review and analyze BlockFi motion to strike
         1368.002     03/09/2023   MBM     2.00      1,800.00   review of discovery target document production (1.9); emails with Sull Crom re: same
                                                                (.1)
         1368.002     03/09/2023   MRP     4.40      2,750.00   Draft response to BlockFi motion to shorten
         1368.002     03/10/2023   MRP     0.10         62.50   Emails w/ AGL and KAB re: objection to motion to shorten
         1368.002     03/10/2023   MRP     0.30        187.50   Review and update draft objection to BlockFi motion to shorten (.2); email w/ AGL
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                                                              and KAB re: the same (.1)
         1368.002     03/10/2023   MRP     0.10         62.50 Email w/ Chambers re: Emergent case
         1368.002     03/10/2023   KAB     0.50        410.00 review and revise objection to motion to shorten motion to strike (.2); emails with LRC
                                                              team re: same and related issues (.2); emails with Chambers and LRC team re: same
                                                              (.1)
         1368.002     03/10/2023   KAB     1.50      1,230.00 emails with S&C and LRC teams re: response to TRO letter (.2); communications with
                                                              LRC team re: same (.3); review and revise multiple iterations of same (.6); review
                                                              research findings on ab initio voidance in connection with same (.3); email LRC team
                                                              re: service of letter (.1)
         1368.002     03/10/2023   KAB     0.20        164.00 emails with S&C and LRC team re: motion to shorten, motion to strike and related
                                                              issues
         1368.002     03/10/2023   KAB     0.10         82.00 email with S&C and LRC teams re: Voyager stip
         1368.002     03/10/2023   MRP     2.70      1,687.50 Attend Emergent 341 meeting
         1368.002     03/10/2023    MR     0.50        155.00 email with KAB and MRP re: filing objection to BlockFi's motion to shorten in
                                                              Emergent case (.2); finalize and file same (.2); email with LRC team re: as-filed copy of
                                                              same (.1)
         1368.002     03/10/2023   HWR     0.10         47.50 Review 3/14 agenda for Emergent case
         1368.002     03/10/2023   HWR     0.20         95.00 Emails w/ LRC team re: Emergent 3/14 hearing
         1368.002     03/10/2023   HWR     0.10         47.50 Emails w/ LRC team re: objection to Blockfi motion to shorten (Emergent case)
         1368.002     03/10/2023    AGL    1.70      1,955.00 review and revise objection to emergent motion to strike (1.4) and communications
                                                              with S&C team re: same (.3)
         1368.002     03/10/2023   AGL     0.90      1,035.00 communications with S&C and LRC teams re: correspondence re: ED MO TRO (.4);
                                                              review and revise same (.5)
         1368.002     03/10/2023   AGL     0.40        460.00 communications with LRC team (.2) and chambers (.2) re: objection to motion to
                                                              shorten
         1368.002     03/10/2023   MRP     0.20        125.00 emails w/ S&C and LRC team re: motion to shorten motion to strike and related
                                                              issues
         1368.002     03/10/2023   MRP     0.10         62.50 email w/ S&C and LRC teams re: Voyager stip
         1368.002     03/10/2023   MBM     0.10         90.00 email with Sull Crom and LRC teams re: Voyager stip
         1368.002     03/10/2023   MRP     0.20        125.00 email w/ MR re: filing objection to BlockFi's motion to shorten in Emergent case (.1);
                                                              further email w/ KAB and MR re: same (.1)
         1368.002     03/10/2023   KAB     0.20        164.00 Emails with LRC team re: Emergent 3/14 hearing
         1368.002     03/10/2023   MRP     0.20        125.00 Emails w/ LRC team re: Emergent 3/14 hearing
         1368.002     03/10/2023   MRP     0.20        125.00 Review filing version of objection to BlockFi motion
         1368.002     03/12/2023   AGL     0.50        575.00 communications with ust office and lrc team re: discovery target issues
         1368.002     03/12/2023   KAB     0.50        410.00 communications with UST office and LRC team re: discovery target issues
         1368.002     03/13/2023   MRP     0.10         62.50 Email w/ S&C and LRC re: Voyager stipulation
         1368.002     03/13/2023   KAB     0.70        574.00 emails with S&C and LRC teams re: complaint to be filed this week and related issues
                                                              (.3); emails with M. McGuire and A. Landis re: same (.4)
         1368.002     03/13/2023   KAB     0.20        164.00 emails with S&C and LRC lit teams re: cyber discovery follow-ups
         1368.002     03/13/2023   KAB     0.10         82.00 emails with LRC and S&C lit teams re: Voyager stip on extension to respond to
                                                              complaint
         1368.002     03/13/2023   MRP     0.20        125.00 Email w/ LRC and S&C re: opposition to motion to strike
         1368.002     03/13/2023   MRP     0.40        250.00 Review and comment on draft objection to BlockFi motion to strike
         1368.002     03/13/2023   MRP     0.20        125.00 Emails w/ LRC team re: objection to BlockFi motion to strike
         1368.002     03/13/2023   MBM     1.30      1,170.00 review JPL dec action complaint (.5); comments to same (.4); emails with Landis and
                                                              Brown re: same (.4)
         1368.002     03/13/2023   KAB     0.80        656.00 email with S&C and LRC teams re: opposition to BlockFi motion to strike (.2); review
                                                              and revise opposition (.4); emails with LRC teams re: same (.2)
         1368.002     03/13/2023   MRP     0.30        187.50 Email w/ S&C re: final objection to BlockFi motion to strike (.1); review the same (.2)
         1368.002     03/13/2023   KAB     0.30        246.00 emails with S&C and LRC teams re: final version of opposition to motion to strike (.1);
                                                              emails with LRC team re: finalization and filing of same (.2)
         1368.002     03/13/2023   MRP     0.10         62.50 Email w/ LRC team re: filing objection to BlockFi motion to strike
         1368.002     03/13/2023    MR     0.40        124.00 email with MRP re: finalizing and filing Objection to motion to strike (.1); finalize and
                                                              file same (.2); email MRP and KAB re: as-filed copy (.1)
         1368.002     03/13/2023   KAB     0.20        164.00 email with LRC team re: Committee objection to motion to strike (.1); review and
                                                              analyze same (.1)
         1368.002     03/13/2023   MRP     0.10         62.50 Review UCC's objection to BlockFi motion to strike
         1368.002     03/13/2023   MRP     0.10         62.50 Email w/ A. Stulman re: Voyager stip
         1368.002     03/13/2023    AGL    0.20        230.00 communications with counsel to voyager and S&C team re: acceptance of service
         1368.002     03/13/2023   MBM     0.80        720.00 numerous emails with Sull Crom and discovery target re: document production
         1368.002     03/13/2023   MBM     0.30        270.00 emails with Beller re: Voyager complaint
         1368.002     03/13/2023   MRP     0.10         62.50 email w/ MR re: finalizing and filing Objection to motion to strike
         1368.002     03/13/2023    KAB    0.10         82.00 Email with M. Ramirez re: as-filed copy of Objection to motion to strike
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         1368.002     03/13/2023   MRP     0.30        187.50   emails w/ S&C and LRC teams re: complaint to be filed this week and related issues
         1368.002     03/13/2023   AGL     0.40        460.00   emails with MBM and KAB re: complaint to be filed this week and related issues
         1368.002     03/13/2023   MRP     0.20        125.00   emails w/ S&C and LRC lit teams re: cyber discovery follow-ups
         1368.002     03/13/2023    MR     0.30         93.00   emails with S&C and LRC teams re: final version of opposition to motion to strike (.1);
                                                                emails with LRC team re: finalization and filing of same (.2)
         1368.002     03/13/2023   MRP     0.10         62.50   email w/ LRC team re: Committee objection to motion to strike
         1368.002     03/13/2023   MBM     0.30        270.00   emails with Landis and Brown re: filing Voyager complaint
         1368.002     03/13/2023   MRP     0.70        437.50   Review and comment on draft objection to BlockFi motion to strike
         1368.002     03/14/2023    KAB    0.10         82.00   email with F. Weinberg and M. McGuire re: potential adversary issue
         1368.002     03/14/2023    KAB    0.20        164.00   emails with H. Cohen re: TRO letter
         1368.002     03/14/2023    KAB    0.10         82.00   email A. Oppenheim and A. Landis re: potential avoidable transfer/preference
         1368.002     03/14/2023    KAB    0.70        574.00   call with F. Weinberg and M. McGuire re: adversary issues (.4); confer with M. Ramirez
                                                                and A. Dellose re: procedural issue for adversaries (.2); email with S&C and M.
                                                                McGuire re: same (.1)
         1368.002     03/14/2023   KAB     0.10         82.00   emails with S&C and LRC lit teams re: Voyager stip
         1368.002     03/14/2023    MR     0.50        155.00   email with HWR re: filing Certification of Counsel Regarding Deadline to Answer
                                                                Amended Complaint (.1); file same (.2); update order and upload same (.1); further
                                                                email with MBM and HWR re: as-filed Certification of Counsel and status of order (.1)
         1368.002     03/14/2023   ACD     0.30         93.00   Emails with M. McGuire re: recognition order and agreement (0.1); review docket for
                                                                same (0.2)
         1368.002     03/14/2023   HWR     0.60        285.00   Revise Certification of Counsel, Order and Stipulation extending response deadline
                                                                (Alameda/Voyager Adversary)
         1368.002     03/14/2023   HWR     0.10         47.50   Emails w/ MBM re: Certification of Counsel, Order and Stipulation extending response
                                                                deadline (Alameda/Voyager Adversary)
         1368.002     03/14/2023   HWR     0.10         47.50   Email w/ MR re: filing Certification of Counsel, Order and Stipulation extending
                                                                response deadline (Alameda/Voyager Adversary)
         1368.002     03/14/2023   HWR     0.20         95.00   Review QE questions re: 2004 subpoenas
         1368.002     03/14/2023   HWR     0.50        237.50   Draft response to QE 2004 subpoena questions
         1368.002     03/14/2023   HWR     0.30        142.50   Emails w/ MBM and MRP re: responses to QE questions re: 2004 subpoenas
         1368.002     03/14/2023   HWR     0.20         95.00   Emails w/ QE re: 2004 subpoena questions
         1368.002     03/14/2023   MBM     1.60      1,440.00   call with Sull Crom re: potential adversary proceeding (.7); research re: same (.9)
         1368.002     03/14/2023   MBM     1.20      1,080.00   review, revise and finalize Voyager stip (.9); emails with Sull Crom and Stulman re:
                                                                same (.3)
         1368.002     03/14/2023   MBM     0.10         90.00   email with F. Weinberg and K. Brown re: potential adversary issue
         1368.002     03/14/2023    AGL    0.10        115.00   email with A. Oppenheim and Brown re: potential avoidable transfer/preference
         1368.002     03/14/2023   MBM     0.50        450.00   call with F. Weinberg and Brown re: adversary issues (.4); email with SullCrom and
                                                                Brown re: procedural issue for adversaries (.1)
         1368.002     03/14/2023   ACD     0.20         62.00   confer with KAB and MR re: procedural issue for adversaries
         1368.002     03/14/2023    MR     0.20         62.00   confer with KAB and ACD re: procedural issue for adversaries
         1368.002     03/14/2023   MRP     0.10         62.50   emails w/ S&C and LRC lit teams re: Voyager stip
         1368.002     03/14/2023   MBM     0.10         90.00   Emails with Dellose re: recognition order and agreement
         1368.002     03/14/2023   MBM     0.10         90.00   Emails with HWR re: Certification of Counsel, Order and Stipulation extending
                                                                response deadline (Alameda/Voyager Adversary)
         1368.002     03/14/2023   MBM     0.30        270.00   Emails with Pierce and Robertson re: responses to QE questions re: 2004 subpoenas
         1368.002     03/14/2023   MRP     0.30        187.50   Emails w/ MBM and HWR re: responses to QE questions re: 2004 subpoenas
         1368.002     03/15/2023    KAB    0.40        328.00   call with H. Cohen re: Fidelity tracing issues (.3); email with H. Cohen and M. Pierce re:
                                                                follow-up on same (.1)
         1368.002     03/15/2023   MRP     0.10         62.50   Email w/ Quinn re: subpoena to Prager Metis
         1368.002     03/15/2023   MRP     0.30        187.50   Review draft of Prager Metis subpoena (.2); email w/ MBM and HWR re: the same (.1)
         1368.002     03/15/2023   MRP     0.20        125.00   Review and comment on draft notice of service of subpoena to Prager Metis (.1);
                                                                confer w/ HWR re: the same (.1)
         1368.002     03/15/2023   MRP     0.10         62.50   Email w/ LRC and Quinn re: Prager Metis subpoena
         1368.002     03/15/2023   MRP     0.10         62.50   Email w/ MBM and HWR re: comments to Notice of Service for Prager Metis
                                                                subpoena
         1368.002     03/15/2023    KAB    0.10         82.00   email with LRC and S&C lit teams re: update on certain cyber discovery responses
         1368.002     03/15/2023   HWR     0.70        332.50   Review/revise Prager Metis NOS/ Subpoena
         1368.002     03/15/2023   HWR     0.20         95.00   Emails w/ J. Palmerson re: Prager Metis NOS/ Subpoena
         1368.002     03/15/2023   HWR     0.20         95.00   Confer w/ MRP re: Prager Metis NOS/ Subpoena
         1368.002     03/15/2023   HWR     0.10         47.50   Emails w/ MRP and MBM re: Prager Metis NOS/ Subpoena
         1368.002     03/15/2023   HWR     0.10         47.50   Emails w/ MBM and S&C Team re: Cyber Party production
         1368.002     03/15/2023   MBM     0.40        360.00   emails with discovery target re: document production
         1368.002     03/15/2023   MRP     0.10         62.50   email w/ H. Cohen and KAB re: follow-up on Fidelity asset tracing issues
         1368.002     03/15/2023   MBM     0.10         90.00   Email w/ Pierce and Robertson re: comments to Notice of Service for Prager Metis
                                                                subpoena
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         1368.002     03/15/2023   MRP     0.10         62.50 email w/ LRC and S&C lit teams re: update on certain cyber discovery responses
         1368.002     03/15/2023   MBM     0.10         90.00 email with LRC and SullCrom re: update on certain cyber discovery responses
         1368.002     03/16/2023    KAB    0.10         82.00 email with counsel to certain PACs, S&C and LRC teams re: repayment requests from
                                                              certain PACs
         1368.002     03/16/2023   KAB     0.30        246.00 review recent media coverage on SBF transfers
         1368.002     03/16/2023   AGL     0.30        345.00 review and analyze comments to met settlement motion and stip
         1368.002     03/16/2023   KAB     0.10         82.00 review email from J. Goodchild re: Emergent orders re: joint admin, MTD/Motion to
                                                              Strike and status conference
         1368.002     03/16/2023    KAB    0.20        164.00 emails with S&C and LRC teams re: met settlement and revised 9019
         1368.002     03/16/2023   HWR     0.10         47.50 Email w/ J. Palmerson re: Prager Metis subpoena
         1368.002     03/16/2023   HWR     0.10         47.50 Email w/ MBM re Prager Metis subpoen
         1368.002     03/16/2023    AGL    0.50        575.00 review and analyze emergent revisions to joint admin order and related
                                                              communications with counsel to emergent and supporting/objecting parties
         1368.002     03/16/2023   AGL     0.90      1,035.00 review and revise emergent drafts of order re: mtd (.3); order re: status conference
                                                              (.3); Certification of Counsel re: 3/14 hearing orders (.3)
         1368.002     03/16/2023   MBM     0.60        540.00 review of Met 9019 (.4); emails with Brown and O'Hara re: same (.2)
         1368.002     03/16/2023   MRP     0.10         62.50 email w/ counsel to certain PACs, S&C and LRC teams re: repayment requests from
                                                              certain PACs
         1368.002     03/16/2023   MRP     0.20        125.00 emails w/ S&C and LRC teams re: met settlement and revised 9019
         1368.002     03/16/2023   MBM     0.10         90.00 Email with Robertson re: Prager Metis subpoena
         1368.002     03/16/2023    KAB    0.20        164.00 emails with M. McGuire and O'Hara re: Met 9019
         1368.002     03/17/2023    KAB    0.60        492.00 review and revise latest draft of Met 9019 pleadings (.5); email with S&C and LRC
                                                              teams re: same (.1)
         1368.002     03/17/2023   MRP     0.10         62.50 email w/ S&C and LRC teams re: latest draft of Met 9019 pleadings
         1368.002     03/19/2023   ACD     2.00        620.00 Emails with M. McGuire re: Bahamas complaint (0.3); finalize and e-file same (1.7)
         1368.002     03/19/2023   MBM     1.50      1,350.00 emails with Sull Corm re: compliant (.3); review and finalize complaint (1.2)
         1368.002     03/19/2023    KAB    0.40        328.00 emails with S&C and LRC teams re: Bahamas complaint, finalization, and filing of
                                                              same (.2); communications with LRC team re: same (.2)
         1368.002     03/19/2023   AGL     1.30      1,495.00 review and analyze final dec judgment complaint v JPLs (.9); communications with lrc
                                                              and s&c teams re: same (.4)
         1368.002     03/19/2023   MBM     0.30        270.00 Emails with Dellose re: Bahamas complaint
         1368.002     03/19/2023   MRP     0.20        125.00 communications w/ LRC team re: Bahamas complaint, finalization, and filing of same
         1368.002     03/19/2023   MRP     0.70        437.50 Review Debtors' complaint for declaratory judgment
         1368.002     03/20/2023    MR     0.40        124.00 email with HWR re: notice of service of subpoena (.1); finalize same for filing (.1);
                                                              email with HWR and MBM re: same (.1); file same (.1); email with LRC team re: as-filed
                                                              (.1)
         1368.002     03/20/2023   KAB     0.10         82.00 emails with S&C and LRC lit teams re: status of certain cyber discovery
         1368.002     03/20/2023    MR     0.40        124.00 confer with HWR re: summons for FTX markets complaint (.2); draft same (.2)
         1368.002     03/20/2023    MR     0.60        186.00 emails with HWR re: notice of dispute resolution (.2); research re: same (.2); draft same
                                                              (.2)
         1368.002     03/20/2023   ACD     0.20         62.00 Emails with H. Robertson re: summons for bahamas adversary case
         1368.002     03/20/2023   KAB     0.10         82.00 emails with M. McGuire and H. Robertson re: service of service and summons issues
                                                              for Bahamas complaint
         1368.002     03/20/2023   HWR     0.20         95.00 Emails w/ J. Palmerson re: Prager Metis NOS
         1368.002     03/20/2023   HWR     0.10         47.50 Review finalized Prager Metis NOS for filing
         1368.002     03/20/2023   HWR     0.10         47.50 Email w/ MBM re drafting summons of complaint
         1368.002     03/20/2023   HWR     0.10         47.50 Emails w/ MBM and S&C team re: cyber party production
         1368.002     03/20/2023   HWR     0.20         95.00 Confer w/ MR re: drafting summons (Alameda/FTX DM Adversary)
         1368.002     03/20/2023   HWR     0.10         47.50 Email w/ MBM re: service of summons and complaint (Alameda/FTX DM Adversary)
         1368.002     03/20/2023   MBM     0.40        360.00 numerous emails with Palmerson and Robertson re: Prager 2004 notice and service
         1368.002     03/20/2023   MBM     0.10         90.00 Email with Robertson re:: drafting summons of complaint
         1368.002     03/20/2023   MBM     0.10         90.00 Emails with Robertson and SullCrom re: cyber party production
         1368.002     03/20/2023   MBM     0.10         90.00 Email with Robertson re: service of summons and complaint
         1368.002     03/20/2023   HWR     0.30        142.50 email w/ MR re: notice of service of subpoena (.1); email w/ MBM and MR re: same
                                                              (.1); email with LRC team re: as-filed (.1)
         1368.002     03/20/2023   MBM     0.10         90.00 email with Robertson and Ramirez re: filing notice of service of subpoena
         1368.002     03/20/2023   MBM     0.10         90.00 emails with SullCrom and LRC re: status of certain cyber discovery
         1368.002     03/20/2023   MRP     0.10         62.50 emails w/ S&C and LRC lit teams re: status of certain cyber discovery
         1368.002     03/20/2023   HWR     0.20         95.00 emails w/ MR re: notice of dispute resolution
         1368.002     03/20/2023   HWR     0.20         95.00 Emails w/ AD re: summons for bahamas adversary case
         1368.002     03/20/2023   HWR     0.10         47.50 emails w/ KAB and MBM re: service and summons issues for Bahamas complaint
         1368.002     03/20/2023   MBM     0.10         90.00 emails with Brown and Robertson re: service and summons issues for Bahamas
                                                              complaint
         1368.002     03/21/2023   KAB     0.10         82.00 emails with M. McGuire and H. Robertson re: service of Bahamas complaint
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         1368.002     03/21/2023   KAB     0.10         82.00 email with S&C lit team and counsel to Caroline Ellison re: discovery
         1368.002     03/21/2023   KAB     1.60      1,312.00 review and revise Modulo 9019 pleadings (1.5); email A. Landis and M. Pierce re: same
                                                              (.1)
         1368.002     03/21/2023   AGL     1.10      1,265.00 review and analyze and comment on Modulo 9019 motion (.9); communications with
                                                              S&C and LRC teams re: same (.2)
         1368.002     03/21/2023   ACD     0.10         31.00 Emails with M. McGuire re: Bahamas complaint
         1368.002     03/21/2023    KAB    0.10         82.00 emails with M. McGuire and S. Fulton re: summons for Bahamas complaint
         1368.002     03/21/2023   HWR     0.20         95.00 Emails w/ KAB and MBM re: service issues (Alameda/ FTX DM)
         1368.002     03/21/2023   HWR     1.90        902.50 Research re: service issues (Alameda/ FTX DM)
         1368.002     03/21/2023   HWR     0.80        380.00 Draft summary of research findings re: service issues (Alameda/ FTX DM)
         1368.002     03/21/2023   MBM     0.30        270.00 emails with discovery target re: document production (.2); emails to Sull Crom re:
                                                              same (.1)
         1368.002     03/21/2023   MBM     0.10         90.00 emails with Brown and Robertson re: service of Bahamas complaint
         1368.002     03/21/2023   MBM     0.10         90.00 emails with Dellose re: service of Bahamas complaint
         1368.002     03/21/2023   MBM     0.10         90.00 emails with Brown and S. Fulton re: summons for Bahamas complaint
         1368.002     03/22/2023    MR     0.20         62.00 confer with MRP re: sale and 9019 motions and refiling schedules with PII
         1368.002     03/22/2023    MR     0.30         93.00 draft notice re: 9019 motion (.2); email with HWR re: same (.1)
         1368.002     03/22/2023    MR     0.30         93.00 email with KAB re: finalizing 9019 Modulo motion for filing (.1); finalize same (.2)
         1368.002     03/22/2023    MR     0.50        155.00 call and email with HWR re: notice for modulo 9019 motion (.2); finalize motion for
                                                              filing (.2); email with KAB re: filing (.1)
         1368.002     03/22/2023   MRP     0.10         62.50 Email w/ S&C re: Modulo 9019 motion
         1368.002     03/22/2023   MRP     0.20        125.00 Multiple emails w/ LRC team re: preparing notice and prepping Modulo 9019 for filing
         1368.002     03/22/2023   MRP     0.60        375.00 Review proposed filing version of Modulo 9019 motion
         1368.002     03/22/2023    MR     0.20         62.00 draft notice re: 9019 MET motion (.1); email with HWR re: same (.1)
         1368.002     03/22/2023    MR     0.40        124.00 email with KAB re: filing Modulo 9019 motion (.1); file same (.1); email with LRC team
                                                              re: same for service (.1); update critical dates (.1)
         1368.002     03/22/2023   KAB     1.10        902.00 email with S&C and LRC teams re: Modulo 9019 (.1); review final version of pleadings
                                                              re: same (.9); email with LRC finalization and filing of same (.1)
         1368.002     03/22/2023   KAB     0.10         82.00 emails with S&C and LRC teams re: status of Met 9019
         1368.002     03/22/2023   KAB     0.10         82.00 email with H. Cohen and M. Pierce re: Fidelity requests related to transfer info
         1368.002     03/22/2023   MRP     0.10         62.50 Email w/ UST and Emergent and FTX professionals regarding UST comments to draft
                                                              Certification of Counsel
         1368.002     03/22/2023   MRP     0.10         62.50 Email w/ J. Goodchild re: UST comments
         1368.002     03/22/2023   MRP     0.10         62.50 Email w/ M. Ingrassia re: Non-US Customer AHC re: motion to file under seal
         1368.002     03/22/2023   MRP     0.40        250.00 Review Non-US Customer verified 2019 statement
         1368.002     03/22/2023   AGL     0.30        345.00 communications with S&C and LRC teams re: modulo 9019 filing, service and related
                                                              issues
         1368.002     03/22/2023   AGL     1.20      1,380.00 review and analyze ad hoc committee sealed 2019 statement (.6) and declaration in
                                                              support (.6)
         1368.002     03/22/2023   AGL     0.30        345.00 communications with counsel to creditor re: complaint v JPLs
         1368.002     03/22/2023   ACD     0.70        217.00 Confer/telephone call with H. Robertson re: Bahamas complaint, summons, and
                                                              service of same
         1368.002     03/22/2023   KAB     0.10         82.00 emails with UST, S&C, LRC, Morgan Lewis, and UCC teams re: Certification of Counsel
                                                              and proposed order re: BlockFi MTD, status conference and joint admin
         1368.002     03/22/2023    MR     0.20         62.00 review docket re: Ad Hoc Committee of Non-US Customers of FTX.com's sealed
                                                              verified statement and motion and declaration to seal same
         1368.002     03/22/2023   HWR     0.20         95.00 Confer w/ MBM re: service of summons and complaint (Alameda/ FTX DM)
         1368.002     03/22/2023   HWR     0.40        190.00 Confer w/ AD re: service of complaint (Alameda/ FTX DM)
         1368.002     03/22/2023   HWR     1.70        807.50 Coordinate service of complaint and summons (Alameda/ FTX DM)
         1368.002     03/22/2023   HWR     0.30        142.50 Emails w/ MBM re: process/procedure for serving/ filing summons (Alameda/ FTX
                                                              DM)
         1368.002     03/22/2023   HWR     0.30        142.50 Confer w/ AD re: process/procedure for serving/filing summons
         1368.002     03/22/2023   HWR     0.20         95.00 Review Parcels Affidavit of Service (Alameda/ FTX DM)
         1368.002     03/22/2023   HWR     0.10         47.50 Review finalized Modulo 9019 for filing
         1368.002     03/22/2023   HWR     0.10         47.50 Emails w/ KAB, MRP and MR re: finalizing and filing Modulo 9019
         1368.002     03/22/2023   HWR     0.20         95.00 Emails w/ Kroll re: service of Modulo 9019
         1368.002     03/22/2023   HWR     0.30        142.50 Emails w/ KAB, MRP and MR re: drafting notice of Modulo 9019 Motion (.2); review
                                                              same (.1)
         1368.002     03/22/2023   HWR     0.20         95.00 email w/ MR re: 9019 motion
         1368.002     03/22/2023   HWR     0.10         47.50 call and email w/ MR re: notice for modulo 9019 motion
         1368.002     03/22/2023   MRP     0.10         62.50 email w/ H. Cohen and KAB re: Fidelity requests related to transfer info
         1368.002     03/22/2023   MRP     0.30        187.50 communications w/ S&C and LRC teams re: modulo 9019 filing, service and related
                                                              issues
         1368.002     03/22/2023   MRP     0.10         62.50 emails w/ UST, S&C, LRC, Morgan Lewis, and UCC teams re: Certification of Counsel
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                                                                and proposed order re: BlockFi MTD, status conference and joint admin
         1368.002     03/22/2023   MBM     0.20        180.00   Confer with HWR re: service of summons and complaint
         1368.002     03/22/2023   MBM     0.30        270.00   Emails with Robertson re: process/procedure for serving/ filing summons
         1368.002     03/23/2023    KAB    0.20        164.00   discussion with H. Robertson re: research related to Voyager, BlockFi and Celsius
         1368.002     03/23/2023   HWR     0.30        142.50   Call w/ AD re: Certificate of Service for service of summons (Alameda/ FTX DM)
         1368.002     03/23/2023   HWR     0.40        190.00   Research re: Certificate of Service for service of summons (Alameda/ FTX DM)
         1368.002     03/23/2023   HWR     0.70        332.50   Review/revise draft Certificate of Service for service of summons (Alameda/ FTX DM)
         1368.002     03/23/2023   HWR     0.20         95.00   Emails w/ AD re: draft Certificate of Service for service of summons (Alameda/ FTX
                                                                DM)
         1368.002     03/23/2023   HWR     0.10         47.50   Confer w/ KAB re: research re: blockfi and voyager cases
         1368.002     03/23/2023    KAB    0.10         82.00   Confer with H. Robertson re: research re: blockfi and voyager cases
         1368.002     03/23/2023   HWR     0.20         95.00   discussion w/ KAB re: research related to Voyager, BlockFi and Celsius
         1368.002     03/23/2023   ACD     0.20         62.00   Emails with HWR re: draft Certificate of Service for service of summons
         1368.002     03/23/2023   ACD     0.90        279.00   Telephone call with H. Robertson re: service of Bahamas complaint and related issues
                                                                (0.3); telephone call with Parcels re: same (0.1); draft Certificate re: service of same (.5)
         1368.002     03/24/2023    MR     0.20         62.00   review docket re: opening brief re: motion for partial summary judgment and
                                                                Declaration in Support Proprietary Claims by FTX.com Customers Declaration,
                                                                Submitted by David Quest KC (.1); email with LRC team re: same (.1)
         1368.002     03/24/2023    MR     0.20         62.00   review docket re: Appendix to the Opening Brief in Support of the Ad Hoc Committee
                                                                of Non-US Customers of FTX.com's Motion for Partial Summary Judgment and
                                                                Proprietary Claims (.1); email with LRC team re: same (.1)
         1368.002     03/24/2023   AGL     3.40      3,910.00   preliminary review of ad hoc committee of customers' msj (.6), brief (1.6) and
                                                                declaration in support (1.2)
         1368.002     03/24/2023   HWR     0.60        285.00   Additional research re: service of summons and filing of Certificate of Service
                                                                (Alameda/ FTX DM)
         1368.002     03/24/2023   HWR     0.30        142.50   Review/revise summons Certificate of Service (Alameda/ FTX DM)
         1368.002     03/24/2023   HWR     0.20         95.00   Emails w/ AD re: summons Certificate of Service (Alameda/ FTX DM)
         1368.002     03/24/2023   HWR     0.50        237.50   Draft summary (.4) and email to MBM re: process/procedure for filing summons
                                                                (Alameda/ FTX DM) (.1)
         1368.002     03/24/2023   HWR     0.10         47.50   Emails w/ AD re: providing draft Certificate of Service to Parcels for execution
                                                                (Alameda/ FTX DM)
         1368.002     03/24/2023   HWR     0.10         47.50   Review execution summons Certificate of Service from parcels (Alameda/ FTX DM)
         1368.002     03/24/2023   HWR     0.10         47.50   Email w/ AD re: finalizing summons and Certificate of Service for filing (Alameda/ FTX
                                                                DM)
         1368.002     03/24/2023   HWR     0.10         47.50   Review finalized summons and Certificate of Service for filing
         1368.002     03/24/2023   HWR     0.10         47.50   Email w/ MBM and AD re: filing summons and Certificate of Service (Alameda/ FTX
                                                                DM)
         1368.002     03/24/2023   ACD     2.00        620.00   Emails with H. Robertson re: Bahamas complaint (0.3); revise Certificate of Service for
                                                                same (0.2); emails with Parcels re: Certificate of Service (0.2); finalize and e-file same
                                                                (1.3)
         1368.002     03/24/2023   MBM     0.10         90.00   email with Robertson re: process/procedure for filing summons (Alameda/ FTX DM)
         1368.002     03/24/2023   ACD     0.10         31.00   Emails with HWR re: providing draft Certificate of Service to Parcels for execution
         1368.002     03/24/2023   ACD     0.10         31.00   Email with HWR re: finalizing summons and Certificate of Service for filing
         1368.002     03/24/2023   MBM     0.10         90.00   Email with Robertson and Dellose re: filing summons and Certificate of Service
         1368.002     03/24/2023   ACD     0.10         31.00   Email with MBM and HWR re: filing summons and Certificate of Service
         1368.002     03/24/2023   MRP     2.60      1,625.00   Review Ad Hoc Committee's appendix to motion for summary judgment
         1368.002     03/27/2023    KAB    0.30        246.00   review media coverage of FTX customers' motion for summary judgment on crypto
                                                                ownership issues
         1368.002     03/27/2023    KAB    0.10         82.00   email H. Robertson and M. Pierce re: briefing schedule for customer group adv. MSJ
         1368.002     03/27/2023   MRP     0.10         62.50   Email w/ KAB and HWR re: Ad Hoc MSJ briefing
         1368.002     03/27/2023   MRP     0.30        187.50   Revise summary re: MSJ briefing schedule (.2); email w/ HWR re: the same (.1)
         1368.002     03/27/2023   HWR     0.30        142.50   Emails w/ KAB re: ad hoc committee MSJ
         1368.002     03/27/2023   HWR     0.60        285.00   Research re: ad hoc committee MSJ
         1368.002     03/27/2023   HWR     0.30        142.50   Draft research summary re: ad hoc committee MSJ
         1368.002     03/27/2023   HWR     0.10         47.50   Emails w/ MRP re: research summary re: ad hoc committee MSJ
         1368.002     03/27/2023   HWR     0.10         47.50   Revise research summary re: ad hoc committee MSJ
         1368.002     03/27/2023   HWR     0.10         47.50   email w/ KAB and MRP re: briefing schedule for customer group adv. MSJ
         1368.002     03/27/2023    KAB    0.30        246.00   Emails with H. Robertson re: ad hoc committee MSJ
         1368.002     03/27/2023   MRP     0.10         62.50   Emails w/ HWR re: research summary re: ad hoc committee MSJ
         1368.002     03/28/2023    KAB    0.30        246.00   review and analyze news coverage of new SBF indictment
         1368.002     03/29/2023   ACD     1.70        527.00   Emails with H. Robertson re: Bahamas complaint and service (0.2); review tracking's
                                                                for same (0.5); telephone calls with Parcels and Fed-Ex re: delivery in Fed-Ex facility
                                                                (0.5); research for new addresses and re-serve same (0.5)
         1368.002     03/29/2023   HWR     0.20         95.00   Emails w/ AD re: service of complaint (Alameda/ FTX DM)
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         1368.002     03/29/2023     MRP        1.60      1,000.00 Analyze JPL motion for determination
         1368.002     03/30/2023      MR        0.40        124.00 review docket re: JPLs motion for determination regarding Automatic stay and
                                                                   declarations re: same (.2); email with LRC team re: same (.2)
         1368.002     03/30/2023      KAB       0.30        246.00 emails with S&C, M. McGuire and H. Robertson re: service of Bahamas complaint
         1368.002     03/30/2023      AGL       5.60      6,440.00 review and analyze lift stay motion and related declarations filed by JPL's (3.1);
                                                                   communications with BG re: same and strategic issues (.8); communications with lrc
                                                                   team re: same (.4); review and analyze letter from jpl's re: lift stay motion (.7) and
                                                                   related communications with s&c team (.3), lrc team (.3)
         1368.002     03/30/2023     HWR        0.30        142.50 Emails w/ MBM re: service of complaint (Alameda/ FTX DM)
         1368.002     03/30/2023     MBM        0.90        810.00 emails with LRC and Sull Crom re: service of Bahamas complaint (.3); review of
                                                                   research re: same (.6)
         1368.002     03/30/2023      KAB       0.30        246.00 emails with A. Landis and M. Pierce re: updates on negotiations with JPLs and related
                                                                   issues
         1368.002     03/30/2023      KAB       0.60        492.00 review and analyze JPL letter re: adversary, stay and related issues
         1368.002     03/30/2023     MBM        0.30        270.00 Emails with Robertson re: service of complaint
         1368.002     03/30/2023     MRP        0.30        187.50 emails w/ AGL and KAB re: updates on negotiations with JPLs and related issues
         1368.002     03/31/2023      AGL       0.80        920.00 communications with S&C and LRC teams re: timing of/scheduling for various
                                                                   response dates w/r/t JPL motion and adversary proceeding (.4); call with JPL Team,
                                                                   Committee Team and Debtor team re: same (.4)
         1368.002     03/31/2023     KAB        0.20        164.00 emails with S&C and Wilmer Hale re: Ellison discovery and related protective order
         1368.002     03/31/2023     MRP        0.40        250.00 communications w/ S&C and LRC teams re: timing of/scheduling for various response
                                                                   dates w/r/t JPL motion and adversary proceeding
         1368.002     03/31/2023      KAB       0.40        328.00 communications with S&C and LRC teams re: timing of/scheduling for various
                                                                   response dates w/r/t JPL motion and adversary proceeding

Total for Phase ID B135            Billable   192.30    141,877.50 Litigation

Phase ID B136 LRC Retention & Fee Matters
         1368.002   03/01/2023     NEJ          3.50      1,837.50 Review and revise January fee statement for compliance with rules/guidelines and
                                                                   privilege
         1368.002     03/01/2023      MR        0.10         31.00 confer with NEJ re: drafting LRC second fee app
         1368.002     03/01/2023     HWR        0.20         95.00 Confer w/ NEJ re: LRC January Fee App
         1368.002     03/01/2023     HWR        0.20         95.00 Review and revise January fee statement for compliance with rules/guidelines and
                                                                   privilege
         1368.002     03/01/2023      NEJ       0.20        105.00 Confer w. HWR re: LRC January Fee App
         1368.002     03/01/2023      NEJ       0.10         52.50 Confer w. M. Ramirez re: drafting LRC second fee app
         1368.002     03/02/2023       MR       1.20        372.00 draft LRC second fee app
         1368.002     03/02/2023       MR       0.10         31.00 email with NEJ re: draft of LRC's second fee app
         1368.002     03/02/2023     HWR        0.10         47.50 Confer w/ NEJ re: LRC January fee app
         1368.002     03/02/2023      KAB       0.10         82.00 discussion with N. Jenner re: January fee app status and related issues
         1368.002     03/02/2023     HWR        0.20         95.00 Review/revise LRC January fee app
         1368.002     03/02/2023      NEJ       4.00      2,100.00 Review and revise January fee statement for compliance with rules/guidelines and
                                                                   privilege
         1368.002     03/02/2023      NEJ       1.00        525.00 Draft LRC fee statement for January
         1368.002     03/02/2023      NEJ       0.10         52.50 Confer w. HWR re: LRC January fee app
         1368.002     03/02/2023      NEJ       0.10         52.50 Email w. M. Ramirez re: draft shell of LRC's second fee app
         1368.002     03/02/2023      NEJ       0.10         52.50 Confer w. HWR re: January fee app status and related issues
         1368.002     03/03/2023      KAB       3.20      2,624.00 review and revise January fee statement for compliance with local rules, UST
                                                                   guidelines and privilege
         1368.002     03/05/2023      KAB       7.80      6,396.00 review and revise January fee statement for compliance with local rules, UST
                                                                   guidelines and privilege issues
         1368.002     03/06/2023      NEJ       0.10         52.50 Confer w. MRP re: January fee statement
         1368.002     03/06/2023      NEJ       0.20        105.00 Confer w. KAB and JLH re: January fee statement
         1368.002     03/06/2023      KAB       0.20        164.00 Confer with N. Jenner and J. Hunyh re: January fee statement
         1368.002     03/06/2023      AGL       0.20        230.00 communications with KAB, MRP re: fee application issues
         1368.002     03/06/2023      KAB       0.20        164.00 discussion with A. Landis and M. Pierce re: fee application issues
         1368.002     03/06/2023      AGL       1.80      2,070.00 review and revise LRC 2nd fee statement and related attachments (1.4);
                                                                   communications with KAB, NEJ re: same (.4)
         1368.002     03/06/2023      KAB       1.40      1,148.00 review and revise LRC second monthly fee statement
         1368.002     03/06/2023      NEJ       4.70      2,467.50 Review and revise January fee statement for compliance with rules/guidelines and
                                                                   privilege
         1368.002     03/06/2023      NEJ       3.20      1,680.00 Review, revise and finalize LRC's 2nd (January) fee statement
         1368.002     03/06/2023      MR        0.40        124.00 email with NEJ re: finalized LRC's second fee statement (.1); file same (.2); confer with
                                                                   ACD re: same (.1)
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                          Trans             Hours
            Client         Date   Tkpr      to Bill     Amount
Phase ID B136 LRC Retention & Fee Matters
         1368.002   03/06/2023 HWR           0.30        142.50   Confer w/ NEJ re: LRC Jan fee statement
         1368.002   03/06/2023 HWR           0.40        190.00   Review/revise LRC Jan fee statement
         1368.002   03/06/2023    MRP        0.10         62.50   Confer w/ NEJ re: January fee statement
         1368.002   03/06/2023     JH        0.20         40.00   Confer w/ KAB and NEJ re: January fee statement
         1368.002   03/06/2023    MRP        0.20        125.00   discussion w/ AGL and KAB re: fee application issues
         1368.002   03/06/2023    KAB        0.40        328.00   communications with A. Landis and N. Jenner re: LRC 2nd fee statement and related
                                                                  attachments
         1368.002    03/06/2023    NEJ       0.40        210.00   communications w. AGL and KAB re: LRC 2nd fee statement and related attachments
         1368.002    03/06/2023    NEJ       0.10         52.50   email w. M. Ramirez re: finalized LRC's second fee statement
         1368.002    03/06/2023   ACD        0.10         31.00   confer with M. Ramirez re: LRC's finalized second fee statement
         1368.002    03/06/2023    NEJ       0.10         52.50   Confer w. MRP re: January fee statement
         1368.002    03/09/2023   MRP        0.10         62.50   Email w/ LRC team re: first interim fee app
         1368.002    03/09/2023     MR       0.10         31.00   Email with LRC team re: first interim fee app
         1368.002    03/09/2023   HWR        0.10         47.50   Email w/ LRC team re: first interim fee app
         1368.002    03/09/2023    KAB       0.10         82.00   Email with LRC team re: first interim fee app
         1368.002    03/09/2023    NEJ       0.10         52.50   Email w. LRC team re: first interim fee app
         1368.002    03/10/2023    NEJ       3.90      2,047.50   Draft/revise LRC 1st interim fee application
         1368.002    03/13/2023     MR       0.70        217.00   email with NEJ re: drafting Fee statement for LRC's 3rd fee app (.1); draft same (.6)
         1368.002    03/13/2023    NEJ       0.10         52.50   email w. M. Ramirez re: drafting Fee statement for LRC's 3rd fee app
         1368.002    03/14/2023   MRP        0.20        125.00   Discussion w/ NEJ re: LRC first interim fee app
         1368.002    03/14/2023    NEJ       2.00      1,050.00   Confer w. MRP re: LRC's 1st interim fee app (.2); Research re: same (1.8)
         1368.002    03/15/2023    KAB       0.10         82.00   email with LRC team re: LRC's 1st interim fee app
         1368.002    03/15/2023    NEJ       1.60        840.00   Draft/revise LRC first interim fee app (1.5); Email w. LRC team re: same (.1)
         1368.002    03/15/2023   HWR        0.10         47.50   Email w/ LRC team re: LRC first interim fee app
         1368.002    03/15/2023   MRP        0.10         62.50   Email w/ LRC team re: LRC first interim fee app
         1368.002    03/16/2023   MRP        0.50        312.50   Revise LRC first interim fee app
         1368.002    03/16/2023   MRP        0.30        187.50   Discussion w/ NEJ re: revisions and comments to draft LRC interim fee app
         1368.002    03/16/2023    NEJ       2.60      1,365.00   Confer w. MRP re: LRC's 1st interim fee app (.3); revise same (2.3)
         1368.002    03/16/2023    KAB       0.20        164.00   discussion with M. Pierce re: interim fee app, budget and staffing plans
         1368.002    03/16/2023    KAB       0.60        492.00   review and revise LRC first interim fee app
         1368.002    03/16/2023    AGL       1.10      1,265.00   review and revise lrc interim fee application (.9); communications with mrp, kab re:
                                                                  same (.2)
         1368.002    03/16/2023    KAB       0.40        328.00   emails with N. Jenner and M. Pierce re: LRC 1st interim fee app, staffing and budget
         1368.002    03/16/2023    KAB       0.10         82.00   emails with LRC team re: LRC's 1st interim fee app
         1368.002    03/16/2023   HWR        0.10         47.50   Email w/ KAB, MRP and NEJ re: LRC revised first interim fee app
         1368.002    03/16/2023   MRP        0.20        125.00   discussion w/ KAB re: interim fee app, budget and staffing plans
         1368.002    03/16/2023    KAB       0.20        164.00   Communications with A. Landis and M. Pierce re: LRC interim fee application
         1368.002    03/16/2023   MRP        0.20        125.00   Communications w/ AGL and KAB re: LRC interim fee application
         1368.002    03/16/2023   MRP        0.40        250.00   emails w/ KAB and NEJ re: LRC 1st interim fee app, staffing and budget
         1368.002    03/16/2023    NEJ       0.40        210.00   emails w. KAB and MRP re: LRC 1st interim fee app, staffing and budget
         1368.002    03/16/2023   MRP        0.10         62.50   Email w/ KAB, NEJ, and HWR re: LRC revised first interim fee app
         1368.002    03/16/2023    NEJ       0.10         52.50   Email w. KAB, MRP and HWR re: LRC revised first interim fee app
         1368.002    03/17/2023     MR       0.30         93.00   finalize LRC's 1st interim fee app (.2); email with MRP re: same (.1)
         1368.002    03/17/2023    NEJ       1.70        892.50   Call and Emails w. MRP re: LRC's 1st interim fee app (.3); Research re: same (1.3);
                                                                  Emails w. MRP and KAB re: updated app (.1)
         1368.002    03/17/2023   AGL        0.60        690.00   review and revise and approve for filing first interim fee app
         1368.002    03/17/2023   KAB        0.10         82.00   emails with J. Ray, A. Kranzley and LRC team re: LRC budget and staffing plan
         1368.002    03/17/2023   KAB        0.40        328.00   emails with LRC team re: updated LRC budget and staffing plan (.1); review and revise
                                                                  same (.3)
         1368.002    03/17/2023   HWR        0.10         47.50   Review LRC first interim fee app for filing
         1368.002    03/17/2023   HWR        0.10         47.50   Emails w/ LRC team re LRC first interim fee app
         1368.002    03/17/2023   MRP        0.10         62.50   email w/ MR re: LRC's 1st interim fee app
         1368.002    03/17/2023   MRP        0.40        250.00   Call and emails w/ NEJ re: LRC's 1st interim fee app (.3); Emails w/ KAB and NEJ re:
                                                                  updated app (.1)
         1368.002    03/17/2023   KAB        0.10         82.00   Emails with M. Pierce and N. Jenner re: updated LRC's 1st interim fee app
         1368.002    03/17/2023   MRP        0.10         62.50   emails w/ J. Ray, A. Kranzley and LRC team re: LRC budget and staffing plan
         1368.002    03/17/2023   MRP        0.10         62.50   emails w/ LRC team re: updated LRC budget and staffing plan
         1368.002    03/17/2023   NEJ        0.10         52.50   emails w. LRC team re: updated LRC budget and staffing plan
         1368.002    03/17/2023   MRP        0.10         62.50   Emails w/ LRC team re: LRC first interim fee app
         1368.002    03/17/2023   NEJ        0.10         52.50   Emails w. LRC team re: LRC first interim fee app
         1368.002    03/17/2023    MR        0.10         31.00   Emails with LRC team re: LRC first interim fee app
         1368.002    03/17/2023   KAB        0.10         82.00   Emails with LRC team re: LRC first interim fee app
         1368.002    03/21/2023   NEJ        3.10      1,627.50   Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege
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Phase ID B136 LRC Retention & Fee Matters
         1368.002   03/22/2023     MR          0.10         31.00 email with NEJ re: draft 3rd monthly fee statement
         1368.002   03/22/2023     NEJ         0.10         52.50 email w. M. Ramirez re: draft 3rd monthly fee statement
         1368.002   03/23/2023     NEJ         3.30      1,732.50 Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege
         1368.002     03/23/2023     NEJ       0.20        105.00 Confer and emails w. KAB and MRP re: LRC February fee statement
         1368.002     03/23/2023     KAB       0.10         82.00 email with N. Jenner and M. Pierce re: LRC's feb fee app
         1368.002     03/23/2023     MRP       0.20        125.00 Confer and emails w/ KAB and NEJ re: LRC February fee statement
         1368.002     03/24/2023     NEJ       2.60      1,365.00 Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege
         1368.002     03/27/2023      NEJ      3.00      1,575.00 Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege
         1368.002     03/27/2023      NEJ      0.30        157.50 Email MRP re: LRC February fee statement
         1368.002     03/27/2023      NEJ      0.30        157.50 Revise LRC's 3rd monthly (February) fee statement
         1368.002     03/27/2023      KAB      3.40      2,788.00 review and revise LRC February fee app for compliance with local rules, UST
                                                                  guidelines and privilege
         1368.002     03/28/2023      KAB      0.30        246.00 emails (.2) and discussion (.1) with H. Robertson re: fee examiner request regarding
                                                                  expenses
         1368.002     03/28/2023      NEJ      2.40      1,260.00 Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege (2.3); Confer w. KAB re: same (.1)
         1368.002     03/28/2023       MR      0.10         31.00 call with NEJ re: Certificate of No Objection for LRC's 2nd app
         1368.002     03/28/2023      ACD      0.30         93.00 Emails with H. Robertson re: Certificate of No Objection re: LRC's 2nd fee app (0.1);
                                                                  finalize and e-file same (0.2)
         1368.002     03/28/2023     HWR       0.20         95.00 Email w/ MR re: CNO for LRC Feb fee app
         1368.002     03/28/2023     HWR       0.10         47.50 Review CNO for LRC Feb Fee App
         1368.002     03/28/2023      MR       0.40        124.00 Emails with HWR re: Certificate of No Objection for LRC's 2nd fee app (.2); Draft same
                                                                  (.2)
         1368.002     03/28/2023     HWR       0.30        142.50 emails (.2) and discussion (.1) w/ KAB re: fee examiner request regarding expenses
         1368.002     03/28/2023      KAB      0.10         82.00 Confer with N. Jenner re: fee statements
         1368.002     03/28/2023      NEJ      0.10         52.50 Call w. A. Dellose re: Certificate of No Objection for LRC's 2nd app
         1368.002     03/28/2023     HWR       0.10         47.50 Emails w/ AD re: Certificate of No Objection re: LRC's 2nd fee app
         1368.002     03/30/2023      NEJ      0.70        367.50 Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege
         1368.002     03/31/2023      NEJ      0.30        157.50 Review and revise February fee statement for compliance with rules/guidelines and
                                                                  privilege

Total for Phase ID B136            Billable   80.50     49,642.00 LRC Retention & Fee Matters

Phase ID B138 Committee Meetings/Communications
         1368.002  03/02/2023     MR        0.70           217.00 emails with MRP re: drafting notice re: presentation to UCC (.3); draft notice re: same
                                                                  (.2); finalize same with exhibits and file (.2)
         1368.002     03/02/2023     AGL       1.10      1,265.00 review and analyze presentation to committee re: customer shortfall
         1368.002     03/02/2023     MRP       0.30        187.50 emails w/ MR re: drafting notice re: presentation to UCC
         1368.002     03/14/2023     AGL       0.80        920.00 review and analyze common interest agreement
         1368.002     03/15/2023     AGL       0.20        230.00 review execution copy of common interest agreement and communications with
                                                                  parties thereto re: execution and return
         1368.002     03/17/2023       MR      0.60        186.00 email with LRC team re: filing Notice of presentation to Committee (.3); finalize and
                                                                  file same with exhibit (.3)
         1368.002     03/17/2023     HWR       0.30        142.50 Emails w/ LRC team re drafting notice of presentation
         1368.002     03/17/2023     HWR       0.20         95.00 Draft notice of presentation
         1368.002     03/17/2023     MRP       0.30        187.50 Emails w/ LRC team re: drafting notice of presentation

Total for Phase ID B138            Billable    4.50      3,430.50 Committee Meetings/Communications

Phase ID B140 Creditor Inquiries
         1368.002    03/02/2023       KAB      0.10         82.00   emails with LRC and Kroll teams re: creditor inquiry
         1368.002    03/02/2023      HWR       0.10         47.50   Email with LRC and Kroll re: creditor inquiry
         1368.002    03/02/2023      MRP       0.10         62.50   emails w/ LRC and Kroll teams re: creditor inquiry
         1368.002    03/09/2023       KAB      0.20        164.00   review email from L. Abbot re: creditor/claim inquiry (1.); email LRC team re: same (.1)
         1368.002    03/09/2023       KAB      0.10         82.00   emails with LRC team and J. Sanchez re: Snohomish County notice issues
         1368.002    03/09/2023      HWR       0.10         47.50   Email w/ Kroll re: creditor inquiry
         1368.002    03/09/2023      MRP       0.10         62.50   email w/ LRC team re: creditor/claim inquiry
         1368.002    03/09/2023      HWR       0.10         47.50   email w/ LRC team re: creditor/claim inquiry
         1368.002    03/09/2023      MRP       0.10         62.50   emails w/ LRC team and J. Sanchez re: Snohomish County notice issues
         1368.002    03/09/2023      HWR       0.10         47.50   emails w/ LRC team and J. Sanchez re: Snohomish County notice issues
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Phase ID B140 Creditor Inquiries
         1368.002    03/13/2023     KAB    0.10         82.00   emails with LRC team re: creditor inquiry
         1368.002    03/13/2023    MRP     0.10         62.50   emails w/ LRC team re: creditor inquiry
         1368.002    03/13/2023    HWR     0.10         47.50   emails w/ LRC team re: creditor inquiry
         1368.002    03/14/2023     KAB    0.10         82.00   review email from creditor re: account balances
         1368.002    03/14/2023     KAB    0.10         82.00   email with LRC team re: creditor inquiry re: return of funds
         1368.002    03/14/2023    MRP     0.20        125.00   Review letter from Keystone Law re: customer account
         1368.002    03/14/2023    MRP     0.20        125.00   Email w/ Keystone Law re: additional inquires (.1) and review correspondence re: the
                                                                the same (.1)
         1368.002     03/14/2023   HWR     0.30        142.50   Emails w/ Kroll re: creditor inquiries
         1368.002     03/14/2023   MRP     0.10         62.50   email w/ LRC team re: creditor inquiry re: return of funds
         1368.002     03/14/2023   HWR     0.10         47.50   email w/ LRC team re: creditor inquiry re: return of funds
         1368.002     03/15/2023    KAB    0.30        246.00   emails with LRC and counsel to certain customers re: access to funds inquires (.2);
                                                                emails with LRC and Kroll teams re: same (.1)
         1368.002     03/15/2023   KAB     0.10         82.00   emails with J. Sanchez and M. Pierce re: Snohomish county creditor status and related
                                                                issues
         1368.002     03/15/2023   HWR     0.30        142.50   Emails w/ KAB and MRP re: creditor inquiries
         1368.002     03/15/2023   HWR     0.30        142.50   Emails w/ Kroll team re: creditor inquiries
         1368.002     03/15/2023   MRP     0.30        187.50   emails w/ LRC and counsel to certain customers re: access to funds inquires (.2);
                                                                emails w/ LRC and Kroll teams re: same (.1)
         1368.002     03/15/2023   HWR     0.10         47.50   emails w/ LRC and Kroll teams re: access to funds inquires
         1368.002     03/15/2023   MRP     0.10         62.50   emails w/ J. Sanchez and KAB re: Snohomish county creditor status and related issues
         1368.002     03/20/2023    KAB    0.10         82.00   email with LRC team re: creditor inquiry on retrieval of Ethereum
         1368.002     03/20/2023   MRP     0.10         62.50   email w/ LRC team re: creditor inquiry on retrieval of Ethereum
         1368.002     03/20/2023   HWR     0.10         47.50   email w/ LRC team re: creditor inquiry on retrieval of Ethereum
         1368.002     03/21/2023    KAB    0.30        246.00   emails with Kroll and LRC teams re: creditor inquiries on return of funds (.1); review
                                                                letter from counsel to creditor re: same (.2)
         1368.002     03/21/2023   MRP     0.10         62.50   Email w/ LRC team re: creditor inquiry
         1368.002     03/21/2023   KAB     0.20        164.00   review creditor inquiry re: dotcom funds (.1); emails with LRC team re: same and next
                                                                steps (.1)
         1368.002     03/21/2023    KAB    0.20        164.00   review emails from Kroll to various creditors re: claim inquiries
         1368.002     03/21/2023   HWR     0.10         47.50   Email w/ MRP re: creditor inquiry
         1368.002     03/21/2023   HWR     0.10         47.50   Email w/ Kroll re: creditor inquiry
         1368.002     03/21/2023   HWR     0.10         47.50   Email w/ KAB re: creditor inquiry
         1368.002     03/21/2023   MRP     0.10         62.50   Email w/ LRC team re: creditor inquiry for dotcom funds
         1368.002     03/21/2023   HWR     0.10         47.50   Email w/ LRC team re: creditor inquiry for dotcom funds
         1368.002     03/21/2023   HWR     0.10         47.50   Email w/ LRC team re: creditor inquiry
         1368.002     03/21/2023    KAB    0.10         82.00   Email with H. Robertson re: creditor inquiry
         1368.002     03/21/2023   MRP     0.10         62.50   Email w/ HWR re: creditor inquiry
         1368.002     03/23/2023    KAB    0.10         82.00   emails with Kroll and LRC teams re: creditor inquiry on claims
         1368.002     03/23/2023   HWR     0.10         47.50   Email w/ Kroll and LRC team re: creditor inquiry
         1368.002     03/23/2023    KAB    0.10         82.00   review email from customer re: claims inquiry
         1368.002     03/23/2023   MRP     0.10         62.50   emails w/ Kroll and LRC teams re: creditor inquiry on claims
         1368.002     03/27/2023    KAB    0.20        164.00   review email and letter from L. Abbot re: customer inquiry and issues (.1); email M.
                                                                Pierce and H. Robertson re: same (.1)
         1368.002     03/27/2023   HWR     0.10         47.50   Email w/ LRC team re: creditor inquiry
         1368.002     03/27/2023   HWR     0.10         47.50   Email w/ Kroll re: creditor inquiry
         1368.002     03/27/2023   MRP     0.10         62.50   Email w/ LRC team re: creditor inquiry
         1368.002     03/30/2023    KAB    0.20        164.00   review email from counsel to customer re: creditor claims (.1); emails with LRC team
                                                                re: same (.1)
         1368.002     03/30/2023   MRP     0.10         62.50   Email w/ AGL re: creditor claim inquiry
         1368.002     03/30/2023   MRP     0.10         62.50   Email w/ creditor re: claim inquiry
         1368.002     03/30/2023   MRP     0.10         62.50   Email w/ Kroll re: creditor inbound inquiries
         1368.002     03/30/2023    KAB    0.30        246.00   emails with customer, Kroll, LRC team and A. Dietderich re: claim inquiry
         1368.002     03/30/2023   HWR     0.20         95.00   Emails w/ MRP re: Creditor Inquiries
         1368.002     03/30/2023    KAB    0.10         82.00   review email from customer re: claim issues
         1368.002     03/30/2023   MRP     0.10         62.50   emails w/ LRC team re: creditor claims
         1368.002     03/30/2023   HWR     0.10         47.50   emails w/ LRC team re: creditor claims
         1368.002     03/30/2023    AGL    0.10        115.00   Email with MRP re: creditor claim inquiry
         1368.002     03/30/2023   MRP     0.30        187.50   emails w/ customer, Kroll, LRC team and A. Dietderich re: claim inquiry
         1368.002     03/30/2023   HWR     0.30        142.50   emails w/ customer, Kroll, LRC team and A. Dietderich re: claim inquiry
         1368.002     03/31/2023   MRP     0.10         62.50   Call w/ creditor re: question about equity list
         1368.002     03/31/2023   MRP     0.10         62.50   Email w/ creditor re: customer number
         1368.002     03/31/2023    KAB    0.30        246.00   call (.2) and email (.1) with D. Mohyi re: customer issues
         1368.002     03/31/2023    KAB    0.10         82.00   emails with Kroll, S&C and LRC teams re: creditor inquiry on schedules and
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Phase ID B140 Creditor Inquiries
                                                                    statements
         1368.002     03/31/2023      KAB      0.10         82.00   email with LRC team re: inbound creditor inquiries on customer ids
         1368.002     03/31/2023      KAB      0.10         82.00   review email from customer re: claim inquiry
         1368.002     03/31/2023     HWR       0.10         47.50   Email w/ Kroll re: creditor inquiry
         1368.002     03/31/2023     MRP       0.10         62.50   emails w/ Kroll, S&C and LRC teams re: creditor inquiry on schedules and statements
         1368.002     03/31/2023     MRP       0.10         62.50   email w/ LRC team re: inbound creditor inquiries on customer ids
         1368.002     03/31/2023     HWR       0.10         47.50   email w/ LRC team re: inbound creditor inquiries on customer ids

Total for Phase ID B140            Billable   10.00      6,509.50 Creditor Inquiries

Phase ID B144 Non-LRC Retention & Fee Matters
         1368.002   03/01/2023   KAB          0.50         410.00 call with J. Petiford and M. Pierce re: open OCP issuses
         1368.002   03/01/2023   KAB          0.40         328.00 email R. Poppiti and M. Pierce re: interim fee apps (.1); call with R. Poppiti re: same
                                                                  (.2); confer with M. Pierce re: update on same (.1)
         1368.002     03/01/2023      KAB      0.10         82.00 email UST, YCST, Fee Examiner and LRC teams re: UST open issues on fee examiner
                                                                  order
         1368.002     03/01/2023     KAB       0.10         82.00 emails with S&C, LRC and Durukan re: OCP retention and invoice process
         1368.002     03/01/2023     KAB       0.10         82.00 emails with S&C, LRC and Clayton Utz re: OCP retention and invoice process
         1368.002     03/01/2023     KAB       0.10         82.00 emails with S&C, LRC and King & Wood re: OCP retention and invoice process
         1368.002     03/01/2023     MRP       0.50        312.50 Call w/ J. Petiford and KAB re: open OCP issues
         1368.002     03/01/2023     KAB       0.30        246.00 call with R. Poppiti re: protective order and fee examiner issues
         1368.002     03/01/2023     KAB       0.80        656.00 review and analyze UST position on open fee examiner issues (.4); review and analyze
                                                                  Celsius order provided by UST (.4)
         1368.002     03/01/2023      KAB      0.30        246.00 emails with A. Kranzley re: interim fee apps, fee examiner order, January fee statement
         1368.002     03/01/2023      KAB      1.50      1,230.00 review and analyze interim fee research findings (.6); revise draft email on same (.8);
                                                                  email S&C and LRC teams re: same (.1)
         1368.002     03/01/2023      KAB      0.10         82.00 email with UST and LRC teams re: Bowman OCP dec
         1368.002     03/01/2023     HWR       0.10         47.50 Confer w/ MRP re: Interim fee app issues
         1368.002     03/01/2023     HWR       0.80        380.00 Research re: interim fee app issues
         1368.002     03/01/2023     HWR       0.10         47.50 Confer w/ MRP re: fee examiner research
         1368.002     03/01/2023     HWR       0.60        285.00 Research re: fee examiner reports
         1368.002     03/01/2023      KAB      0.10         82.00 email with S&C, LRC and Lowenstein re: withdrawal as OCP
         1368.002     03/01/2023      KAB      0.10         82.00 email with LRC, S&C and Olaniwun re: OCP retention and invoicing
         1368.002     03/01/2023      KAB      0.10         82.00 email with LRC, S&C and Arthur Cox re: OCP retention and invoicing
         1368.002     03/01/2023      KAB      0.10         82.00 email with LRC, S&C and ARIFA re: OCP retention and invoicing
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ Arthur Cox re: invoicing instructions
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ Covington re: UST inquiries
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ KWM re: invoicing instructions
         1368.002     03/01/2023     HWR       0.20         95.00 Emails w/ Link Partners re: OCP declaration
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ Lowenstein re: withdraw
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ J. Petiford re: Lowenstein withdraw
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ Olaniwun Ajayi re: invoicing instructions
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ Maynard re: UST inquiries
         1368.002     03/01/2023     HWR       0.10         47.50 Email w/ Shardul re: invoicing instructions
         1368.002     03/01/2023     MRP       0.20        125.00 Email w/ R. Poppiti and KAB re: interim fee apps (.1); confer w/ KAB re: update on
                                                                  same (.1)
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ UST, YCST, Fee Examiner and LRC teams re: UST open issues on fee examiner
                                                                  order
         1368.002     03/01/2023     MRP       0.10         62.50 emails w/ S&C, LRC and Durukan re: OCP retention and invoice process
         1368.002     03/01/2023     HWR       0.10         47.50 emails w/ S&C, LRC and Durukan re: OCP retention and invoice process
         1368.002     03/01/2023     MRP       0.10         62.50 emails w/ S&C, LRC and Clayton Utz re: OCP retention and invoice process
         1368.002     03/01/2023     HWR       0.10         47.50 emails w/ S&C, LRC and Clayton Utz re: OCP retention and invoice process
         1368.002     03/01/2023     MRP       0.10         62.50 emails w/ S&C, LRC and King & Wood re: OCP retention and invoice process
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ S&C and LRC teams re: interim fee research findings
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ UST and LRC teams re: Bowman OCP dec
         1368.002     03/01/2023     HWR       0.10         47.50 email w/ UST and LRC teams re: Bowman OCP dec
         1368.002     03/01/2023     MRP       0.20        125.00 Confer w/ HWR re: Interim fee app issues
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ S&C, LRC and Lowenstein re: withdrawal as OCP
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ LRC, S&C and Olaniwun re: OCP retention and invoicing
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ LRC, S&C and Arthur Cox re: OCP retention and invoicing
         1368.002     03/01/2023     MRP       0.10         62.50 email w/ LRC, S&C and ARIFA re: OCP retention and invoicing
         1368.002     03/02/2023      KAB      0.10         82.00 emails with S&C, LRC and ABNR teams re: ocp retention
         1368.002     03/02/2023      KAB      0.10         82.00 email LRC team re: updates to OCP tracker
         1368.002     03/02/2023      KAB      0.10         82.00 emails with M. Pierce and J. Petiford re: questions on OCPs
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         1368.002   03/02/2023   KAB            0.10       82.00   emails with S&C, LRC and Clayton Utz re: OCP retention and invoicing
         1368.002   03/02/2023   KAB            0.20      164.00   emails with UST and A. Kranzley re: OWL Hill fees and expenses
         1368.002   03/02/2023   KAB            0.10       82.00   review and analyze email from J. Sarkessian re: fee examiner order and open issues
         1368.002   03/02/2023   KAB            0.10       82.00   emails with S&C, LRC and Covington re: OCP retention and UST inquiries
         1368.002   03/02/2023   KAB            0.10       82.00   review email from UST re: Bowman OCP retention
         1368.002   03/02/2023   KAB            0.10       82.00   confer with M. Pierce re: OCP reports
         1368.002   03/02/2023   MRP            0.10       62.50   Email w/ UST re: Bowman OCP retention
         1368.002   03/02/2023   MRP            0.10       62.50   Email w/ J. Petiford and KAB re: Bowman's OCP retention
         1368.002   03/02/2023   MRP            0.50      312.50   Call w/ J. Petiford and KAB re: OCP open issues
         1368.002   03/02/2023   KAB            0.50      410.00   call with J. Petiford and M. Pierce re: OCP open issues
         1368.002   03/02/2023 HWR              0.80      380.00   Review/revise and update OCP tracker and information
         1368.002   03/02/2023   KAB            1.20      984.00   call with R. Poppitti and M. Pierce re: open issues to fee examiner order and process
         1368.002   03/02/2023   KAB            0.10       82.00   emails with UST, S&C and M. Pierce re: RLKS fee statement
         1368.002   03/02/2023   KAB            0.20      164.00   emails with Porter Hedges, S&C and M. Pierce re: fee examination of PWP
         1368.002   03/02/2023   AGL            0.50      575.00   communications with Brown and Pierce re: fee examiner order issues/status
         1368.002   03/02/2023    MR            0.70      217.00   email with HWR and MRP re: OCP statement (.2); finalize same for filing (.2); further
                                                                   email with MRP re: same (.1); file same (.1); email as-filed for service with MRP and
                                                                   HWR (.1)
         1368.002    03/02/2023   HWR           0.20       95.00   email w/ MRP and MR re: finalizing and filing ocp statement
         1368.002    03/02/2023    KAB          1.80    1,476.00   email with M. Pierce re: further revised fee examiner order (.1); review and revise
                                                                   same, including review of Celsius orders in connection therewith (1.6); email LRC and
                                                                   YCST teams re: further revised draft (.1)
         1368.002    03/02/2023   KAB           0.30      246.00   emails with S&C and LRC teams re: quarterly OCP statement (.1); emails with LRC
                                                                   team re: finalization and filing of same (.1); emails with LRC, Kroll and S&C teams re:
                                                                   service of same (.1)
         1368.002    03/02/2023   HWR           0.10       47.50   email w/ ABNR re: invoicing instructions
         1368.002    03/02/2023   HWR           0.20       95.00   Emails w/ Clayton Utz re: invoicing instructions
         1368.002    03/02/2023   HWR           0.20       95.00   Emails w/ Link partners re: OCP declaration
         1368.002    03/02/2023   HWR           0.10       47.50   Email w/ Olaniwun Ajayi re: invoicing instructions
         1368.002    03/02/2023   MRP           0.10       62.50   emails w/ S&C, LRC and ABNR teams re: ocp retention
         1368.002    03/02/2023   MRP           0.10       62.50   email w/ LRC team re: updates to OCP tracker
         1368.002    03/02/2023   HWR           0.10       47.50   email w/ LRC team re: updates to OCP tracker
         1368.002    03/02/2023   MRP           0.10       62.50   emails w/ KAB and J. Petiford re: questions on OCPs
         1368.002    03/02/2023   MRP           0.10       62.50   emails w/ S&C, LRC and Clayton Utz re: OCP retention and invoicing
         1368.002    03/02/2023   MRP           0.10       62.50   emails w/ S&C, LRC and Covington re: OCP retention and UST inquiries
         1368.002    03/02/2023   HWR           0.10       47.50   emails w/ S&C, LRC and Covington re: OCP retention and UST inquiries
         1368.002    03/02/2023   MRP           0.10       62.50   confer w/ KAB re: OCP reports
         1368.002    03/02/2023    KAB          0.10       82.00   Email with J. Petiford and M. Pierce re: Bowman's OCP retention
         1368.002    03/02/2023   MRP           1.20      750.00   call w/ R. Poppitti and KAB re: open issues to fee examiner order and process
         1368.002    03/02/2023   MRP           0.10       62.50   emails w/ UST, S&C and KAB re: RLKS fee statement
         1368.002    03/02/2023   MRP           0.20      125.00   emails w/ Porter Hedges, S&C and KAB re: fee examination of PWP
         1368.002    03/02/2023    KAB          0.50      410.00   Confer with A. Landis and M. Pierce re: fee examiner order issues/status
         1368.002    03/02/2023   MRP           0.50      312.50   Confer w/ AGL and KAB re: fee examiner order issues/status
         1368.002    03/02/2023   MRP           0.20      125.00   email w/ MR and HWR re: OCP statement (.1); email w/ MR and HWR re: as-filed for
                                                                   service (.1)
         1368.002    03/02/2023   MRP           0.20      125.00   email w/ KAB re: further revised fee examiner order (.1); email w/ LRC and YCST teams
                                                                   re: further revised draft (.1)
         1368.002    03/02/2023   MRP           0.30      187.50   emails w/ S&C and LRC teams re: quarterly OCP statement (.1); emails w/ LRC team re:
                                                                   finalization and filing of same (.1); emails w/ LRC, Kroll and S&C teams re: service of
                                                                   same (.1)
         1368.002    03/02/2023   HWR           0.30      142.50   emails w/ S&C and LRC teams re: quarterly OCP statement (.1); emails w/ LRC team re:
                                                                   finalization and filing of same (.1); emails w LRC, Kroll and S&C teams re: service of
                                                                   same (.1)
         1368.002    03/02/2023   MRP           1.50      937.50   Revise draft interim fee application form
         1368.002    03/03/2023   KAB           0.90      738.00   email with YCST and LRC teams re: fee examiner order (.1); review and analyze YCST
                                                                   comments to same (.2); confer with M. Pierce re: same (.2); further revise fee examiner
                                                                   order (.3); call to R. Poppiti re: same (.1)
         1368.002    03/03/2023   KAB           0.10       82.00   emails with S&C, LRC and Durukan re: questions on OCP invoicing and related issues
         1368.002    03/03/2023   KAB           0.20      164.00   emails with LRC and S&C teams re: form interim fee app and comments thereto (.1)
                                                                   emails with Debtor professional teams re: interim fee apps (.1)
         1368.002    03/03/2023   KAB           0.30      246.00   call with R. Poppiti re: fee examiner order issues
         1368.002    03/03/2023   KAB           0.10       82.00   emails with UST and A. Kranzley re: RLKS fee apps
         1368.002    03/03/2023   KAB           1.30    1,066.00   email LRC team re: update on fee examiner negotiations (.1); further revise order (.2);
                                                                   email UST, fee examiner, LRC and YCST teams re: revised order (.4); email S&C and
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                                                                 LRC teams re: same, resolved and open issues (.6)
         1368.002    03/03/2023   AGL           1.30    1,495.00 review and analyze revisions to fee examiner order (.7); communications with LRC and
                                                                 S&C teams re: same (.6)
         1368.002    03/03/2023    KAB          0.10       82.00 emails with S&C and M. Pierce re: Covington motion to seal OCP supplemental dec
         1368.002    03/03/2023    KAB          0.20      164.00 emails with S&C and M. Pierce re: foreign OCP issues
         1368.002    03/03/2023   HWR           0.20       95.00 Emails w/ Durukan re: invoicing instructions
         1368.002    03/03/2023   HWR           0.10       47.50 Email w/ Link Partners re: OCP declaration
         1368.002    03/03/2023   MRP           0.30      187.50 email w/ YCST and LRC teams re: fee examiner order (.1); confer w/ KAB re: same (.2)
         1368.002    03/03/2023   MRP           0.10       62.50 emails w/ S&C, LRC and Durukan re: questions on OCP invoicing and related issues
         1368.002    03/03/2023   MRP           0.10       62.50 emails w/ LRC and S&C teams re: form interim fee app and comments thereto
         1368.002    03/03/2023   MRP           0.10       62.50 email w/ LRC team re: update on fee examiner negotiations
         1368.002    03/03/2023   MRP           0.10       62.50 emails w/ S&C and KAB re: Covington motion to seal OCP supplemental dec
         1368.002    03/03/2023   MRP           0.20      125.00 emails w/ S&C and KAB re: foreign OCP issues
         1368.002    03/03/2023   MRP           0.10       62.50 Email w/ S&C re: updated draft interim fee app form
         1368.002    03/05/2023    KAB          0.10       82.00 emails with S&C, LRC and AMT law re: OCP retention and invoicing issues
         1368.002    03/05/2023   HWR           0.20       95.00 Emails w/ J. Petiford and OCPs re: comments to OCP declarations
         1368.002    03/05/2023   MRP           0.10       62.50 emails w/ S&C, LRC and AMT law re: OCP retention and invoicing issues
         1368.002    03/06/2023    KAB          0.10       82.00 email with S&C, LRC and Covington re: supplemental OCP dec and related issues
         1368.002    03/06/2023     MR          0.10       31.00 email with HWR re: drafting Certificate of No Objection for S&C and A&m fee apps
         1368.002    03/06/2023   MRP           0.10       62.50 Email w/ ARIFA and S&C re: OCP retention issues
         1368.002    03/06/2023   MRP           0.10       62.50 Email w/ S&C and Covington re: supplement OCP declaration
         1368.002    03/06/2023     MR          0.20       62.00 draft Certificate of No Objection re: S&C's second fee app
         1368.002    03/06/2023     MR          0.20       62.00 draft Certificate of No Objection re: A&M second fee app
         1368.002    03/06/2023     MR          0.10       31.00 email with HWR re: S&C and A&M second fee app
         1368.002    03/06/2023   MRP           0.50      312.50 Call w/ LRC and S&C re: OCP retention issues
         1368.002    03/06/2023    AGL          0.50      575.00 call with LRC and S&C teams re: ocp issues
         1368.002    03/06/2023    KAB          0.50      410.00 call with S&C and LRC teams re: OCP issues
         1368.002    03/06/2023    KAB          0.20      164.00 emails with UST and A. Kranzley re: Owl Hill fees/expenses
         1368.002    03/06/2023    KAB          0.10       82.00 emails with QE and LRC teams re: QE's 2nd fee app
         1368.002    03/06/2023    KAB          0.10       82.00 emails with UST, S&C and LRC teams re: OCP issues and supplemental decs
         1368.002    03/06/2023   MRP           0.20      125.00 Emails w/ S&C and Porter Hedges re: PWP january fee statement
         1368.002    03/06/2023   MRP           0.30      187.50 Review PWP January 2023 fee statement
         1368.002    03/06/2023   MRP           0.10       62.50 Review and comment on notice to PWP fee statement
         1368.002    03/06/2023    KAB          0.10       82.00 emails with LRC and S&C teams re: Owl Hill fee statement
         1368.002    03/06/2023    KAB          0.10       82.00 emails with LRC, Porter Hedges and S&C re: PWP january fee app
         1368.002    03/06/2023    AGL          0.60      690.00 review and analyze supplemental decs for C&B, Maynard (.5); communications with
                                                                 ust re: same (.1)
         1368.002    03/06/2023   MRP           0.10       62.50 Email w/ S&C re: Owl Hill fee statement
         1368.002    03/06/2023   MRP           0.20      125.00 Review Owl Hill fee statement
         1368.002    03/06/2023   MRP           0.20      125.00 Review and execute notice to Owl Hill fee statement
         1368.002    03/06/2023   MRP           0.10       62.50 Email w/ Japanese counsel re: OCP retention matters
         1368.002    03/06/2023   MRP           0.20      125.00 Review and execute notice for PWP fee app
         1368.002    03/06/2023   MRP           0.10       62.50 Emails w/ LRC team re: filing PWP fee app
         1368.002    03/06/2023    MR           0.90      279.00 email with HWR and MRP re: finalizing Owl hill fee report (.3); finalize same for filing
                                                                 (.2); review email from HWR re: update to notice re: same (.1); update same (.1); file
                                                                 same (.1); confer with ACD re: same (.1)
         1368.002    03/06/2023    MR           0.10       31.00 review email from HWR and MRP re: finalizing and filing A&M fee app (.1); confer with
                                                                 ACD re: same (.1)
         1368.002    03/06/2023    MR           0.60      186.00 email with HWR and MRP re: finalizing Q&E fee statement (.2); finalize and file same
                                                                 (.4)
         1368.002    03/06/2023    MR           1.10      341.00 email with HWR and MRP re: finalizing PWP fee statement (.2); finalize same for filing
                                                                 (.5); email with MRP re: same (.2); revise notice (.1); file same (.1)
         1368.002    03/06/2023    MR           0.60      186.00 email with HWR and MRP re: finalizing Alix fee statement (.2); finalize and file same
                                                                 (.4)
         1368.002    03/06/2023    MR           0.70      217.00 email with HWR and MRP re: finalizing S&C fee statement (.2); finalize and file same
                                                                 (.5)
         1368.002    03/06/2023   ACD           1.80      558.00 Emails with M. Pierce re: fee apps for A&M, Quinn, S&C, Alix Partners, PWP and
                                                                 Alvarez (0.2); emails with H. Robertson re: A&M fee app and finalization of same (0.1);
                                                                 finalize and e-file A&M fee application (0.7); update file with A&M, Quinn, S&C, Alix
                                                                 Partners, PWP and Alvarez fee apps (0.8)
         1368.002    03/06/2023    KAB          0.20      164.00 emails with LRC and S&C teams re: S&C January fee statement
         1368.002    03/06/2023   HWR           0.10       47.50 Email w/ MR and AD re: Certificates of No Objection for S&C and A&M Dec fee
                                                                 statements
         1368.002    03/06/2023   HWR           0.10       47.50 Emails w/ QE re: Jan fee statement service question
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         1368.002   03/06/2023 HWR            0.10         47.50 Confer w/ MRP re: QE Jan fee statement service question
         1368.002   03/06/2023 HWR            0.20         95.00 Confer w/ MRP re: A&M question re: Jan fee statement
         1368.002   03/06/2023 HWR            0.20         95.00 Review court's electronic filing procedures and local rules re: A&M Jan fee statement
                                                                 question
         1368.002    03/06/2023   HWR         0.40        190.00 Review QE Jan fee statement (.2); emails w/ MR and MRP re: same (.2)
         1368.002    03/06/2023   HWR         0.40        190.00 Review A&M Jan fee statement (.2); emails w/ MR and MRP re: same (.2)
         1368.002    03/06/2023   HWR         0.40        190.00 Review PWP Jan fee statement (.2); emails w/ MR and MRP re: same (.2)
         1368.002    03/06/2023   HWR         0.40        190.00 Review AlixPartners Jan fee statement (.2); emails w/ MR and MRP re: same (.2)
         1368.002    03/06/2023   HWR         0.30        142.50 Review S&C Jan fee statement (.1); emails w/ MR and MRP re: same (.2)
         1368.002    03/06/2023   HWR         0.40        190.00 Review Owl Hill Feb Staffing Report (.2); emails w/ MRP and MR re: same (.2)
         1368.002    03/06/2023   HWR         0.20         95.00 Emails w/ Covington re: supplemental declaration
         1368.002    03/06/2023   HWR         0.10         47.50 Email w/ Link Partners re: OCP declaration
         1368.002    03/06/2023   MRP         1.60      1,000.00 Reviewing and finalizing Debtor professionals fee applications
         1368.002    03/06/2023   HWR         0.10         47.50 email w/ MR re: S&C and A&M second fee app
         1368.002    03/06/2023   MRP         0.10         62.50 emails with QE and LRC teams re: QE's 2nd fee app
         1368.002    03/06/2023   MRP         0.10         62.50 emails with UST, S&C and LRC teams re: OCP issues and supplemental decs
         1368.002    03/06/2023   MRP         0.10         62.50 emails w/ LRC and S&C teams re: Owl Hill fee statement
         1368.002    03/06/2023   HWR         0.10         47.50 emails w/ LRC and S&C teams re: Owl Hill fee statement
         1368.002    03/06/2023   HWR         0.10         47.50 emails w/ LRC, Porter Hedges and S&C re: PWP january fee app
         1368.002    03/06/2023   MRP         0.10         62.50 emails w/ LRC, Porter Hedges and S&C re: PWP january fee app
         1368.002    03/06/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing Owl hill fee report
         1368.002    03/06/2023   HWR         0.10         47.50 Email w/ MR re: update to notice re: finalizing Owl hill fee report
         1368.002    03/06/2023   ACD         0.10         31.00 confer with MR re: finalizing and filing A&M fee app
         1368.002    03/06/2023   HWR         0.10         47.50 Email w/ MR and MRP re: finalizing and filing A&M fee app
         1368.002    03/06/2023   MRP         0.10         62.50 Email w/ MR and HWR re: finalizing and filing A&M fee app
         1368.002    03/06/2023    MR         0.10         31.00 email w/ HWR and MRP re: finalizing PWP fee statement
         1368.002    03/06/2023   HWR         0.10         47.50 email w/ MR and MRP re: finalizing PWP fee statement
         1368.002    03/06/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing PWP fee statement (.1); email with MR re: final
                                                                 version for filing (.1)
         1368.002    03/06/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing Alix fee statement
         1368.002    03/06/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing Q&E fee statement
         1368.002    03/06/2023   MRP         0.20        125.00 Emails w/ ACD re: fee apps for A&M, Quinn, S&C, Alix Partners, PWP and Alvarez
         1368.002    03/06/2023   HWR         0.10         47.50 emails w/ ACD re: A&M fee app and finalization of same
         1368.002    03/06/2023   HWR         0.20         95.00 emails w/ LRC and S&C teams re: S&C January fee statement
         1368.002    03/06/2023   MRP         0.20        125.00 emails w/ LRC and S&C teams re: S&C January fee statement
         1368.002    03/06/2023    KAB        2.60      2,132.00 Review and revise Debtor professionals fee applications (2.1); numerous emails with
                                                                 LRC team and Debtor professionals re: same (.5)
         1368.002    03/07/2023   KAB         0.10         82.00 emails with S&C, LRC and Covington re: OCP retention
         1368.002    03/07/2023   KAB         0.90        738.00 review email from J. Sarkessian re: fee examiner order (.1); review and analyze UST
                                                                 comments to same (.1); communications with R. Poppiti re: same (.3); confer with A.
                                                                 Landis re: same (.1); email S&C and LRC teams re: updates on same and next steps (.3)
         1368.002    03/07/2023   MRP         0.10         62.50 Email w/ MR re: as-filed S&C fee app
         1368.002    03/07/2023   MRP         0.10         62.50 Email w/ Kroll re: service of fee apps
         1368.002    03/07/2023   MRP         0.10         62.50 Email w/ K. Kawai re: OCP invoices
         1368.002    03/07/2023   MRP         0.10         62.50 Email w/ S&C and Covington re: supplemental OCP declaration
         1368.002    03/07/2023   MRP         0.60        375.00 Discussion w/ NEJ re: motion to seal Covington OCP deceleration
         1368.002    03/07/2023   HWR         0.20         95.00 Review/revise S&C december fee statement Certificate of No Objection
         1368.002    03/07/2023   HWR         0.10         47.50 Review revise A&M december fee statement Certificate of No Objection
         1368.002    03/07/2023   HWR         0.10         47.50 Email w/ MRP re: S&C and A&M december fee statement Certificates of No Objection
         1368.002    03/07/2023   HWR         0.10         47.50 Emails w/ S&C team re: LEDES files for monthly fee statements
         1368.002    03/07/2023   HWR         0.10         47.50 Email w/ AMT re: invoicing instructions
         1368.002    03/07/2023   HWR         0.10         47.50 Emails w/ ARIFA re: invoicing instructions
         1368.002    03/07/2023   HWR         0.20         95.00 Emails w/ Covington re: UST inquiries and supplemental declaration
         1368.002    03/07/2023    KAB        0.20        164.00 emails with M. Pierce and N. Jenner re: motion to seal Covington supplemental dec
                                                                 and issues related thereto
         1368.002    03/07/2023   HWR         0.50        237.50 Call and emails w/ NEJ re: motion to seal covington supplemental declaration
         1368.002    03/07/2023   HWR         0.20         95.00 Call w/ MRP re: motion to seal covington supplemental declaration
         1368.002    03/07/2023   HWR         0.10         47.50 Call w/ MRP re: S&C and A&M december fee app Certificate of No Objection
         1368.002    03/07/2023   HWR         0.10         47.50 Email w/ S&C team re: december fee app Certificate of No Objection
         1368.002    03/07/2023   HWR         0.10         47.50 Email w/ MR and AD re: december fee app Certificate of No Objection
         1368.002    03/07/2023   MRP         0.10         62.50 Email w/ UST and S&C re: Schurti, Maynard and Covington OCP retentions
         1368.002    03/07/2023   MRP         0.10         62.50 Email w/ S&C and LRC teams re: response deadline for S&C and A&M second fee app
         1368.002    03/07/2023    KAB        0.10         82.00 emails with UST, S&C and LRC teams re: OCP decs for Maynard and Convington
         1368.002    03/07/2023   ACD         0.60        186.00 Emails with H. Robertson re: S&C and Alvarez's 2nd monthly fee statement (0.1);
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                                                       Detail Fee Task Code Billing Report
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                          Trans             Hours
            Client         Date   Tkpr      to Bill      Amount
Phase ID B144 Non-LRC Retention & Fee Matters
                                                                   finalize and e-file same (0.5);
         1368.002    03/07/2023   HWR           2.10      997.50   Research re: sealing of covington ocp declaration
         1368.002    03/07/2023   HWR           0.20       95.00   email NEJ re: research findings re: sealing covington supplemental declaration
         1368.002    03/07/2023   HWR           0.30      142.50   Revise fee examiner order
         1368.002    03/07/2023   HWR           0.20       95.00   Emails w/ S&C and LRC teams re: revised fee examiner order
         1368.002    03/07/2023   HWR           0.10       47.50   Email w/ Link Partners re: OCP declaration
         1368.002    03/07/2023   HWR           1.40      665.00   Additional research re: sealing covington supplemental OCP declaration
         1368.002    03/07/2023   HWR           0.50      237.50   email summary of additional research findings re: sealing covington ocp declaration
                                                                   to NEJ
         1368.002    03/07/2023   HWR           1.10      522.50   Further research re: motion to seal covington supplemental declaration
         1368.002    03/07/2023   HWR           0.30      142.50   Emails w/ NEJ re: further research re: motion to seal covington declaration
         1368.002    03/07/2023    NEJ          5.50    2,887.50   Confer w. MRP re: motion to seal Covington OCP dec (.6); Research re: same (4.9)
         1368.002    03/07/2023    NEJ          0.50      262.50   Call and emails w. HWR re: motion to seal Covington OCP dec
         1368.002    03/07/2023    NEJ          3.50    1,837.50   Draft and revise motion to seal and PFO for Covington OCP dec
         1368.002    03/07/2023    AGL          1.30    1,495.00   review and analyze final revisions to fee examiner order (.5); communications with
                                                                   UST, FE and LRC teams re: same (.4); communications with lrc team re: submission to
                                                                   court and related issues (.4)
         1368.002    03/07/2023    MR           0.20       62.00   review email from HWR re: Certificate of No Objection for S&C and A&M fee
                                                                   Statement (.1); confer with ACD re: filing same (.1)
         1368.002    03/07/2023   HWR           0.10       47.50   Email w/ AMT re: invoicing instructions
         1368.002    03/07/2023    KAB          1.20      984.00   additional emails with UST, YCST, fee examiner and LRC teams re: fee examiner order
                                                                   and fee examiner dec (.4); email with LRC team re: revisions to fee examiner order in
                                                                   light of YCST comments (.2); review and revise updated order (.2); emails with S&C
                                                                   team re: same and final proposed order (.4)
         1368.002    03/07/2023   KAB           0.60      492.00   review fee examiner revised declaration, including for redaction issues (.4); emails with
                                                                   LRC team re: same (.2)
         1368.002    03/07/2023   AGL           0.10      115.00   confer with KAB re: fee examiner order
         1368.002    03/07/2023   MRP           0.30      187.50   Email w/ S&C and LRC teams re: updates on fee examiner order and next steps
         1368.002    03/07/2023    MR           0.10       31.00   Email with MRP re: as-filed S&C fee app
         1368.002    03/07/2023   MRP           0.10       62.50   Email w/ HWR re: S&C and A&M december fee statement Certificates of No
                                                                   Objection
         1368.002    03/07/2023   MRP           0.20      125.00   emails w/ KAB and NEJ re: motion to seal Covington supplemental dec and issues
                                                                   related thereto
         1368.002    03/07/2023    NEJ          0.20      105.00   emails w. MRP and KAB re: motion to seal Covington supplemental dec and issues
                                                                   related thereto
         1368.002    03/07/2023   MRP           0.20      125.00   Call w/ HWR re: motion to seal covington supplemental declaration
         1368.002    03/07/2023   MRP           0.10       62.50   Call w/ HWR re: S&C and A&M december fee app Certificate of No Objection
         1368.002    03/07/2023   ACD           0.10       31.00   Email w/ MR and HWR re: december fee app Certificate of No Objection
         1368.002    03/07/2023    MR           0.10       31.00   Email with HWR and AD re: december fee app Certificate of No Objection
         1368.002    03/07/2023   HWR           0.10       47.50   Email w/ S&C and LRC teams re: response deadline for S&C and A&M second fee app
         1368.002    03/07/2023   MRP           0.10       62.50   emails w/ UST, S&C and LRC teams re: OCP decs for Maynard and Convington
         1368.002    03/07/2023   HWR           0.10       47.50   Emails w/ ACD re: S&C and Alvarez's 2nd monthly fee statement
         1368.002    03/07/2023    NEJ          0.20      105.00   email w. HWR re: research findings re: sealing covington supplemental declaration
         1368.002    03/07/2023    NEJ          0.50      262.50   email w. HWR re: summary of additional research findings re: sealing covington ocp
                                                                   declaration
         1368.002    03/07/2023   NEJ           0.30      157.50   Emails w. HWR re: further research for motion to seal covington declaration
         1368.002    03/07/2023   MRP           0.60      375.00   additional emails w/ UST, YCST, fee examiner and LRC teams re: fee examiner order
                                                                   and fee examiner dec (.4); email w/ LRC team re: revisions to fee examiner order in
                                                                   light of YCST comments (.2)
         1368.002    03/07/2023   MRP           0.60      375.00   review fee examiner revised declaration, including for redaction issues (.4); emails w/
                                                                   LRC team re: same (.2)
         1368.002    03/08/2023    NEJ          1.00      525.00   Revise motion to seal Covington supplemental OCP dec (.8); Confer w. MRP re: same
                                                                   (.1); Confer w. HWR re: same (.1)
         1368.002    03/08/2023   MRP           2.20    1,375.00   Revise motion to seal Covington OCP declaration
         1368.002    03/08/2023   MRP           0.30      187.50   Confer and email w/ KAB re: motion to seal Covington dec
         1368.002    03/08/2023   MRP           0.10       62.50   Email w/ LRC re: Link law OCP dec
         1368.002    03/08/2023   MRP           0.10       62.50   Email w/ S&C and LRC re: agreed fee examiner order
         1368.002    03/08/2023   MRP           0.10       62.50   Emails w/ S&C re: Maynard and Link supplemental OCP decs
         1368.002    03/08/2023   MRP           0.30      187.50   Revise motion to seal Covington declaration based on KAB comments
         1368.002    03/08/2023   MRP           0.10       62.50   Email w/ S&C re: draft motion to seal Covington declaration
         1368.002    03/08/2023   MRP           0.10       62.50   Emails w/ LRC team re: drafting Certification of Counsel for fee examiner order
         1368.002    03/08/2023   MRP           0.40      250.00   Email w/ M. Hancock re: fee examiner declaration (.1); review the same (.3)
         1368.002    03/08/2023   KAB           1.20      984.00   emails with UST, LRC, YCST and fee examiner teams re: fee examiner order, fee
                                                                   hearing dates and fee examiner dec (.3); review and revise Certification of Counsel for
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            Client         Date   Tkpr      to Bill      Amount
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                                                                   same (.2); emails with H. Robertson re: precedent on same (.1); review and analyze
                                                                   same (.2); emails with S&C and LRC teams re: same and proposed redactions in fee
                                                                   examiner dec (.2); emails with LRC team re: finalization and filing of dec and
                                                                   Certification of Counsel (.2)
         1368.002    03/08/2023   KAB           1.00      820.00   emails (.1) and discussions (.2) with M. Pierce re: Covington motion to seal
                                                                   supplemental OCP dec; review and revise same (.7)
         1368.002    03/08/2023   MRP           0.10       62.50   Email w/ LRC team re: filing fee examiner dec
         1368.002    03/08/2023   MRP           0.10       62.50   Call w/ J. Petiford re: motion to seal Covington declaration
         1368.002    03/08/2023   KAB           0.10       82.00   email with S&C, LRC and Bowman re: OCP retention and invoicing
         1368.002    03/08/2023   MRP           0.10       62.50   Email w/ S&C re: comments to motion to seal Covington declaration
         1368.002    03/08/2023   MRP           0.20      125.00   Review S&C comments to draft motion to seal Covington declaration
         1368.002    03/08/2023   MRP           0.10       62.50   Email w/ Covington and S&C re: draft motion to seal supplemental declaration
         1368.002    03/08/2023   KAB           0.10       82.00   emails with Covington, S&C and LRC teams re: sealing motion for supplemental OCP
                                                                   dec
         1368.002    03/08/2023   ACD           0.50      155.00   Emails with H. Robertson re: Maynard supplemental OCP dec (0.1); finalize and e-file
                                                                   same (0.4)
         1368.002    03/08/2023   ACD           0.50      155.00   Emails with H. Robertson re: dec re: fee examiner appointment (0.1); finalize and e-file
                                                                   same (0.4)
         1368.002    03/08/2023    MR           0.90      279.00   emails with KAB re: Certification of Counsel re: order appointing fee examiner (.3);
                                                                   confer with ACD re: prepping same (.1); finalize and file same (.4); update and upload
                                                                   order re: same (.1)
         1368.002    03/08/2023     MR          0.20       62.00   review docket re: order appointing fee examiner (.1); email with LRC team re: same (.1)
         1368.002    03/08/2023   HWR           0.20       95.00   Emails w/ J. Petiford re: supplemental Maynard declaration
         1368.002    03/08/2023   HWR           0.20       95.00   Review supplemental Maynard declaration
         1368.002    03/08/2023   HWR           0.10       47.50   Emails w/ MRP, MR and AD re: filing supplemental Maynard declaration
         1368.002    03/08/2023   HWR           0.10       47.50   Confer w/ MRP re: supplemental Maynard declaration and Link Partners Declaration
         1368.002    03/08/2023   HWR           0.20       95.00   Review Link Partners declaration for confidentiality issues
         1368.002    03/08/2023   HWR           0.10       47.50   Emails w/ J. Petiford re: Link Partners declaration
         1368.002    03/08/2023   HWR           0.10       47.50   Review Link partners declaration for filing
         1368.002    03/08/2023   HWR           0.10       47.50   Emails w/ LRC Team re: filing Link Partners declaration
         1368.002    03/08/2023   HWR           0.30      142.50   Review S&C comments to draft Motion to Seal Covington Supplemental declaration
         1368.002    03/08/2023   HWR           0.10       47.50   Emails w/ MRP and J. Petiford re: motion to seal covington supplemental declaration
         1368.002    03/08/2023   HWR           0.10       47.50   Email w/ AMT re: invoicing questions
         1368.002    03/08/2023   HWR           0.10       47.50   email w/ Bowman's re: invoicing instructions
         1368.002    03/08/2023   HWR           0.10       47.50   Email w/ covington re: motion to seal
         1368.002    03/08/2023   HWR           0.20       95.00   Emails w/ KAB and MRP re: Certification of Counsel for fee examiner order
         1368.002    03/08/2023   HWR           0.50      237.50   Research re: Certification of Counsel for fee examiner order
         1368.002    03/08/2023   HWR           0.40      190.00   Review fee examiner order
         1368.002    03/08/2023   HWR           0.10       47.50   Emails w/ AD re: dec re: fee examiner appointment
         1368.002    03/08/2023   MRP           0.10       62.50   Confer w/ NEJ re: Revise motion to seal Covington supplemental OCP dec
         1368.002    03/08/2023   HWR           0.10       47.50   Confer w/ NEJ re: Revise motion to seal Covington supplemental OCP dec
         1368.002    03/08/2023    KAB          0.10       82.00   Email with LRC re: Link law OCP dec
         1368.002    03/08/2023   MRP           0.30      187.50   emails w/ UST, LRC, YCST and fee examiner teams re: fee examiner order, fee hearing
                                                                   dates and fee examiner dec
         1368.002    03/08/2023   HWR           0.10       47.50   emails w/ KAB re: precedent on fee examiner order, fee hearing dates and fee
                                                                   examiner dec
         1368.002    03/08/2023   MRP           0.10       62.50   email w/ S&C, LRC and Bowman re: OCP retention and invoicing
         1368.002    03/08/2023   MRP           0.10       62.50   emails w/ Covington, S&C and LRC teams re: sealing motion for supplemental OCP
                                                                   dec
         1368.002    03/08/2023   HWR           0.10       47.50   emails w/ Covington, S&C and LRC teams re: sealing motion for supplemental OCP
                                                                   dec
         1368.002    03/08/2023   MRP           0.10       62.50   Confer w/ HWR re: supplemental Maynard declaration and Link Partners Declaration
         1368.002    03/09/2023   KAB           0.10       82.00   emails with S&C, LRC and Covington re: motion to seal supplemental OCP dec
         1368.002    03/09/2023   KAB           0.10       82.00   emails with LRC team re: fee examiner order, updates to critical dates and
                                                                   transmission of LEDES files for all debtor professionals
         1368.002    03/09/2023   KAB           0.10       82.00   email Porter Hedges, A. Kranzley and M. Pierce re: update on fee examiner issue
         1368.002    03/09/2023   MRP           0.10       62.50   Email w/ KAB and J. Petiford re: Covington comments to motion to seal
         1368.002    03/09/2023   MRP           0.10       62.50   Email w/ HWR re: research questions on sealing issues
         1368.002    03/09/2023   MRP           0.10       62.50   Email w/ fee examiner re: memo to professionals regarding fee review
         1368.002    03/09/2023   KAB           0.10       82.00   emails with M. Hancock, R. Poppiti and M. Pierce re: fee review memo and related
                                                                   issues
         1368.002    03/09/2023   NEJ           0.10       52.50   Email w. HWR re: motion to seal Covington OCP declaration
         1368.002    03/09/2023   KAB           0.60      492.00   email with S&C and M. Pierce re: fee examiner memo and upcoming fee app filing
                                                                   deadlines (.1); review and analyze memo (.4); discussion with M. Pierce re: same (.1)
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            Client         Date   Tkpr       to Bill     Amount
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         1368.002   03/09/2023   KAB          0.50        410.00 emails with Covington, LRC and S&C teams re: comments to motion to seal (.1);
                                                                 review and analyze same (.4)
         1368.002    03/09/2023    NEJ        0.10         52.50 Email w. LRC team re: process and standards from fee examiner
         1368.002    03/09/2023    NEJ        0.60        315.00 Analyze fee examiner memo
         1368.002    03/09/2023   ACD         0.30         93.00 Review order approving fee examiner and critical dates within order
         1368.002    03/09/2023   HWR         0.10         47.50 Email w/ covington re: draft motion to seal
         1368.002    03/09/2023   HWR         0.10         47.50 Confer w/ MRP re: LEDES files
         1368.002    03/09/2023   HWR         0.20         95.00 Emails w/ LRC team re: LEDES files
         1368.002    03/09/2023   HWR         0.10         47.50 Email w/ QE re: LEDES files
         1368.002    03/09/2023   HWR         0.20         95.00 Review covington comments to MTS
         1368.002    03/09/2023   HWR         0.30        142.50 Confer w/ MRP re: additional research for motion to seal covington supplemental
                                                                 declaration
         1368.002    03/09/2023   HWR         0.10         47.50 Email w/ NEJ re: additional research for motion to seal covington supplemental
                                                                 declaration
         1368.002    03/09/2023   HWR         0.20         95.00 Review fee examiner memo
         1368.002    03/09/2023   HWR         0.10         47.50 Email w/ LRC team re: interim fee apps
         1368.002    03/09/2023   HWR         4.20      1,995.00 Additional research re: covington motion to seal
         1368.002    03/09/2023   HWR         0.40        190.00 Revise covington motion to seal
         1368.002    03/09/2023   HWR         0.10         47.50 email w/ MRP re: revised covington motion to seal
         1368.002    03/09/2023   MRP         0.10         62.50 email w/ Porter Hedges, A. Kranzley and KAB re: update on fee examiner issue
         1368.002    03/09/2023   MRP         0.10         62.50 emails w/ M. Hancock, R. Poppiti and KAB re: fee review memo and related issues
         1368.002    03/09/2023   MRP         0.20        125.00 email w/ S&C and KAB re: fee examiner memo and fee app deadlines (.1); confer w/
                                                                 KAB re: same (.1)
         1368.002    03/09/2023   MRP         0.10         62.50 emails w/ Covington, LRC and S&C teams re: comments to motion to seal
         1368.002    03/09/2023   NEJ         0.10         52.50 emails w. Covington, LRC and S&C teams re: comments to motion to seal Covington
                                                                 dec
         1368.002    03/09/2023   MRP         0.10         62.50 Confer w/ HWR re: LEDES files
         1368.002    03/09/2023   MRP         0.10         62.50 Emails w/ LRC team re: LEDES files
         1368.002    03/09/2023   KAB         0.10         82.00 Email with LRC team re: LEDES files from debtors' professionals
         1368.002    03/09/2023   MRP         0.30        187.50 Confer w/ HWR re: additional research for motion to seal covington supplemental
                                                                 declaration
         1368.002    03/09/2023    NEJ        0.10         52.50 Email w. HWR re: additional research for motion to seal covington supplemental
                                                                 declaration
         1368.002    03/09/2023   MRP         0.10         62.50 email w/ HWR re: revised covington motion to seal
         1368.002    03/10/2023   MRP         0.40        250.00 Analyze sealing research (.3); email w/ HWR re: the same (.1)
         1368.002    03/10/2023   MRP         0.30        187.50 Review and comment on draft supplemental foreign OCP declaration
         1368.002    03/10/2023   MRP         0.10         62.50 Email w/ KAB re: comments to draft supplemental OCP dec form
         1368.002    03/10/2023   KAB         0.40        328.00 emails with M. Pierce re: supplemental OCP dec for certain foreign OCPs (.2); review
                                                                 and revise form for same (.2)
         1368.002    03/10/2023   KAB         0.10         82.00 email with all debtor professionals re: fee examiner memo and interim fee apps
         1368.002    03/10/2023   KAB         0.20        164.00 emails with S&C, LRC and Arifa re: OCP retention and invoicing issues
         1368.002    03/10/2023   MRP         0.20        125.00 Email w/ KAB re: comments to draft supplemental OCP dec (.1); and review the same
                                                                 (.1)
         1368.002    03/10/2023   MRP         0.10         62.50 Email w/ S&C re: comments to draft supplemental OCP declaration
         1368.002    03/10/2023   ACD         2.10        651.00 Emails with H. Robertson re: Covington sealed OCP supplemental dec, redacted dec
                                                                 and motion to seal dec (0.2); draft notice re: motion to seal (0.4); revise motion to seal
                                                                 (0.2); finalize and e-file sealed dec (0.4), motion to seal (0.5) and redacted dec (0.4);
         1368.002    03/10/2023    MR         0.70        217.00 email with MRP and HWR re: finalizing E&Y first fee statement (.2); finalize and file file
                                                                 same (.4); email with MRP and HWR re: as-filed copy of same (.1)
         1368.002    03/10/2023    MR         0.80        248.00 emails with MRP and HWR re: finalizing RLKS compensation report (.3); finalize and
                                                                 file same (.4); email with MRP and HWR re: as-filed copy of same (.1)
         1368.002    03/10/2023    MR         0.20         62.00 review emails with LRC team re: motion to seal Arlo Devlin Brown OCP and sealed and
                                                                 redacted of same
         1368.002    03/10/2023   HWR         0.40        190.00 Emails w/ MRP re: revising Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.50        237.50 Additional research re: Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.30        142.50 Revise Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.20         95.00 Emails w/ J. Petiford re: revised Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.10         47.50 email w/ Covington re: Motion to Seal
         1368.002    03/10/2023   HWR         0.20         95.00 Emails w/ J. Petiford re: covington supplemental declaration redactions
         1368.002    03/10/2023   HWR         0.20         95.00 Emails w/ J. Petiford re: finalizing Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.20         95.00 Confer w/ AD re: drafting notice for Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.10         47.50 Review notice for Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.10         47.50 Call w/ AD re: revising notice and Covington Motion to Seal
         1368.002    03/10/2023   HWR         0.20         95.00 Emails w/ MRP and AD re: finalizing and filing Covington Motion to Seal
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         1368.002   03/10/2023 HWR              0.30      142.50   review finalized Covington Motion to Seal for filing
         1368.002   03/10/2023 HWR              0.10       47.50   Email w/ AD re: filing supplemental covington declaration under seal
         1368.002   03/10/2023 HWR              0.10       47.50   Email w/ AD re: filing redacted covington supplemental declaration
         1368.002   03/10/2023 HWR              0.20       95.00   Review and redact covington supplemental declaration
         1368.002   03/10/2023 HWR              0.10       47.50   Confer w/ MRP re: revising and finalizing Covington Motion to Seal, notice, and
                                                                   supplemental declaration
         1368.002    03/10/2023   HWR           0.10       47.50   Email w/ Covington re: filed Motion to Seal, Unredacted/Redacted supplemental
                                                                   declaration
         1368.002    03/10/2023   HWR           0.30      142.50   Review local rules re: notice parties for Covington Motion to Seal
         1368.002    03/10/2023   HWR           0.20       95.00   Emails w/ MRP and J. Petiford re: notice parties for Covington Motion to Seal
         1368.002    03/10/2023   HWR           0.10       47.50   Email w/ ARIFA re: invoicing question
         1368.002    03/10/2023   HWR           0.10       47.50   Emails w/ S&C team re: RLKS January staffing report
         1368.002    03/10/2023   HWR           0.10       47.50   Emails w/ S&C team re: EY first monthly fee statement
         1368.002    03/10/2023   HWR           0.20       95.00   Review finalized EY fee statement for filing
         1368.002    03/10/2023   HWR           0.10       47.50   Email w/ MR and MRP re: finalizing and filing EY monthly fee statement
         1368.002    03/10/2023   HWR           0.10       47.50   Emails w/ MRP and MR re: finalizing and filing RLKS January monthly staffing report
         1368.002    03/10/2023   HWR           0.20       95.00   Review finalized RLKS January staffing report for filing
         1368.002    03/10/2023    KAB          0.20      164.00   emails with S&C and LRC teams re: RLKS January staffing and comp report
         1368.002    03/10/2023    KAB          0.20      164.00   emails with S&C, LRC and E&Y re: E&Y fee app
         1368.002    03/10/2023    KAB          0.10       82.00   email with UST, UCC and LRC teams re: sealed Covington OCP supplemental Dec
         1368.002    03/10/2023   MRP           0.20      125.00   emails w/ S&C, LRC and Arifa re: OCP retention and invoicing issues
         1368.002    03/10/2023   HWR           0.10       47.50   Email w/ MRP re: research for sealing motion
         1368.002    03/10/2023   HWR           0.30      142.50   Emails w. MRP and MR re: finalizing and filing RLKS comp report
         1368.002    03/10/2023   MRP           0.30      187.50   Emails w/ HWR and MR re: finalizing and filing RLKS report
         1368.002    03/10/2023   MRP           0.20      125.00   Emails w/ LRC team re: motion to seal Arlo Devlin Brown OCP and redacted version of
                                                                   same
         1368.002    03/10/2023   HWR           0.10       47.50   Emails w/ LRC team re: motion to seal Arlo Devlin Brown OCP dec and redacted
                                                                   version of same
         1368.002    03/10/2023   MRP           0.40      250.00   Emails w/ HWR re: revising Covington Motion to Seal
         1368.002    03/10/2023   ACD           0.20       62.00   Confer and call with H. Robertson re: notice for motion to seal Covington dec
         1368.002    03/10/2023   ACD           0.20       62.00   Emails with M. Pierce and H. Robertson re: finalize and file motion to seal Covington
                                                                   dec
         1368.002    03/10/2023   MRP           0.20      125.00   Emails w/ HWR and AD re: finalizing and filing Covington Motion to Seal
         1368.002    03/10/2023   MRP           0.10       62.50   Confer w/ HWR re: revising and finalizing Covington Motion to Seal, notice, and
                                                                   supplemental declaration
         1368.002    03/10/2023   MRP           0.20      125.00   Emails w/ HWR and J. Petiford re: notice parties for Covington Motion to Seal
         1368.002    03/10/2023   MRP           0.20      125.00   emails w/ S&C and LRC teams re: RLKS January staffing and comp report
         1368.002    03/10/2023   HWR           0.20       95.00   emails w/ S&C and LRC teams re: RLKS January staffing and comp report
         1368.002    03/10/2023   MRP           0.20      125.00   emails with S&C, LRC and E&Y re: E&Y fee app
         1368.002    03/10/2023   HWR           0.20       95.00   emails with S&C, LRC and E&Y re: E&Y fee app
         1368.002    03/10/2023   MRP           0.10       62.50   email w/ UST, UCC and LRC teams re: sealed Covington OCP supplemental Dec
         1368.002    03/10/2023   HWR           0.10       47.50   email w/ UST, UCC and LRC teams re: sealed Covington OCP supplemental Dec
         1368.002    03/10/2023   MRP           0.30      187.50   Review filing version of covington motion to seal
         1368.002    03/11/2023   HWR           0.10       47.50   Email w/ Covington re: invoicing instructions
         1368.002    03/11/2023    KAB          0.10       82.00   email with S&C, Covington and LRC teams re: OCP retention and invoicing
         1368.002    03/11/2023   MRP           0.10       62.50   email w/ S&C, Covington and LRC teams re: OCP retention and invoicing
         1368.002    03/13/2023   MRP           0.10       62.50   Email w/ Bowman's re: OCP invoicing
         1368.002    03/13/2023    KAB          0.10       82.00   emails with S&C and M. Pierce re: RLKS fee app issue
         1368.002    03/13/2023    KAB          0.10       82.00   emails with S&C, B. Tibane and LRC teams re: Bowman OCP invoicing
         1368.002    03/13/2023    KAB          0.10       82.00   email with J. Yap, S&C and LRC teams re: Arifa OCP invoicing
         1368.002    03/13/2023   MRP           0.10       62.50   emails w/ S&C and KAB re: RLKS fee app issue
         1368.002    03/13/2023   MRP           0.10       62.50   emails w/ S&C, B. Tibane and LRC teams re: Bowman OCP invoicing
         1368.002    03/13/2023   HWR           0.10       47.50   emails w/ S&C, B. Tibane and LRC teams re: Bowman OCP invoicing
         1368.002    03/13/2023   MRP           0.10       62.50   email w/ J. Yap, S&C and LRC teams re: Arifa OCP invoicing
         1368.002    03/13/2023   HWR           0.10       47.50   email w/ J. Yap, S&C and LRC teams re: Arifa OCP invoicing
         1368.002    03/13/2023   MRP           0.10       62.50   Email w/ S&C re: correcting summary chart to RLKS fee app
         1368.002    03/14/2023    KAB          0.10       82.00   confer with M. Pierce re: foreign OCP supplemental decs
         1368.002    03/14/2023     MR          0.70      217.00   confer with HWR re: drafting notice of corrected summary chart for RLKS report (.1);
                                                                   draft same (.5); email with HWR re: same (.1)
         1368.002    03/14/2023    MR           0.10       31.00   email with MRP and HWR re: PWPs fee statement
         1368.002    03/14/2023   KAB           0.10       82.00   email with S&C and M. Pierce re: foreign OCP issue
         1368.002    03/14/2023   KAB           0.20      164.00   emails with S&C and M. Pierce re: interim fee apps
         1368.002    03/14/2023   MRP           0.10       62.50   Email w/ RLKS re: corrected summary chart to January fee statement
         1368.002    03/14/2023   MRP           0.10       62.50   Review corrected RLKS fee statement summary chart
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         1368.002   03/14/2023   MRP          0.10         62.50 Email w/ RLKS re: notice of filing corrected summary chart to January fee statement
         1368.002   03/14/2023   MRP          0.10         62.50 Email w/ HWR re: finalizing and filing RLKS notice of corrected filing
         1368.002   03/14/2023    MR          0.40        124.00 email with HWR re: finalizing notice of corrected summary sheet for RLKS report (.1);
                                                                 email with MRP re: same (.1); file same (.1); email with HWR re: as-filed copy (.1)
         1368.002    03/14/2023   ACD         1.10        341.00 Emails with H. Robertson re: cno's for PWP's 1st and 2nd monthly fee statements
                                                                 (0.1); draft same (0.5); finalize and e-file same (0.5)
         1368.002    03/14/2023   HWR         0.10         47.50 Email w/ fee examiner
         1368.002    03/14/2023   HWR         0.20         95.00 Email w/ MRP re: drafting notice of corrected RLKS staffing/compensation report
         1368.002    03/14/2023   HWR         0.20         95.00 Confer and email w/ MR re: drafting notice of corrected RLKS staffing/compensation
                                                                 report
         1368.002    03/14/2023   HWR         0.20         95.00 Review draft notice of corrected RLKS staffing/compensation report
         1368.002    03/14/2023   HWR         0.20         95.00 finalize notice of corrected RLKS staffing/compensation report for filing
         1368.002    03/14/2023   HWR         0.10         47.50 Email w/ Kroll re: service of corrected RLKS staffing/compensation report
         1368.002    03/14/2023   HWR         0.10         47.50 emails w/ RLKS re: corrected RLKS staffing/compensation report
         1368.002    03/14/2023   HWR         0.10         47.50 Email w/ Bowmans re: final invoice
         1368.002    03/14/2023   HWR         0.10         47.50 Emails w/ MRP re: Certificates of No Objection for PWP first and second fee
                                                                 statements
         1368.002    03/14/2023   HWR         0.20         95.00 Emails w/ S&C team re: Certificates of No Objection for PWP first and second fee
                                                                 statements
         1368.002    03/14/2023   HWR         0.10         47.50 Email w/ MR and AD re: drafting Certificates of No Objection for PWP first and second
                                                                 fee statements
         1368.002    03/14/2023   HWR         0.20         95.00 Review/revise draft Certificates of No Objection for PWP first and second fee
                                                                 statements
         1368.002    03/14/2023   HWR         0.10         47.50 Email w/ AD re: finalizing and filing Certificates of No Objection for PWP first and
                                                                 second fee statements
         1368.002    03/14/2023   MRP         0.10         62.50 confer w/ KAB re: foreign OCP supplemental decs
         1368.002    03/14/2023   MRP         0.10         62.50 email w/ HWR and MR re: PWPs fee statement
         1368.002    03/14/2023   HWR         0.10         47.50 email w/ MRP and MR re: PWP fee statement
         1368.002    03/14/2023   MRP         0.10         62.50 email w/ S&C and KAB re: foreign OCP issue
         1368.002    03/14/2023   MRP         0.20        125.00 emails w/ S&C and KAB re: interim fee apps
         1368.002    03/14/2023   MRP         0.10         62.50 email w/ MR re: finalizing notice of corrected summary sheet for RLKS report
         1368.002    03/14/2023   MRP         0.20        125.00 Email w/ HWR re: drafting notice of corrected RLKS staffing/compensation report
         1368.002    03/14/2023   MRP         0.10         62.50 Emails w/ HWR re: Certificates of No Objection for PWP first and second fee
                                                                 statements
         1368.002    03/15/2023   MRP         0.10         62.50 Email w/ Porter Hedges re: PWP interim fee app
         1368.002    03/15/2023   MRP         0.10         62.50 Email w/ KAB and HWR re: PWP interim fee app question and related research
         1368.002    03/15/2023    KAB        0.10         82.00 emails with Porter Hedges, S&C and LRC teams re: interim fee apps
         1368.002    03/15/2023    KAB        0.30        246.00 emails with S&C and M. Pierce re: interim fee apps, staffing and budget plans
         1368.002    03/15/2023   HWR         0.10         47.50 Email w/ Bowmans re: invoice
         1368.002    03/15/2023   HWR         0.20         95.00 Confer w/ MRP re PWP interim fee app research
         1368.002    03/15/2023   HWR         0.70        332.50 Research re: PWP interim fee app
         1368.002    03/15/2023   HWR         0.10         47.50 Email w/ KAB and MRP re: PWP interim fee app question and related research
         1368.002    03/15/2023    KAB        0.10         82.00 Email with M. Pierce and H. Robertson re: PWP interim fee app question and related
                                                                 research
         1368.002    03/15/2023   MRP         0.10         62.50 emails w/ Porter Hedges, S&C and LRC teams re: interim fee apps
         1368.002    03/15/2023   MRP         0.20        125.00 Confer w/ HWR re PWP interim fee app research
         1368.002    03/16/2023   KAB         0.10         82.00 emails with S&C and M. Pierce re: PWP interim fee app
         1368.002    03/16/2023   MRP         0.30        187.50 Review draft of PWP interim fee app
         1368.002    03/16/2023   KAB         0.10         82.00 emails with Porter Hedges, S&C and M. Pierce re: PWP interim fee app and comments
                                                                 thereto
         1368.002    03/16/2023   KAB         0.10         82.00 email Kroll, Fee Examiner and M. Pierce re: establishment of sub-account for fee
                                                                 examiner
         1368.002    03/16/2023   KAB         0.10         82.00 emails with QE, S&C and LRC teams re: QE first interim fee app
         1368.002    03/16/2023   MRP         0.10         62.50 emails w/ S&C and KAB re: PWP interim fee app
         1368.002    03/16/2023   MRP         0.10         62.50 emails w/ Porter Hedges, S&C and KAB re: PWP interim fee app and comments
                                                                 thereto
         1368.002    03/16/2023   MRP         0.10         62.50 email w/ Kroll, Fee Examiner and KAB re: establishment of sub-account for fee
                                                                 examiner
         1368.002    03/16/2023   MRP         0.10         62.50 emails with QE, S&C and LRC teams re: QE first interim fee app
         1368.002    03/16/2023   MRP         0.80        500.00 Review UCC professionals' fee applications and supplements thereto
         1368.002    03/17/2023   KAB         0.10         82.00 email with M. Pierce re: 1st interim fee apps
         1368.002    03/17/2023   KAB         0.10         82.00 emails with S&C, Porter Hedges and M. Pierce re: PWP's 1st interim fee app
         1368.002    03/17/2023    MR         0.40        124.00 email with MRP and HWR re: finalizing PWP's interim fee app for filing (.2); finalize
                                                                 same for filing (.2)
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         1368.002   03/17/2023    MR          0.50        155.00 email with MRP and HWR re: finalizing A&M's interim fee app for filing (.2); finalize
                                                                 same for filing (.3)
         1368.002    03/17/2023    MR         0.40        124.00 email with MRP and HWR re: finalizing AlixPartners' interim fee app for filing (.2);
                                                                 finalize same for filing (.2)
         1368.002    03/17/2023    MR         0.30         93.00 revise Alix app for filing (.2); confer with HWR re: same (.1)
         1368.002    03/17/2023    MR         0.30         93.00 revise PWP app for filing (.1); call with HWR re: same (.1); email with HWR re: same (.1)
         1368.002    03/17/2023    MR         0.40        124.00 email with MRP and HWR re: finalizing S&C's interim fee app for filing (.2); finalize
                                                                 same for filing (.2)
         1368.002    03/17/2023    MR         0.60        186.00 review docket re: various fee applications filed by the professionals of the Official
                                                                 Committee of Unsecured Creditors (.3); email with LRC team re: same (.1); update
                                                                 critical dates re: same (.2)
         1368.002    03/17/2023    MR         0.50        155.00 email with MRP and HWR re: finalizing Q&E's interim fee app for filing (.2); finalize
                                                                 same for filing (.3)
         1368.002    03/17/2023    KAB        0.20        164.00 emails with QE and LRC teams re: interim fee app
         1368.002    03/17/2023    KAB        0.10         82.00 email with S&C, LRC and UST re: foreign OCPs
         1368.002    03/17/2023    KAB        0.10         82.00 emails with S&C, E&Y and LRC teams re: E&Y fee apps
         1368.002    03/17/2023    KAB        0.10         82.00 emails with Lenz & Staehlin, S&C and LRC teams re: OCP retention
         1368.002    03/17/2023    KAB        0.10         82.00 emails with S&C and LRC teams re: Alix Partners fee app
         1368.002    03/17/2023    KAB        0.10         82.00 emails with S&C and M. Pierce re: S&C interim fee app
         1368.002    03/17/2023    KAB        0.10         82.00 emails with A&M, LRC and S&C teams re: A&M interim fee app
         1368.002    03/17/2023   HWR         0.30        142.50 Emails w/ Quinn Emanuel re QE first interim fee app
         1368.002    03/17/2023   HWR         0.20         95.00 Review QE first interim fee app for filing
         1368.002    03/17/2023   HWR         0.10         47.50 Emails w/ MR and MRP re finalizing and filing QE first interim fee app
         1368.002    03/17/2023   HWR         0.20         95.00 Review S&C first interim fee app for filing
         1368.002    03/17/2023   HWR         0.10         47.50 Email w/ MRP and MR re finalizing and filing S&C first interim fee app
         1368.002    03/17/2023   HWR         0.20         95.00 Review A&M first interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 Email w/ MR re: revising A&M first interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 Additional review of A&M first interim fee app for filing
         1368.002    03/17/2023   HWR         0.10         47.50 Emails w/ MRP and MR re finalizing and filing A&M first interim fee app
         1368.002    03/17/2023   HWR         0.20         95.00 Review AlixPartners first interim fee app
         1368.002    03/17/2023   HWR         0.20         95.00 Confer w/ MR re: revising AlixPartners first interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 Emails w/ MRP and MR re: revising notice to AlixPartners first interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 Emails w/ MRP and MR re: finalizing and filing AlixPartners first interim fee app
         1368.002    03/17/2023   HWR         0.20         95.00 Review PWP first interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 Emails w/ MRP and MR re: finalizing and filing PWP first interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 Email w/ Lenz Staehelin re: OCP retentions
         1368.002    03/17/2023   MRP         0.10         62.50 email w/ KAB re: 1st interim fee apps
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ S&C, Porter Hedges and KAB re: PWP's 1st interim fee app
         1368.002    03/17/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing PWP's interim fee app for filing
         1368.002    03/17/2023   MRP         0.20        125.00 emails w/ HWR and MR re: finalizing A&M's interim fee app for filing
         1368.002    03/17/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing AlixPartners' interim fee app for filing
         1368.002    03/17/2023   HWR         0.20         95.00 call and email w/ MR re: revised PWP app
         1368.002    03/17/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing S&C's interim fee app for filing
         1368.002    03/17/2023   MRP         0.20        125.00 email w/ HWR and MR re: finalizing Q&E's interim fee app for filing
         1368.002    03/17/2023   MRP         0.20        125.00 emails w/ QE and LRC teams re: interim fee app
         1368.002    03/17/2023   MRP         0.10         62.50 email w/ S&C, LRC and UST re: foreign OCPs
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ S&C, E&Y and LRC teams re: E&Y fee apps
         1368.002    03/17/2023   HWR         0.10         47.50 emails w/ S&C, E&Y and LRC teams re: E&Y fee apps
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ Lenz & Staehlin, S&C and LRC teams re: OCP retention
         1368.002    03/17/2023   HWR         0.10         47.50 emails w/ Lenz & Staehlin, S&C and LRC teams re: OCP retention
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ S&C and LRC teams re: Alix Partners fee app
         1368.002    03/17/2023   HWR         0.10         47.50 emails w/ S&C and LRC teams re: Alix Partners fee app
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ S&C and KAB re: S&C interim fee app
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ A&M, LRC and S&C teams re: A&M interim fee app
         1368.002    03/17/2023   HWR         0.10         47.50 emails w/ A&M, LRC and S&C teams re: A&M interim fee app
         1368.002    03/17/2023   MRP         0.10         62.50 emails w/ Harneys, S&C and LRC re: supplemental OCP dec
         1368.002    03/17/2023   MRP         0.30        187.50 Review filing version of AlixPartners interim fee app
         1368.002    03/17/2023   MRP         0.50        312.50 Review S&C first interim fee app
         1368.002    03/17/2023   MRP         0.30        187.50 Review Quinn first interim fee app
         1368.002    03/20/2023    NEJ        1.10        577.50 Emails w. MRP and HWR re: OCP retention of auditor (.1); Call w. MRP re: same (.1);
                                                                 Research re: same (.9)
         1368.002    03/20/2023   KAB         0.10         82.00 emails with Harneys, S&C and LRC re: supplemental OCP dec
         1368.002    03/20/2023   KAB         0.10         82.00 emails with Schurti, S&C and LRC re: supplemental OCP dec
         1368.002    03/20/2023   KAB         0.10         82.00 emails with Lenz Staehelin, S&C and LRC teams re: supplemental OCP dec
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         1368.002   03/20/2023   KAB            0.10       82.00   emails with Walkers, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/20/2023   KAB            0.10       82.00   email with Fee Examiner and LRC teams re: certain LEDES files
         1368.002   03/20/2023 HWR              0.10       47.50   Email w/ Walkers re: supplemental OCP Declaration
         1368.002   03/20/2023 HWR              0.10       47.50   Email w/ Lenz Staehelin re: supplemental OCP Declaration
         1368.002   03/20/2023 HWR              0.10       47.50   Email w/ Schurti re: supplemental OCP Declaration
         1368.002   03/20/2023 HWR              0.10       47.50   Email w/ Harney's re: supplemental OCP Declaration
         1368.002   03/20/2023     JH           0.20       40.00   Email w/ MR re: filing Notice of Second Amended OCP List (.1); File same (.1)
         1368.002   03/20/2023   MRP            0.20      125.00   Emails w/ NEJ and HWR re: OCP retention of auditor (.1); Call w. NEJ re: same (.1)
         1368.002   03/20/2023 HWR              0.10       47.50   Emails w/ MRP and NEJ re: OCP retention of auditor
         1368.002   03/20/2023   MRP            0.10       62.50   emails w/ Schurti, S&C and LRC re: supplemental OCP dec
         1368.002   03/20/2023   MRP            0.10       62.50   emails w/ Lenz Staehelin, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/20/2023   MRP            0.10       62.50   emails w/ Walkers, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/20/2023   MRP            0.10       62.50   email w/ Fee Examiner and LRC teams re: certain LEDES files
         1368.002   03/20/2023 HWR              0.10       47.50   email w/ Fee Examiner and LRC teams re: certain LEDES files
         1368.002   03/20/2023    MR            0.10       31.00   Email with J. Huynh re: filing Notice of Second Amended OCP List
         1368.002   03/20/2023   MRP            0.20      125.00   Review and revise PHV for fee examiner counsel
         1368.002   03/21/2023   KAB            0.10       82.00   emails with Schurti, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/21/2023   KAB            0.10       82.00   confer with M. Pierce re: status of Ledes request
         1368.002   03/21/2023   MRP            0.30      187.50   Emails w/ KAB re: auditor retention research
         1368.002   03/21/2023 HWR              0.30      142.50   Emails w/ Schurti Partners re: Supplemental Declaration
         1368.002   03/21/2023 HWR              0.10       47.50   Email w/ Fee Examiner re: Quinn Emanuel LEDES files
         1368.002   03/21/2023 HWR              0.20       95.00   Emails w/ Quinn Emanuel re: resubmitting January LEDES file
         1368.002   03/21/2023 HWR              0.10       47.50   Email w/ Harneys re: supplemental declaration
         1368.002   03/21/2023   MRP            0.10       62.50   emails with Schurti, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/21/2023   MRP            0.10       62.50   confer w/ KAB re: status of Ledes request
         1368.002   03/21/2023   KAB            0.10       82.00   Emails with M. Pierce re: auditor retention research
         1368.002   03/21/2023   MRP            0.60      375.00   Analyze research re: auditor OCP retention
         1368.002   03/21/2023   MRP            0.10       62.50   Review supplemental FTI retention declaration
         1368.002   03/22/2023   MRP            0.10       62.50   Email w/ J. Petiford re: translated laws for supplemental foreign OCP declarations
         1368.002   03/22/2023   KAB            0.20      164.00   emails with Lenz Staehlin, S&C and LRC teams re: supplemental OCP dec and related
                                                                   issues
         1368.002    03/22/2023   KAB           0.10       82.00   email with HWR re: Quinn interim fee app issues
         1368.002    03/22/2023   KAB           0.20      164.00   review email from UST re: covington motion to seal (.1); email with S&C and M. Pierce
                                                                   re: same (.1)
         1368.002    03/22/2023    MR           0.10       31.00   review docket re: Supplemental Declaration of FTI Consulting, Inc. in Connection With
                                                                   the Employment of FTI Consulting
         1368.002    03/22/2023   HWR           0.20       95.00   Email w/ Lenz Staehelin re: supplemental declaration
         1368.002    03/22/2023   HWR           0.10       47.50   Email w/ KAB re: Quinn Emanuel LEDES files
         1368.002    03/22/2023   HWR           0.10       47.50   Email w/ Fee Examiner re: Quinn Emanuel LEDES files
         1368.002    03/22/2023   HWR           0.10       47.50   Email w/ M. Cilia and ARIFA re: invoicing issues
         1368.002    03/22/2023   MRP           0.10       62.50   emails w/ Lenz Staehlin, S&C and LRC teams re: supplemental OCP dec and related
                                                                   issues
         1368.002    03/22/2023   MRP           0.10       62.50   Email w/ S&C and M. Pierce re: UST comments on Covington motion to seal
         1368.002    03/23/2023   KAB           0.10       82.00   emails with Lenz & Staehelin, S&C and LRC teams re: OCP supplemental dec and
                                                                   transcription issues
         1368.002    03/23/2023   KAB           0.10       82.00   emails with Arifa, S&C and LRC teams re: OCP issue
         1368.002    03/23/2023   MRP           0.30      187.50   Email w/ E. Muller re: supplement foreign OCP declaration (.1); review Swiss law
                                                                   translation attachment (.2)
         1368.002    03/23/2023   MRP           0.10       62.50   Email w/ Y. Valdes re: payment of Arifa invoices
         1368.002    03/23/2023    KAB          0.10       82.00   email with S&C and M. Pierce re: February fee apps
         1368.002    03/23/2023    KAB          0.10       82.00   emails with Schurti, LRC and S&C teams re: supplemental OCP dec and translations
         1368.002    03/23/2023   MRP           0.10       62.50   Review FTI notice of rate increases
         1368.002    03/23/2023   HWR           0.10       47.50   Email w/ Lenz Staehelin re: supplemental declaration
         1368.002    03/23/2023   HWR           0.20       95.00   Emails w/ Link Partners re: invoicing instructions
         1368.002    03/23/2023   HWR           0.10       47.50   Email w/ ARIFA re: invoicing issues
         1368.002    03/23/2023   HWR           0.10       47.50   Email w/ Schurti re: supplemental declaration
         1368.002    03/23/2023   HWR           0.10       47.50   Review UST comments to Motion to Seal Covington Supplemental Declaration
         1368.002    03/23/2023   HWR           0.10       47.50   Confer w/ MRP re: UST comments to Motion to Seal supplemental Covington
                                                                   Declaration
         1368.002    03/23/2023   HWR           0.10       47.50   Emails w/ KAB, MRP and S&C re: UST comments to motion to seal supplemental
                                                                   Covington declaration
         1368.002    03/23/2023   KAB           0.10       82.00   emails with QE and LRC team re: Abrams OCP
         1368.002    03/23/2023   KAB           0.10       82.00   emails with S&C, LRC and Lenz Stahlin re: OCP supplemental dec
         1368.002    03/23/2023   KAB           0.10       82.00   emails with Covington, LRC and S&C re: motion to seal ocp dec
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            Client         Date   Tkpr       to Bill     Amount
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         1368.002   03/23/2023   KAB          0.10         82.00 emails with S&C and M. Pierce re: feb fee apps
         1368.002   03/23/2023   KAB          1.70      1,394.00 review and analyze Committee fee apps for Jefferies (.6), PH (.5), YCST (.3), FTI (.3),
         1368.002   03/23/2023   MRP          0.10         62.50 emails w/ Lenz & Staehelin, S&C and LRC teams re: OCP supplemental dec and
                                                                 transcription issues
         1368.002    03/23/2023   MRP         0.10         62.50 emails w/ Arifa, S&C and LRC teams re: OCP issue
         1368.002    03/23/2023   MRP         0.10         62.50 email w/ S&C and KAB re: February fee apps
         1368.002    03/23/2023   MRP         0.10         62.50 Emails w/ Schurti, LRC and S&C teams re: supplemental OCP dec and translations
         1368.002    03/23/2023   MRP         0.10         62.50 Confer w/ HWR re: UST comments to Motion to Seal supplemental Covington
                                                                 Declaration
         1368.002    03/23/2023   MRP         0.10         62.50 Emails w/ KAB, HWR and S&C re: UST comments to motion to seal supplemental
                                                                 Covington declaration
         1368.002    03/23/2023   MRP         0.10         62.50 Emails w/ QE and LRC team re: Abrams OCP dec
         1368.002    03/23/2023   HWR         0.10         47.50 Emails w/ QE and LRC team re: Abrams OCP dec
         1368.002    03/23/2023   MRP         0.10         62.50 Emails w/ S&C and KAB re: feb fee apps
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ LRC team re: redacted PII exhibit for OCP declarations
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ Quinn re: retention of Abrams & Bayliss as OCP
         1368.002    03/24/2023   MRP         0.20        125.00 Review draft of Abrams & Bayliss OCP declaration
         1368.002    03/24/2023   MRP         0.20        125.00 Email w/ Quinn, LRC and S&C teams re: adding Abrams & Bayliss as OCP
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ J. Petiford and KAB re: call to discuss OCP issues
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ UST re: request for extension on Covington sealing motion
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ S&C and Covington re: UST comments to sealing motion
         1368.002    03/24/2023    MR         0.10         31.00 email with MRP and HWR re: redacted PII for OCP declarations
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ S&C re: revising Covington sealing order based on UST comments
         1368.002    03/24/2023   MRP         0.10         62.50 Confer w/ HWR re: revisions to Covington sealing order and drafting Certification of
                                                                 Counsel
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ E. Mueller re: supplemental foreign OCP dec for Lenz & Staehelin
         1368.002    03/24/2023   MRP         0.10         62.50 Review updated draft of Lenz & Staehelin supplemental foreign OCP dec
         1368.002    03/24/2023    MR         0.60        186.00 email with MRP and HWR re: finalizing RLKS staffing report (.2); finalize same and
                                                                 exhibits (.4)
         1368.002    03/24/2023   AGL         0.20        230.00 communications with ust and s&c team re: ocp disclosures, declarations
         1368.002    03/24/2023   MRP         2.80      1,750.00 Numerous emails re: additional OCP related filings (1.2); analyze and revise OCP order
                                                                 re: additional OCP retentions (.9); confer w/ KAB re: the same (.4); email w/ S&C re:
                                                                 Abrams & Bayliss retention (.3)
         1368.002    03/24/2023   HWR         0.20         95.00 Emails w/ MRP re: Abrams & Bayliss OCP declaration
         1368.002    03/24/2023   HWR         0.10         47.50 Review Abrams & Bayliss OCP declaration
         1368.002    03/24/2023   HWR         0.20         95.00 Emails w/ Quinn Emanuel re: Abrams & Bayliss OCP declaration
         1368.002    03/24/2023   HWR         0.10         47.50 Email w/ MRP re: revising order and drafting Certification of Counsel for order sealing
                                                                 supplemental Covington declaration
         1368.002    03/24/2023   HWR         0.10         47.50 Revise order to seal supplemental Covington declaration
         1368.002    03/24/2023   HWR         0.30        142.50 Draft/revise Certification of Counsel for motion to seal supplemental covington
                                                                 declaration
         1368.002    03/24/2023   HWR         0.10         47.50 Email w/ J. Petiford re: Certification of Counsel re: motion to seal supplemental
                                                                 covington declaration
         1368.002    03/24/2023   HWR         0.10         47.50 Email w/ Lenz Staehelin re: supplemental declaration
         1368.002    03/24/2023   HWR         0.10         47.50 Emails w/ S&C team re: RLKS February staffing/comp report
         1368.002    03/24/2023   HWR         0.20         95.00 Emails w/ LRC team re: RLKS Feb staffing/comp report
         1368.002    03/24/2023   HWR         0.10         47.50 Review RLKS feb staffing/comp report for filing
         1368.002    03/24/2023   HWR         0.10         47.50 Confer w/ MRP re: additional revisions to Certification of Counsel for motion to seal
                                                                 supplemental covington declaration
         1368.002    03/24/2023   HWR         0.20         95.00 Additional emails w/ J. Petiford re: Certification of Counsel for motion to seal
                                                                 supplemental covington declaration
         1368.002    03/24/2023    KAB        0.20        164.00 Email with QE, LRC and J. Petiford re: OCP list amendment and dec for Abrams
         1368.002    03/24/2023    KAB        0.10         82.00 Email with J. Petiford and M. Pierce re: OCP issues and call on same
         1368.002    03/24/2023    KAB        0.20        164.00 Emails with UST, S&C and LRC teams re: order to seal Covington supplement OCP dec
         1368.002    03/24/2023    KAB        0.20        164.00 Emails with S&C, Covington and LRC teams re: order on motion to seal
         1368.002    03/24/2023    KAB        0.40        328.00 Call with M. Pierce and J. Petiford re: OCP issue
         1368.002    03/24/2023    KAB        0.20        164.00 Call with M. Pierce re: research on auditors
         1368.002    03/24/2023   HWR         0.10         47.50 Email w/ LRC team re: redacted PII exhibit for OCP declarations
         1368.002    03/24/2023   MRP         0.20        125.00 Emails w/ HWR re: Abrams & Bayliss OCP declaration
         1368.002    03/24/2023   MRP         0.10         62.50 Email w/ HWR re: revising order and drafting Certification of Counsel for order sealing
                                                                 supplemental Covington declaration
         1368.002    03/24/2023   MRP         0.20        125.00 Emails w/ LRC team re: RLKS Feb staffing/comp report
         1368.002    03/24/2023   MRP         0.10         62.50 Confer w/ HWR re: additional revisions to Certification of Counsel for motion to seal
                                                                 supplemental covington declaration
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            Client         Date   Tkpr      to Bill      Amount
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         1368.002   03/24/2023   MRP            0.10       62.50   Emails w/ UST, S&C and LRC teams re: order to seal Covington supplement OCP dec
         1368.002   03/24/2023   MRP            0.20      125.00   Emails w/ S&C, Covington and LRC teams re: order on motion to seal
         1368.002   03/24/2023   MRP            0.40      250.00   Call w/ KAB and J. Petiford re: OCP issue
         1368.002   03/24/2023   MRP            0.20      125.00   Call w/ KAB re: research on auditors
         1368.002   03/24/2023 HWR              0.10       47.50   email w/ LRC team re: upcoming filings related to fee statements, SBF lift stay motion
                                                                   and turnover actions
         1368.002    03/24/2023   MRP           0.20      125.00   Review RLKS staffing report
         1368.002    03/27/2023   KAB           0.10       82.00   review email from E. Kapur re: OCP dec for Abrams & Bayliss
         1368.002    03/27/2023   MRP           0.10       62.50   Email w/ Quinn re: Abrams and Bayliss retention
         1368.002    03/27/2023   MRP           0.10       62.50   Email w/ Quinn re: sealing of Abrams & Bayliss OCP declaration
         1368.002    03/27/2023   KAB           0.30      246.00   emails with QE, S&C, and LRC teams re: Abrams Bayliss OCP dec and related issues
         1368.002    03/27/2023   KAB           0.10       82.00   emails with J. Petiford and M. Pierce re: amended OCP list and related issues
         1368.002    03/27/2023   KAB           0.50      410.00   discussion with M. Pierce re: 327/OCP retention research (.2); review and analyze
                                                                   caselaw re: same (.3)
         1368.002    03/27/2023   MRP           0.20      125.00   Email w/ S. Sheridan re: supplemental Walkers OCP declaration (.1); review draft of the
                                                                   same (.1)
         1368.002    03/27/2023   MRP           0.10       62.50   Email w/ S&C re: CNOs for January fee apps
         1368.002    03/27/2023    MR           0.60      186.00   email with HWR and MRP re: Certification of Counsel re: motion to seal covington
                                                                   supplement declaration (.2); finalize and file same (.3); update and upload order re:
                                                                   same (.1)
         1368.002    03/27/2023   HWR           0.20       95.00   Emails w/ QE re: Abrams & Bayliss OCP Declaration
         1368.002    03/27/2023   HWR           0.10       47.50   Review final Abrams & Bayliss OCP Declaration
         1368.002    03/27/2023   HWR           0.10       47.50   Emails w/ KAB, MRP and S&C re: Abrams & Bayliss OCP Declaration
         1368.002    03/27/2023   HWR           0.10       47.50   Emails w/ Walkers re: supplemental OCP Declaration
         1368.002    03/27/2023   HWR           0.10       47.50   Emails w/ S&C re: drafting Certificates of No Objection for fee statements filed on 3/6
         1368.002    03/27/2023   HWR           0.10       47.50   Emails w/ J. Petiford re: COC for Motion to Seal Covington Supplemental Declaration
         1368.002    03/27/2023   HWR           0.20       95.00   Emails w/ MRP and MR re: finalizing and filing COC for Motion to Seal Covington
                                                                   Supplemental Declaration
         1368.002    03/27/2023   HWR           0.20       95.00   Review finalized COC for Motion to Seal Covington Supplemental Declaration for
                                                                   filing
         1368.002    03/27/2023   MRP           0.10       62.50   emails w/ J. Petiford and KAB re: amended OCP list and related issues
         1368.002    03/27/2023   MRP           0.20      125.00   Confer w/ KAB re: 327/OCP retention research
         1368.002    03/27/2023   MRP           0.30      187.50   Email w/ KAB re: LRC February fee statement
         1368.002    03/27/2023   MRP           0.10       62.50   Emails w/ KAB, HWR and S&C re: Abrams & Bayliss OCP Declaration
         1368.002    03/27/2023   KAB           0.10       82.00   Emails with M. Pierce, H. Robertson and S&C re: Abrams & Bayliss OCP Declaration
         1368.002    03/27/2023   MRP           0.20      125.00   Emails w/ HWR and MR re: finalizing and filing COC for Motion to Seal Covington
                                                                   Supplemental Declaration
         1368.002    03/28/2023   KAB           0.20      164.00   email with S&C and M. Pierce re: upcoming filings related to fee statements, SBF lift
                                                                   stay motion and turnover actions (.1); email with LRC team re: same (.1)
         1368.002    03/28/2023   KAB           0.10       82.00   email with S&C and M. Pierce re: OCP open issues
         1368.002    03/28/2023   MRP           0.30      187.50   Discussion w/ AGL and KAB re: research on OCP questions
         1368.002    03/28/2023   KAB           0.20      164.00   emails with S&C and LRC teams re: Certificates of No Objection for various debtor
                                                                   professionals
         1368.002    03/28/2023   KAB           0.40      328.00   review and revise summary of findings on retention issues (.3); email with M. Pierce re:
                                                                   same (.1)
         1368.002    03/28/2023   MR            1.40      434.00   email with HWR re: drafting CNOs re: Debtor professionals fee apps (.1); draft same
                                                                   for A&M 3rd monthly app (.2); Q&E 2nd app (.2); PWP 3rd app (.2); LRC 2nd app (.2);
                                                                   Alixpartners 2nd app (.2); S&C 3rd app (.2); email with HWR re: review of same (.1)
         1368.002    03/28/2023   MR            1.20      372.00   email with HWR re: finalizing A&M 3rd monthly app, LRC 2nd app and S&C 3rd app
                                                                   for filing (.1); finalize for filing LRC (.3), A&M (.3), S&C (.3); email with MRP and HWR
                                                                   re: same (.1); confer with ACD re: filing same (.1)
         1368.002    03/28/2023   MR            0.60      186.00   emails with HWR re: finalizing PWP 3rd app (.1) finalize same for filing (.2); email with
                                                                   HWR and MRP re: same (.1); file same (.1); email as-filed copy of same with MRP and
                                                                   HWR (.1)
         1368.002    03/28/2023   MR            0.60      186.00   emails with HWR re: finalizing AlixPartners 2nd app (.1) finalize same for filing (.2);
                                                                   email with HWR and MRP re: same (.1); file same (.1); email as-filed copy of same with
                                                                   MRP and HWR (.1)
         1368.002    03/28/2023   MR            0.60      186.00   emails with HWR re: finalizing QE 2nd app (.1) finalize same for filing (.2); email with
                                                                   HWR and MRP re: same (.1); file same (.1); email as-filed copy of same with MRP and
                                                                   HWR (.1)
         1368.002    03/28/2023   ACD           0.60      186.00   Emails with H. Robertson re: Certificate of No Objection re: S&C's 3rd and A&M's 3rd
                                                                   fee statements (0.2); finalize and e-file same (0.4)
         1368.002    03/28/2023   HWR           0.20       95.00   Review fee examiner request
         1368.002    03/28/2023   HWR           0.10       47.50   Confer w/ KAB re: fee examiner request
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         1368.002   03/28/2023 HWR              0.50      237.50   Draft response to fee examiner request
         1368.002   03/28/2023 HWR              0.10       47.50   Email w/ KAB re: draft response to fee examiner request
         1368.002   03/28/2023 HWR              0.20       95.00   Emails w/ MR re: drafting CNOs for all fee statements filed on 3/6
         1368.002   03/28/2023 HWR              0.10       47.50   Review CNO for S&C fee app
         1368.002   03/28/2023 HWR              0.10       47.50   Review CNO for PWP fee app
         1368.002   03/28/2023 HWR              0.10       47.50   Review CNO for QE fee app
         1368.002   03/28/2023 HWR              0.10       47.50   Review CNO for A&M Fee App
         1368.002   03/28/2023 HWR              0.10       47.50   Review CNO for AlixPartners fee app
         1368.002   03/28/2023 HWR              0.10       47.50   Email w/ S&C re: draft CNOs for fee apps filed on 3/6
         1368.002   03/28/2023 HWR              0.10       47.50   Email w/ PWP re: CNO
         1368.002   03/28/2023 HWR              0.10       47.50   Email w/ QE re: CNO
         1368.002   03/28/2023 HWR              0.10       47.50   Email w/ AlixPartners re: CNO
         1368.002   03/28/2023 HWR              0.10       47.50   Email w/ A&M re: CNO
         1368.002   03/28/2023 HWR              0.20       95.00   Email w/ MR re: finalizing and filing AlixPartners fee app (.1); Email w/ MRP and MR re:
                                                                   same (.1)
         1368.002    03/28/2023   HWR           0.20       95.00   Email w/ MR re: finalizing and filing PWP fee app (.1); Email w/ MRP and MR re: same
                                                                   (.1)
         1368.002    03/28/2023   HWR           0.20       95.00   Email w/ MR re: finalizing and filing QE fee app (.1); Email w/ MRP and MR re: same
                                                                   (.1)
         1368.002    03/28/2023   HWR           0.10       47.50   Email w/ MR re: finalizing and filing A&M Fee App (.1); Email w/ MRP and MR re: same
                                                                   (.1)
         1368.002    03/28/2023   HWR           0.10       47.50   Confer w/ MRP re: draft CNOs for all fee apps filed 3/6
         1368.002    03/28/2023    KAB          0.20      164.00   emails with S&C and M. Pierce re: OCP issues
         1368.002    03/28/2023   MRP           0.20      125.00   email with S&C and KAB re: upcoming filings related to fee statements, SBF lift stay
                                                                   motion and turnover actions (.1); email with LRC team re: same (.1)
         1368.002    03/28/2023    MR           0.10       31.00   email with LRC team re: upcoming filings related to fee statements, SBF lift stay
                                                                   motion and turnover actions
         1368.002    03/28/2023   MRP           0.10       62.50   Email w/ S&C and KAB re: OCP open issues
         1368.002    03/28/2023   KAB           0.30      246.00   Confer w/ A. Landis and M. Pierce re: research on OCP questions
         1368.002    03/28/2023   AGL           0.30      345.00   Discussion w/ Brown and Pierce re: research on OCP questions
         1368.002    03/28/2023   MRP           0.20      125.00   Emails w/ S&C and LRC teams re: Certificates of No Objection for various debtor
                                                                   professionals
         1368.002    03/28/2023   HWR           0.20       95.00   Emails w/ S&C and LRC teams re: Certificates of No Objection for various debtor
                                                                   professionals
         1368.002    03/28/2023   MRP           0.10       62.50   Email w/ KAB re: summary of findings on retention issues
         1368.002    03/28/2023   MRP           0.20      125.00   Email w/ HWR and MR re: A&M 3rd fee statement
         1368.002    03/28/2023   ACD           0.10       31.00   Confer with M. Ramirez re: A&M fee app
         1368.002    03/28/2023   MRP           0.10       62.50   emails w/ MR and HWR re: PWP 3rd app
         1368.002    03/28/2023   MRP           0.10       62.50   emails w/ HWR and MR re: AlixPartners 2nd fee app
         1368.002    03/28/2023   MRP           0.10       62.50   emails w/ HWR and MR re: QE 2nd app
         1368.002    03/28/2023   HWR           0.20       95.00   Emails w/ MR re: Certificate of No Objection re: S&C's 3rd and A&M's 3rd fee
                                                                   statements
         1368.002    03/28/2023   HWR           0.10       47.50   Review Certificate of No Objection for LRC 2nd fee app
         1368.002    03/28/2023   MRP           0.10       62.50   Confer w/ HWR re: draft CNOs for all fee apps filed 3/6
         1368.002    03/28/2023   MRP           0.20      125.00   emails with S&C and KAB re: OCP issues
         1368.002    03/28/2023     JH          0.20       40.00   Emails w/ MR re: filing notice of second amended OCP list
         1368.002    03/28/2023   MRP           1.10      687.50   Draft summary of research findings and conclusions w/r/t OCP issues
         1368.002    03/29/2023   MRP           0.20      125.00   Call w/ J. Petiford re: amended OCP list and supplemental OCP declarations
         1368.002    03/29/2023   MRP           0.10       62.50   Email w/ S&C and LRC re: amended OCP list
         1368.002    03/29/2023   MRP           0.30      187.50   Review and comment on draft amended OCP list
         1368.002    03/29/2023    KAB          0.10       82.00   emails with S&C and LRC teams re: amended OCP list
         1368.002    03/29/2023   HWR           0.30      142.50   Emails w/ Lenz Staehelin re: supplemental declaration
         1368.002    03/29/2023   HWR           0.20       95.00   Emails w/ Walkers re: supplemental declaration
         1368.002    03/29/2023   HWR           0.20       95.00   Emails w/ Schurti re: supplemental declaration
         1368.002    03/29/2023   HWR           0.10       47.50   Emails w/ J. Petiford re: filing Lenz Staehelin re: supplemental declaration
         1368.002    03/29/2023   HWR           0.20       95.00   Emails w/ J. Petiford re: second amended OCP list
         1368.002    03/29/2023   HWR           0.20       95.00   Emails w/ J. Petiford re: filing Schurti supplemental declaration
         1368.002    03/29/2023   HWR           0.10       47.50   Emails w/ MRP re: second amended OCP list
         1368.002    03/29/2023   HWR           0.20       95.00   Review second amended OCP list
         1368.002    03/29/2023   HWR           0.20       95.00   Review Abrams & Bayliss OCP Declaration for confidentiality issues
         1368.002    03/29/2023   HWR           0.10       47.50   Confer w/ MRP re: Abrams & Bayliss OCP Declaration
         1368.002    03/29/2023   HWR           0.10       47.50   Emails w/ J. Petiford re: filing plan for supplemental OCP declarations, Abrams &
                                                                   Bayliss OCP declaration and second amended OCP list
         1368.002    03/29/2023   KAB           0.10       82.00   emails with S&C and LRC teams re: revisions to Amended OCP list/notice
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         1368.002   03/29/2023   KAB            0.10       82.00   emails with Schurti, S&C and LRC teams re: supplemental OCP Dec
         1368.002   03/29/2023   KAB            0.10       82.00   emails with S&C, LRC and Lenz Staehlin re: OCP supp. dec
         1368.002   03/29/2023   MRP            0.10       62.50   Emails w/ HWR re: second amended OCP list
         1368.002   03/29/2023   MRP            0.10       62.50   Confer w/ HWR re: Abrams & Bayliss OCP Declaration
         1368.002   03/29/2023   MRP            0.10       62.50   emails w/ S&C and LRC teams re: revisions to Amended OCP list/notice
         1368.002   03/29/2023   MRP            0.10       62.50   emails w/ S&C, LRC and Lenz Staehlin re: OCP supp. dec
         1368.002   03/30/2023   MRP            0.20      125.00   Email w/ S&C re: amended OCP list (.1); review the same (.1)
         1368.002   03/30/2023   MRP            0.10       62.50   Email w/ LRC team re: filing amended OCP list
         1368.002   03/30/2023   MRP            0.10       62.50   Review and execution notice of filing second amended OCP list
         1368.002   03/30/2023   MRP            0.10       62.50   Email w/ HWR and MR re: filing notice of filing second amended OCP list
         1368.002   03/30/2023     JH           0.20       40.00   Emails w/ MR re: filing supplemental OCP declarations for Schurti Partners and Lenz &
                                                                   Staehelin (.1); File supplemental OCP declarations re: same (.1)
         1368.002    03/30/2023     JH          0.40       80.00   Confer w/ MR re: filing sealed and public versions of Abrams & Bayliss OCP
                                                                   Declaration (.2); File re: same (.2)
         1368.002    03/30/2023     JH          0.20       40.00   Emails w/ HWR and MR re: filing of Supplemental OCP Declaration of Walkers (.1); File
                                                                   re: same (.1)
         1368.002    03/30/2023    MR           1.30      403.00   emails with MRP and HWR re: filing notice of second amended OCP list (.1); multiple
                                                                   OCP declarations (.5); email with JH re: same (.2); file same (.5)
         1368.002    03/30/2023   HWR           0.10       47.50   Email w/ J. Petiford re: 2nd amended OCP list
         1368.002    03/30/2023   HWR           0.20       95.00   Emails w/ MRP and MR re: finalizing and filing 2nd amended OCP list
         1368.002    03/30/2023   HWR           0.20       95.00   Review finalized 2nd amended OCP list for filing
         1368.002    03/30/2023   HWR           0.10       47.50   Email w/ MR re: filing Schurti supplemental declaration
         1368.002    03/30/2023   HWR           0.20       95.00   emails and calls w/ MR re: filing Lenz Staehelin supplemental declaration
         1368.002    03/30/2023   HWR           0.20       95.00   Emails w/ MR re: filing Abrams & Bayliss OCP declaration
         1368.002    03/30/2023   HWR           0.20       95.00   Emails w/ Kroll re: service of 2nd amended OCP list, Abrams & Bayliss OCP
                                                                   declaration, and Supplemental Declarations
         1368.002    03/30/2023   HWR           0.10       47.50   Email w/ Walkers re: Supplemental declaration
         1368.002    03/30/2023   HWR           0.10       47.50   Email w/ J. Petiford re: filing supplemental Walkers declaration
         1368.002    03/30/2023   HWR           0.10       47.50   Email w/ MR re: filing supplemental Walkers declaration
         1368.002    03/30/2023   HWR           0.10       47.50   Emails w/ MRP and QE re: as-filed Abrams & Bayliss OCP
         1368.002    03/30/2023    KAB          0.20      164.00   emails with QE, LRC and S&C teams re: Abrams OCP retention
         1368.002    03/30/2023    KAB          0.10       82.00   emails with Walkers, S&C and LRC teams re: ocp supplemental dec
         1368.002    03/30/2023     MR          0.10       31.00   Emails with J. Huynh re: filing supplemental OCP declarations for Schurti Partners and
                                                                   Lenz & Staehelin
         1368.002    03/30/2023    MR           0.20       62.00   Confer with J. Huynh re: filing sealed and public versions of Abrams & Bayliss OCP
                                                                   Declaration
         1368.002    03/30/2023    MR           0.10       31.00   Email with H. Robertson re: filing Schurti supplemental declaration
         1368.002    03/30/2023    MR           0.20       62.00   emails and calls with H. Robertson re: filing Lenz Staehelin supplemental declaration
         1368.002    03/30/2023    MR           0.20       62.00   Emails with H. Robertson re: filing Abrams & Bayliss OCP declaration
         1368.002    03/30/2023    MR           0.10       31.00   Email with H. Robertson re: filing supplemental Walkers declaration
         1368.002    03/30/2023   MRP           0.10       62.50   Emails w/ HWR and QE re: as-filed Abrams & Bayliss OCP
         1368.002    03/30/2023   MRP           0.20      125.00   Emails w/ QE, LRC and S&C teams re: Abrams OCP retention
         1368.002    03/30/2023   MRP           0.10       62.50   Emails w/ Walkers, S&C and LRC teams re: ocp supplemental dec
         1368.002    03/31/2023    JH           0.30       60.00   Emails w/ HWR re: drafting CNO for E&Y's first fee statement (.1); Draft and review
                                                                   same (.2)
         1368.002    03/31/2023   MRP           0.10       62.50   Email w/ T. Luginbuhl re: supplemental OCP declaration and retention
         1368.002    03/31/2023    JH           0.20       40.00   Revise CNO re: E&Y's first fee app (.1); Emails w/ HWR re: same (.1)
         1368.002    03/31/2023   MRP           0.10       62.50   Email w/ Walkers re: as-filed supplemental declaration
         1368.002    03/31/2023   MRP           0.10       62.50   Email w/ Schurti re: as-filed supplemental declaration
         1368.002    03/31/2023   AGL           0.50      575.00   review and analyze ust additional comments to foreign ocp declarations (.2);
                                                                   communications with lrc team re: same (.3)
         1368.002    03/31/2023   KAB           0.20      164.00   emails with E&Y, S&C and LRC teams re: responses to E&Y fee app and CNO
         1368.002    03/31/2023   KAB           0.10       82.00   emails with J. Petiford, SNP, and LRC teams re: OCP retention
         1368.002    03/31/2023   KAB           0.10       82.00   emails with J. Petiford, N. Vu, and LRC team re: OCP retention
         1368.002    03/31/2023   KAB           0.10       82.00   emails with J. Petiford, Lane, and LRC team re: OCP retention
         1368.002    03/31/2023   KAB           0.60      492.00   review email from UST re: foreign OCPs (.1); call with J. Petiford re: foreign OCP issues
                                                                   (.2); emails with LRC team re: same (.3)
         1368.002    03/31/2023    KAB          0.10       82.00   emails with Lenz Staehelin, S&C and LRC teams re: OCP issues
         1368.002    03/31/2023    KAB          0.10       82.00   emails with Schurti, S&C and LRC teams re: OCP issues
         1368.002    03/31/2023    KAB          0.10       82.00   emails with S&C, LRC and Walkers re: OCP issues
         1368.002    03/31/2023   HWR           0.10       47.50   Emails w/ J. Petiford re: as-filed supplemental OCP declarations
         1368.002    03/31/2023   HWR           0.20       95.00   Emails w/ Schurti re: supplemental OCP declaration
         1368.002    03/31/2023   HWR           0.20       95.00   Emails w/ Walkers re: supplemental OCP declaration
         1368.002    03/31/2023   HWR           0.20       95.00   Emails w/ Lenz Staehelin re: supplemental OCP declaration
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         1368.002   03/31/2023 HWR                 0.10             47.50   Service of sealed Abrams & Bayliss OCP declaration
         1368.002   03/31/2023 HWR                 0.20             95.00   Emails w/ JH re: draft CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.20             95.00   Review draft CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.10             47.50   Email w/ S&C re: draft CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.10             47.50   Email w/ EY re: draft CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.10             47.50   Call w/ JH re: draft CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.20             95.00   Emails w/ MRP, MR and JH re: finalizing and filing CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.10             47.50   Review EY CNO for filing
         1368.002   03/31/2023 HWR                 0.10             47.50   Emails w/ J. Petiford re: as-filed CNO for EY fee app
         1368.002   03/31/2023 HWR                 0.30            142.50   Emails w/ J. Petiford re: new/additional OCPs
         1368.002   03/31/2023 HWR                 0.10             47.50   Email w/ MRP re: draft CNO for EY fee app
         1368.002   03/31/2023   KAB               0.10             82.00   emails with UST, UCC, S&C and LRC teams re: sealed OCP dec for Abrams
         1368.002   03/31/2023   KAB               0.10             82.00   emails with LRC, S&C and Schurti team re: supplemental OCP dec
         1368.002   03/31/2023   KAB               0.10             82.00   emails with Lenz Staehlin, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/31/2023   KAB               0.10             82.00   emails with Walkers, LRC and S&C teams re: supplmental OCP dec
         1368.002   03/31/2023   MRP               0.20            125.00   Emails with lrc team re: ust comments to foreign ocp declarations
         1368.002   03/31/2023   MRP               0.20            125.00   Emails w/ E&Y, S&C and LRC teams re: responses to E&Y fee app and CNO
         1368.002   03/31/2023   MRP               0.10             62.50   Emails w/ J. Petiford, SNP, and LRC teams re: OCP retention
         1368.002   03/31/2023   MRP               0.10             62.50   Emails w/ J. Petiford, N. Vu, and LRC team re: OCP retention
         1368.002   03/31/2023   MRP               0.10             62.50   Emails w/ J. Petiford, Lane, and LRC team re: OCP retention
         1368.002   03/31/2023   MRP               0.10             62.50   Emails w/ Lenz Staehelin, S&C and LRC teams re: OCP issues
         1368.002   03/31/2023   MRP               0.10             62.50   Emails w/ Schurti, S&C and LRC teams re: OCP issues
         1368.002   03/31/2023   MRP               0.10             62.50   emails w/ S&C, LRC and Walkers re: OCP issues
         1368.002   03/31/2023   MRP               0.10             62.50   Email w/ HWR re: draft CNO for EY fee app
         1368.002   03/31/2023   MRP               0.10             62.50   emails w/ UST, UCC, S&C and LRC teams re: sealed OCP dec for Abrams
         1368.002   03/31/2023   MRP               0.10             62.50   emails w/ LRC, S&C and Schurti team re: supplemental OCP dec
         1368.002   03/31/2023   MRP               0.10             62.50   emails w/ Lenz Staehlin, S&C and LRC teams re: supplemental OCP dec
         1368.002   03/31/2023   MRP               0.10             62.50   emails w/ Walkers, LRC and S&C teams re: supplmental OCP dec

Total for Phase ID B144              Billable    195.80        113,096.50 Non-LRC Retention & Fee Matters

Phase ID B146 Plan and Disclosure Statement (including Business Plan)
         1368.002    03/02/2023 HWR              0.10           47.50 Review/revise Certificate of No Objection for motion extending deadline to determine
                                                                      dischargeability
         1368.002    03/02/2023 HWR              0.10           47.50 Review finalized Certificate of No Objection re: dischargeability motion for filing
         1368.002    03/02/2023 HWR              0.10           47.50 Confer w/ MR re: Certificate of No Objection for dischargeability motion
         1368.002    03/02/2023      MR          0.10           31.00 Confer with HWR re: Certificate of No Objection for dischargeability motion
         1368.002    03/09/2023     KAB          0.10           82.00 emails with S&C and M. Pierce re: motion to extend exclusivity
         1368.002    03/09/2023    MRP           0.10           62.50 emails w/ S&C and KAB re: motion to extend exclusivity
         1368.002    03/10/2023    MRP           0.60          375.00 Review and comment on draft motion to extend exclusivity
         1368.002    03/10/2023    MRP           0.10           62.50 Email w/ KAB re: comments to draft Exclusivity Motion
         1368.002    03/10/2023      MR          0.40          124.00 confer with MRP re: drafting notice for Motion to extend exclusivity (.1); draft same
                                                                      (.2); email with MRP and HWR re: review of same (.1)
         1368.002    03/10/2023     KAB          0.90          738.00 emails with LRC and S&C teams re: motion to extend exclusivity (.1); emails with M.
                                                                      Pierce re: same (.1); review and revise same (.7)
         1368.002    03/10/2023     KAB          0.30          246.00 call with J. Petiford re: withdraw of exclusivity motion (.1); draft same (.1); email LRC
                                                                      team re: finalization and filing of same (.1)
         1368.002    03/10/2023    ACD           1.00          310.00 Emails with LRC team re: motion to extend plan exclusivity (0.1); finalize and e-file
                                                                      same (0.6); emails with LRC team re: notice of withdrawal of same (0.1); finalize and
                                                                      e-file same (0.2);
         1368.002    03/10/2023      MR          0.50          155.00 emails with MRP re: motion to extend exclusivity (.2); finalize notice (.1); and pfo re:
                                                                      same for filing (.1); email with LRC team re: as-filed of same (.1)
         1368.002    03/10/2023 HWR              0.10           47.50 Emails w/ MRP, and MR re: notice for motion to extend exclusivity deadline
         1368.002    03/10/2023 HWR              0.10           47.50 Email w/ LRC team re: finalizing and filing motion to extend exclusivity deadline
         1368.002    03/10/2023 HWR              0.10           47.50 Review motion to extend exclusivity deadline for filing
         1368.002    03/10/2023 HWR              0.10           47.50 Email w/ S&C team re: amending/ refiling motion to extend exclusivity deadline
         1368.002    03/10/2023 HWR              0.10           47.50 Confer w/ MRP re: motion to extend exclusivity deadline issues
         1368.002    03/10/2023 HWR              0.10           47.50 Emails w/ LRC team re: notice of withdraw of motion to extend exclusivity deadline
         1368.002    03/10/2023     KAB          0.20          164.00 emails with S&C and LRC teams re: final version of exclusivity motion (.1); emails with
                                                                      LRC team re: finalization and filing of same (.1)
         1368.002    03/10/2023    MRP           0.10           62.50 confer w/ HWR re: drafting notice for Motion to extend exclusivity
         1368.002    03/10/2023    MRP           0.10           62.50 emails w/ LRC and S&C teams re: motion to extend exclusivity
         1368.002    03/10/2023    MRP           0.10           62.50 email LRC team re: finalization and filing of withdraw of exclusivity motion
         1368.002    03/10/2023      MR          0.10           31.00 email LRC team re: finalization and filing of withdraw of exclusivity motion
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         1368.002    03/10/2023    MRP           0.10           62.50   Emails w/ HWR and MR re: notice for motion to extend exclusivity deadline
         1368.002    03/10/2023    MRP           0.10           62.50   Email w/ LRC team re: finalizing and filing motion to extend exclusivity deadline
         1368.002    03/10/2023    MRP           0.10           62.50   Confer w/ HWR re: motion to extend exclusivity deadline issues
         1368.002    03/10/2023    MRP           0.10           62.50   Emails w/ LRC team re: notice of withdraw of motion to extend exclusivity deadline
         1368.002    03/10/2023    MRP           0.20          125.00   Review corrected filing version of motion to extend exclusivity
         1368.002    03/13/2023     KAB          0.10           82.00   email with UST and M. Pierce re: motion to extend exclusivity
         1368.002    03/13/2023    MRP           0.10           62.50   Email w/ KAB and UST re: motion to extend exclusivity
         1368.002    03/24/2023    MRP           0.10           62.50   Email w/ UST re: UST comments to motion to extend exclusivity
         1368.002    03/24/2023     KAB          0.10           82.00   email with UST, UCC, S&C and M. Pierce re: motion to extend exclusivity
         1368.002    03/27/2023     KAB          0.20          164.00   emails with S&C, UCC, UST and LRC teams re: UST inquiries regarding customer
                                                                        issues and motion to extend exclusivity
         1368.002     03/27/2023     MRP        0.10           62.50    Email w/ UST, LRC and S&C re: question on exclusivity motion
         1368.002     03/28/2023      KAB       0.20          164.00    emails with S&C, UST, UCC and LRC teams re: motion to extend exclusivity
         1368.002     03/28/2023     MRP        0.20          125.00    emails w/ S&C, UST, UCC and LRC teams re: motion to extend exclusivity
         1368.002     03/31/2023     MRP        0.10           62.50    Email w/ LRC team re: objection deadline for exclusivity motion
         1368.002     03/31/2023     HWR        0.10           47.50    Email w/ MRP and MR re: exclusivity motion
         1368.002     03/31/2023       MR       0.10           31.00    Email with LRC team re: objection deadline for exclusivity motion

Total for Phase ID B146            Billable     7.60         4,316.50 Plan and Disclosure Statement (including Business Plan)

Phase ID B150 Relief from Stay/Adequate Protection Proceedings
         1368.002     03/08/2023   KAB          0.30         246.00     email (.1) and discussions (.2) with M. Pierce re: letter in response to TRO
         1368.002     03/08/2023   KAB          0.20         164.00     emails with S&C and A. Landis re: TRO letter and related issues
         1368.002     03/08/2023   AGL          0.20         230.00     emails with S&C and KAB re: TRO letter and related issues
         1368.002     03/08/2023  MRP           0.30         187.50     email (.1) and discussions (.2) w/ KAB re: letter in response to TRO
         1368.002     03/09/2023   KAB          0.50         410.00     emails with S&C and A. Landis re: TRO issues and response (.3); confer with A. Landis
                                                                        re: response on same (.2)
         1368.002     03/09/2023     KAB        0.10           82.00    review and analyze TRO appendix
         1368.002     03/09/2023     KAB        0.40          328.00    review and revise response letter to TRO (.2); discussion with M. Pierce re: same (.2)
         1368.002     03/09/2023     MRP        0.50          312.50    emails with S&C and KAB: TRO issues and response (.3); confer with KAB re: response
                                                                        on same (.2)
         1368.002     03/09/2023     MRP        0.10           62.50    discussion w/ KAB re: response letter to TRO
         1368.002     03/09/2023     AGL        0.50          575.00    emails with KAB and S&C re: TRO issues and response (.3); communications with
                                                                        brown re: same (.2)
         1368.002     03/15/2023     MRP        0.10           62.50    Email w/ AD re: SBF motion for stay relief
         1368.002     03/15/2023     KAB        0.40          328.00    review and analyze SBF motion for stay relief
         1368.002     03/15/2023     KAB        0.10           82.00    review email from K. Bell re: SBF stay relief motion
         1368.002     03/15/2023     ACD        0.40          124.00    Review SBF motion to stay (0.2) and order extending answer deadline for HTC and
                                                                        Voyager (0.2);
         1368.002     03/15/2023     HWR        0.40          190.00    Review SBF Stay Relief Motion
         1368.002     03/15/2023     MBM        1.10          990.00    review of SBF stay relief motion
         1368.002     03/15/2023     ACD        0.10           31.00    Email with MRP re: SBF motion for stay relief
         1368.002     03/22/2023     MRP        0.10           62.50    Email w/ KAB and H. Cohen re: TRO issue
         1368.002     03/22/2023      KAB       0.10           82.00    Email with M. Pierce and H. Cohen re: TRO issue
         1368.002     03/29/2023     MRP        0.10           62.50    Email w/ S&C re: draft opposition to SBF lift stay motion
         1368.002     03/29/2023     MRP        0.50          312.50    Review draft opposition to SBF lift stay motion
         1368.002     03/29/2023       MR       0.50          155.00    email with LRC re: finalizing and filing response for SBF's motion to RFS (.2); finalize
                                                                        and file same (.2); email with KAB and LRC team re: same (.1)
         1368.002     03/29/2023      AGL       1.60         1,840.00   review and revise statement in response to SBF motion for relief from stay (.5); review
                                                                        and analyze committee objection to SBF motion for relief from stay (1.1)
         1368.002     03/29/2023     HWR        0.20           95.00    Emails w/ LRC Team re: response to SBF Stay Relief Motion
         1368.002     03/29/2023     HWR        0.10           47.50    Review Notice Parties for response to SBF Stay Relief Motion
         1368.002     03/29/2023     HWR        0.10           47.50    Email w/ MR re: UCC response to SBF Stay Relief Motion
         1368.002     03/29/2023     HWR        0.10           47.50    Draft service instructions re: response to SBF Stay Relief Motion
         1368.002     03/29/2023     HWR        0.10           47.50    Email w/ Kroll re: service of response to SBF Stay Relief Motion
         1368.002     03/29/2023     HWR        0.10           47.50    Confer w/ MRP re: service instructions re: response to SBF Stay Relief Motion
         1368.002     03/29/2023      KAB       0.50          410.00    review and analyze Committee's objection to SBF stay relief motion
         1368.002     03/29/2023      KAB       1.00          820.00    email with S&C and LRC teams re: response to SBF stay motion (.2); review and revise
                                                                        same (.6); emails with LRC team re: finalization and filing of same (.2)
         1368.002     03/29/2023     MRP        0.20          125.00    Emails w/ LRC Team re: response to SBF Stay Relief Motion
         1368.002     03/29/2023      MR        0.10           31.00    Email with HWR re: UCC response to SBF Stay Relief Motion
         1368.002     03/29/2023     MRP        0.10           62.50    Confer w/ HWR re: service instructions re: response to SBF Stay Relief Motion
         1368.002     03/29/2023     MRP        0.40          250.00    Analyze UCC objection to SBF lift stay motion
         1368.002     03/29/2023     MRP        0.20          125.00    Analyze adversary plaintiff joinder to objection SBF lift stay motion
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Phase ID B150 Relief from Stay/Adequate Protection Proceedings
         1368.002     03/30/2023   KAB          0.10           82.00 review email from L. McGee re: JPL's motion regarding application of stay and
                                                                     declarations ISO same
         1368.002     03/30/2023   KAB          2.50        2,050.00 emails with A. Landis and M. Pierce re: JPL stay motion and issues related to same (.4);
                                                                     review and analyze same (2.1)
         1368.002     03/30/2023   AGL          0.20          230.00 emails with brown and pierce re: JPL stay motion and issues related to same
         1368.002     03/30/2023  MRP           0.20          125.00 Emails w/ AGL and KAB re: JPL stay motion and issues related to same
         1368.002     03/31/2023  MRP           0.40          250.00 Emails w/ AGL and KAB re: JPLS lift stay motion
         1368.002     03/31/2023   KAB          0.40          328.00 multiple emails with A. Landis and M. Pierce re: updates on JPL stay relief, adv.
                                                                     complaint and related issues
         1368.002     03/31/2023   AGL          0.40          460.00 communications with brown and pierce re: updates on JPL stay relief, adv. complaint
                                                                     and related issues

Total for Phase ID B150             Billable      16.00        12,600.50 Relief from Stay/Adequate Protection Proceedings

Phase ID B151 Schedules/Operating Reports
         1368.002   03/01/2023    KAB              0.10            82.00   emails with S&C and A&M re: 2015.3 report for FTX Switzerland
         1368.002   03/01/2023    KAB              0.10            82.00   emails with M. Pierce re: interim fee apps, budgets and staffing plans
         1368.002   03/01/2023    MRP              0.10            62.50   Emails w/ KAB re: interim fee apps, budgets and staffing plans
         1368.002   03/02/2023    KAB              0.10            82.00   emails with A&M and S&C re: global notes
         1368.002   03/02/2023    KAB              0.10            82.00   emails with S&C and M. Pierce re: current version of global notes
         1368.002   03/02/2023    KAB              0.50           410.00   review and revise 2015.3 report for FTX Switzerland (.3); emails with A&M and S&C
                                                                           teams re: same (.2)
          1368.002    03/02/2023      KAB          0.20           164.00   emails with A. Kranzley re: schedules
          1368.002    03/02/2023      KAB          0.10            82.00   emails with A. Kranzley, R. Esposito and M. Pierce re: schedules issue
          1368.002    03/02/2023      MRP          0.10            62.50   Emails w/ S&C and KAB re: current version of global notes
          1368.002    03/02/2023      MRP          0.10            62.50   Emails w/ A. Kranzley, R. Esposito and KAB re: schedules issue
          1368.002    03/03/2023      KAB          0.10            82.00   confer with M. Pierce re: status of global notes
          1368.002    03/03/2023      KAB          2.20         1,804.00   review and revise global notes (1.9); emails with M. Pierce re: same (.2); emails with
                                                                           S&C and M. Pierce re: same (.1)
          1368.002    03/03/2023       KAB         0.20           164.00   emails with A&M, S&C and M. Cilia re: 2015.3 reports for FTX Switzerland and Digital
                                                                           Custody
          1368.002    03/03/2023       ACD         0.60           186.00   Emails with K. Brown re: 3rd interim financial statement (0.1); finalize and e-file same
                                                                           (0.5)
          1368.002    03/03/2023      MRP          0.10            62.50   Confer w/ KAB re: status of global notes
          1368.002    03/03/2023      MRP          0.40           250.00   Emails w/ KAB re: global notes (.2); emails w/ S&C and KAB re: same (.1)
          1368.002    03/03/2023      KAB          0.10            82.00   Emails with A. Dellose re: 3rd interim financial statement
          1368.002    03/03/2023      MRP          3.90         2,437.50   Review and comment on draft global notes to schedules and statements
          1368.002    03/03/2023      MRP          2.20         1,375.00   Analyze global notes precedent
          1368.002    03/04/2023      KAB          0.30           246.00   emails with A&M, S&C and M. Cilia re: 2015.3 report and notes for Digital Custody
                                                                           (.1); review comments to same (.2)
          1368.002    03/04/2023       KAB         0.20           164.00   email with S&C and M. Pierce re: comments to global notes for schedules/SOFAs (.1);
                                                                           emails with A&M, S&C and M. Cilia re: same (.1)
          1368.002    03/04/2023      KAB          0.10            82.00   emails with S&C, A&M and M. Cilia re: 2015.3 report for FTX Switzerland
          1368.002    03/04/2023      MRP          0.10            62.50   Emails w/ S&C and KAB re: comments to global notes for schedules/SOFAs
          1368.002    03/06/2023      KAB          2.00         1,640.00   participate in call with A&M, M. Cilia, J. Ray, S&C and M. Pierce re: schedules and
                                                                           SOFAs.
          1368.002    03/06/2023      AGL          0.30           345.00   communications with KAB, MRP re: schedules and sofa issues
          1368.002    03/06/2023      KAB          0.30           246.00   discussion with A. Landis and M. Pierce re: schedules and sofa issues
          1368.002    03/06/2023      MRP          2.00         1,250.00   Call w/ A&M, S&C and RLKS re: SOFAs and SOALs
          1368.002    03/06/2023      MRP          0.30           187.50   Discussion w/ AGL and KAB re: schedules and sofa issues
          1368.002    03/07/2023      KAB          0.10            82.00   emails with R. Esposito, A. Kranzley and M. Pierce re: statements and schedules
          1368.002    03/07/2023      KAB          0.10            82.00   emails with M. Pierce, S&C and A&M teams re: review of schedules and statements
                                                                           and related issues
          1368.002    03/07/2023      MRP          0.10            62.50   Email w/ R. Esposito re: SOFA/SOAL filing format
          1368.002    03/07/2023      MRP          0.10            62.50   Email w/ KAB, S&C and A&M teams re: draft SOFA/SOALs
          1368.002    03/07/2023      KAB          0.80           656.00   emails with A&M, S&C, M. Pierce and M. Cilia re: dormant entities schedules/SOFAs
                                                                           issues (.2); review materials provided related to same (.6)
          1368.002    03/07/2023       KAB         0.20           164.00   additional emails with S&C, A&M, M. Pierce and M. cilia re: dormant entity
                                                                           Schedules/SOFA issues
          1368.002    03/07/2023      MRP          0.10            62.50   Emails w/ R. Esposito, A. Kranzley and KAB re: statements and schedules
          1368.002    03/07/2023      MRP          0.20           125.00   Emails w/ A&M, S&C, KAB, and M. Cilia re: dormant entities schedules/SOFAs issues
          1368.002    03/07/2023      MRP          0.20           125.00   Additional emails w/ S&C, A&M, KAB and M. Cilia re: dormant entity Schedules/SOFA
                                                                           issues
          1368.002    03/08/2023      MRP          0.10            62.50   Email w/ S&C, A&M and RLSK re: schedules and statement
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            Client         Date   Tkpr      to Bill     Amount
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         1368.002   03/08/2023    KAB        0.10         82.00   emails with A&M, S&C and M. Cilia re: WRSFS 2015.3 report
         1368.002   03/08/2023    KAB        0.10         82.00   email M. Pierce and H. Robertson re: schedules/sofa review and related issues
         1368.002   03/08/2023    KAB        0.10         82.00   emails with S&C, M. Pierce and A&M teams re: dormant entities schedules/sofa issues
         1368.002   03/08/2023    KAB        0.40        328.00   emails with A&M, S&C, M. Cilia and M. Pierce re: SOFA 9 (.1); review and analyze
                                                                  materials provided related to same (.3)
         1368.002    03/08/2023   MRP        0.10         62.50   Email w/ S&C, KAB and A&M re: draft SOFAs and questions on the same
         1368.002    03/08/2023   KAB        0.10         82.00   emails with S&C, A&M, M. Cilia and M. Pierce re: political donations related to
                                                                  schedules/SOFAs
         1368.002    03/08/2023    KAB       0.30        246.00   additional emails with A&M and S&C re: schedules and SOFAs
         1368.002    03/08/2023   HWR        0.20         95.00   Confer w/ MRP re: draft schedules/statements
         1368.002    03/08/2023   HWR        0.60        285.00   Initial review of certain draft schedules/statements
         1368.002    03/08/2023   HWR        0.20         95.00   Emails w/ KAB re: draft schedules/statements
         1368.002    03/08/2023   MRP        0.10         62.50   Email w/ KAB and HWR re: schedules/sofa review and related issues
         1368.002    03/08/2023   HWR        0.10         47.50   Email w/ KAB and MRP re: schedules/sofa review and related issues
         1368.002    03/08/2023   MRP        0.20        125.00   Confer w/ HWR re: draft schedules/statements
         1368.002    03/08/2023    KAB       0.20        164.00   Emails with H. Robertson re: draft schedules/statements
         1368.002    03/09/2023    KAB       0.20        164.00   call with A. Kranzley re: schedules and SOFAs
         1368.002    03/09/2023    KAB       0.10         82.00   emails with A&M, S&C and M. Pierce re: schedules/SOFA issues
         1368.002    03/09/2023    KAB       0.20        164.00   discussion (.1) and emails (.1) with H. Robertson and M. Pierce re: schedules/sofa
                                                                  redaction issues and research on same
         1368.002    03/09/2023   HWR        0.80        380.00   Review certain draft schedules/statements
         1368.002    03/09/2023    KAB       0.30        246.00   emails with A&M, S&C and M. Cilia re: WRSFS 2015.3 report (.1); review proposed
                                                                  revisions thereto (.2)
         1368.002    03/09/2023    KAB       0.30        246.00   emails with A&M, S&C, M. Cilia and M. Pierce re: schedule G, review files and issues
         1368.002    03/09/2023   HWR        1.20        570.00   Research re: procedure re: sealing customer information in schedules and statements
         1368.002    03/09/2023    ALS       1.60        320.00   Confer with HWR re: schedules and statements (.2); draft indexes and prepare binders
                                                                  re: same (1.4)
         1368.002    03/09/2023   KAB        0.50        410.00   review email from A. Purdon re: amended schedules and top 20 list for Emergent (.1);
                                                                  review and analyze same (.4)
         1368.002    03/09/2023   HWR        0.30        142.50   Emails w/ KAB and MRP re: schedules and statements filing procedure
         1368.002    03/09/2023   HWR        0.30        142.50   Emails w/ Kroll, S&C, A&M and LRC teams re: schedules/statements
         1368.002    03/09/2023    KAB       0.30        246.00   emails with Kroll, S&C, A&M and LRC re: issues related to customers and shcedules
         1368.002    03/09/2023   MRP        0.10         62.50   Emails w/ A&M, S&C and KAB re: schedules/SOFA issues
         1368.002    03/09/2023   MRP        0.20        125.00   discussion (.1) and emails (.1) w/ KAB and HWR re: schedules/sofa redaction issues
                                                                  and research on same
         1368.002    03/09/2023   HWR        0.20         95.00   discussion (.1) and emails (.1) w/ KAB and MRP re: schedules/sofa redaction issues
                                                                  and research on same
         1368.002    03/09/2023   MRP        0.30        187.50   Emails w/ A&M, S&C, M. Cilia and KAB re: schedule G, review files and issues
         1368.002    03/09/2023   HWR        0.10         47.50   Confer w/ ALS re: binders re: schedules and statements
         1368.002    03/09/2023   HWR        0.10         47.50   Confer w/ ALS re: revised binder and index re: schedules and statements
         1368.002    03/09/2023   MRP        0.30        187.50   Emails w/ Kroll, S&C, A&M and LRC teams re: schedules/statements
         1368.002    03/10/2023   MRP        0.10         62.50   Email w/ S&C re: revised draft of Global Notes
         1368.002    03/10/2023    KAB       0.10         82.00   emails with UST and M. Pierce re: status of schedules and statements and certain
                                                                  questions related thereto
         1368.002    03/10/2023   KAB        0.80        656.00   numerous emails with A&M, S&C, M. Pierce and M. Cilia re: schedules and statements
                                                                  and issues related thereto
         1368.002    03/10/2023   MRP        0.10         62.50   Email w/ A&M and S&C re: exhibits to schedules
         1368.002    03/10/2023   MRP        0.10         62.50   Email w/ HWR and KAB re: research questions regarding schedule and statements
         1368.002    03/10/2023   HWR        0.50        237.50   Research re: schedules/statement confidentiality issues
         1368.002    03/10/2023    KAB       1.20        984.00   emails with S&C and M. Pierce re: statement regarding schedules and customer id
                                                                  numbers (.2); emails with LRC team re: precedent on same (.1); review findings on
                                                                  same (.2); review and revise statement (.6); email with M. Pierce re: comments on
                                                                  same (.1)
         1368.002    03/10/2023   HWR        0.10         47.50   Emails w/ KAB and MRP re: schedules and statements issues research
         1368.002    03/10/2023    KAB       0.40        328.00   additional emails with S&C, A&M and M. Pierce re: schedules and statements and
                                                                  related issues
         1368.002    03/10/2023   KAB        0.20        164.00   emails with S&C, A&M, M. Cilia re: 2015.3 reports
         1368.002    03/10/2023   MRP        0.10         62.50   Emails w/ UST and KAB re: status of schedules and statements and certain questions
                                                                  related thereto
         1368.002    03/10/2023   MRP        0.80        500.00   Numerous emails w/ A&M, S&C, KAB, and M. Cilia re: schedules and statements and
                                                                  issues related thereto
         1368.002    03/10/2023   MRP        0.40        250.00   Emails w/ S&C and KAB re: statement regarding schedules and customer id numbers
                                                                  (.2); emails w/ LRC team re: precedent on same (.1); email w/ KAB re: comments on
                                                                  statement re: same (.1)
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         1368.002   03/10/2023    MRP        0.40        250.00 Additional emails with S&C, A&M and KAB re: schedules and statements and related
                                                                issues
         1368.002    03/11/2023   KAB        0.80        656.00 emails with S&C, A&M, and M. Cilia re: 2015.3 reports for FTX Capital Markets (.1);
                                                                review and revise same (.7)
         1368.002    03/11/2023   KAB        0.60        492.00 emails with S&C, A&M, and M. Cilia re: 2015.3 reports for Digital Custody (.1); review
                                                                and revise same (.5)
         1368.002    03/11/2023   KAB        0.20        164.00 emails with A&M, S&C and M. Pierce re: schedules and statements issues
         1368.002    03/11/2023   MRP        0.20        125.00 Emails w/ A&M, S&C and KAB re: schedules and statements issues
         1368.002    03/12/2023   MRP        0.10         62.50 Email w/ A&M re: schedule F
         1368.002    03/12/2023   MRP        0.30        187.50 Review A&M notes re: Schedule F
         1368.002    03/12/2023   MRP        0.10         62.50 Email w/ A&M and S&C re: re: SOFAs
         1368.002    03/12/2023   KAB        7.60      6,232.00 emails with S&C, A&M, RLKS and M. Pierce re: schedules/SOFAs and related issues
                                                                (.8); review and revise current drafts of schedules and statements (6.8)
         1368.002    03/12/2023   MRP        0.40        250.00 Emails w/ S&C, A&M, RLKS and KAB re: schedules/SOFAs and related issues
         1368.002    03/13/2023   MRP        0.20        125.00 Discussion w/ MR re: filing plan for SOFAs/SOALs
         1368.002    03/13/2023   MRP        0.20        125.00 Confer w/ HWR re: SOFA/SOALs for dormant entities
         1368.002    03/13/2023   HWR        2.20      1,045.00 Review draft schedules/statements
         1368.002    03/13/2023    KAB       1.50      1,230.00 numerous emails with A&M, RLKS, and S&C teams re: various 2015.3 reports (.6);
                                                                review and revise same (.9)
         1368.002    03/13/2023   HWR        0.20         95.00 Confer w/ MRP re: draft schedules/statements for dormant entities
         1368.002    03/13/2023    KAB       0.40        328.00 emails with S&C, A&M, RLKS and M. Pierce re: schedules, SOFAs and global note
                                                                issues
         1368.002    03/13/2023   MRP        0.10         62.50 Email w/ S&C and A&M teams re: revised draft Global Notes
         1368.002    03/13/2023    KAB       2.40      1,968.00 review and revise current version of global notes (2.3); email M. Pierce re: same (.1)
         1368.002    03/13/2023   MRP        0.60        375.00 Review and comment on revised draft of global notes
         1368.002    03/13/2023   MRP        0.10         62.50 Email w/ KAB re: comments to revised draft Global Notes
         1368.002    03/13/2023   HWR        2.40      1,140.00 Review of revised schedules/statements
         1368.002    03/13/2023   HWR        0.20         95.00 Emails w/ KAB and MRP re: review of revised schedules and statements
         1368.002    03/13/2023     MR       0.20         62.00 Discussion with MRP re: filing plan for SOFAs/SOALs
         1368.002    03/13/2023   MRP        0.20        125.00 Emails w/ KAB and HWR re: review of revised schedules and statements
         1368.002    03/13/2023    KAB       0.20        164.00 Emails with M. Pierce and H. Robertson re: review of revised schedules and
                                                                statements
         1368.002    03/14/2023   KAB        1.30      1,066.00 numerous emails with S&C, A&M, RLKS and M. Pierce re: schedules and statements
                                                                and related issues
         1368.002    03/14/2023   KAB        0.30        246.00 emails with A. Kranzley, R. Esposito and M. Pierce re: dormant schedules and
                                                                statements (.2); email LRC team re: update on same (.1)
         1368.002    03/14/2023   MRP        0.10         62.50 Email w/ S&C and A&M teams re: SOFAs
         1368.002    03/14/2023   MRP        0.10         62.50 Email w/ A&M re: drafts of active entity schedules and statements
         1368.002    03/14/2023   MRP        0.40        250.00 Confer w/ KAB re: SOFA/SOAL filing plan
         1368.002    03/14/2023   KAB        0.10         82.00 emails with Kroll, A&M, M. Pierce and S&C re: creditor id code issues for schedules
         1368.002    03/14/2023   MRP        0.10         62.50 Email w/ Kroll and S&C re: email blast to creditors re: sofa/soal
         1368.002    03/14/2023   KAB        0.10         82.00 email H. Robertson and M. Pierce re: review of active entity schedules and statements
         1368.002    03/14/2023   KAB        0.20        164.00 email (.1) and discussion (.1) with H. Robertson re: schedules and statement issues
         1368.002    03/14/2023   KAB        4.30      3,526.00 review and revise schedules and statements
         1368.002    03/14/2023    MR        1.80        558.00 file schedules and statements (1.5); emails with MRP and HWR re: same (.3)
         1368.002    03/14/2023    MR        0.70        217.00 email with LRC team re: periodic reports (.1); file same (.5); email with HWR and MRP
                                                                as-filed copies (.1)
         1368.002    03/14/2023   ACD        3.50      1,085.00 Emails with LRC team re: schedules and statements (0.3); finalize and e-file dormat
                                                                schedules and statement (3.0); confer with HWR re: same (.2)
         1368.002    03/14/2023   KAB        0.40        328.00 confer with M. Pierce re: status and issues related to finalization and filing of
                                                                schedules and statements
         1368.002    03/14/2023   MRP        6.00      3,750.00 Emails w/ A&M, S&C and RLKS re: final versions of dormant schedules (.4); calls w/ R.
                                                                Espisito re: schedules and statements (.2); confer w/ KAB re: filing status (.3); review
                                                                final filing versions (5.1)
         1368.002    03/14/2023   HWR        0.10         47.50 Emails w/ Kroll re: schedules/statements noticing issues
         1368.002    03/14/2023   HWR        0.20         95.00 Emails w/ KAB and MRP re: review of schedules/statements for active entities
         1368.002    03/14/2023   HWR        3.70      1,757.50 Review schedules/statements for active entities
         1368.002    03/14/2023   HWR        0.20         95.00 Confer and email w/ KAB re: comments to schedules/statements for active entities
         1368.002    03/14/2023   HWR        0.40        190.00 Confer w/ MRP, MR and AD re: filing plan for dormant entity schedules/statements
         1368.002    03/14/2023   HWR        0.20         95.00 Cofer with ACD re: filing dormant entities schedules/statements
         1368.002    03/14/2023   HWR        1.50        712.50 Review dormant entities schedules/statements for filing
         1368.002    03/14/2023   HWR        0.30        142.50 Emails w/ MRP re: finalized dormant entities schedules/statements
         1368.002    03/14/2023   HWR        0.40        190.00 Review 2015.3 periodic reports for filing
         1368.002    03/14/2023   HWR        0.30        142.50 Emails w/ MRP, MR and AD re: finalizing and filing 2015.3 periodic reports
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            Client         Date   Tkpr      to Bill     Amount
Phase ID B151 Schedules/Operating Reports
         1368.002   03/14/2023    MRP        1.30        812.50 Numerous emails w/ S&C, A&M, RLKS and KAB re: schedules and statements and
                                                                related issues
         1368.002    03/14/2023   MRP        0.30        187.50 Emails w/ A. Kranzley, R. Esposito and KAB re: dormant schedules and statements (.2);
                                                                email w/ LRC team re: update on same (.1)
         1368.002    03/14/2023   HWR        0.10         47.50 email w/ LRC team re: update on dormant schedules and statements
         1368.002    03/14/2023   MRP        0.10         62.50 Emails w/ Kroll, A&M, KAB, and S&C re: creditor id code issues for schedules
         1368.002    03/14/2023   MRP        0.10         62.50 Email w/ KAB and HWR re: review of active entity schedules and statements
         1368.002    03/14/2023   MRP        0.40        250.00 Confer w/ KAB re: status and issues related to finalization and filing of schedules and
                                                                statements
         1368.002    03/14/2023   MRP        0.40        250.00 Confer w/ HWR, MR and ACD re: filing plan for dormant entity schedules/statements
         1368.002    03/14/2023    MR        0.40        124.00 Confer with MRP, HWR, and ACD re: filing plan for dormant entity
                                                                schedules/statements
         1368.002    03/14/2023   ACD        0.40        124.00 Confer with M. Pierce, H. Robertson, and M. Ramirez re: filing plan for dormant entity
                                                                schedules/statements
         1368.002    03/14/2023   MRP        0.30        187.50 Emails w/ HWR re: finalized dormant entities schedules/statements
         1368.002    03/14/2023   MRP        0.30        187.50 Emails w/ HWR, MR and AD re: finalizing and filing 2015.3 periodic reports
         1368.002    03/15/2023   KAB        0.20        164.00 discussion with A. Dellose and H. Robertson re: schedules and statements and related
                                                                issues
         1368.002    03/15/2023   KAB        0.10         82.00 discussion with M. Ramirez re: schedules and statements and related issues
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ UST re: as-filed SOFAs/SOALs
         1368.002    03/15/2023    MR        0.20         62.00 confer with HWR and KAB re: filing additional SOFAs and SOALs
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ H. Dice re: copies of SOFA/SOALs
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ UST re: electronic copies of SOFAs/SOALs
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ KAB, Kroll and A&M re: customer email blast for SOFA/SOAL
         1368.002    03/15/2023   KAB        0.10         82.00 emails with Kroll, A&M, S&C and M. Pierce re: customer emails w/r/t customer id's for
                                                                schedules and statements
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ M. Panacio re: copies of schedules and statements
         1368.002    03/15/2023   MRP        0.20        125.00 Email w/ Clerk's office and KAB re: filing schedules and statements in individual cases
                                                                (.1); email w/ LRC team re: same (.1)
         1368.002    03/15/2023   KAB        0.20        164.00 emails with Clerks office and M. Pierce re: schedules and statements (.1); emails with
                                                                LRC team re: same (.1)
         1368.002    03/15/2023   KAB        0.10         82.00 email with A. Kranzley, R. Esposito and M. Pierce re: status of active schedules and
                                                                statements and related issues
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ KAB, A&M and S&C re: update re: active entity SOFA/SOALs
         1368.002    03/15/2023   MRP        0.10         62.50 Email w/ S&C and Kroll teams re: SOFA/SOAL creditor notice
         1368.002    03/15/2023    MR        1.10        341.00 email from MRP re: filing schedules and statements in individual cases (.1); confer with
                                                                ACD re: same (.1) file same (.9)
         1368.002    03/15/2023    MR        2.00        620.00 emails with HWR and MRP re filing schedules and statements (.2); file same (1.8)
         1368.002    03/15/2023   ACD        3.30      1,023.00 Emails with H. Robertson re: schedules and statements (0.3); finalize and e-file same
                                                                (3.0)
         1368.002    03/15/2023   KAB        5.00      4,100.00 review and revise schedules and statements (4.1); numerous emails with A&M, S&C,
                                                                RLKS, and LRC teams re: same (.9)
         1368.002    03/15/2023    MR        0.10         31.00 email with Bankruptcy court re: docket text for West Realm Shires Inc SOFA
         1368.002    03/15/2023   HWR        0.60        285.00 Emails w/ Kroll, S&C, A&M and LRC Teams re: schedules/statements
         1368.002    03/15/2023   HWR        0.10         47.50 Email w/ UST re: as-filed schedules/statements
         1368.002    03/15/2023   HWR        0.10         47.50 Email w/ Court re: filing schedules/statements
         1368.002    03/15/2023   HWR        0.10         47.50 Emails w/ MRP re: review remaining schedules/statements
         1368.002    03/15/2023   HWR        0.10         47.50 Emails w/ A&M team re: finalized schedules/statements for filing
         1368.002    03/15/2023   HWR        0.60        285.00 Review schedules/statements
         1368.002    03/15/2023   HWR        0.40        190.00 Coordinate filing plan of remaining schedules/statements
         1368.002    03/15/2023   HWR        2.60      1,235.00 Review and confirm filed schedules/statements
         1368.002    03/15/2023    MR        0.20         62.00 Emails with JLH re: obtaining SOALs and SOFAs from Kroll
         1368.002    03/15/2023   ACD        0.20         62.00 discussion with K. Brown and H. Robertson re: schedules and statements and related
                                                                issues
         1368.002    03/15/2023   HWR        0.20         95.00 Discussion w/ KAB and AD re: schedules and statements and related issues
         1368.002    03/15/2023     MR       0.10         31.00 discussion with KAB re: schedules and statements and related issues
         1368.002    03/15/2023   HWR        0.20         95.00 Confer w/ KAB and MR re: filing additional SOFAs and SOALs
         1368.002    03/15/2023    KAB       0.20        164.00 Confer with H. Robertson and M. Ramirez re: filing additional SOFAs and SOALs
         1368.002    03/15/2023   ACD        0.10         31.00 Confer with M. Ramirez re: filing schedules and statements in individual cases
         1368.002    03/15/2023   MRP        0.20        125.00 Emails w/ HWR and MR re: filing schedules and statements
         1368.002    03/15/2023   HWR        0.30        142.50 Emails w/ AD re: schedules and statements
         1368.002    03/15/2023   MRP        0.90        562.50 Numerous emails w/ A&M, S&C, RLKS, and LRC teams re: schedules and statements
         1368.002    03/16/2023   MRP        0.20        125.00 Emails w/ LRC team re: preparing as-filed copies of SOFA/SOALs for UST
         1368.002    03/16/2023   MRP        0.10         62.50 Email w/ K. Gianis re: question about customer numbers
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         1368.002   03/16/2023    KAB        0.10         82.00   emails with LRC, UST and A. Kranzley re: schedules and statements
         1368.002   03/16/2023     MR        0.80        248.00   file schedules and statements
         1368.002   03/16/2023     MR        0.10         31.00   email with Bankruptcy court re updated docket text for West Realm Shires Inc SOFA
         1368.002   03/16/2023    ACD        2.80        868.00   Finalize and e-file schedules/statements in joint cases
         1368.002   03/16/2023    KAB        0.20        164.00   emails with Kroll, S&C and LRC teams re: customer announcement and service of 3/16
                                                                  pleadings related to schedules and statements
         1368.002    03/16/2023   KAB        0.20        164.00   review emails from customers re: inquires related to schedules and statements
         1368.002    03/16/2023   KAB        0.50        410.00   emails with S&C and M. Pierce re: statement regarding schedules and statements (.2);
                                                                  review and revise same (.2); emails with M. Pierce re: same (.1)
         1368.002    03/16/2023   KAB        0.10         82.00   email with S&C and M. Pierce re: UCC presentation on schedules and statements
         1368.002    03/16/2023   KAB        0.10         82.00   emails with S&C, A&M and M. Pierce re: schedules decoder and related issues
         1368.002    03/16/2023    MR        0.50        155.00   emails with MRP and HWR re: finalizing Debtors' statement regarding sofas and soals
                                                                  (.3); finalize and file same (.2)
         1368.002    03/16/2023   KAB        0.30        246.00   additional emails with A&M, S&C, LRC and Kroll teams re: notice to scheduled
                                                                  claimants and related issues
         1368.002    03/16/2023   KAB        0.30        246.00   emails with S&C and M. Pierce re: notice of customer code (.1); email with M. Pierce
                                                                  re: same (.1); review and revise same (.1)
         1368.002    03/16/2023    KAB       0.10         82.00   review email from J. Chavez re: schedules
         1368.002    03/16/2023   HWR        0.40        190.00   Confer w/ AD re process/procedure for sending as-filed schedules/statements to UST
         1368.002    03/16/2023   HWR        0.20         95.00   Emails w/ MRP and AD re: sending as-filed schedules/statements to UST
         1368.002    03/16/2023   HWR        0.10         47.50   Email w/ UST re: as-filed schedules/statements
         1368.002    03/16/2023   HWR        0.30        142.50   Emails w/ S&C, A&M, Kroll and LRC Teams re: schedules/statements noticing issues
         1368.002    03/16/2023   HWR        0.20         95.00   Review S&C draft notice to FTX Customers re: schedules/statements
         1368.002    03/16/2023   HWR        0.20         95.00   Emails w/ S&C and A&M Teams re: draft notice to FTX Customers re:
                                                                  schedules/statements
         1368.002    03/16/2023   HWR        0.10         47.50   Emails w/ MRP and MR re finalizing notice to FTX Customers re: schedules/statements
         1368.002    03/16/2023   HWR        0.10         47.50   Review finalized notice to FTX Customers re: schedules/statements for filing
         1368.002    03/16/2023   HWR        0.10         47.50   Email w/ Kroll re: service of filed notice to FTX Customers re: schedules/statements
         1368.002    03/16/2023   HWR        0.10         47.50   Emails w/ J. Petiford re: service of notice to FTX Customers re: schedules/statements
         1368.002    03/16/2023   HWR        0.10         47.50   Confer w/ MRP re: service of notice to FTX Customers re: schedules/statements
         1368.002    03/16/2023    MR        0.10         31.00   Emails with MRP and HWR re: finalizing notice to FTX Customers re:
                                                                  schedules/statements
         1368.002    03/16/2023   MRP        0.10         62.50   Emails w/ HWR and MR re: finalizing notice to FTX Customers re:
                                                                  schedules/statements
         1368.002    03/16/2023   MRP        0.10         62.50   Confer w/ HWR re: service of notice to FTX Customers re: schedules/statements
         1368.002    03/16/2023   ACD        0.40        124.00   Confer with HWR re: process/procedure for sending as-filed schedules/statements to
                                                                  UST
         1368.002    03/16/2023   ACD        0.20         62.00   Emails with LRC team re: preparing as-filed copies of SOFA/SOALs for UST
         1368.002    03/16/2023   MRP        0.10         62.50   Emails w/ LRC, UST and A. Kranzley re: schedules and statements
         1368.002    03/16/2023   MRP        0.20        125.00   Emails w/ Kroll, S&C and LRC teams re: customer announcement and service of 3/16
                                                                  pleadings related to schedules and statements
         1368.002    03/16/2023   MRP        0.30        187.50   Emails w/ S&C and KAB re: statement regarding schedules and statements (.2); emails
                                                                  w/ KAB re: revisions of same (.1)
         1368.002    03/16/2023   MRP        0.10         62.50   Email w/ S&C and KAB re: UCC presentation on schedules and statements
         1368.002    03/16/2023   MRP        0.20        125.00   Emails w/ S&C and KAB re: notice of customer code (.1); email w/ KAB re: same (.1)
         1368.002    03/16/2023   MRP        0.20        125.00   Review draft of customer code notice
         1368.002    03/16/2023   MRP        0.20        125.00   Revise filing version of statement re:: schedules and statements
         1368.002    03/17/2023   KAB        0.20        164.00   emails with Kroll, S&C, A&M and LRC teams re: schedule claimant email blast and
                                                                  related issues
         1368.002    03/17/2023   KAB        0.20        164.00   emails with S&C and M. Pierce re: updated UCC presentation on Schedules and
                                                                  Statements (.1); email with M. Pierce re: notice for same (.1)
         1368.002    03/17/2023   KAB        0.30        246.00   emails from multiple customers re: schedules and statements inquiries
         1368.002    03/17/2023   KAB        1.10        902.00   emails with S&C and LRC teams re: schedules presentation (.1); emails with LRC team
                                                                  re: notice and finalization and filing of same (.1); review and analyze presentation (.9)
         1368.002    03/17/2023   KAB        0.20        164.00   additional emails with S&C, A&M, LRC and Kroll teams re: notice of customer codes
                                                                  and related issues
         1368.002    03/17/2023    KAB       0.20        164.00   emails with S&C and M. Pierce re: updated schedules and statements presentation
         1368.002    03/17/2023   HWR        0.10         47.50   Review S&C revised draft email to customers re: schedules/statements
         1368.002    03/17/2023   MRP        0.20        125.00   emails w/ Kroll, S&C, A&M and LRC teams re: schedule claimant email blast and
                                                                  related issues
         1368.002    03/17/2023   HWR        0.20         95.00   emails w/ Kroll, S&C, A&M and LRC teams re: schedule claimant email blast and
                                                                  related issues
         1368.002    03/17/2023   MRP        0.20        125.00   emails w/ S&C and LRC re: updated UCC presentation on Schedules and Statements
                                                                  (.1); email w/ KAB re: notice for same (.1)
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         1368.002   03/17/2023 HWR           0.20         95.00 emails w/ S&C and LRC teams re: schedules presentation (.1); emails w/ LRC team re:
                                                                notice and finalization and filing of same (.1)
         1368.002    03/17/2023   MRP        0.20        125.00 emails w/ S&C, A&M, LRC and Kroll teams re: notice of customer codes and related
                                                                issues
         1368.002    03/17/2023   HWR        0.20         95.00 emails w/ S&C, A&M, LRC and Kroll teams re: notice of customer codes and related
                                                                issues
         1368.002    03/17/2023   MRP        0.20        125.00 emails w/ S&C and KAB re: updated schedules and statements presentation
         1368.002    03/17/2023   MRP        0.80        500.00 Analyze presentation to UCC re: schedules and statements
         1368.002    03/20/2023   KAB        0.40        328.00 emails with R. Esposito, S&C and M. Pierce re: unredacted schedules and statements
                                                                and customer id issues
         1368.002    03/20/2023   KAB        0.10         82.00 emails with Kroll, A&M, S&C and LRC teams re: scheduled claimant email issues
         1368.002    03/20/2023    MR        0.90        279.00 multiple conversations with HWR re: SOFA and SOAL for FTX Ventures and PPI
                                                                pertaining to each (.3); call and email with chambers re: same (.2); draft NOWs re:
                                                                same (.4)
         1368.002    03/20/2023    MR        0.20         62.00 confer with HWR re: SOFA and SOAL PII (.1); call with Chambers re: same (.1)
         1368.002    03/20/2023   KAB        0.20        164.00 emails with S&C and M. Pierce re: Notices of Withdrawal and related issues
         1368.002    03/20/2023   KAB        0.20        164.00 additional emails with Kroll, A&M and S&C re: email to claimants re: scheduled claims
                                                                and related issues
         1368.002    03/20/2023    KAB       0.10         82.00 review email from J. Chavez re: schedules inquiry
         1368.002    03/20/2023    KAB       0.10         82.00 emails with LRC team re: update on schedules/redaction issue
         1368.002    03/20/2023   HWR        0.20         95.00 Confer w/ MRP re: FTX Ventures schedule/statement issues
         1368.002    03/20/2023   HWR        0.30        142.50 Confer w/ MR re: FTX Schedules/Statements issues
         1368.002    03/20/2023   HWR        0.40        190.00 Review Court process/procedure for restricting access to filings
         1368.002    03/20/2023   HWR        0.10         47.50 Email w/ MRP re: Court process/procedure for restricting access to filings
         1368.002    03/20/2023   HWR        0.20         95.00 Review draft NOWs re: FTX Ventures schedules/statements
         1368.002    03/20/2023   HWR        0.10         47.50 Emails w/ KAB and MRP re: FTX Ventures Schedules/Statement issues
         1368.002    03/20/2023   HWR        0.20         95.00 Emails w/ Kroll, S&C, A&M, and LRC Teams re: customer noticing issues for
                                                                schedules/statements
         1368.002    03/20/2023   MRP        0.40        250.00 emails w/ R. Esposito, S&C and KAB re: unredacted schedules and statements and
                                                                customer id issues
         1368.002    03/20/2023   MRP        0.10         62.50 emails w/ Kroll, A&M, S&C and LRC teams re: scheduled claimant email issues
         1368.002    03/20/2023   HWR        0.10         47.50 confer w/ MR re: SOFA and SOAL PII
         1368.002    03/20/2023   MRP        0.20        125.00 emails w/ S&C and KAB re: Notices of Withdrawal and related issues
         1368.002    03/20/2023   MRP        0.10         62.50 emails w/ LRC team re: update on schedules/redaction issue
         1368.002    03/20/2023   HWR        0.10         47.50 emails w/ LRC team re: update on schedules/redaction issue
         1368.002    03/20/2023     MR       0.10         31.00 emails with LRC team re: update on schedules/redaction issue
         1368.002    03/20/2023   MRP        0.20        125.00 Confer w/ HWR re: FTX Ventures schedule/statement issues
         1368.002    03/20/2023   MRP        0.10         62.50 Email w/ HWR re: Court process/procedure for restricting access to filings
         1368.002    03/20/2023   MRP        0.10         62.50 Emails w/ KAB and HWR re: FTX Ventures Schedules/Statement issues
         1368.002    03/20/2023    KAB       0.10         82.00 Emails with M. Pierce and H. Robertson re: FTX Ventures Schedules/Statement issues
         1368.002    03/20/2023   MRP        0.40        250.00 Revise notices to withdraw certain schedules and sofas
         1368.002    03/21/2023    KAB       0.10         82.00 confer with M. Pierce re: schedules redactions and related issues
         1368.002    03/21/2023    KAB       0.30        246.00 emails with S&C and M. Pierce re: schedules redactions and docket issue (.2); emails
                                                                with LRC team re: same (.1)
         1368.002    03/21/2023   MRP        0.10         62.50 Emails w/ MR and HWR re: corrected filing for SOFA/SOAL w/ PII
         1368.002    03/21/2023   MRP        0.30        187.50 Email w/ S&C and KAB re: restriction of SOFA/SOAL w/ PII and filing corrected
                                                                versions (.2); emails w/ LRC re: same (.1)
         1368.002    03/21/2023    KAB       0.10         82.00 email with M. Pierce re: follow-up with K. Gianis re: customer codes
         1368.002    03/21/2023   MRP        0.20        125.00 Confer w/ KAB re: GDPR issues
         1368.002    03/21/2023    AGL       0.60        690.00 review and analyze Emergent February MOR
         1368.002    03/21/2023   MRP        0.10         62.50 Call w/ J. Petiford re: corrected SOFA/SOAL for certain entities
         1368.002    03/21/2023     MR       0.10         31.00 review email from bankruptcy court re: restricted schedule and statement due to PII
         1368.002    03/21/2023     MR       0.10         31.00 email with HWR and MRP re: restricted documents with PII
         1368.002    03/21/2023     MR       0.10         31.00 email with MRP re: sealed schedules and statements with PII information
         1368.002    03/21/2023     MR       0.10         31.00 review email from ACD re: MOR for Emergent case
         1368.002    03/21/2023   HWR        0.20         95.00 Emails w/ MR and MRP re: FTX Ventures schedules/statements issues
         1368.002    03/21/2023   HWR        0.20         95.00 Emails w/ MRP and MR re: additional schedules/statements issues
         1368.002    03/21/2023   MRP        0.10         62.50 confer w/ KAB re: schedules redactions and related issues
         1368.002    03/21/2023   HWR        0.10         47.50 Emails w/ LRC team re: schedules redactions and docket issue
         1368.002    03/21/2023    KAB       0.20        164.00 Confer with M. Pierce re: GDPR issues
         1368.002    03/21/2023   MRP        0.10         62.50 email w/ HWR and MR re: restricted documents with PII
         1368.002    03/21/2023   MRP        0.10         62.50 email w/ MR re: sealed schedules and statements with PII information
         1368.002    03/21/2023   MRP        0.20        125.00 Emails w/ HWR and MR re: additional schedules/statements issues
         1368.002    03/21/2023     MR       0.20         62.00 Emails with MRP and HWR re: additional schedules/statements issues
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         1368.002   03/21/2023    ACD        0.10         31.00   email with MR re: MOR for Emergent case
         1368.002   03/21/2023    MRP        0.10         62.50   Review Emergent operating report
         1368.002   03/22/2023    MRP        0.10         62.50   Email w/ S&C and A&M re: schedule and statement files for UST
         1368.002   03/22/2023    KAB        0.30        246.00   emails with S&C, A&M and M. Pierce re: schedules and statement issues
         1368.002   03/22/2023    KAB        0.10         82.00   emails with S&C, LRC and Haynes & Boone re: schedules and statements questions
                                                                  related to BlockFi
         1368.002    03/22/2023   MRP        0.20        125.00   Emails w/ LRC, S&C and A&M team re: customer schedule decoders
         1368.002    03/22/2023   MRP        1.10        687.50   Review customer code decoder PDFs for UST
         1368.002    03/22/2023   MRP        0.10         62.50   Confer w/ LRC team re: preparing link for UST to send customer ID decoder
         1368.002    03/22/2023   MRP        0.10         62.50   Email w/ MR re: file link for UST
         1368.002    03/22/2023   MRP        0.20        125.00   Email w/ UST re: customer schedule code keys
         1368.002    03/22/2023   AGL        0.30        345.00   communications with blockfi re: schedules identification/claim issues
         1368.002    03/22/2023   KAB        0.30        246.00   emails with A&M, LRC and S&C re: customer code ids for schedules and statements
                                                                  and related issues (.2); emails with UST, LRC and A. Kranzley re: same (.1)
         1368.002    03/22/2023    MR        0.40        124.00   emails with MRP and HWR re: Customer Schedule Decoder for sofa and soal (.2);
                                                                  prepared secured link for same (.1); email with MRP re: same (.1)
         1368.002    03/22/2023   HWR        0.20         95.00   Emails w/ MRP and MR re: schedules/statements issues
         1368.002    03/22/2023   MRP        0.30        187.50   emails w/ S&C, A&M and KAB re: schedules and statement issues
         1368.002    03/22/2023    MR        0.10         31.00   Confer with LRC team re: preparing link for UST to send customer ID decoder
         1368.002    03/22/2023   HWR        0.10         47.50   Confer w/ LRC team re: preparing link for UST to send customer ID decoder
         1368.002    03/22/2023    MR        0.10         31.00   Email with MRP re: file link for UST
         1368.002    03/22/2023   MRP        0.10         62.50   emails w/ UST, LRC and A. Kranzley re: customer code ids for schedules and
                                                                  statements and related
         1368.002    03/22/2023   MRP        0.20        125.00   Emails w/ HWR and MR re: schedules/statements issues
         1368.002    03/23/2023   KAB        0.50        410.00   emails with S&C and M. Pierce re: schedules and sofas issues (.2); emails with LRC
                                                                  team re: same (.2); email S&C and M. Pierce re: resolution of same (.1)
         1368.002    03/23/2023   KAB        0.20        164.00   emails with Kroll, S&C and M. Pierce re: schedules and sofa issues
         1368.002    03/23/2023   MRP        0.10         62.50   Email w/ S&C re: GDPR issues in certain SOFAs
         1368.002    03/23/2023   MRP        0.20        125.00   Email w/ KAB, S&C and Kroll re: restriction of certain SOFAs w/ PII
         1368.002    03/23/2023   MRP        0.10         62.50   Email w/ LRC team re: contacting Clerk's office w/r/t certain SOFAs containing PII
         1368.002    03/23/2023   MRP        0.10         62.50   Email w/ Kroll confirming removal of certain SOFA schedules from case website
         1368.002    03/23/2023   KAB        0.10         82.00   emails with A&M, Kroll, S&C and LRC teams re: custom emails for customer ids
         1368.002    03/23/2023    MR        0.50        155.00   emails with LRC team re: PII in additional sofa and soal and requesting link be
                                                                  restricted on the docket (.2); confer with HWR re: same (.1); email with the bankruptcy
                                                                  court re: same (.1); further email with LRC team re: updated docket (.1)
         1368.002    03/23/2023   HWR        0.10         47.50   Email w/ KAB re: schedules/statement issues
         1368.002    03/23/2023   HWR        0.20         95.00   Confer w/ MR re: schedules/statements issues
         1368.002    03/23/2023    KAB       0.20        164.00   emails with Kroll, S&C, A&M and LRC teams re: customer code issues
         1368.002    03/23/2023   MRP        0.50        312.50   emails w/ S&C and KAB re: schedules and sofas issues (.2); emails w/ LRC team re:
                                                                  same (.2); email w/ S&C and KAB re: resolution of same (.1)
         1368.002    03/23/2023   HWR        0.10         47.50   Email w/ LRC team re: contacting Clerk's office w/r/t certain SOFAs containing PII
         1368.002    03/23/2023    MR        0.10         31.00   Email with LRC team re: contacting Clerk's office w/r/t certain SOFAs containing PII
         1368.002    03/23/2023   MRP        0.10         62.50   emails w/ A&M, Kroll, S&C and LRC teams re: custom emails for customer ids
         1368.002    03/23/2023   HWR        0.10         47.50   emails w/ A&M, Kroll, S&C and LRC teams re: custom emails for customer ids
         1368.002    03/23/2023   HWR        0.40        190.00   emails w/ LRC team re: PII in additional sofa and soal and requesting link be restricted
                                                                  on the docket (.2); confer w/ MR re: same (.1); further email w/ LRC team re: updated
                                                                  docket (.1)
         1368.002    03/23/2023    KAB       0.10         82.00   email with LRC team re: updated docket
         1368.002    03/23/2023   MRP        0.10         62.50   email w/ LRC team re: updated docket
         1368.002    03/23/2023    KAB       0.10         82.00   Email with H. Robertson re: schedules/statement issues
         1368.002    03/23/2023     MR       0.20         62.00   Confer with HWR re: schedules/statements issues
         1368.002    03/23/2023   MRP        0.20        125.00   emails w/ Kroll, S&C, A&M and LRC teams re: customer code issues
         1368.002    03/23/2023   HWR        0.20         95.00   emails w/ Kroll, S&C, A&M and LRC teams re: customer code issues
         1368.002    03/24/2023   MRP        0.30        187.50   Attend call w/ Kroll, A&M and S&C re: customer schedule email blast
         1368.002    03/24/2023    KAB       0.30        246.00   Call with Kroll, A&M and S&C re: emails to claimants regarding schedules and
                                                                  statements
         1368.002    03/25/2023   KAB        0.10         82.00   emails with M. Cilia, A&M, S&C and M. Pierce re: sofa replacements/amendments
         1368.002    03/25/2023   MRP        0.10         62.50   Email w/ RLKS, A&M, S&C, and KAB re: amended schedules draft
         1368.002    03/26/2023   KAB        0.50        410.00   emails with A&M, S&C, M. Pierce and M. Cilia re: sofa amendments/replacements and
                                                                  related issues (.1); review docs re: same (.4)
         1368.002    03/26/2023   MRP        0.10         62.50   Email w/ KAB, A&M and RLKS re: amended schedule
         1368.002    03/27/2023   MRP        0.10         62.50   Emails w/ S&C re: RLKS re: corrected SOFAs
         1368.002    03/27/2023   KAB        0.40        328.00   emails with A&M, S&C, M. Cilia and M. Pierce re: replacement/amendment SOFAs and
                                                                  related issues (.1); emails with LRC team re: finalization and filing of same (.2); confer
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             Client         Date      Tkpr    to Bill     Amount
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                                                                    with M. Pierce re: amendment (.1)
         1368.002     03/27/2023     MRP        0.90       562.50   Review corrected redacted SOFAs
         1368.002     03/27/2023     MRP        0.10        62.50   Call w/ MR re: filing SOFA/SOAL
         1368.002     03/27/2023     MRP        0.20       125.00   Email w/ Kroll re: test customer email (.1); review the same (.1)
         1368.002     03/27/2023      MR        0.70       217.00   email with KAB and MRP re: filing redacted SOFAs for Debtor entities and amended
                                                                    SOFA for FTX Ventures (.2); call with MRP re: same (.1) file same redacted sofas (.3);
                                                                    file amended sofa for FTX ventures (.1)
         1368.002     03/27/2023     HWR        0.20        95.00   Emails w/ Kroll, S&C, A&M, and LRC teams re: customer email re:
                                                                    schedules/statements
         1368.002     03/27/2023     HWR        0.10        47.50   Emails w/ LRC team re: redacted schedules/statements
         1368.002     03/27/2023     HWR        0.20        95.00   Review revised customer email re: schedules and statements
         1368.002     03/27/2023     MRP        0.40       250.00   emails w/ A&M, S&C, M. Cilia and KAB re: replacement/amendment SOFAs and
                                                                    related issues (.1); emails w/ LRC team re: finalization and filing of same (.2); confer w/
                                                                    KAB re: amendment (.1)
         1368.002     03/27/2023      KAB       0.20       164.00   Emails with Kroll, S&C, A&M, and LRC teams re: customer email re:
                                                                    schedules/statements
         1368.002     03/27/2023     KAB        0.10        82.00   Emails with LRC team re: redacted schedules/statements
         1368.002     03/27/2023     MRP        0.10        62.50   Emails w/ LRC team re: redacted schedules/statements
         1368.002     03/27/2023      MR        0.10        31.00   Emails with LRC team re: redacted schedules/statements
         1368.002     03/27/2023     KAB        1.10       902.00   review and analyze proposed redactions for certain SOFAs
         1368.002     03/27/2023     MRP        0.50       312.50   Review filing version of amended SOFA/SOAL
         1368.002     03/28/2023     KAB        0.40       328.00   review and revise draft customer code email (.2); emails with S&C re: same (.2)
         1368.002     03/28/2023     KAB        0.90       738.00   numerous emails with A&M, S&C, Kroll and LRC teams re: schedules claimant email
                                                                    revisions and related issues (.7); emails with S&C and M. Pierce re: same (.2)
         1368.002     03/28/2023     MRP        0.10        62.50   Review revised draft of customer email
         1368.002     03/28/2023     KAB        0.20       164.00   review and revise most recent iteration of test claimant email
         1368.002     03/28/2023     KAB        0.50       410.00   emails with A&M, S&C and M. Cilia re: Feb. interim financial update (.2); review and
                                                                    revise excerpt from same (.3)
         1368.002     03/28/2023     HWR        0.20        95.00   Review KAB comments to draft customer email re: schedules/statements
         1368.002     03/28/2023     HWR        0.20        95.00   Emails w/ Kroll, S&C, A&M, and LRC teams re: customer email re:
                                                                    schedules/statements
         1368.002     03/28/2023     MRP        0.90       562.50   numerous emails w/ A&M, S&C, Kroll and LRC teams re: schedules claimant email
                                                                    revisions and related issues (.7); emails w/ S&C and KAB re: same (.2)
         1368.002     03/29/2023      KAB       1.00       820.00   numerous emails with M. Cilia, A&M, and S&C re: Feb. interim financial update and
                                                                    issues related thereto (.4); review and revise various excerpts thereto and data (.6)
         1368.002     03/29/2023      KAB       0.20       164.00   emails with Kroll, S&C, A&M, and LRC teams re: update on process of claimant unique
                                                                    id/schedules emails
         1368.002     03/29/2023     HWR        0.20        95.00   Emails w/ Kroll, S&C, A&M, and LRC teams re: customer email re:
                                                                    schedules/statements
         1368.002     03/29/2023     MRP        0.20       125.00   emails w/ Kroll, S&C, A&M, and LRC teams re: update on process of claimant unique
                                                                    id/schedules emails
         1368.002     03/30/2023      KAB       0.80       656.00   emails with A&M, S&C, and M. Cilia re: current version interim financial update and
                                                                    comments thereto (.3); review and revise same (.5)
         1368.002     03/31/2023      KAB       0.70       574.00   review and revise 3rd interim financial update
         1368.002     03/31/2023      KAB       0.50       410.00   emails with M. Cilia, A&M, and S&C re: 3rd interim financial update (.3); emails with
                                                                    LRC team re: finalization and filing of same (.2)
         1368.002     03/31/2023     HWR        0.10        47.50   Email w/ Kroll, A&M, S&C and LRC Teams re: customer email for schedules and
                                                                    statements
         1368.002     03/31/2023     HWR        0.10        47.50   Emails w/ LRC Team re: finalizing and filing financial update
         1368.002     03/31/2023      KAB       0.10        82.00   emails with Blockchain, S&C and LRC teams re: customer code info
         1368.002     03/31/2023      KAB       0.10        82.00   emails with customer, S&C and LRC teams re: customer code
         1368.002     03/31/2023     MRP        0.20       125.00   emails w/ LRC team re: finalization and filing of 3rd interim financial update
         1368.002     03/31/2023     MRP        0.10        62.50   Email w/ Kroll, A&M, S&C and LRC Teams re: customer email for schedules and
                                                                    statements
         1368.002     03/31/2023      KAB       0.10        82.00   Email with Kroll, A&M, S&C and LRC Teams re: customer email for schedules and
                                                                    statements
         1368.002     03/31/2023     MRP        0.10        62.50   emails w/ Blockchain, S&C and LRC teams re: customer code info
         1368.002     03/31/2023     MRP        0.10        62.50   emails w/ customer, S&C and LRC teams re: customer code
         1368.002     03/31/2023     MRP        0.60       375.00   Analyze financial update

Total for Phase ID B151            Billable   155.80    96,270.50 Schedules/Operating Reports

Phase ID B160 Examiner
         1368.002   03/06/2023        KAB       0.30       246.00 email with LRC team re: notice of appeal of examiner's order (.1); review and analyze
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Phase ID B160 Examiner
                                                               same (.1); email LRC team re: dates and deadlines related thereto (.1)
        1368.002     03/06/2023   KAB     0.10         82.00   review email from J. Sarkessian re: appeal of examiner order
        1368.002     03/06/2023   MRP     0.10         62.50   Review notice of appeal of examiner motion
        1368.002     03/06/2023   MRP     0.10         62.50   Email w/ UST re: service copies of notice of appeal
        1368.002     03/06/2023   KAB     0.30        246.00   emails with LRC team re: appeal issues (.1); review and analyze summary of timing
                                                               elements related to same (.2)
        1368.002     03/06/2023   MRP     0.10         62.50   email w/ HWR re: appeal deadlines
        1368.002     03/06/2023   ACD     0.50        155.00   Review notice of appeal re: order denying UST's examiners motion (0.2); confer with
                                                               H. Robertson re: critical dates re: same (0.3)
        1368.002     03/06/2023   HWR     0.10         47.50   Review UST notice of appeal from examiner ruling
        1368.002     03/06/2023   HWR     0.20         95.00   Call w/ AD re UST notice of appeal from examiner ruling
        1368.002     03/06/2023   HWR     0.70        332.50   Research re: appeal procedure for UST examiner appeal
        1368.002     03/06/2023   HWR     0.40        190.00   Draft memo re: appeal procedure for UST examiner appeal
        1368.002     03/06/2023   HWR     0.20         95.00   Additional emails w/ KAB re: UST appeal from examiner ruling
        1368.002     03/06/2023   MRP     0.20        125.00   email w/ LRC team re: notice of appeal of examiner's order (.1); email w/ LRC team re:
                                                               dates and deadlines related thereto (.1)
        1368.002     03/06/2023   HWR     0.20         95.00   email w/ LRC team re: notice of appeal of examiner's order (.1); email w/ LRC team re:
                                                               dates and deadlines related thereto (.1)
        1368.002     03/06/2023   MRP     0.10         62.50   emails w/ LRC team re: appeal issues
        1368.002     03/06/2023   HWR     0.10         47.50   emails w/ LRC team re: appeal issues
        1368.002     03/06/2023   HWR     0.10         47.50   email w/ MRP re: appeal deadlines
        1368.002     03/06/2023   ACD     0.20         62.00   Call with H. Robertson re: UST notice of appeal from examiner ruling
        1368.002     03/06/2023    KAB    0.20        164.00   emails with H. Robertson re: UST appeal from examiner ruling
        1368.002     03/08/2023   MRP     0.10         62.50   Email w/ LRC re: standing order in UST Examiner appeal
        1368.002     03/08/2023    KAB    0.20        164.00   email with LRC team re: standing order for appeal (.1); review and analyze order (.1)
        1368.002     03/08/2023   MRP     0.10         62.50   Review standing order governing briefing in UST examiner appeal
        1368.002     03/08/2023   ACD     0.40        124.00   Review District Court appeals docket re: examiner motion (0.3); email court opening
                                                               letter to lRC team (0.1)
        1368.002     03/08/2023    MR     0.10         31.00   Emails with LRC team re: standing order in UST Examiner appeal
        1368.002     03/09/2023   KAB     0.10         82.00   review letter from District Court re: EOAs and association with DE counsel rules
        1368.002     03/20/2023   KAB     0.10         82.00   review email from UST re: appeal issues
        1368.002     03/20/2023   AGL     0.70        805.00   review and analyze statement of issues on appeal (.1); designation of items for
                                                               inclusion in record on appeal (.6)
        1368.002     03/20/2023   KAB     0.10         82.00   review email from UST re: service of appeal pleadings
        1368.002     03/20/2023   MRP     0.10         62.50   Review UST statement of issues on appeal
        1368.002     03/20/2023   MRP     1.90      1,187.50   Review UST designation of record on appeal
        1368.002     03/21/2023   KAB     0.60        492.00   review and analyze UST statement of issues and record designations
        1368.002     03/22/2023   MRP     0.10         62.50   Review UST email re: direct appeal
        1368.002     03/22/2023   MRP     0.30        187.50   Email w/ AGL and KAB re: UST direct appeal
        1368.002     03/22/2023   MRP     0.10         62.50   Email w/ AGL and UST re: Debtors' response to UST direct appeal inquiry
        1368.002     03/22/2023   AGL     1.60      1,840.00   review and analyze UST request for consent to shorten notice and direct appeal to
                                                               third circuit re: examiner order (.6); communications with S&C team re: same (.3);
                                                               communications with with ust in reply to request (.4); communications with lrc team
                                                               re: next steps (.3)
        1368.002     03/22/2023   KAB     0.50        410.00   emails with UST, UCC, S&C, and LRC teams re: UST requests regarding direct
                                                               certification and shortening notice on same (.2); emails with A. landis and M. Pierce re:
                                                               same (.3)
        1368.002     03/22/2023   KAB     3.30      2,706.00   discussions with M. Pierce re: objection to motion to shorten motion to certify (.3);
                                                               review and revise multiple iterations of same (2.4); emails with A. Landis and M. Pierce
                                                               re: same (.6)
        1368.002     03/22/2023   MRP     0.50        312.50   emails w/ UST, UCC, S&C, and LRC teams re: UST requests regarding direct
                                                               certification and shortening notice on same (.2); emails w/ AGL and KAB re: same (.3)
        1368.002     03/22/2023   MRP     0.90        562.50   discussions w/ KAB re: objection to motion to shorten motion to certify (.3); emails
                                                               with w/ AGL and KAB re: same (.6)
        1368.002     03/22/2023   AGL     0.60        690.00   emails with brown and pierce re: objection to motion to shorten motion to certify
        1368.002     03/23/2023   KAB     0.10         82.00   review email from R. Poppiti re: UST requests related to examiner appeal
        1368.002     03/23/2023   MRP     0.20        125.00   Email w/ HWR re: direct appeal research questions
        1368.002     03/23/2023   MRP     0.20        125.00   Confer w/ HWR re: researching findings regarding shortening notice on direct appeal
                                                               certification
        1368.002     03/23/2023   KAB     0.40        328.00   email with H. Robertson and M. Pierce re: research on motions to certify direct
                                                               appeals (.1); review initial research findings (.2); confer with M. Pierce re: expansion of
                                                               research (.1)
        1368.002     03/23/2023   MRP     0.10         62.50   Email w/ KAB and HWR re: additional direct appeal research
        1368.002     03/23/2023   KAB     0.70        574.00   review and analyze UST motion for direct certification
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         1368.002   03/23/2023    KAB     0.30        246.00   review and analyze UST's motion to shorten motion to certify
         1368.002   03/23/2023    KAB     0.10         82.00   review email from UST re: motion to certify and motion to shorten
         1368.002   03/23/2023    KAB     0.10         82.00   call with R. Poppiti re: UST motion to shorten and related issues
         1368.002   03/23/2023    KAB     0.20        164.00   emails with UST, Chambers, S&C, UCC and LRC teams re: UST motion to shorten and
                                                               motion to certify
         1368.002    03/23/2023   AGL     6.70      7,705.00   review and analyze ust motion to certify (1.2) and motion to shorten (.9); review and
                                                               revise objection to motion to shorten (3.2); communications with S&C team (.5), lrc
                                                               team (.9) re: objection to motion to shorten
         1368.002    03/23/2023    MR     0.30         93.00   review docket re: Motion for Request for Certification of Direct Appeal to Circuit Court
                                                               Filed by U.S. Trustee and motion to seal same (.2); email with LRC team re: same (.1)
         1368.002    03/23/2023    MR     0.10         31.00   confer with KAB re: filing objection to motion to shorten Motion for Request for
                                                               Certification of Direct Appeal to Circuit Court
         1368.002    03/23/2023   MRP     5.30      3,312.50   Draft objection to UST motion to shorten
         1368.002    03/23/2023   HWR     1.00        475.00   Research re: objection to Motion to shorten certification of direct appeal
         1368.002    03/23/2023   HWR     0.20         95.00   Confer w/ MRP re: motion to shorten certification of direct appeal research
         1368.002    03/23/2023   HWR     2.80      1,330.00   Research re: certification of direct appeal
         1368.002    03/23/2023   HWR     0.50        237.50   Draft research summary re: certification of direct appeal
         1368.002    03/23/2023   HWR     0.20         95.00   Emails w/ MRP re: research of certification of direct appeal
         1368.002    03/23/2023   HWR     0.20         95.00   Emails w/ MRP re: objection to motion to shorten certification of direct appeal
         1368.002    03/23/2023    KAB    1.20        984.00   emails with A. Landis and M. Pierce re: objection to motion to shorten and related
                                                               issues (.3); review and revise draft (.9)
         1368.002    03/23/2023   KAB     0.40        328.00   emails with Chambers, UST, UCC, S&C and LRC teams re: UST motion to certify and
                                                               related motion to shorten (.2); emails with A. Landis and M. Pierce re: issues related to
                                                               same (.2)
         1368.002    03/23/2023   MRP     0.30        187.50   email w/ KAB and HWR re: research on motions to certify direct appeals (.2); confer w/
                                                               KAB re: expansion of research (.1)
         1368.002    03/23/2023   MRP     0.20        125.00   emails w/ UST, Chambers, S&C, UCC and LRC teams re: UST motion to shorten and
                                                               motion to certify
         1368.002    03/23/2023   MRP     0.10         62.50   email w/ LRC team re: Motion for Request for Certification of Direct Appeal to Circuit
                                                               Court Filed by U.S. Trustee
         1368.002    03/23/2023   HWR     0.10         47.50   email w/ LRC team re: Motion for Request for Certification of Direct Appeal to Circuit
                                                               Court Filed by U.S. Trustee
         1368.002    03/23/2023   KAB     0.10         82.00   Confer with M. Ramirez re: filing objection to motion to shorten Motion for Request
                                                               for Certification of Direct Appeal to Circuit Court
         1368.002    03/23/2023   MRP     0.20        125.00   Emails w/ HWR re: objection to motion to shorten certification of direct appeal
         1368.002    03/23/2023   MRP     0.30        187.50   emails w/ AGL and KAB re: objection to motion to shorten and related issues
         1368.002    03/23/2023   MRP     0.40        250.00   emails w/ Chambers, UST, UCC, S&C and LRC teams re: UST motion to certify and
                                                               related motion to shorten (.2); emails with AGL and KAB re: issues related to same (.2)
         1368.002    03/23/2023   MRP     1.20        750.00   Analyze UST motion for direct appeal
         1368.002    03/24/2023   MRP     0.20        125.00   Emails w/ KAB and UST re: notice of docketing request for direct appeal (.1); review
                                                               the same (.1)
         1368.002    03/24/2023   MRP     0.10         62.50   Confer w/ MR re: party listed in notice of docketing request for direct appeal
         1368.002    03/24/2023    MR     0.50        155.00   email with KAB re: finalizing objection to UST motion to shorten time for motion to
                                                               certify direct appeal (.2); finalize and file same (.2); email with LRC team re: same (.1)
         1368.002    03/24/2023    MR     0.20         62.00   review docket re: Committee's Objection to the United States Trustee's Motion For
                                                               Entry of an Order Shortening Time for the Motion of the United States Trustee to
                                                               Certify Direct Appeal (.1); email with LRC team re: same (.1)
         1368.002    03/24/2023   AGL     1.80      2,070.00   review and revise objection to motion to shorten motion to certify (.6);
                                                               communications with lrc and s&c teams re: same and filing/service issues (.5);
                                                               communications with chambers re: same and ust's request to file a reply (.3); review
                                                               ust's reply brief (.2) and communications with lrc, s&c teams re: same (.2)
         1368.002    03/24/2023   HWR     0.10         47.50   Emails w/ LRC team re: objection to motion to shorten
         1368.002    03/24/2023   HWR     0.20         95.00   Emails w/ MRP re: service of objection to motion to shorten
         1368.002    03/24/2023    KAB    0.10         82.00   Email with YCST and A. Landis re: UST motion to shorten
         1368.002    03/24/2023    KAB    0.40        328.00   Emails with J. Sarkessian, A. Landis and M. Pierce re: notice of request to certify direct
                                                               appeal (.1); emails with LRC team re: same (.1); review and analyze notice (.1);
                                                               additional emails with J. Sarkessian and A. Landis re: same (.1)
         1368.002    03/24/2023   KAB     0.10         82.00   Emails with UST, S&C and A. Landis re: discovery responses related to appeal
         1368.002    03/24/2023   KAB     0.30        246.00   Review and analyze Committee objection to motion to shorten (.2); emails with LRC
                                                               team re: same (.1)
         1368.002    03/24/2023    MR     0.10         31.00   Confer with MRP re: party listed in notice of docketing request for direct appeal
         1368.002    03/24/2023   MRP     0.20        125.00   Emails w/ HWR re: service of objection to motion to shorten
         1368.002    03/24/2023   AGL     0.10        115.00   Email with YCST and Brown re: UST motion to shorten
         1368.002    03/24/2023   MRP     0.20        125.00   Emails w/ J. Sarkessian, AGL, and KAB re: notice of request to certify direct appeal (.1);
                            Case 22-11068-JTD            Doc 1389-2             Filed 04/28/23
                                                        Detail Fee Task Code Billing Report
                                                                                                           Page 63 of 63                                  Page: 62
                                                               Landis Rath & Cobb LLP

                           Trans              Hours
             Client         Date      Tkpr    to Bill      Amount
Phase ID B160 Examiner
                                                                   emails w/ LRC team re: same (.1)
         1368.002     03/24/2023     AGL        0.10        115.00 Emails with UST, S&C and brown re: discovery responses related to appeal
         1368.002     03/24/2023     MRP        0.10         62.50 Emails w/ LRC team re: Committee objection to motion to shorten
         1368.002     03/24/2023     KAB        3.70      3,034.00 review and revise objection to motion to shorten motion to certify (2.4); emails with
                                                                   LRC and S&C teams re: same (.4) emails with LRC and Chambers re: same and UST
                                                                   request to file reply (.2); confer with M. Ramirez re: finalization and filing of same (.2);
                                                                   review and analyze UST reply to same (.5)
         1368.002     03/24/2023     MRP        0.20        125.00 Analyze UST reply iso motion to shorten
         1368.002     03/27/2023     AGL        0.10        115.00 communications with counsel to committee re: motion to shorten/motion to certify
         1368.002     03/28/2023     KAB        0.20        164.00 emails with UST, UCC, S&C and LRC teams re: order denying motion to shorten
         1368.002     03/28/2023     MRP        0.20        125.00 emails w/ UST, UCC, S&C and LRC teams re: order denying motion to shorten
         1368.002     03/29/2023      MR        0.20         62.00 review docket re: Order Denying Motion to Shorten Time for the Motion of the United
                                                                   States Trustee to Certify Direct Appeal (.1); email with LRC team re same (.1)
         1368.002     03/29/2023     HWR        0.10         47.50 Review order denying UST motion to shorten certification of direct appeal
         1368.002     03/29/2023      KAB       0.10         82.00 email with LRC team re: Order Denying Motion to Shorten Time for the Motion of the
                                                                   United States Trustee to Certify Direct Appeal
         1368.002     03/29/2023     MRP        0.10         62.50 email w/ LRC team re: Order Denying Motion to Shorten Time for the Motion of the
                                                                   United States Trustee to Certify Direct Appeal
         1368.002     03/29/2023     HWR        0.10         47.50 email w/ LRC team re: Order Denying Motion to Shorten Time for the Motion of the
                                                                   United States Trustee to Certify Direct Appeal

Total for Phase ID B160            Billable    50.60     38,612.00 Examiner

                                                                  GRAND TOTALS

                                   Billable   984.20    639,694.00
